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 8                              UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA

10
       BUENA VISTA RANCHERIA OF ME-WUK                     Case No.:
11     INDIANS,
                                                           COMPLAINT FOR DECLARATORY
12                                                         AND INJUNCTIVE RELIEF
                             Plaintiff,
       v.
13

14     GAVIN NEWSOM, Governor of California,
       and STATE OF CALIFORNIA,
15
                             Defendants.
16

17                                         INTRODUCTION

18          This is an action brought by the Buena Vista Rancheria of Me-Wuk Indians (“Tribe”), a

19   federally recognized Indian Tribe, against the Governor of the State of California (“Governor”)

20   and the State of California (“State”). The Tribe seeks an order from the Court: (1) declaring that

21   certain provisions of the Tribe’s 2016 Tribal-State class III gaming compact (“2016 Compact” or

22   “Compact”) are invalid and unenforceable as a result of the United States Court of Appeals for the

23   Ninth Circuit’s decision in Chicken Ranch Rancheria of Me-Wuk Indians v. California, 42 F.4th

24   1024 (9th Cir. 2022) (“Chicken Ranch”); (2) declaring that certain provisions of the 2016 Compact

25   that violate the Indian Gaming Regulatory Act, 25 U.S.C. §§ 2701 et seq. (“IGRA”), are not in

26   effect because the 2016 Compact was not affirmatively approved by the Secretary of the Interior—

27   rather, the 2016 Compact was “considered to have been approved by the Secretary, but only to the

28   extent the compact is consistent with the provisions of [the IGRA],” 25 U.S.C. § 2710(d)(8)(C);

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 1   (3) severing from the 2016 Compact the provisions that were invalidated by Chicken Ranch and

 2   which violate the IGRA; (4) declaring that the Governor and the State breached Section 13 of the

 3   the Compact by failing to negotiate with the Tribe in good faith to determine which provisions in

 4   the Compact were invalidated by Chicken Ranch, and (5) directing the State to provide the Tribe

 5   with an accounting of the actual costs incurred by the State in regulating the Tribe’s gaming under

 6   the 2016 Compact from the effective date the 2016 Compact to the present.

 7                                            JURISDICTION

 8          1.      This Court has jurisdiction over the Tribe’s claims based upon the following:

 9                  (a)     28 U.S.C § 1331, in that this action arises under the Constitution and laws
10   of the United States, specifically the IGRA;

11                  (b)     28 U.S.C. § 1362, in that the Tribe is federally recognized Indian tribe

12   asserting that the State’s actions violate the Constitution and laws of the United States, including

13   federal common law;

14                  (c)     28 U.S.C. § 1367, in that the Governor, violated California law, including

15   but not limited to breach of contract or compact by failing to negotiate with the Tribe in good faith

16   to determine which provisions in the Compact, consistent with Chicken Ranch, violated the IGRA;

17                  (d)     The State has waived its’ sovereign immunity with regard to disputes

18   between the State and the Tribe concerning whether provisions in the Compact are valid and

19   enforceable pursuant to the dispute resolution provisions of the Compact, specifically Sections
20   13.4 and 14.2 of the Compact; and

21                  (e)     The State has affirmatively waived its sovereign immunity pursuant to

22   Calif. Gov’t. Code § 98005.

23                                                  VENUE

24          2.      Venue is proper in this Court, pursuant to 28 U.S.C. § 1391, in that:

25                  (a)     The State’s seat of government is located within the Eastern District of

26   California (“District”);
27                  (b)     The Attorney General of California maintains an office within the District;

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 1                  (c)     A substantial part of the events or omissions giving rise to the Tribe’s claims

 2   occurred in this District; and

 3                  (d)     The parties agreed in Sections 13.1(e) of the 2016 Compact to file any

 4   action arising from the Compact’s dispute resolution provisions in this District.

 5                                                PARTIES

 6          3.       Plaintiff, Buena Vista Rancheria of Me-Wuk Indians of California, is a federally

 7   recognized Indian tribe. The Tribe is included on the Department of the Interior’s list of recognized

 8   Indian tribes, 88 Fed. Reg 2112 (January 12, 2023), and has been included on every version of the

 9   list since approximately 1985. The Tribe is the beneficial owner of the Buena Vista Rancheria
10   (“Reservation”), which is located in Amador County, California. The Tribe is a sovereign

11   governmental entity that exercises inherent powers of self-government on its’ Reservation.

12          4.      Defendant Gavin Newsom is the duly elected Governor and chief executive officer

13   of the State and is sued in that capacity.

14          5.      Defendant the State of California is a quasi-sovereign governmental entity and a

15   state of the United States.

16                           THE INDIAN GAMING REGULATORY ACT

17          6.      In 1988, Congress enacted IGRA to create a framework for Indian tribes, states,

18   and the federal government to regulate on-reservation tribal gaming.

19          7.      IGRA divides Indian gaming into three classes, with different regulatory
20   requirements for each class. Class I gaming consists of traditional tribal games for prizes of

21   minimal value connected with tribal ceremonies or celebrations. 25 U.S.C. § 2703(6). Class I

22   gaming is within the exclusive regulatory jurisdiction of the tribes. Class II gaming consists of

23   bingo, “whether or not electronic, computer, or other technological aids are used in connection

24   therewith,” including “pull tabs, lotto, punch boards, tip jars, instant bingo, and other games similar

25   to bingo.” 25 U.S.C. § 2703(7)(A)(i). Also included in class II gaming are non-banked card games

26   either explicitly authorized by state law or not prohibited by state law and played in conformity
27   with state regulations regarding hours of play and limits on wagers and pot sizes. 25 U.S.C. §

28   2703(7)(A)(i)-(ii) and (7)(B). Class III gaming is defined as “all forms of gaming that are not class

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 1   I gaming or class II gaming.” 25 U.S.C. § 2703(8). Class II and class III gaming fall within the

 2   regulatory jurisdiction of the tribes and the National Indian Gaming Commission (“NIGC”), a

 3   federal regulatory agency created under the IGRA.

 4            8.        The most lucrative form of gaming is class III gaming. It includes the games played

 5   in a typical casino in Las Vegas, such as slot machines, craps, roulette, and percentage and banked

 6   card games, like blackjack. See 25 U.S.C. § 2703(8). Under Section § 2710(d)(1) of the IGRA, in

 7   order for a tribe to be authorized to conduct class III gaming: (1) the tribe must have adopted a

 8   tribal ordinance that authorizes the playing of the class III games and the ordinance must have

 9   been approved by the Chairman of the NIGC; (2) the state in which the class III gaming will be
10   conducted must “permit” such gaming for any purpose by any person, organization, or entity; and

11   (3) the class III gaming must be conducted in conformance with a Tribal-State compact entered

12   into by the Indian tribe and the state, pursuant to 25 U.S.C. § 2710(d)(3).

13            9.        Section 2710(d)(3) sets forth the procedures that a tribe and a state must follow in

14   order to negotiate and enter into a compact.

15            10.       Section 2710(d)(3)(A) requires that the State conduct compact negotiations in good

16   faith.

17            11.       Section 2710(d)(3)(C) provides a list of seven subjects that a class III gaming

18   compact negotiated between a tribe and a state may address. The seven subjects listed in Section

19   2710(d)(3)(C) are:
20            (i)       the application of the criminal and civil laws and regulations of the Indian

21            tribe or the State that are directly related to, and necessary for, the licensing and

22            regulation of such activity;

23            (ii)      the allocation of criminal and civil jurisdiction between the State and the

24            Indian tribe necessary for the enforcement of such laws and regulations;

25            (iii)     the assessment by the State of such activities in such amounts as are

26            necessary to defray the costs of regulating such activity;
27            (iv)      taxation by the Indian tribe of such activity in amounts comparable to

28            amounts assessed by the State for comparable activities;

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 1           (v)       remedies for breach of contract;

 2           (vi)      standards for the operation of such activity and maintenance of the gaming

 3           facility, including licensing; and

 4           (vii)     any other subjects that are directly related to the operation of gaming

 5           activities. (Collectively the “Proper Subjects of Negotiation”).

 6           12.       With respect to 25 U.S.C. § 2710(d)(3)(C)(iii), IGRA provides that, “[e]xcept for

 7   any assessments that may be agreed to under paragraph (3)(C)(iii) of this subsection, nothing in

 8   [the IGRA] shall be interpreted as conferring upon a State or any of its political subdivisions

 9   authority to impose any tax, fee, charge, or other assessment upon an Indian tribe or upon any
10   other person or entity authorized by an Indian tribe to engage in a class III activity.” 25 U.S.C. §

11   2710(d)(4).

12           13.       All class III gaming compacts must be reviewed and approved by the Secretary of

13   the Interior in order to take effect. 25 U.S.C. § 2710(d)(3)(B).

14           14.       A class III gaming compact may be affirmatively approved by the Secretary. 25

15   U.S.C. § 2710(d)(8)(A).

16           15.       A class III gaming compact may be disapproved by the Secretary “only if such

17   compact violates—(i) any provision of [IGRA], (ii) any other provision of Federal law that does

18   not relate to jurisdiction over gaming on Indian lands, or (iii) the trust obligations of the United

19   States to Indians.” 25 U.S.C. § 2710(d)(8)(B).
20           16.       A class III gaming compact may also be approved by operation of law with no

21   action on the part of the Secretary. Where the Secretary neither approves nor disapproves a

22   compact “before the date that is 45 days after the date on which the compact is submitted to the

23   Secretary for approval, the compact shall be considered to have been approved by the Secretary,

24   but only to the extent the compact is consistent with the provisions of [IGRA].” 25 U.S.C. §

25   2710(d)(8)(C). Such compacts are commonly referred to as “deemed approved” compacts.

26           17.       25 U.S.C. § 2710(d)(7) provides a remedial process where a tribe asserts that a state
27   has failed to negotiate a compact in good faith, including a cause of action in federal court where

28   a state has failed to negotiate in good faith.

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 1          18.      Under California law, all gaming compacts and amendments must be ratified by the

 2   State Legislature. Cal. Con., art. IV, sec. 19(f) and once ratified constitute state law.

 3                                      FACTUAL ALLEGATIONS

 4          19.      Ancestors of the Me-Wuk Indians have occupied what is now Amador County and

 5   the surrounding areas since time immemorial. Despite generations of abuse and neglect, the

 6   Mission period, the Gold Rush, and destructive federal policies toward Indian tribes, all of which

 7   stripped away land ownership, the Me-Wuk Indians survived. In the early 20th Century, the United

 8   States purchased or set aside by executive order a network of small land parcels called

 9   “Rancherias” for Indian tribes who had been unlawfully dispossessed of their lands as a result of
10   the United States failure to ratify the 18 treaties negotiated and signed by the President with

11   California Tribes and by the State’s passage of laws authorizing the murder and enslavement of

12   California Indians. The United States purchased the lands constituting the Buena Vista Rancheria

13   in 1927 with money appropriated by the Acts of June 21, 1906 (34 Stat. 325-328), and April 30,

14   1908 (35 Stat. 70-76). The government’s purchase was intended to establish the Rancheria as a

15   reservation for the Tribe to be held in trust for the benefit of the Tribe and its members in

16   perpetuity.

17          20.      As an outgrowth of the 1950s federal termination policy, during which the

18   government terminated the legal status of many Indian tribes and their reservations across the

19   country, Congress enacted the 1958 “California Rancheria Act,” Pub. L. 85-671 at 72 Stat. 619,
20   amended in 1964 by 78 Stat. 390 (the “Termination Act”). The Termination Act disestablished

21   many California Indian Rancherias, including the Buena Vista Rancheria, and terminated the legal

22   status of the related Indian tribes and their members as Indians under federal law. The United

23   States subdivided the Rancheria, distributed Buena Vista Rancheria lands (a single 67.5-acre

24   parcel) to the Tribe’s members and withdrew the trust status of the Rancheria parcels and dissolved

25   the Rancheria boundaries. The Termination Act required the United States to improve or construct

26   roads serving the terminated Rancheria lands, to upgrade the related irrigation, sanitation, and
27   domestic water systems, and to provide certain educational and other benefits and services to the

28   terminated Tribe and its members. The government failed to fulfill its commitments to the

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 1   terminated California tribes and litigation ensued (Tillie Hardwick v. United States, et al., Case

 2   No.: 5:79-CV-01710) against the United States and various California counties to restore the

 3   affected tribes to their pre-termination status.

 4          21.     The case was settled by stipulated judgment between the plaintiff Indians and

 5   restored tribes and Rancherias, on the one hand, and the federal and county defendants (including,

 6   with respect to the Tribe, and Amador County), on the other hand. Settlement generally took the

 7   form, first, of a stipulation to restore the terminated tribes and Indians legal status as a federally

 8   recognized Indian Tribe and, second, a stipulated judgment to restore the boundaries of the

 9   terminated reservations and declare all the land within those boundaries “Indian country”.
10          22.     In the case of Buena Vista, a stipulated judgment entered in 1983 restored the

11   individual Indian plaintiffs to their status as Indians under federal law, restored the recognized

12   status of the Tribe, and required the United States to add the restored Tribe to the Bureau of Indian

13   Affairs’ Federal Register list of recognized Indian tribes.

14          23.     A second stipulated judgment, in 1987, provided that the Rancheria was “never and

15   [is] not now lawfully terminated,” restored the Rancheria’s original boundaries, and further

16   declared that all land within the restored Rancheria boundaries is “Indian country” (the legal term

17   of art for lands subject to federal and tribal jurisdiction, as defined by 18 U.S.C. § 1151).

18          24.     The 1987 stipulated judgment further required the United States and Amador

19   County to treat the Rancheria “as any other federally recognized Indian Reservation,” and provided
20   that “all of the laws of the United States that pertain to federally recognized Indian Tribes and

21   Indians” shall apply to the Rancheria.

22          25.     Since restoration, the Tribe has sought to generate revenue to fund its tribal

23   government and essential governmental services on the Reservation through a variety of means,

24   including, but not limited to, tribal governmental gaming.

25          26.     Towards that end, on September 10, 1999, the Tribe entered a class III Tribal-State

26   gaming compact with the State (1999 Compact) pursuant to IGRA. The compact was ratified by
27   the California State Legislature by statute. Cal. Gov’t Code § 12012.25(a)(7). On May 5, 2000,

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 1   the compact was affirmatively approved by Assistant Secretary – Indian Affairs Kevin Gover. 65

 2   Fed. Reg. 31189 (May 16, 2000).

 3          27.      On August 23, 2004, the Tribe and the State amended the 1999 Compact (2004

 4   Amendment). The amendment was ratified by the California State Legislature by statute. Cal.

 5   Gov’t Code § 12012.45(a)(1). The 2004 Amendment went into effect by operation of law pursuant

 6   to Section 2710(d)(8)(C). 69 Fed. Reg. 76004 (December 20, 2004).

 7          28.      On June 28, 2016, the Tribe and the State entered into the current 2016 Compact.

 8   The 2016 Compact was ratified by the California State Legislature by statute. Cal. Gov’t Code §

 9   12012.76(a). The 2016 Compact was deemed approved by operation of law after the Secretary
10   took no action upon receipt of the Compact. 81 Fed. Reg. 87585 (December 5, 2016). A true and

11   correct copy of the 2016 Compact is hereby incorporated by this reference and is attached hereto

12   as Exhibit A.

13          29.      In 2019, five California tribes filed suit against the State pursuant to 25 U.S.C. §

14   2710(d)(7)(A)(i), alleging that the State failed to negotiate tribal-state gaming compacts in good

15   faith as a result of the State’s insistence on including provisions in the tribes’ compacts that did

16   not fall within the seven Proper Subjects of Negotiation listed in 25 U.S.C. § 2710(d)(3)(C).

17          30.      The United States District Court for the Eastern District of California ruled in favor

18   of the tribes, concluding that the State had failed to negotiate in good faith by insisting on the

19   negotiation of topics that are not directly related to class III gaming activities. Chicken Ranch
20   Rancheria of Me-Wuk Indians v. Newsom, 530 F. Supp. 3d 970 (E.D. Cal. 2021).

21          31.      On July 28, 2022, the United States Court of Appeals for the Ninth Circuit affirmed

22   the District Court’s conclusion that the State had failed to negotiate in good faith. Chicken Ranch

23   Rancheria of Me-Wuk Indians v. California, 42 F.4th 1024 (9th Cir. 2022).

24          32.      In its opinion, the Ninth Circuit specifically identified at least four provisions that

25   it concluded did not fall within IGRA’s Proper Subjects of Negotiation and, therefore, could not

26   be included in a valid IGRA compact, as they were not directly related to gaming. Id. at 1035
27   (“Thus, a tribal-state compact may include provisions relating to the seven identified topics

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 1   (though it is not necessarily required to), but it may not include provisions that do not relate to the

 2   topics listed.”) (Emphasis in original).

 3   33.     The provisions that the Ninth Circuit specifically concluded could not be included in a

 4   class III gaming compact addressed the application of state child and spousal support laws, state

 5   environmental laws, and state tort laws. In addition, the Ninth Circuit held that a state demand for

 6   the payment of a fee, beyond what was necessary to reimburse the state for the costs it incurs to

 7   regulate the gaming, was not per se bad faith if the state offers the tribe some meaningful

 8   consideration of value in exchange for the fee. Chicken Ranch Rancheria of Me-Wuk Indians v.

 9   California, 42 F.4th at 1048-49.
10           34.       The provisions struck down by the Chicken Ranch Court are, for all intents and

11   purposes, identical to provisions in the Tribe’s 2016 Compact. A true and correct copy of the

12   State’s compact offer that was at issue in the Chicken Ranch litigation is hereby incorporated by

13   this reference and attached hereto as Exhibit B.

14           35.       The Ninth Circuit did not address a number of other provisions that the District

15   Court found were not permissible topics of negotiation, concluding that it was not necessary to

16   rule on those provisions in order to conclude that the State had failed to negotiate in good faith. Id.

17   at 1040, fn. 4.

18           36.       In a letter dated January 31, 2023, to Nathan Voegeli, Governor Newsom’s Senior

19   Advisor for Tribal Negotiations, the Tribe requested that the State engage in negotiations to amend
20   the 2016 Compact, pursuant to Section 15 of the Compact, to remove the provisions that violate

21   IGRA and are inconsistent with the Ninth Circuit’s decision in Chicken Ranch. A true and correct

22   copy of the January 31, 2023, letter is hereby incorporated by this reference and attached hereto as

23   Exhibit C.

24           37.       On March 20, 2023, Voegeli responded by letter, stating: “None of the conditions

25   under section 15.3 are met and the State respectfully declines to enter into negotiations to amend

26   or replace the 2016 Compact.” A true and correct copy of the March 20, 2023, letter is hereby
27   incorporated by this reference and attached hereto as Exhibit D.

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 1          38.     In a letter dated March 30, 2023, to Voegeli, the Tribe notified the State that the

 2   Tribe was initiating the dispute resolution process under Section 13 (“Section 13”) of the Compact,

 3   because a dispute had arisen between the Tribe and the State as to whether the Chicken Ranch

 4   decision had the effect of invalidating or rendering unenforceable certain provisions of the

 5   Compact. Section 13 imposes a duty upon the Governor and the State to negotiate with the Tribe

 6   in good faith to resolve the dispute: “In recognition of the government-to-government relationship

 7   of the Tribe and the State, the parties shall make their best efforts to resolve disputes that arise

 8   under this Compact by good faith negotiations whenever possible.” Compact, Section 13.1.

 9   (Emphasis added). A true and correct copy of the March 30, 2023, letter is hereby incorporated by
10   this reference and attached hereto as Exhibit E.

11          39.     In a letter dated April 14, 2023, the State agreed to engage in dispute resolution

12   pursuant to Section 13, stating that “[t]he State agrees to dispute resolution under section 13.0 of

13   the 2016 Compact as the appropriate way to address any issues regarding provisions in the 2016

14   Compact that may be inconsistent with the Chicken Ranch decision.” April 14, 2023, letter, p. 1.

15   A true and correct copy of the April 14, 2023, letter is hereby incorporated by this reference and

16   attached hereto as Exhibit F.

17          40.     In the April 14, 2023, letter, Voegeli identified what the State regarded as the

18   provisions of the 2016 Compact that were subject to dispute resolution: “The State’s position is

19   that the provisions decided by Chicken Ranch circumscribe the 2016 Compact terms subject to
20   dispute. Those terms are limited to the Gaming Facility definition in section 2.12, section 11.0

21   environmental review requirements, section 12.5 tort protections, and recognition of child and

22   spousal support orders under section 12.6, subdivision (e).” Id., p. 2.

23          41.     The State further took the position that none of the other provisions that the Tribe

24   had identified as requiring modification were affected by Chicken Ranch and were not proper

25   subjects of the dispute resolution process: “The other provisions cited in your January 31, 2023

26   letter—the definitions of Gaming Employee and Gaming Operation, State regulatory costs,
27   revenue sharing, exclusivity, and workplace health and safety protections—were not addressed by

28   the Chicken Ranch holding.” Id., p. 2.

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 1          42.     On May 16, 2023, representatives of the Tribe and the State, pursuant to Section

 2   13, met to confer about potential resolution of the dispute. At the meeting, the Tribe’s

 3   representatives provided the State’s representatives with a list of the provisions of the Compact

 4   that the Tribe believes are inconsistent with the Chicken Ranch decision and/or IGRA.

 5          43.     In a letter dated May 26, 2023, Voegeli stated, with respect to the May 16, 2023,

 6   meeting: “After the State and Tribe went through that list [of provisions that the Tribe maintains

 7   are implicated by the Chicken Ranch decision], I agreed to confirm by letter the provisions the

 8   State considers to be implicated by the Chicken Ranch decision. The State agreed only to identify

 9   implicated provisions. It did not agree that any particular provision was invalidated or to any
10   specific approach for resolving an issue.” May 26, 2023, letter, p. 1. A true and correct copy of the

11   May 26, 2023, letter is hereby incorporated by this reference and attached hereto as Exhibit G.

12          44.     In a letter dated June 2, 2023, the Tribe stated that it disagreed with the State’s

13   assertion that only nine provisions of the Compact were subject to the dispute resolution process

14   as a result of the Chicken Ranch decision. The letter further stated that it was the Tribe’s position

15   that, as a result of the Chicken Ranch decision: “the State has an obligation to meet and confer

16   with the Tribe over: (1) all of the fee provisions contained in the Compact, with the exception of

17   the payment into the Revenue Sharing Trust Fund, because the Tribe never received any

18   meaningful concession from the State in exchange for the payment of the fees; and (2) any subject

19   in the 2016 Compact that is not directly connected to the playing of the games on the Tribe’s
20   Casino floor.” June 2, 2023, letter, p. 1-2. A true and correct copy of the June 2, 2023, letter is

21   hereby incorporated by this reference and attached hereto as Exhibit H.

22          45.     On June 15, representatives of the Tribe and the State met again, pursuant to Section

23   13, to address the dispute. At that meeting, the State’s representatives stated that the State would

24   not engage in negotiations to address the disputed provisions until the scope of negotiations —

25   i.e., the provisions that are subject to the dispute resolution process — was agreed to.

26          46.     At the June 15 meeting, the Tribe argued that the parties should negotiate over those
27   provisions that the parties agree are in dispute because of Chicken Ranch and address the issue of

28   whether the other provisions are subject to the dispute resolution process later. The Tribe’s

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 1   representatives further argued that the State cannot refuse to negotiate over all substantive issues

 2   in dispute until the parties agree on the entire “scope of negotiations” — i.e., the provisions that

 3   are subject to the dispute resolution process under Section 13 of the Compact.

 4          47.     In a letter dated July 12, 2023, the Tribe sought to “clarify the legal position of the

 5   State of California regarding the requirements of the dispute resolution process for issues arising

 6   under” the Tribe’s Compact. July 12, 2023, letter, p. 1. A true and correct copy of the July 12,

 7   2023, letter is hereby incorporated by this reference and attached hereto as Exhibit I.

 8          48.     The July 12, 2023 letter identified four major issues: (1) whether Section 13

 9   requires agreement on the scope of disputed provisions before negotiations can go forward; (2)
10   whether the State’s refusal to negotiate until the scope of all disputed provisions is agreed upon

11   violates the good faith standard of conduct required by Section 13; (3) whether the State’s refusing

12   to negotiate when an affirmative duty to negotiate exists under Section 13 constitutes a violation

13   of the Compact that is subject to the provisions of Section 14; and (4) whether amendment pursuant

14   to the requirements of Section 15 is the applicable mechanism for resolving disputes arising under

15   Section 13. Id., pp. 2-4.

16          49.     The letter further stated: “the Tribe remains open to good faith negotiations to

17   resolve the current dispute. It is the Tribe’s sincere hope that, on July 13, 2023, the State’s

18   representatives will be willing and able to engage in substantive, good faith negotiations

19   concerning the impact of Chicken Ranch on the validity of the provisions of the Compact. Those
20   negotiations should begin with the provisions that both the State and the Tribe agree are implicated

21   by Chicken Ranch. Once those provisions are addressed, the parties can address the other

22   provisions that the Tribe believe are implicated by Chicken Ranch.” Id., p. 4.

23          50.     The parties met again, pursuant to Section 13 of the Compact, on July 13, 2023. At

24   the beginning of the meeting, the State’s representative stated that the State would not negotiate

25   any of the issues in dispute unless the Tribe agreed to limit negotiations to the topics that the State

26   asserts are within the scope of provisions at issue.
27          51.     In a letter dated July 28, 2023, the State stated its version of the course of events

28   relating to the dispute. A true and correct copy of the July 28, 2023, letter is hereby incorporated

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 1   by this reference and attached hereto as Exhibit J. The July 28 letter stated that: “the parties appear

 2   to agree that the following Compact sections are reasonably implicated by the Chicken Ranch

 3   decision: 2.12, 2.18, 2.22, 2.24, 4.5(a)(2), 5.3(a), 11.0, 12.5, and 12.6(e).” July 12, 2023, letter, p.

 4   2. The letter further stated: “The State believes substantive negotiations to amend the Compact

 5   pursuant to section 15.1 on the topics both parties agree are reasonably implicated would alleviate

 6   concerns regarding Chicken Ranch.” Id. The letter then stated: “During our third meet and confer

 7   meeting on July 12, 2023, the Tribe said it was not willing to limit substantive negotiations to the

 8   set of provisions the parties agree are reasonably implicated by the Chicken Ranch decision. The

 9   State asks that the Tribe reconsider and agree to negotiate Compact amendments pursuant to
10   section 15.1 for those Compact provisions that the parties jointly identified as reasonably

11   implicated by Chicken Ranch.” Id., pp. 2-3.

12           52.     In a letter dated August 3, 2023, the Tribe responded to the State’s July 28, 2023,

13   letter, disputing the State’s narrative of the course of negotiations. The letter stated that, given

14   that the State had initially refused to engage in negotiations pursuant to Section 15, the State’s

15   offer to negotiate under Section 15 was designed to delay the resolution of the dispute. August 3,

16   2023, letter, p. 4. The letter further stated that the State was obligated by the 2016 Compact to

17   engage in the dispute resolution process required by Section 13. Id., p. 2.The letter then stated that

18   the State’s actions in the course of negotiations reflected bad faith on the part of the State. Id., p.

19   4. A true and correct copy of the August 3, 2023, letter is hereby incorporated by this reference
20   and attached hereto as Exhibit K.

21           53.     The August 3, 2023, letter concluded by stating that the Tribe was willing to

22   continue to negotiate pursuant to Section 13 on the condition that the State reimburse the Tribe for

23   the attorneys’ fees it incurred because of participating in the three meet and confer meetings with

24   the Tribe. Id., p. 4-5.

25           54.     In the letter, the Tribe demanded that the State respond to the Tribe’s request by no

26   later than August 11, 2023. On August 11, 2023, the State sent a letter to the Tribe responding to
27   the Tribe’s August 3, 2023, letter. In its letter, the State rejected the Tribe’s demand that the State

28   pay its attorney’s fees as a condition of continuing negotiations and requested that the Tribe resume

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 1   negotiations under paragraph 15 of the Compact. A true and correct copy of the August 11, 2023,

 2   letter is hereby incorporated by this reference and attached hereto as Exhibit L.

 3          55.     By letter dated August 14, 2023, the Tribe responded to the State’s August 11,

 4   2023, letter. In the letter, the Tribe set forth the reasons why if would not resume negotiations with

 5   the State under paragraph 15 of the Compact but advised the State that it was willing to resume

 6   negotiations with the State under paragraph 13 of the Compact without requiring the State to pay

 7   the Tribe’s attorney’s fees. In the letter the Tribe gave the State until August 16, 2023, to accept

 8   the Tribe’s offer. In the letter, the Tribe stated that if the offer was not accepted by the State by

 9   August 16, 2023, the offer would be revoked. A true and correct copy of the August 14, 2023,
10   letter is hereby incorporated by this reference and attached hereto as Exhibit M.

11          56.     On August 16, 2023, the State sent the Tribe an email stating that it could not

12   respond to the Tribe’s offer as set forth in its August 14, 2023, letter by August 16, 2023, but did

13   state in the email that it could respond by Friday, August 18, 2023. A true and correct copy of the

14   August 16, 2023, State email is hereby incorporated by this reference and attached hereto as

15   Exhibit N.

16          57.     By email dated August 16, 2023, the Tribe responded to the State’s August 16,

17   2023, email and advised the State that the time for responding to the Tribe’s offer had expired, that

18   the Tribe was going to file a federal court complaint suing the State for violations of the 2016

19   Compact, but that if the Tribe got a new offer from the State prior to the filing of the federal court
20   complaint, that the Tribe would consider what the State stated in the new offer prior to filing suit.

21   A true and correct copy of the August 16, 2023, Tribal email is hereby incorporated by this

22   reference and attached hereto as Exhibit O. As of 4:00 p.m., Pacific Standard Time, the Tribe had

23   not received any new offer from the State.

24                                     FIRST CAUSE OF ACTION

25                          (Violation of the Indian Gaming Regulatory Act)

26          58.     The Tribe realleges each of the allegations set forth in Paragraphs 1 through 57
27   above and by this reference incorporates each allegation as if set forth herein in full.

28

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 1          59.     In the Chicken Ranch decision, the Ninth Circuit concluded that provisions in the

 2   State’s proposed compact to the plaintiff tribes, namely, provisions requiring mitigation of alleged

 3   off-reservation environmental impacts, including the requirement that the plaintiff tribes enter into

 4   intergovernmental agreements with local governmental entities relating to payment to local

 5   governmental entities for mitigation of alleged off-reservation impacts, provisions relating to tort

 6   claims by visitors to the plaintiff tribes’ gaming facilities and other tribal commercial enterprises,

 7   provisions requiring that the plaintiff tribes honor state court child and spousal support payment

 8   orders issued to tribal gaming employees, and demands for fees beyond the amounts necessary to

 9   reimburse the State for the actual costs it incurs to perform its regulatory functions under a compact
10   without offering the tribes some meaningful consideration of value to the tribes in exchange for

11   the fee, cannot be included in class III gaming compacts because they do not fall within the topics

12   of compact negotiation set forth in IGRA.

13          60.     The Tribe’s 2016 Compact includes provisions that are functionally identical to the

14   provisions that the Ninth Circuit explicitly concluded may not be included in a class III gaming

15   compact.

16          61.     The Tribe contends that the effect of the Chicken Ranch decision is to render

17   Section 11 (environmental mitigation), Section 12.5 (tort), Section 12.6 (child and spousal

18   support), and Section 4 (payment of fees to the State beyond what is necessary to reimburse the

19   State its’ regulatory costs) of the Tribe’s 2016 Compact invalid and unenforceable.
20          62.     25 U.S.C. § 2710(d)(8)(C) provides that, where a class III gaming compact is

21   neither approved nor disapproved by the Secretary within 45 days, “the compact shall be

22   considered to have been approved by the Secretary, but only to the extent the compact is consistent

23   with the provisions of [IGRA].”

24          63.     The Chicken Ranch court ruled that the above listed provisions in the compact

25   offered by the State to the plaintiff tribes may not be included in a compact because they are not

26   consistent with the provisions of IGRA. The parallel provisions of the Tribe’s 2016 Compact,
27   therefore, are also not consistent with the provisions of IGRA.

28

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 1          64.     Because the Tribe’s 2016 Compact went into effect by operation of law only to the

 2   extent the Compact is consistent with the IGRA, those provisions were never approved by the

 3   Secretary and never went into effect. As a result, are they are void ab initio and the Tribe has no

 4   obligation to comply with them.

 5          65.     The Tribe initiated, pursued, and exhausted the dispute resolution process mandated

 6   by Section 13 of the 2016 Compact for disputes arising under the Compact. The State refused to

 7   engage in substantive negotiations to resolve the dispute. Pursuant to Section 13 of the 2016

 8   Compact, the Tribe is authorized to seek court resolution of the dispute and the State has waived

 9   its sovereign immunity with regard to court resolution of disputes arising under the Compact
10   pursuant to Section 13.4.

11          66.     An actual case or controversy exists between the Tribe and the State, in that the

12   Tribe asserts that certain provisions of the Tribe’s 2016 Compact are invalid and unenforceable as

13   a result of the Chicken Ranch decision and are void ab initio because only those provisions of the

14   Tribe’s compact that are consistent with the provisions of IGRA were approved by the Secretary,

15   while the State asserts that those provisions remain valid and enforceable.

16          67.     The Tribe has no adequate remedy at law and desires a judicial determination of

17   the respective rights, duties and interests of the parties under the 2016 Compact pursuant to the

18   Declaratory Relief Act, 28 U.S.C. § 2201. A prompt adjudication of this controversy is necessary

19   and proper at this time so that the parties may ascertain their respective rights, duties, and interests
20   under the Compact and applicable federal law.

21          WHEREFORE, the Tribe prays as hereinafter set forth below.

22                                    SECOND CAUSE OF ACTION

23                           (Violation of the Indian Gaming Regulatory Act)

24          68.     The Tribe realleges each of the allegations set forth in Paragraphs 1 through 67

25   above and by this reference incorporates each allegation as if set forth herein in full.

26          69.     In the March 31, 2021 decision of the District Court in Chicken Ranch, the District
27   Court ruled that provisions in the compact offered by the State to the plaintiff tribes included

28   provisions regarding labor (the Tribal Labor Relations Ordinance (“TLRO”)), application of the

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 1   State’s minimum wage laws to the tribes, and State anti-workplace discrimination and harassment

 2   laws that “are not at the heart of the gaming activity and only somewhat connected (they are not

 3   directly related to the class III gaming itself but related to the overall operation of the facilities in

 4   which the gaming take place)….” Chicken Ranch Rancheria of Me-Wuk Indians v. Newsom, 530

 5   F. Supp. 3d at 978.

 6           70.     The Ninth Circuit affirmed the District Court’s decision, without addressing or

 7   modifying the District Court’s ruling that compact provisions concerning application of the State’s

 8   minimum wage laws to the tribes, State anti-workplace discrimination and harassment laws, and

 9   the TLRO are not directly related to class III gaming activities.
10           71.     The Ninth Circuit further concluded that: “a meaningful concessions requirement

11   … only applies to demands for taxes, fees, or other revenue-sharing provisions,” Chicken Ranch

12   Rancheria of Me-Wuk Indians v. California, 42 F.4th at 1048, and cannot, therefore, be exchanged

13   for compact provisions that are not directly connected to class III gaming activities.

14           72.     The Tribe’s 2016 Compact includes provisions that are functionally identical to the

15   provisions that the District Court concluded were not directly connected to class III gaming

16   activities.

17           73.     The Tribe contends that the effect of the District Court decision in Chicken Ranch

18   is to render Section 12.10 (obligating the Tribe to adopt the TLRO), Section 12.3(k) (application

19   of the State’s minimum wage laws), Section 12.3(f) (application of State laws forbidding
20   harassment and discrimination in the workplace), and the TLRO (appendix C) of the Tribe’s 2016

21   Compact invalid and unenforceable.

22           74.     25 U.S.C. § 2710(d)(8)(C) provides that, where a class III gaming compact is

23   neither approved nor disapproved by the Secretary within 45 days, “the compact shall be

24   considered to have been approved by the Secretary, but only to the extent the compact is consistent

25   with the provisions of [IGRA].”

26           75.     The District Court in Chicken Ranch ruled that the above listed provisions in the
27   compact offered by the State to the plaintiff tribes are not directly related to class III gaming

28   activities. As a result, and coupled with the Ninth Circuit’s decision, the above-listed provisions

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 1   are not consistent with the provisions of IGRA. The parallel provisions of the Tribe’s 2016

 2   Compact, therefore, are also not consistent with the provisions of IGRA.

 3          76.     Because the Tribe’s 2016 Compact went into effect by operation of law only to the

 4   extent the Compact is consistent with IGRA, those provisions were never approved by the

 5   Secretary and never went into effect. As a result, are they are void ab initio and the Tribe has no

 6   obligation to comply with them.

 7          77.     The Tribe initiated and pursued the dispute resolution process mandated by Section

 8   13 for disputes arising under the Compact. The State refused to engage in substantive negotiations

 9   to resolve the dispute. Pursuant to Section 13, the Tribe is authorized to seek court resolution of
10   the dispute and the State has waived its sovereign immunity with regard to court resolution of

11   disputes arising under the Compact pursuant to Section 13.4 .

12          78.     An actual case or controversy exists between the Tribe and the State, in that the

13   Tribe asserts that certain provisions of the Tribe’s 2016 Compact are invalid and unenforceable as

14   a result of the Chicken Ranch decision and are void ab initio because only those provisions of the

15   Tribe’s Compact that are consistent with the provisions of IGRA were approved by the Secretary,

16   while the State asserts that those provisions remain valid and enforceable.

17          79.     The Tribe has no adequate remedy at law and desires a judicial determination of

18   the respective rights, duties, and interests of the parties under the 2016 Compact pursuant to the

19   Declaratory Relief Act, 28 U.S.C. § 2201. A prompt adjudication of this controversy is necessary
20   and proper at this time so that the parties may ascertain their respective rights, duties, and interests

21   under the Compact and applicable federal law.

22          WHEREFORE, the Tribe prays as hereinafter set forth below.

23                                     THIRD CAUSE OF ACTION

24                           (Violation of the Indian Gaming Regulatory Act)

25          80.     The Tribe realleges each of the allegations set forth in Paragraphs 1 through 79

26   above and by this reference incorporates each allegation as if set forth herein in full.
27

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 1           81.     25 U.S.C. § 2710(d)(3)(C) provides that a tribal-state gaming compact “may

 2   include provisions relating to … (iii) the assessment by the State of such activities in such amounts

 3   as are necessary to defray the costs of regulating such activity.”

 4           82.     25 U.S.C. § 2710(d)(4) provides that, “[e]xcept for any assessments that may be

 5   agreed to under paragraph (3)(C)(iii) of this subsection, nothing in [the IGRA] shall be interpreted

 6   as conferring upon a State or any of its political subdivisions authority to impose any tax, fee,

 7   charge, or other assessment upon an Indian tribe or upon any other person or entity authorized by

 8   an Indian tribe to engage in a class III activity.”

 9           83.     Section 4.3 of the Tribe’s 2016 Compact requires the Tribe to “pay to the State on
10   a pro rata basis the State’s 25 U.S.C. § 2710(d)(3)(C) costs incurred for purposes consistent with

11   IGRA, including the performance of all its duties under this Compact, the administration and

12   implementation of tribal-state gaming compacts, and funding for the Office of Problem Gambling,

13   as determined by the monies appropriated in the annual Budget Act each fiscal year to carry out

14   those purposes.”

15           84.     The “pro rata share” paid by the Tribe to the State under Section 4.3 is not based

16   on what the State spends in regulating the Tribe’s class III gaming activities, as provided in the

17   IGRA, but, rather, on what the California Legislature arbitrarily appropriates to the State Gaming

18   Agency.

19           85.     The Tribe contends that the amounts paid by the Tribe to the State under Section
20   4.3 are more than is necessary to defray the State’s costs of regulating the Tribe’s class III gaming

21   activities under the 2016 Compact. Section 4.3, therefore, constitutes an impermissible tax, fee,

22   charge, or other assessment in violation of 25 U.S.C. § 2710(d)(4) and is not consistent with the

23   IGRA.

24           86.     25 U.S.C. § 2710(d)(8)(C) provides that, where a class III gaming compact is

25   neither approved nor disapproved by the Secretary within 45 days, “the compact shall be

26   considered to have been approved by the Secretary, but only to the extent the compact is consistent
27   with the provisions of [IGRA].”

28

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 1          87.     Because the Tribe’s 2016 Compact went into effect by operation of law only to the

 2   extent the Compact is consistent with IGRA, Section 4.3 was never approved by the Secretary and

 3   never went into effect. As a result, Section 4.3 is void ab initio and the Tribe has no obligation to

 4   comply with it.

 5          88.     The Tribe initiated, pursued, and exhausted the dispute resolution process mandated

 6   by Section 13 of the Compact for disputes arising under the Compact. The State refused to engage

 7   in substantive negotiations to resolve the dispute regarding the Tribe’s claim that Section 4.3

 8   requires the Tribe to pay the State more than is necessary for the State to defray the actual costs

 9   the State incurs to regulate the Tribe’s class III gaming activities, in violation of IGRA.
10          89.     Pursuant to Section 13 of the Compact, the Tribe is authorized to seek court

11   resolution of the dispute and the State has waived its sovereign immunity regarding court

12   resolution of disputes arising under the Compact pursuant to Section 13.4.

13          90.     An actual case or controversy exists between the Tribe and the State, in that the

14   Tribe asserts that Section 4.3 of the 2016 Compact violates IGRA and is void ab initio because

15   only those provisions of the Tribe’s Compact that are consistent with the provisions of IGRA were

16   approved, while the State asserts that Section 4.3 remains valid and enforceable.

17          91.     The Tribe has no adequate remedy at law and desires a judicial determination of

18   the respective rights, duties, and interests of the parties under the 2016 Compact pursuant to the

19   Declaratory Relief Act, 28 U.S.C. § 2201, and an accounting of the State’s actual costs in
20   regulating the Tribes gaming conducted pursuant to its 2016 Compact from the execution of the

21   2016 Compact until the present. A prompt adjudication of this controversy is necessary and proper

22   at this time so that the parties may ascertain their respective rights, duties, and interests under the

23   Compact and applicable federal law.

24                                    FOURTH CAUSE OF ACTION

25                                          (Breach of Compact)

26          92.     The Tribe realleges each of the allegations set forth in Paragraphs 1 through 91
27   above and by this reference incorporates each allegation as if set forth herein in full.

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 1          93.     On June 28, 2016, the Tribe and the State entered the Compact. The Compact was

 2   ratified by the California State Legislature by statute. Cal. Gov’t Code § 12012.76(a).

 3          94.     Section 13 of the Compact provides: “In recognition of the government-to-

 4   government relationship of the Tribe and the State, the parties shall make their best efforts to

 5   resolve disputes that arise under this Compact by good faith negotiations whenever possible.”

 6   Section 13.1. (Emphasis added).

 7          95.     From May 16, 2023 to July 13, 2023, the Tribe and the State met, pursuant to

 8   Section 13, to resolve a dispute over which provisions of the Compact, if any, where rendered void

 9   by Chicken Ranch.
10          96.     Throughout the meet and confer process the State’s representatives refused to

11   negotiate with the Tribe over which provisions of the Compact were rendered void or otherwise

12   affected by Chicken Ranch unless or until the parties agreed on the “scope of the negotiations,

13   that is, what provisions of the Compact were subject to dispute resolution.

14          97.     The State refused to engage in substantive negotiations despite the fact that the

15   State agreed that certain provisions were “out” of the Compact or void as a result of the Chicken

16   Ranch decision and that Section 13 did not require the parties to reach agreement on the scope of

17   disputed provisions before negotiations could go forward.

18          98.     The State was obligated under Section 13 of the Compact to engage in the dispute

19   resolution process. Id., p. 2. The State’s actions in refusing to negotiate with the Tribe over which
20   provisions, if any, were rendered invalid by Chicken Ranch, unless or until the parties reached

21   agreement on the scope of the negotiations, constituted a breach of the “good faith” standard of

22   conduct imposed upon the parties by Section 13.

23          99.     An actual case or controversy exists between the Tribe and the State, in that the

24   Tribe asserts that the conduct the State engaged in during the meet and confer process violated the

25   “good faith” standard of conduct imposed upon the State under Section 13, while the State asserts

26   that its conduct met the Section 13 “good faith” standard.
27          100.    The Tribe has no adequate remedy at law and desires a judicial determination of

28   whether the State’s conduct during the parties meet and confer constituted “good faith” under

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 1   Section 13 of the Compact, pursuant to the Declaratory Relief Act, 28 U.S.C. § 2201. A prompt

 2   adjudication of this controversy is necessary and proper at this time so that the parties may

 3   ascertain their respective rights, duties, and interests under the Compact and specifically Section

 4   13.

 5          WHEREFORE, the Tribe prays as hereinafter set forth below.

 6                                       PRAYER FOR RELIEF

 7          Pursuant to the claims alleged herein, the Tribe prays as follows:

 8          1.      That the Court declare that Compact Sections 4.3, 11, 12.5, 12.6, 12.3(f), 12.3(k),

 9   and 12.10 are invalid, unenforceable, and void ab initio;
10          2.      That the Court declare that Compact Sections 4.3, 11, 12.5, 12.6, 12.3(f), 12.3(k),

11   and 12.10 are not approved by the Secretary of the Interior, are not in effect, and that the Tribe,

12   therefore, is not required to comply with them;

13          3.      That the Court preliminarily and permanently enjoin the State from enforcing

14   Compact Sections 4.3, 11, 12.5, 12.6, 12.3(f), 12.3(k), and 12.10 against the Tribe;

15          4.      That the Court order the State to provide the Tribe with an accounting of the actual

16   costs incurred by the State in regulating the Tribe’s gaming under the 2016 Compact from the

17   effective date the 2016 Compact until the date of the Court’s order;

18          5.      That the Court declares that the State’s during the meet and confer process with the

19   Tribe, violated the “good faith” standard of Section 13 of the Compact.
20          6.      That the Tribe be awarded its costs and reasonable attorney fees; and

21          7.      That the Court grants such other relief as may be deemed appropriate.

22
                                                  Respectfully Submitted,
23
     DATED: August 22, 2023                       LAW OFFICES OF RAPPORT AND MARSTON
24

25                                         By:    /s/ Lester J. Marston
                                                  LESTER J. MARSTON, Attorney for
26                                                Buena Vista Rancheria of Me-Wuk Indians
27

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        TRIBAL-STATE COMPACT

                     BETWEEN

      THE STATE OF CALIFORNIA

                      AND THE

    BUENA VISTA RANCHERIA OF

 ME-WUK INDIANS OF CALIFORNIA
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                 TRIBAL-STATE COMPACT
        BETWEEN THE STATE OF CALIFORNIA AND THE
 BUENA VISTA RANCHERIA OF ME-WUK INDIANS OF CALIFORNIA


The Buena Vista Rancheria of Me-Wuk Indians of California (Tribe), a federally
recognized Indian tribe, and the State of California (State) enter into this tribal-
state class III gaming compact pursuant to the Indian Gaming Regulatory Act of
1988 (IGRA).

                                    PREAMBLE

WHEREAS, in 2004, the Tribe and the State entered into the “Amendment to
Tribal-State Compact Between the State of California and the Buena Vista
Rancheria of Me-Wuk Indians of California,” which enabled the Tribe, through
revenues generated by its Gaming Operation, to improve the governance,
environment, education, health, safety, and general welfare of its citizens, and to
promote a strong tribal government, self-sufficiency, and to provide essential
government services to its citizens; and

WHEREAS, the Tribe is committed to improving the environment, education
status, and the health, safety and general welfare of its members and local
residents; and

WHEREAS, the State and the Tribe recognize that the exclusive rights that the
Tribe will enjoy under this Tribal-State Compact Between the State of California
and the Buena Vista Rancheria of the Me-Wuk Indians of California (Compact)
create a unique opportunity for the Tribe to operate a Gaming Facility in an
economic environment free of competition from the operation of slot machines and
banked card games on non-Indian lands in California and that this unique
economic environment is of great value to the Tribe; and

WHEREAS, in consideration of the exclusive rights enjoyed by the Tribe to
engage in the Gaming Activities and to operate the number of Gaming Devices
specified herein, and the other meaningful concessions offered by the State in good
faith negotiations, and pursuant to IGRA, the Tribe reaffirms its commitment, inter
alia, to provide to the State, on a sovereign-to-sovereign basis, and to local
jurisdictions, fair cost reimbursement and mitigation from revenues from the
Gaming Devices operated pursuant to this Compact on a payment schedule; and



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WHEREAS, the Tribe and the State have a shared interest in ensuring that the
Revenue Sharing Trust Fund is fully solvent and that the Tribal Nation Grant Fund
is developed through a process that includes consultation with tribal governments
and implemented in a manner to ensure that tribal gaming revenues have a positive
impact on tribes throughout California; and

WHEREAS, the Tribe and the State share an interest in mitigating the off-
reservation impacts of the Gaming Facility, affording meaningful consumer and
employee protections in connection with the operations of the Gaming Facility,
fairly regulating the Gaming Activities conducted at the Gaming Facility, and
fostering a good-neighbor relationship; and

WHEREAS, the Tribe and the State share a joint sovereign interest in ensuring that
Gaming Activities are free from criminal and other undesirable elements; and

WHEREAS, this Compact will afford the Tribe primary responsibility over the
regulation of its Gaming Facility and will enhance the Tribe’s economic
development and self-sufficiency; and

WHEREAS, the State and the Tribe have therefore concluded that this Compact
protects the interests of the Tribe and its members, the surrounding community,
and the California public, and will promote and secure long-term stability, mutual
respect, and mutual benefits; and

WHEREAS, the State and the Tribe agree that all terms of this Compact are
intended to be binding and enforceable.

NOW, THEREFORE, the Tribe and the State agree as set forth herein:

SECTION 1.0. PURPOSES AND OBJECTIVES.

      The terms of this Compact are designed and intended to:

      (a)     Evidence the goodwill and cooperation of the Tribe and the State in
              fostering a mutually respectful government-to-government
              relationship that will serve the mutual interests of the parties.

      (b)     Enhance and implement a means of regulating Class III Gaming to
              ensure its fair and honest operation in a way that protects the interests
              of the Tribe, the State, its citizens, and local communities in

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              accordance with IGRA, and through that regulated Class III Gaming,
              enable the Tribe to develop self-sufficiency, promote tribal economic
              development, and generate jobs and revenues to support the Tribe’s
              government and its governmental services and programs.

      (c)     Promote ethical practices in conjunction with Class III Gaming,
              through the licensing and control of persons and entities employed in,
              or providing goods and services to, the Gaming Operation, protect
              against the presence or participation of persons whose criminal
              backgrounds, reputations, character, or associations make them
              unsuitable for participation in gaming, thereby maintaining a high
              level of integrity in tribal government gaming, and protect the patrons
              and employees of the Gaming Operation and the local communities.

      (d)     Achieve the objectives set forth in the preamble.

SECTION 2.0. DEFINITIONS.

       Sec. 2.1. “Applicable Codes” means the California Building Code and the
California Public Safety Code applicable to the County, as set forth in titles 19 and
24 of the California Code of Regulations, as those regulations may be amended
during the term of this Compact, including, but not limited to, codes for building,
electrical, energy, mechanical, plumbing, fire and safety.

     Sec. 2.2. “Applicant” means an individual or entity that applies for a tribal
gaming license or for a State Gaming Agency determination of suitability.

       Sec. 2.3. “Association” means an association of California tribal and state
gaming regulators, the membership of which comprises up to two (2)
representatives from each tribal gaming agency of those tribes with whom the State
has a gaming compact under IGRA, and up to two (2) delegates each from the state
Department of Justice, Bureau of Gambling Control and the California Gambling
Control Commission.

      Sec. 2.4. “Class III Gaming” means the forms of class III gaming defined in
25 U.S.C. § 2703(8) and by the regulations of the National Indian Gaming
Commission.

    Sec. 2.5. “Commission” means the California Gambling Control
Commission, or any successor agency of the State.

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      Sec. 2.6. “Compact” means this Tribal-State Compact Between the State of
California and the Buena Vista Rancheria of the Me-Wuk Indians.

      Sec. 2.7. “County” means the County of Amador, California, a political
subdivision of the State.

       Sec. 2.8. “Financial Source” means any person or entity who, directly or
indirectly, extends financing in connection with the Tribe’s Gaming Facility or
Gaming Operation.

     Sec. 2.9. “Gaming Activity” or “Gaming Activities” means the Class III
Gaming activities authorized under this Compact.

       Sec. 2.10. “Gaming Device” means any slot machine within the meaning of
article IV, section 19, subdivision (f) of the California Constitution. For purposes
of calculating the number of Gaming Devices, each player station or terminal on
which a game is played constitutes a separate Gaming Device, irrespective of
whether it is part of an interconnected system to such terminals or stations.
“Gaming Device” includes, but is not limited to, video poker, but does not include
electronic, computer, or other technological aids that qualify as class II gaming (as
defined under IGRA).

       Sec. 2.11. “Gaming Employee” means any natural person who (a) conducts,
operates, maintains, repairs, accounts for, or assists in any Gaming Activities, or is
in any way responsible for supervising such Gaming Activities or persons who
conduct, operate, maintain, repair, account for, assist, or supervise any such
Gaming Activities, (b) is in a category under federal or tribal gaming law requiring
licensing, (c) is an employee of the Tribal Gaming Agency with access to
confidential information, or (d) is a person whose employment duties require or
authorize access to areas of the Gaming Facility in which Gaming Activities are
conducted that are not open to the public.

        Sec. 2.12. “Gaming Facility” or “Facility” means any building in which
Gaming Activities or any Gaming Operations occur, or in which business records,
receipts, or funds of the Gaming Operation are maintained (excluding offsite
facilities primarily dedicated to storage of those records, and financial institutions),
and all rooms, buildings, and areas, including hotels, parking lots, and walkways, a
principal purpose of which is to serve the activities of the Gaming Operation rather
than providing that operation with an incidental benefit, provided that nothing
herein prevents the conduct of class II gaming (as defined under IGRA) therein.

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Nothing herein shall be construed to apply in a manner that does not directly relate
to the operation of Gaming Activities.

      Sec. 2.13. “Gaming Operation” means the business enterprise that offers
and operates Gaming Activities, whether exclusively or otherwise.

      Sec. 2.14. “Gaming Ordinance” means a tribal ordinance or resolution duly
authorizing the conduct of Gaming Activities on the Tribe’s Indian lands in
California and approved under IGRA.

      Sec. 2.15. “Gaming Resources” means any goods or services provided or
used in connection with Gaming Activities, whether exclusively or otherwise,
including, but not limited to, equipment, furniture, Gaming Devices and ancillary
equipment, implements of Gaming Activities such as playing cards, furniture
designed primarily for Gaming Activities, maintenance or security equipment and
services, and Class III Gaming consulting services. “Gaming Resources” does not
include professional accounting and legal services.

       Sec. 2.16. “Gaming Resource Supplier” means any person or entity who,
directly or indirectly, does, or is deemed likely to, manufacture, distribute, supply,
vend, lease, purvey, or otherwise provide, to the Gaming Operation or Gaming
Facility at least twenty-five thousand dollars ($25,000) in Gaming Resources in
any twelve (12)-month period, or who, directly or indirectly, receives, or is deemed
likely to receive, in connection with the Gaming Operation or Gaming Facility, at
least twenty-five thousand dollars ($25,000) in any consecutive twelve (12)-month
period, provided that the Tribal Gaming Agency may exclude a purveyor of
equipment or furniture that is not specifically designed for, and is distributed
generally for use other than in connection with, Gaming Activities, if, but for the
purveyance, the purveyor is not otherwise a Gaming Resource Supplier as defined
herein, the compensation received by the purveyor is not grossly disproportionate
to the value of the goods or services provided, and the purveyor is not otherwise a
person who exercises a significant influence over the Gaming Operation.

     Sec. 2.17. “IGRA” means the Indian Gaming Regulatory Act of 1988 (PL.
100-497, 18 U.S.C. §§ 1166-1168 and 25 U.S.C. § 2701 et seq.), and any
amendments thereto, as interpreted by all regulations promulgated thereunder.

      Sec. 2.18. “Interested Persons” means (i) all local, state, and federal
agencies, which, if a Project were not taking place on Indian lands, would have
responsibility for approving the Project or would exercise authority over the

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natural resources that may be affected by the Project, (ii) any city in Amador
County, and (iii) persons, groups, or agencies that request in writing a notice of
preparation of a draft tribal environmental impact report described in section 11.0,
or have commented on the Project in writing to the Tribe or the County.

      Sec. 2.19. “Management Contractor” means any Gaming Resource Supplier
with whom the Tribe has contracted for the management of any Gaming Activity
or Gaming Facility, including, but not limited to, any person who would be
regarded as a management contractor under IGRA.

      Sec. 2.20. “Net Win” means drop from Gaming Devices, plus the
redemption value of expired tickets, less fills, less payouts, less that portion of the
Gaming Operation’s payments to a third-party wide-area progressive jackpot
system provider that is contributed only to the progressive jackpot amount.

      Sec. 2.21. “NIGC” means the National Indian Gaming Commission.

       Sec. 2.22. “Project” means any activity occurring on Indian lands, a
principal purpose of which is to serve the Gaming Activities or Gaming Operation,
and which may cause either a direct physical change in the off-reservation
environment, or a reasonably foreseeable indirect physical change in the off-
reservation environment. This definition shall be understood to include, without
limitation, the addition of Gaming Devices within an existing Gaming Facility, the
impacts of which have not previously been addressed in a tribal environmental
impact report described in section 11.0, and construction or planned expansion of
any Gaming Facility and related improvement thereto, a principal purpose of
which is to serve the Gaming Facility rather than provide that facility with an
incidental benefit, as long as such additional Gaming Devices or construction or
expansion may cause either a direct or reasonably foreseeable indirect physical
change in the off-reservation environment. For purposes of this definition, section
11.0, and Appendix B, “reservation” refers to the Tribe’s Indian lands within the
meaning of IGRA or lands otherwise held in trust for the Tribe by the United
States.

       Sec. 2.23. “Revenue Sharing Trust Fund” is a fund created by the
Legislature and administered by the State Gaming Agency that, as limited trustee,
is not a trustee subject to the duties and liabilities contained in the California
Probate Code, similar state or federal statutes, rules or regulations, or under state or
federal common law or equitable principles, and has no duties, responsibilities, or
obligations hereunder except for the receipt, deposit, and distribution of monies

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paid by gaming tribes for the benefit of Non-Gaming Tribes and Limited-Gaming
Tribes.

      Sec. 2.24. “Significant Effect(s) on the Off-Reservation Environment” is the
same as “Significant Effect(s) on the Environment” and occur(s) if any of the
following conditions exist:

      (a)     A proposed Project has the potential to degrade the quality of the off-
              reservation environment, curtail the range of the environment, or
              achieve short-term, to the disadvantage of long-term, environmental
              goals.

      (b)     The possible effects of a Project on the off-reservation environment
              are individually limited but cumulatively considerable. As used
              herein, “cumulatively considerable” means that the incremental
              effects of an individual Project are considerable when viewed in
              connection with the effects of past projects, the effects of other current
              projects, and the effects of probable future projects.

      (c)     The off-reservation environmental effects of a Project will cause
              substantial adverse effects on human beings, either directly or
              indirectly.

For purposes of this definition, “reservation” refers to the Tribe’s Indian lands
within the meaning of IGRA or lands otherwise held in trust for the Tribe by the
United States.

     Sec. 2.25. “State” means the State of California or an authorized official or
agency thereof designated by this Compact or by the Governor.

      Sec. 2.26. “State Designated Agency” means the entity or entities
designated or to be designated by the Governor to exercise rights and fulfill
responsibilities established by this Compact.

       Sec. 2.27. “State Gaming Agency” means the entities authorized to
investigate, approve, regulate and license gaming pursuant to the Gambling
Control Act (chapter 5 (commencing with section 19800) of division 8 of the
California Business and Professions Code), or any successor statutory scheme, and
any entity or entities in which that authority may hereafter be vested.



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      Sec. 2.28. “Tribe” means the Buena Vista Rancheria of Me-Wuk Indians of
California, a federally recognized Indian tribe listed in the Federal Register or an
authorized official or agency thereof.

       Sec. 2.29. “Tribal Chair” means the person duly elected or selected under
the Tribe’s constitution or governing documents to perform the duties specified
therein, including serving as the Tribe’s official representative.

      Sec. 2.30. “Tribal Gaming Agency” means the person, agency, board,
committee, commission, or council designated under tribal law, including, but not
limited to, an intertribal gaming regulatory agency approved to fulfill those
functions by the NIGC, primarily responsible for carrying out the Tribe’s
regulatory responsibilities under IGRA and the Tribal Gaming Ordinance. No
person employed in, or in connection with, the management, supervision, or
conduct of any Gaming Activity may be a member or employee of the Tribal
Gaming Agency.

       Sec. 2.31. “Tribal Nation Grant Fund” is a fund created by the Legislature
to make discretionary distribution of funds to Non-Gaming Tribes and Limited-
Gaming Tribes upon application of such tribes for purposes related to effective
self-governance, self-determined community, and economic development.

SECTION 3.0. SCOPE OF CLASS III GAMING AUTHORIZED.

      Sec. 3.1. Authorized Class III Gaming.

      (a)     The Tribe is hereby authorized and permitted to operate only the
              following Gaming Activities under the terms and conditions set forth
              in the Compact:

              (1)   Gaming Devices.

              (2)   Any banking or percentage card games.

              (3)   Any devices or games that are authorized under state law to the
                    California State Lottery, provided that the Tribe will not offer
                    such games through use of the Internet unless others in the state
                    not affiliated with or licensed by the California State Lottery are
                    permitted to do so under state and federal law.



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      (b)     Nothing herein shall be construed to preclude the Tribe from offering
              class II gaming or preclude the negotiation of a separate compact
              governing the conduct of off-track wagering at the Tribe’s Gaming
              Facility.

      (c)     Nothing herein shall be construed to authorize or permit the operation
              of any Class III Gaming that the State lacks the power to authorize or
              permit under article IV, section 19, subdivisions (e) and (f), of the
              California Constitution. This includes, but is not limited to, the
              operation of the game known as roulette, whether or not played with
              or on a mechanical, electro-mechanical, electrical, or video device, or
              cards, or any combination of such devices.

      (d)     The Tribe shall not engage in Class III Gaming that is not expressly
              authorized in this Compact.

SECTION 4.0. AUTHORIZED LOCATION OF GAMING FACILITY,
NUMBER OF GAMING DEVICES, COST REIMBURSEMENT, AND
MITIGATION.

      Sec. 4.1. Authorized Number of Gaming Devices.

      The Tribe is entitled to operate up to a total of two thousand (2,000) Gaming
Devices pursuant to the conditions set forth in section 3.1 and sections 4.2 through
and including section 5.2.

      Sec. 4.2. Authorized Gaming Facility.

       The Tribe may establish and operate not more than one Gaming Facility in
which Gaming Activities are conducted and engage in Class III Gaming only on
eligible Indian lands located within the boundaries of the Buena Vista Rancheria of
Me-Wuk Indians Reservation as those boundaries exist as of the execution date of
this Compact, as legally described in, and represented on the map at Appendix A
hereto, and on which Class III Gaming may lawfully be conducted under IGRA.
Notwithstanding anything contrary in this Compact, however, any independent
structures or other improvements ancillary to the Gaming Activities, in which no
Class III Gaming is conducted, including any roads, parking lots, storage buildings
or walkways, may be on contiguous land to the aforesaid Indian lands (i) where
said contiguous land is held in fee or in leasehold by the Tribe but only if the
Tribe’s activities thereon are subject to the jurisdiction of State law and the State

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courts, or (ii) where said contiguous land is Indian lands within the meaning of
IGRA.

      Sec. 4.3. Special Distribution Fund.

       The Tribe shall pay to the State on a pro rata basis the State’s 25 U.S.C. §
2710(d)(3)(C) costs incurred for purposes consistent with IGRA, including the
performance of all its duties under this Compact, the administration and
implementation of tribal-state gaming compacts, and funding for the Office of
Problem Gambling, as determined by the monies appropriated in the annual
Budget Act each fiscal year to carry out those purposes (“Appropriation”). The
Appropriation and the maximum number of Gaming Devices operated by all
federally recognized tribes in California pursuant to tribal-state Class III Gaming
compacts determined to be in operation during the previous State fiscal year shall
be reported annually by the State Gaming Agency to the Tribe on or before
December 15. The term “operated” or “operation” as used in this Compact in
relation to Gaming Devices describes each and every Gaming Device available to
patrons (including slot tournament contestants) for play at any given time. The
Tribe’s pro rata share of the State’s 25 U.S.C. § 2710(d)(3)(C) regulatory costs in
any year this Compact is in effect shall be calculated by the following equation,
provided that the Tribe’s annual pro rata share payment amount in a year shall be
capped at an amount equal to a five (5) percent increase from the Tribe’s pro rata
share calculated in the immediately preceding year:

      The maximum number of Gaming Devices operated in the Tribe’s
      Gaming Facility during the previous State fiscal year as determined by
      the State Gaming Agency, divided by the maximum number of
      Gaming Devices operated by all federally recognized tribes in
      California pursuant to tribal-state Class III Gaming compacts during
      the previous State fiscal year, multiplied by the Appropriation, equals
      the Tribe’s pro rata share.

      (a)     Beginning the first full quarter after Class III Gaming commences
              under this Compact, the Tribe shall pay its pro rata share to the State
              Gaming Agency for deposit into the Indian Gaming Special
              Distribution Fund established by the Legislature (Special Distribution
              Fund). The payment shall be made in four (4) equal quarterly
              installments due on the thirtieth (30th) day following the end of each
              calendar quarter (i.e., by April 30 for the first quarter, July 30 for the
              second quarter, October 30 for the third quarter, and January 30 for

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              the fourth quarter); provided, however, that in the event this Compact
              becomes effective during a calendar quarter, payment shall be
              prorated for the number of days remaining in that initial quarter, in
              addition to any remaining full quarters in the first calendar year of
              operation to obtain a full year of full quarterly payments of the Tribe’s
              pro rata share specified above. A payment year will run from January
              through December. If any portion of the Tribe’s quarterly pro rata
              share payment is overdue, the Tribe shall pay to the State for purposes
              of deposit into the appropriate fund, the amount overdue plus interest
              accrued thereon at the rate of one percent (1.0%) per month or the
              maximum rate permitted by state law for delinquent payments owed
              to the State, whichever is less. All quarterly payments shall be
              accompanied by the report specified in section 4.5, subdivision (b).

      (b)     If the Tribe objects to the State’s determination of the Tribe’s
              pro rata share, or to the amount of the Appropriation as
              including matters not consistent with IGRA, the matter shall be
              resolved in accordance with the dispute resolution provisions of
              section 13.0. Any State determination of the Tribe’s pro rata
              share challenged by the Tribe shall govern and shall be paid by
              the Tribe to the State when due, and the Tribe’s payment is a
              condition precedent to invoking the section 13.0 dispute
              resolution provisions.

      (c)     The foregoing payments have been negotiated between the parties as a
              fair and reasonable contribution, based upon the State’s costs of
              regulating and mitigating certain impacts of tribal Class III Gaming
              Activities, as well as the Tribe’s market conditions, its circumstances,
              and the rights afforded and consideration provided by this Compact.

      Sec. 4.3.1. Use of Special Distribution Funds.

      Revenue placed in the Special Distribution Fund shall be available for
appropriation by the Legislature for the following purposes:

      (a)     Grants, including any administrative costs, for programs designed to
              address and treat gambling addiction;




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(b)     Grants, including any administrative costs and environmental review
        costs, for the support of State and local government agencies impacted
        by tribal government gaming;

(c)     Compensation for regulatory costs incurred by the State including, but
        not limited to, the State Gaming Agency, the State Department of
        Justice, and State Designated Agencies in connection with the
        implementation and administration of Class III Gaming compacts;

(d)     Compensation to state and local government for law enforcement,
        fire, public safety, and other emergency response services provided in
        response to or arising from any threat to the health, welfare and safety
        of Gaming Facility patrons, employees, tribal members or the public
        generally, attributable to, or as a consequence of, intra-tribal
        government disputes; and

(e)     Any other purposes specified by the Legislature that are consistent
        with IGRA.

Sec. 4.4. Quarterly Payments and Quarterly Contribution Report.

(a)     (1)   The Tribe shall remit quarterly to the State Gaming Agency (i)
              the payments described in section 4.3, for deposit into the
              Special Distribution Fund and (ii) the payments described in
              section 5.2, for deposit into the Revenue Sharing Trust Fund or
              the Tribal Nation Grant Fund.

        (2)   If the Gaming Activities authorized by this Compact commence
              during a calendar quarter, the first payment shall be due on the
              thirtieth (30th) day following the end of the first full quarter of
              the Gaming Activities and shall cover the period from the
              commencement of the Gaming Activities to the end of the first
              full calendar quarter.

        (3)   All quarterly payments shall be accompanied by the
              certification specified in subdivision (b).

(b)     At the time each quarterly payment is due, regardless of whether any
        monies are owed, the Tribe shall submit to the State Gaming Agency


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        a certification (the “Quarterly Contribution Report”) that specifies the
        following:

        (1)   calculation of the maximum number of Gaming Devices
              operated in the Gaming Facility for each day during the given
              quarter;

        (2)   the Net Win calculation reflecting the quarterly Net Win from
              the operation of all Gaming Devices in the Facility;

        (3)   the amount due pursuant to section 4.3;

        (4)   calculation of the amount due pursuant to section 5.2; and

        (5)   the total amount of the quarterly payment paid to the State.

        The Quarterly Contribution Report shall be prepared by the chief
        financial officer of the Gaming Operation.

(c)     (l)   At any time after the fourth quarter, but in no event later than
              April 30 of the following calendar year, the Tribe shall provide
              to the State Gaming Agency an audited annual certification of
              its Net Win calculation from the operation of Gaming Devices.
              The audit shall be conducted in accordance with generally
              accepted auditing standards, as applied to audits for the gaming
              industry, by an independent certified public accountant who is
              not employed by the Tribe, the Tribal Gaming Agency, the
              Management Contractor, or the Gaming Operation, is only
              otherwise retained by any of these entities to conduct regulatory
              audits or independent audits of the Gaming Operation, and has
              no financial interest in any of these entities. The auditor used
              by the Tribe for this purpose shall hold a valid license issued by
              the California Accountancy Board.

        (2)   If the audit shows that the Tribe made an overpayment from its
              Net Win to the State during the year covered by the audit, the
              Tribe’s next quarterly payment may be reduced by the amount
              of the overage. If the audit shows that the Tribe made an
              underpayment to the State during the year covered by the audit,



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              the Tribe’s next quarterly payment shall be increased by the
              amount of the underpayment.

        (3)   The State Gaming Agency shall be authorized to confer with
              the auditor at the conclusion of the audit process and to review
              all of the independent certified public accountant’s final work
              papers and documentation relating to the audit. The Tribal
              Gaming Agency shall be notified of and provided the
              opportunity to participate in and attend any such conference or
              document review.

(d)     The State Gaming Agency may audit the calculations in subdivision
        (b) and Net Win calculations specified in the audit provided pursuant
        to subdivision (c). The State Gaming Agency shall have access to all
        records deemed necessary by the State Gaming Agency to verify the
        calculations in subdivision (b) and Net Win calculations, including
        access to the Gaming Device accounting systems and server-based
        systems and software, and to the data contained therein on a read only
        basis. If the State Gaming Agency determines that the Net Win is
        understated or the deductions overstated, it will promptly notify the
        Tribe and provide a copy of the audit. The Tribe within twenty (20)
        days will either accept the difference or provide a reconciliation
        satisfactory to the State Gaming Agency. If the Tribe accepts the
        difference or does not provide a reconciliation satisfactory to the State
        Gaming Agency, the Tribe must immediately pay the amount of the
        resulting deficiency, plus accrued interest thereon at the rate of one
        percent (1%) per month or the maximum rate permitted by state law
        for delinquent payments owed to the State, whichever is less. If the
        Tribe does not accept the difference but does not provide a
        reconciliation satisfactory to the State Gaming Agency, the Tribe,
        once payment is made, may commence dispute resolution under
        section 13.0. The parties expressly acknowledge that the
        certifications provided for in subdivision (b) are subject to section 8.4,
        subdivision (h).

(e)     Notwithstanding anything to the contrary in section 13.0, any failure
        of the Tribe to remit the payments referenced in subdivision (a), will
        entitle the State to immediately seek injunctive relief in federal or
        state court, at the State’s election, to compel the payments, plus
        accrued interest thereon at the rate of one percent (1%) per month, or

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              the maximum rate permitted by State law for delinquent payments
              owed to the State, whichever is less; and further, the Tribe expressly
              consents to be sued in either court and waives its right to assert
              sovereign immunity against the State in any such proceeding. Failure
              to make timely payment shall be deemed a material breach of this
              Compact.

      (f)     If any portion of the payments under subdivision (a) of this section is
              overdue after the State Gaming Agency has provided written notice to
              the Tribe of the overdue amount with an opportunity to cure of at least
              fifteen (15) business days, and if more than sixty (60) calendar days
              have passed from the due date, then the Tribe shall cease operating all
              of its Gaming Devices until full payment is made.

      Sec. 4.5. Exclusivity.

      In recognition of the Tribe’s agreement to make the payments specified in
sections 4.3 and 5.2, the Tribe shall have the following rights:

      (a)     In the event the exclusive right of Indian tribes to operate Gaming
              Devices in California is abrogated by the enactment, amendment, or
              repeal of a State statute or constitutional provision, or the conclusive
              and dispositive judicial construction of a statute or the State
              Constitution by a California appellate court after the effective date of
              this Compact that Gaming Devices may lawfully be operated by
              another person, organization, or entity (other than an Indian tribe)
              within California, the Tribe shall have the right to exercise one of the
              following options:

              (1)   Terminate this Compact, in which case the Tribe will lose the
                    right to operate Gaming Devices and other Class III Gaming
                    authorized by this Compact; or

              (2)   Continue under this Compact with an entitlement to a reduction
                    of the rates specified in section 5.2 following the conclusion of
                    negotiations, to provide for: (A) compensation to the State for
                    the costs of regulation, as set forth in section 4.3; (B)
                    reasonable payments to local governments impacted by tribal
                    government gaming, the amount to be determined based upon
                    any intergovernmental agreement entered into pursuant to 11.7;

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                  (C) grants for programs designed to address and treat gambling
                  addiction; and (D) such assessments as permitted at such time
                  under federal law. Such negotiations shall commence within
                  thirty (30) days after receipt of a written request by a party to
                  enter into the negotiations, unless both parties agree in writing
                  to an extension of time. If the Tribe and the State fail to reach
                  agreement on the amount of reduction of such payments within
                  sixty (60) days following commencement of the negotiations
                  specified in this section, the amount shall be determined by
                  arbitration pursuant to section 13.2.

    (b)     Nothing in this section is intended to preclude the California State
            Lottery from offering any lottery games or devices that are currently
            or may hereafter be authorized by state law.


SECTION 5.0. REVENUE SHARING WITH NON-GAMING AND
LIMITED-GAMING TRIBES.

    Sec. 5.1. Definitions.

    For purposes of this section 5.0, the following definitions apply:

    (a)     The “Revenue Sharing Trust Fund” is a fund created by the
            Legislature and administered by the State Gaming Agency that, as a
            limited trustee, is not a trustee subject to the duties and liabilities
            contained in the California Probate Code, similar state or federal
            statutes, rules or regulations, or under state or federal common law or
            equitable principles, and has no duties, responsibilities, or obligations
            hereunder except for the receipt, deposit, and distribution of monies
            paid by gaming tribes for the benefit of Non-Gaming Tribes and
            Limited-Gaming Tribes. The State Gaming Agency shall allocate and
            disburse the Revenue Sharing Trust Fund monies on a quarterly basis
            as specified by the Legislature. Each eligible Non-Gaming Tribe and
            Limited-Gaming Tribe in the State shall receive the sum of one
            million one hundred thousand dollars ($1,100,000) per year from the
            Revenue Sharing Trust Fund. In the event there are insufficient
            monies in the Revenue Sharing Trust Fund to pay one million one
            hundred thousand dollars ($1,100,000) per year to each eligible Non-
            Gaming Tribe and Limited-Gaming Tribe, any available monies in

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        that fund shall be distributed to eligible Non-Gaming Tribes and
        Limited-Gaming Tribes in equal shares. Monies deposited into the
        Revenue Sharing Trust Fund in excess of the amount necessary to
        distribute one million one hundred thousand dollars ($1,100,000) to
        each eligible Non-Gaming Tribe and Limited-Gaming Tribe shall
        remain in the Revenue Sharing Trust Fund available for disbursement
        in future years, or be deposited in the Tribal Nation Grant Fund, but
        shall not be used for purposes other than the Revenue Sharing Trust
        Fund or the Tribal Nation Grant Fund. In no event shall the State’s
        general fund be obligated to make up any shortfall in the Revenue
        Sharing Trust Fund or to pay any unpaid claims connected therewith,
        and, notwithstanding any provision of law, including any existing
        provision of law implementing the State Gaming Agency’s
        obligations related to the Revenue Sharing Trust Fund under any
        Class III Gaming compact, Non-Gaming Tribes and Limited-Gaming
        Tribes are not third-party beneficiaries of this Compact and shall have
        no right to seek any judicial order compelling disbursement of any
        Revenue Sharing Trust Fund monies to them.

(b)     The “Tribal Nation Grant Fund” is a fund created by the Legislature to
        make discretionary distribution of funds to Non-Gaming Tribes and
        Limited-Gaming Tribes upon application of such tribes for purposes
        related to effective self-governance, self-determined community, and
        economic development. The fiscal operations of the Tribal Nation
        Grant Fund are administered by the State Gaming Agency, which acts
        as a limited trustee, not subject to the duties and liabilities contained
        in the California Probate Code, similar state or federal statutes, rules
        or regulations, or under state or federal common law or equitable
        principles, and with no duties or obligations hereunder except for the
        receipt, deposit, and distribution of monies paid by gaming tribes for
        the benefit of Non-Gaming Tribes and Limited-Gaming Tribes, as
        those payments are directed by a State Designated Agency. The State
        Gaming Agency shall allocate and disburse the Tribal Nation Grant
        Fund monies as specified by a State Designated Agency to one (1) or
        more eligible Non-Gaming and Limited-Gaming Tribes upon a
        competitive application basis. The State Gaming Agency shall
        exercise no discretion or control over, nor bear any responsibility
        arising from, the recipient tribes’ use or disbursement of Tribal Nation
        Grant Fund monies. The State Designated Agency shall perform any
        necessary audits to ensure that monies awarded to any tribe are being

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             used in accordance with their disbursement in relation to the purpose
             of the Tribal Nation Grant Fund. In no event shall the State’s general
             fund be obligated to pay any monies into the Tribal Nation Grant
             Fund or to pay any unpaid claims connected therewith, and,
             notwithstanding any provision of law, including any existing
             provision of law implementing the State’s obligations related to the
             Tribal Nation Grant Fund or the Revenue Sharing Trust Fund under
             any Class III Gaming compact, Non-Gaming Tribes and Limited-
             Gaming Tribes are not third-party beneficiaries of this Compact and
             shall have no right to seek any judicial order compelling disbursement
             of any Tribal Nation Grant Fund monies to them.
     (c)     A “Non-Gaming Tribe” is a federally recognized tribe in California,
             with or without a tribal-state Class III Gaming compact, that has not
             engaged in, or offered, class II gaming or Class III Gaming in any
             location whether within or without California, as of the date of
             distribution to such tribe from the Revenue Sharing Trust Fund or the
             Tribal Nation Grant Fund, or during the immediately preceding three
             hundred sixty-five (365) days.

     (d)     A “Limited-Gaming Tribe” is a federally recognized tribe in
             California that has a Class III Gaming compact with the State but is
             operating fewer than a combined total of three hundred fifty (350)
             Gaming Devices in all of its gaming operations wherever located, or
             does not have a Class III Gaming compact but is engaged in class II
             gaming, whether within or without California, during the immediately
             preceding three hundred sixty-five (365) days.

     Sec. 5.2. Payments to the Revenue Sharing Trust Fund or the Tribal
Nation Grant Fund.

     (a)     If the Tribe operates more than three hundred fifty (350) Gaming
             Devices at any time in a given calendar year, it shall thereafter,
             including in that calendar year, pay to the State Gaming Agency, for
             deposit into the Revenue Sharing Trust Fund or the Tribal Nation
             Grant Fund, six percent (6%) of its Net Win from its operation of
             Gaming Devices in excess of three hundred fifty (350).

     (b)     The Tribe shall remit the payments referenced in subdivision (a), as
             may be applicable, to the State Gaming Agency in quarterly


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        payments, which payments shall be due thirty (30) days following the
        end of each calendar quarter (i.e., by April 30 for the first quarter, July
        30 for the second quarter, October 30 for the third quarter, and
        January 30 for the fourth quarter). While the confidentiality
        provisions of section 8.4 apply to the individual amount of the Tribe’s
        payments, the State Gaming Agency may as necessary report the
        amount in the aggregate combined with contributions of other
        compact tribes.

(c)     The quarterly payments referenced in subdivision (b) required by
        subdivision (a), as may be appropriate, shall be determined by first
        determining the total number of all Gaming Devices operated by the
        Tribe during a given quarter (Quarterly Device Base). The Quarterly
        Device Base is equal to the sum of the maximum number of Gaming
        Devices in operation for each day of the calendar quarter divided by
        the number of days in the calendar quarter that the Gaming Operation
        operates any Gaming Devices during the given calendar quarter.

(d)     If any portion of the payments under subdivision (b) is overdue after
        the State Gaming Agency has provided written notice to the Tribe of
        the overdue amount with an opportunity to cure of at least fifteen (15)
        business days, and if more than sixty (60) calendar days have passed
        from the due date, then the Tribe shall cease operating all of its
        Gaming Devices until full payment is made.

(e)     All payments made by the Tribe to the State Gaming Agency pursuant
        to subdivision (b) shall be deposited into the Revenue Sharing Trust
        Fund and the Tribal Nation Grant Fund in a proportion to be
        determined by the Legislature, provided that if there are insufficient
        monies in the Revenue Sharing Trust Fund to pay one million one
        hundred thousand dollars ($1,100,000) per year to each eligible Non-
        Gaming Tribe and Limited-Gaming Tribe, the State Gaming Agency
        shall deposit all payments into the Revenue Sharing Trust Fund.

(f)     Either party may request reopening of negotiations, limited
        exclusively to the provisions of section 5.2, subdivision (a), if the
        balance of funds within the Revenue Sharing Trust Fund or the Tribal
        Nation Grant Fund either exceeds or falls short of the amount
        reasonably required to meet the long-term obligations of either fund.
        Neither party is obligated to accept a request to reopen negotiations

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               under this subdivision and either party may decline the request for any
               reason.

       (g)     Notwithstanding any other provision of this Compact, in no event
               shall the State’s general fund be obligated to make up any shortfall in
               the Revenue Sharing Trust Fund or the Tribal Nation Grant Fund or to
               pay any unpaid claims connected therewith. Notwithstanding any
               provision of law, including any existing provision of law
               implementing the State Gaming Agency’s obligations related to the
               Revenue Sharing Trust Fund or the Tribal Nation Grant Fund under
               any Class III Gaming compact, Non-Gaming Tribes and Limited-
               Gaming Tribes are not third-party beneficiaries of this Compact and
               shall have no right to seek any judicial order compelling negotiation
               under subdivision (f), or disbursement of any Revenue Sharing Trust
               Fund or Tribal Nation Grant Fund monies to them.

       Sec. 5.3. Provision for Credits Related to Payments Due Under Section
5.2.

      Notwithstanding anything to the contrary in section 5.2, the State agrees to
provide the Tribe with annual credits for up to sixty percent (60%) of the payments
otherwise due under section 5.2 for the following:

       (a)     Annual payments by the Tribe (not derived from a direct or indirect
               state or federal funding source) to the County and to local
               jurisdictions operating facilities or providing services within the
               County for purposes of improved fire, law enforcement, public transit,
               education, tourism, and other services and infrastructure
               improvements intended to include serving off-reservation needs of
               County residents and not otherwise required by section 11.0 (except
               as provided herein below). Such payments shall be subject to
               approval by the County or local jurisdiction in the County. Annual
               payments by the Tribe made pursuant to Exhibit F, “Annual Operating
               Costs,” Exhibit G, and Exhibit H of the Intergovernmental Services
               Agreement between the County of Amador and the Buena Vista
               Rancheria of Me-Wuk Indians approved by arbitration on June 11,
               2008 and currently in effect are eligible credits under this subdivision
               and will be deemed to have the approval of the County until the
               termination of that agreement or its replacement with an amended or
               new intergovernmental agreement. If an amended or new

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        intergovernmental agreement is entered by the Tribe and the County,
        and it provides for the Tribe to make annual payments of the same
        nature as those referenced above (Exhibit F, “Annual Operating
        Costs,” Exhibit G, and Exhibit H), those payments shall be eligible
        credits under this subdivision and will be deemed to have the approval
        of the County until the termination of that amended or new agreement
        or its replacement with an amended or new intergovernmental
        agreement. At least twenty percent (20%) of the annual credits
        authorized by this section 5.3 shall be utilized for the purposes
        described in this subdivision (a);

(b)     Payments by the Tribe (not derived from a direct or indirect state or
        federal funding source) for non-gaming related capital investments
        and economic development projects by the Tribe on tribal trust lands
        that the State or State Designated Agency agrees provides mutual
        benefits to the Tribe and the State because, for instance, they have
        particular cultural, social or environmental value, or diversify the
        sources of revenue for the Tribe’s general fund;

(c)     Investments and any funds (not derived from a direct or indirect state
        or federal funding source) paid by the Tribe to the State in renewable
        energy projects that, in part, serve the Gaming Facility, and in projects
        that incorporate charging stations for electric or other zero emission
        vehicles that are available to patrons and employees of the Gaming
        Facility. For purposes of this subdivision (c), “renewable energy
        project” means a project that utilizes a technology other than a
        conventional power source, as defined in section 2805 of the Public
        Utilities Code, as it may be amended, and instead uses as a power
        source biomass, geothermal, small hydroelectric, solar, or wind, as
        those power sources are defined in section 1391, subdivision (c), of
        title 20 of the California Code of Regulations, as they may be
        amended. The power source must not utilize more than twenty-five
        percent (25%) fossil fuel;

(d)     Payments by the Tribe (not derived from a direct or indirect state or
        federal funding source) to support capital improvements and
        operating expenses for facilities within California that provide health
        care services to tribal members, Indians, and non-Indians;




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      (e)     Investments by the Tribe and any funds paid to the State (not derived
              from a direct or indirect state or federal funding source) for water
              treatment or conservation projects that, in part, serve the Gaming
              Facility or any improvements incorporating water conservation or
              treatment technology on real property owned by the Tribe, or its
              members and lineal descendants; and

      (f)     Payments by the Tribe (not derived from a direct or indirect state or
              federal funding source) to provide general welfare benefits for, among
              other things, educational, healthcare, cultural, or vocational purposes,
              to non-enrolled members of the Tribe and other Native American in
              the community.

       The Tribe shall provide notice to the State of its intent to exercise any of its
options under subdivision (b) and (f) of this section 5.2. The State shall have the
right to review proposals under subdivisions (b) through (f), and in the exercise of
its reasonable discretion disapprove it for receipt of credit under this section 5.2
within ninety (90) days after receipt of notice if it does not meet the purposes set
out above, with such disapproval subject to dispute resolution pursuant to Section
13.0. Once approved, the State shall not withdraw any approval without the
agreement of the Tribe. All excess eligible credits that cannot be applied in any
one (1) year shall carry forward to all following years until completely exhausted.

SECTION 6.0. LICENSING.

      Sec. 6.1. Gaming Ordinance and Regulations.

      (a)     All Gaming Activities conducted under this Compact shall, at a
              minimum, comply (i) with a Gaming Ordinance duly adopted by the
              Tribe and approved in accordance with IGRA, (ii) with all rules,
              regulations, procedures, specifications, and standards duly adopted by
              the NIGC, the Tribal Gaming Agency, and the State Gaming Agency,
              and (iii) with the provisions of this Compact.

      (b)     The Tribal Gaming Agency shall transmit a copy of the Gaming
              Ordinance, and all of its rules, regulations, procedures, specifications,
              ordinances, or standards applicable to the Gaming Activities and
              Gaming Operation, to the State Gaming Agency within twenty (20)
              days following execution of this Compact, or within twenty (20) days
              following their adoption or amendment, whichever is later.

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      (c)     The Tribe and the Tribal Gaming Agency shall make available an
              electronic or hard copy of the following documents to any member of
              the public upon request and in the manner requested: the Gaming
              Ordinance; the rules of each Class III game operated by the Tribe; the
              Tribe’s constitution or other governing document(s) to the extent they
              impact the public in relation to the Gaming Activities or Gaming
              Operation; the tort ordinance specified in section 12.5, subdivision
              (b); the employment discrimination complaint ordinance specified in
              section 12.3, subdivision (f); the regulations promulgated by the
              Tribal Gaming Agency concerning patron disputes pursuant to section
              10.0; and the NIGC minimum internal control standards and this
              Compact, including all appendices hereto, in the event they are not
              available on the NIGC’s or the Commission’s website.

     Sec. 6.2. Tribal Ownership, Management, and Control of Gaming
Operation.

      The Gaming Operation authorized under this Compact shall be owned solely
by the Tribe.

      Sec. 6.3. Prohibitions Regarding Minors.

      (a)     The Tribe shall prohibit persons under the age of twenty-one (21)
              years from being present in any room or area in which Gaming
              Activities are being conducted unless the person is en route to a non-
              gaming area of the Gaming Facility, or is employed at the Gaming
              Facility in a capacity other than as a Gaming Employee.

      (b)     If the Tribe permits the consumption of alcoholic beverages in the
              Gaming Facility, the Tribe shall prohibit persons under the age of
              twenty-one (21) years from purchasing, consuming, or possessing
              alcoholic beverages. The Tribe shall also prohibit persons under the
              age of twenty-one (21) years from being present in any room or area
              in which alcoholic beverages may be consumed, except to the extent
              permitted by the State Department of Alcoholic Beverage Control for
              other commercial establishments serving alcoholic beverages.




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      Sec. 6.4. Licensing Requirements and Procedures.

      Sec. 6.4.1. Summary of Licensing Principles.

       All persons in any way connected with the Gaming Operation or Gaming
Facility who are required to be licensed or to submit to a background investigation
under IGRA, and any others required to be licensed under this Compact, including,
without limitation, all Gaming Employees, Gaming Resource Suppliers, Financial
Sources, and any other person having a significant influence over the Gaming
Operation, must be licensed by the Tribal Gaming Agency and cannot have had
any determination of suitability denied or revoked by the State Gaming Agency.
The parties intend that the licensing process provided for in this Compact shall
involve joint cooperation between the Tribal Gaming Agency and the State
Gaming Agency, as more particularly described herein.

      Sec. 6.4.2. Gaming Facility.

      (a)     The Gaming Facility authorized by this Compact shall be licensed by
              the Tribal Gaming Agency in conformity with the requirements of this
              Compact, the Tribal Gaming Ordinance, IGRA, and any applicable
              regulations adopted by the NIGC. The license shall be reviewed and
              renewed every two (2) years thereafter. Verification that this
              requirement has been met shall be provided by the Tribe to the State
              by sending a copy of the initial license, either electronically or by hard
              copy, and each renewal license to the Commission and any State
              Designated Agency within twenty (20) days after issuance of the
              license or renewal. The Tribal Gaming Agency’s certification that the
              Gaming Facility is being operated in conformity with these
              requirements shall be posted in a conspicuous and public place in the
              Gaming Facility at all times.

      (b)     To assure the protection of the health and safety of all Gaming Facility
              patrons, guests, and employees, the Tribe shall adopt, or has already
              adopted, and shall maintain throughout the term of this Compact, an
              ordinance (Tribal Codes) that requires any Gaming Facility
              construction to meet or exceed the standards contained within the
              Applicable Codes. Gaming Facility construction, expansion,
              improvement, modification, or renovation will also comply with the
              federal Americans with Disabilities Act, P.L. 101-336, as amended, 42
              U.S.C. § 12101 et seq. Notwithstanding the foregoing, the Tribal

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        Codes need not include any standard in the Applicable Codes that
        specifically applies in name or in fact only to tribal facilities. Without
        limiting the rights of the State under this section, reference to
        Applicable Codes is not intended to confer jurisdiction upon the State
        or its political subdivisions. For purposes of this section, the terms
        “building official” and “code enforcement agency” as used in title 19
        and 24 of the California Code of Regulations mean the Tribal Gaming
        Agency or such other tribal government agency or official as may be
        designated by the Tribe’s laws.

(c)     To assure compliance with the Tribal Codes, in all cases where the
        Applicable Codes would otherwise require a permit, the Tribe shall
        require inspections and, in connection therewith, shall employ for any
        Gaming Facility construction qualified plan checkers or review firms.
        To be qualified as a plan checker or review firm for purposes of this
        Compact, plan checkers or review firms must be either California
        licensed architects or engineers with relevant experience, or California
        licensed architects or engineers on the list, if any, of approved plan
        checkers or review firms provided by the city or county in which the
        Gaming Facility is located. The Tribe shall also employ qualified
        project inspectors. To be qualified as a project inspector for purposes
        of this Compact, project inspectors must possess the same
        qualifications and certifications as project inspectors utilized by the
        county in which the Gaming Facility is located. The plan checkers,
        review firms, and project inspectors shall hereinafter be referred to as
        “Inspectors.” The Tribe shall require the Inspectors to report in writing
        to the Tribal Gaming Agency and the State Gaming Agency any failure
        to comply with the Tribal Codes within thirty (30) days after giving
        notice of any failure to comply to the Tribal Gaming Agency, or such
        other government agency or official as may be designated by the
        Tribe’s laws.

(d)     The Tribe shall cause the design and construction calculations, and
        plans and specifications that form the basis for the planned
        construction (the “Design and Building Plans”) to be available to the
        State Gaming Agency for inspection and copying upon its request.

(e)     In the event that material changes to a structural detail of the Design
        and Building Plans will result from contract change orders or any



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        other changes in the Design and Building Plans, such changes shall be
        reviewed by the Inspectors for compliance with the Tribal Codes.

(f)     The Tribe shall maintain during construction all contract change
        orders for inspection and copying by the State Gaming Agency upon
        its request.

(g)     The Tribe shall maintain the Design and Building Plans depicting the
        as-built Gaming Facility, which shall be available to the State Gaming
        Agency for inspection and copying upon its request, for the term of
        this Compact.

(h)     Upon final certification by the Inspectors that the Gaming Facility
        meets the Tribal Codes, the Tribal Gaming Agency shall forward the
        Inspectors’ certification to the State Gaming Agency within ten (10)
        days of issuance. If the State Gaming Agency objects to that
        certification, the Tribe shall make a good faith effort to address the
        State’s concerns, but if the State Gaming Agency does not withdraw
        its objection, the matter will be resolved in accordance with the
        dispute resolution provisions of section 13.0.

(i)     Any failure to remedy within a reasonable period of time any material
        and timely raised deficiency shall be deemed a violation of this
        Compact, and furthermore, any deficiency that poses a serious or
        significant risk to the health or safety of any occupant shall be
        grounds for the State Gaming Agency to prohibit occupancy of the
        affected portion of the Gaming Facility pursuant to a court order until
        the deficiency is corrected. The Tribe shall not allow occupancy of
        any portion of the Gaming Facility that is constructed or maintained in
        a manner that endangers the health or safety of the occupants.

(j)     The Tribe shall also take all necessary steps to reasonably ensure the
        ongoing availability of sufficient and qualified fire suppression
        services to the Gaming Facility, and to reasonably ensure that the
        Gaming Facility satisfies all standards required by title 19 of the
        California Code of Regulations, as promulgated in the Tribal Codes,
        applicable to similar facilities in the County as set forth below:

        (1)   Not less than thirty (30) days before the commencement of the
              Gaming Activities, and not less than biennially thereafter, and

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        upon at least ten (10) days’ notice to the State Gaming Agency,
        the Tribe shall cause, at its expense, the Gaming Facility to be
        inspected by an independent expert (Independent Expert) for
        purposes of certifying that the Gaming Facility meets a
        reasonable standard of fire safety and life safety.

  (2)   The State Gaming Agency, at its expense, shall be entitled to
        designate and have a qualified representative or representatives,
        which may include local fire suppression entities, present
        during the inspection. During such inspection, the State’s
        representative(s) shall specify to the Independent Expert any
        condition which the representative(s) reasonably believes would
        preclude certification of the Gaming Facility as meeting a
        reasonable standard of fire safety and life safety.

  (3)   The Independent Expert shall issue to the Tribal Gaming
        Agency and the State Gaming Agency a report on the
        inspection within fifteen (15) days after its completion, or
        within thirty (30) days after commencement of the inspection,
        whichever first occurs, identifying any deficiency in fire safety
        or life safety at the Gaming Facility or in the ability of the Tribe
        to meet reasonably expected fire suppression needs of the
        Gaming Facility.

  (4)   Within twenty-one (21) days after the issuance of the report, the
        Independent Expert shall also require and approve a specific
        plan for correcting deficiencies, whether in fire safety or life
        safety, at the Gaming Facility or in the Tribe’s ability to meet
        the reasonably expected fire suppression needs of the Gaming
        Facility, including those identified by the State Gaming
        Agency’s representatives. A copy of the report and the
        corrective plan shall be delivered to the State Gaming Agency
        and the Tribal Gaming Agency.

  (5)   Immediately upon correction of all deficiencies identified in the
        report, the Independent Expert shall certify in writing to the
        Tribal Gaming Agency and the State Gaming Agency that all
        deficiencies have been corrected.




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        (6)   Any failure to correct all deficiencies identified in the report
              within a reasonable period of time shall be deemed a violation
              of this Compact, and any failure to promptly correct those
              deficiencies that pose a serious or significant risk to the health
              or safety of any occupants shall be a violation of this Compact
              and grounds for the State Gaming Agency to prohibit
              occupancy of the affected portion of the Gaming Facility
              pursuant to court order until the deficiency is corrected.

        (7)   Consistent with its obligation to ensure the safety of those
              within the Gaming Facility, the Tribe shall promptly notify the
              State Gaming Agency of circumstances that pose a serious and
              significant risk to the health or safety of occupants and take
              prompt action to correct such circumstances. Any failure to
              remedy within a reasonable period of time any serious and
              significant risk to public safety shall be deemed a violation of
              this Compact, and furthermore, any circumstance that poses a
              serious or significant risk to the health or safety of any occupant
              shall be grounds for the State Gaming Agency to prohibit
              occupancy of the affected portion of the Gaming Facility
              pursuant to a court order until the deficiency is corrected.

Sec. 6.4.3. Gaming Employees.

(a)     Every Gaming Employee shall obtain, and thereafter maintain current,
        a valid tribal gaming license, and except as provided in subdivision
        (b), shall obtain, and thereafter maintain current, a State Gaming
        Agency determination of suitability, which license and determination
        shall be subject to biennial renewal; provided that in accordance with
        section 6.4.9, those persons may be employed on a temporary or
        conditional basis pending completion of the licensing process and the
        State Gaming Agency determination of suitability.

(b)     A Gaming Employee who is required to obtain and maintain current a
        valid tribal gaming license under subdivision (a) is not required to
        obtain or maintain a State Gaming Agency determination of suitability
        if any of the following applies:

        (1)   The employee is subject to the licensing requirement of
              subdivision (a) solely because he or she is a person who

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              conducts, operates, maintains, repairs, or assists in Gaming
              Activities, provided that this exception shall not apply if he or
              she supervises Gaming Activities or persons who conduct,
              operate, maintain, repair, assist, account for or supervise any
              such Gaming Activity, and is empowered to make discretionary
              decisions affecting the conduct of the Gaming Activities.

        (2)   The employee is subject to the licensing requirement of
              subdivision (a) solely because he or she is a person whose
              employment duties require or authorize access to areas of the
              Gaming Facility that are not open to the public, provided that
              this exception shall not apply if he or she supervises Gaming
              Activities or persons who conduct, operate, maintain, repair,
              assist, account for or supervise any such Gaming Activity, and
              is empowered to make discretionary decisions affecting the
              conduct of the Gaming Activities.

        (3)   The employee is subject to the licensing requirement of
              subdivision (a) solely because he or she is a Tribal Gaming
              Agency employee with access to confidential information.

        (4)   The State Gaming Agency, in consultation with the Tribal
              Gaming Agency, exempts the Gaming Employee from the
              requirement to obtain or maintain current a State Gaming
              Agency determination of suitability.

(c)     Notwithstanding subdivision (b), where the State Gaming Agency
        determines it is reasonably necessary, the State Gaming Agency is
        authorized to review the tribal license application, and all materials
        and information received by the Tribal Gaming Agency in connection
        therewith, for any person whom the Tribal Gaming Agency has
        licensed, or proposes to license, as a Gaming Employee. If the State
        Gaming Agency determines that the person would be unsuitable for
        issuance of a license or permit for a similar level of employment in a
        gambling establishment subject to the jurisdiction of the State, it shall
        notify the Tribal Gaming Agency of its determination and the reasons
        supporting its determination. The Tribal Gaming Agency shall
        thereafter conduct a hearing, in accordance with section 6.5.5, to
        reconsider issuance of the tribal gaming license and shall notify the
        State Gaming Agency of its determination within three (3) business

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        days after the hearing, which shall be final unless made the subject of
        dispute resolution pursuant to section 13.0 within thirty (30) days of
        such notification.

(d)     The Tribe shall not employ, or continue to employ, any person whose
        application to the State Gaming Agency for a determination of
        suitability or for a renewal of such a determination has been denied, or
        whose determination of suitability has expired without renewal.

(e)     At any time after five (5) years following the effective date of this
        Compact, either party to this Compact may request renegotiation of
        the scope of coverage of subdivision (b) or (c).

(f)     This section shall not apply to members of the Tribal Gaming Agency.

Sec. 6.4.4. Gaming Resource Suppliers.

(a)     Every Gaming Resource Supplier shall be licensed by the Tribal
        Gaming Agency prior to the sale, lease, or distribution, or further sale,
        lease, or distribution, of any Gaming Resources to or in connection
        with the Tribe’s Gaming Operation or Facility. Unless the Tribal
        Gaming Agency licenses the Gaming Resource Supplier pursuant to
        subdivision (d), the Gaming Resource Supplier shall also apply to, and
        the Tribe shall require it to apply to, the State Gaming Agency for a
        determination of suitability at least thirty (30) days, unless such thirty
        (30) days is shortened by the Tribal Gaming Agency, prior to the sale,
        lease, or distribution, or further sale, lease, or distribution, of any
        Gaming Resources to or in connection with the Tribe’s Gaming
        Operation or Facility, except that for Gaming Devices the period
        specified under section 7.1, subdivision (a), shall govern. The period
        during which a determination of suitability as a Gaming Resource
        Supplier is valid expires on the earlier of (i) the date two (2) years
        following the date on which the determination is issued, unless a
        different expiration date is specified by the State Gaming Agency, or
        (ii) the date of its revocation by the State Gaming Agency. If the
        State Gaming Agency denies or revokes a determination of suitability,
        the Tribal Gaming Agency shall immediately deny or revoke the
        license and shall not reissue any license to that Gaming Resource
        Supplier unless and until the State Gaming Agency makes a
        determination that the Gaming Resource Supplier is suitable. The

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        license and determination of suitability shall be reviewed at least
        every two (2) years for continuing compliance. For purposes of
        section 6.5.2, such a review shall be deemed to constitute an
        application for renewal. In connection with such a review, the Tribal
        Gaming Agency shall require the Gaming Resource Supplier to
        update all information provided in the previous application.

(b)     Any agreement between the Tribe and a Gaming Resource Supplier
        shall include a provision for its termination without further liability on
        the part of the Tribe, except for the bona fide payment of all
        outstanding sums (exclusive of interest) owed as of, or payment for
        services or materials received up to, the date of termination, upon
        revocation or non-renewal of the Gaming Resource Supplier’s license
        by the Tribal Gaming Agency based on a determination of
        unsuitability by the State Gaming Agency. Except as set forth above,
        the Tribe shall not enter into, or continue to make payments to a
        Gaming Resource Supplier pursuant to, any contract or agreement for
        the provision of Gaming Resources with any person or entity whose
        application to the State Gaming Agency for a determination of
        suitability has been denied or revoked or whose determination of
        suitability has expired without renewal.

(c)     Notwithstanding subdivision (a), the Tribal Gaming Agency may
        license a Management Contractor for a period of no more than seven
        (7) years, but the Management Contractor must still apply for renewal
        of a determination of suitability by the State Gaming Agency at least
        every two (2) years, and where the State Gaming Agency denies or
        revokes a determination of suitability, the Tribal Gaming Agency
        shall immediately deny or revoke the license. Except for where the
        State Gaming Agency has denied or revoked its determination of
        suitability, nothing in this subdivision shall be construed to bar the
        Tribal Gaming Agency from issuing additional new licenses to the
        same Management Contractor following the expiration of a seven (7)-
        year license.

(d)     The Tribal Gaming Agency may elect to license a person or entity as a
        Gaming Resource Supplier without requiring it to apply to the State
        Gaming Agency for a determination of suitability under subdivision
        (a) if the Gaming Resource Supplier has already been issued a
        determination of suitability that is then valid. In that case, the Tribal

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        Gaming Agency shall immediately notify the State Gaming Agency of
        its licensure of the person or entity as a Gaming Resource Supplier,
        and shall identify in its notification the State Gaming Agency
        determination of suitability on which the Tribal Gaming Agency has
        relied in proceeding under this subdivision (d). Subject to the Tribal
        Gaming Agency’s compliance with the requirements of this
        subdivision, a Gaming Resource Supplier licensed under this
        subdivision may, during and only during the period in which the
        determination of suitability remains valid, engage in the sale, lease, or
        distribution of Gaming Resources to or in connection with the Tribe’s
        Gaming Operation or Facility, without applying to the State Gaming
        Agency for a determination of suitability. The issuance of a license
        under this subdivision is in all cases subject to any later determination
        by the State Gaming Agency that the Gaming Resource Supplier is
        not suitable or to a tribal gaming license suspension or revocation
        pursuant to section 6.5.1, and does not extend the time during which
        the determination of suitability relied on by the Tribal Gaming
        Agency is valid. A license issued under this subdivision expires upon
        the revocation or expiration of the determination of suitability relied
        on by the Tribal Gaming Agency. Nothing in this subdivision affects
        the obligations of the Tribal Gaming Agency, or of the Gaming
        Resource Supplier, under section 6.5.2 and section 6.5.6 of this
        Compact.

(e)     Except where subdivision (d) applies, within twenty-one (21) days of
        the issuance of a license to a Gaming Resource Supplier, the Tribal
        Gaming Agency shall transmit to the State Gaming Agency a copy of
        the license. All tribal license application materials and information
        received by it from the Applicant must be made available to the State
        Gaming Agency upon request which is not otherwise prohibited or
        restricted from disclosure under applicable federal law or regulation.

Sec. 6.4.5. Financial Sources.

(a)     Subject to subdivision (g) of this section 6.4.5, each Financial Source
        shall be licensed by the Tribal Gaming Agency prior to the Financial
        Source extending any financing in connection with the Tribe’s
        Gaming Operation or Facility.




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(b)     Every Financial Source required to be licensed by the Tribal Gaming
        Agency shall, contemporaneously with the filing of its tribal license
        application, apply to the State Gaming Agency for a determination of
        suitability. In the event the State Gaming Agency denies the
        determination of suitability, the Tribal Gaming Agency shall
        immediately deny or revoke the Financial Source’s license.

(c)     A license issued under this section 6.4.5 shall be reviewed at least
        every two (2) years for continuing compliance. In connection with
        that review, the Tribal Gaming Agency shall require the Financial
        Source to update all information provided in the Financial Source’s
        previous application. For purposes of section 6.5.2, that review shall
        be deemed to constitute an application for renewal.

(d)     Any agreement between the Tribe and a Financial Source shall
        include, and shall be deemed to include, a provision for its termination
        without further liability on the part of the Tribe, except for the bona
        fide repayment of all outstanding sums (exclusive of interest) owed as
        of the date of termination upon revocation or non-renewal of the
        Financial Source’s license by the Tribal Gaming Agency based on a
        determination of unsuitability by the State Gaming Agency. The
        Tribe shall not enter into, or continue to make payments pursuant to,
        any contract or agreement for the provision of financing with any
        person whose application to the State Gaming Agency for a
        determination of suitability has been denied or revoked or has expired
        without renewal.

(e)     A Gaming Resource Supplier who provides financing exclusively in
        connection with the provision, sale, or lease of Gaming Resources
        obtained from that Gaming Resource Supplier may be licensed solely
        in accordance with the licensing procedures applicable, if at all, to
        Gaming Resource Suppliers, and need not be separately licensed as a
        Financial Source under this section.

(f)     Within twenty-one (21) days of the issuance of a license to a Financial
        Source, the Tribal Gaming Agency shall transmit to the State Gaming
        Agency a copy of the license. Upon issuance of a license, the Tribal
        Gaming Agency shall direct the Financial Source licensee to transmit
        to the State Gaming Agency within twenty-one (21) days a copy of all



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        license application materials and information submitted to the Tribal
        Gaming Agency.

(g)     (1)   The Tribal Gaming Agency may, at its discretion, exclude from
              the licensing requirements of this section the following Financial
              Sources under the circumstances stated:

              (A)    Any federally-regulated or state-regulated bank, savings
                     and loan association, or other federally- or state-regulated
                     lender and any fund or other investment vehicle which is
                     administered or managed by any such entity.

              (B)    Any entity described in the Commission’s Uniform
                     Tribal Gaming Regulation CGCC-2, subdivision (f) (as
                     in effect on July 1, 2006), when that entity is a Financial
                     Source solely by reason of being (i) a purchaser or a
                     holder of debt securities or other forms of indebtedness
                     issued directly or indirectly by the Tribe for a Gaming
                     Facility or for the Gaming Operation or (ii) the owner of
                     a participation interest in any amount of indebtedness for
                     which a Financial Source described in subdivision
                     (g)(1)(A), or any fund or other investment vehicle which
                     is administered or managed by any such Financial
                     Source, is the creditor.

              (C)    Any investor who, alone or together with any person or
                     persons controlling, controlled by or under common
                     control with such investor, holds less than ten percent
                     (10%) of all outstanding debt securities issued directly or
                     indirectly by the Tribe for a Gaming Facility or for the
                     Gaming Operation.

              (D)    An agency of the federal, the State, tribal or local
                     government providing financing, together with any
                     person purchasing any debt securities or other forms of
                     indebtedness of the agency to provide such financing.

              (E)    A real estate investment trust (as defined in 26 U.S.C. §
                     856(a)) which is publicly traded on a stock exchange,
                     registered with the Securities and Exchange Commission,

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              and subject to regulatory oversight of the Securities and
              Exchange Commission.

        (F)   An entity or category of entities that the State Gaming
              Agency and the Tribal Gaming Agency jointly determine
              can be excluded from the licensing requirements of this
              section 6.4.5 without posing a threat to the public interest
              or the integrity of the Gaming Operation.

  (2)   In any case where the Tribal Gaming Agency elects to exclude
        a Financial Source from the licensing requirements of this
        section, the Tribal Gaming Agency shall give prompt notice
        thereof to the State Gaming Agency, shall give reasonable
        advance notice of any extension of financing by the Financial
        Source in connection with the Tribe’s Gaming Operation or
        Facility, and upon request of the State Gaming Agency, shall
        provide it with all documentation supporting the Tribal Gaming
        Agency’s exclusion of the Financial Source from the licensing
        requirements of this section 6.4.5. The Tribal Gaming Agency
        and the State Gaming Agency shall confer and make good faith
        efforts to promptly resolve any dispute regarding the Tribal
        Gaming Agency’s decision to exclude a Financial Source from
        the licensing requirements of this section. Any dispute
        regarding a decision to exclude a Financial Source from the
        licensing requirements of this section that cannot be promptly
        resolved by the Tribal Gaming Agency and the State Gaming
        Agency shall be resolved through the Dispute Resolution
        provisions in section 13.0.

  (3)   Notwithstanding subdivision (g)(1), the Tribal Gaming Agency
        and the State Gaming Agency shall work collaboratively to
        resolve any reasonable concerns regarding the ongoing
        excludability of an individual or entity as a Financial Source.
        Any dispute between the Tribal Gaming Agency and the State
        Gaming Agency pertaining to the excludability of an individual
        or entity as a Financial Source shall be resolved by the Dispute
        Resolution provisions in section 13.0.

  (4)   The following are not Financial Sources for purposes of this
        section 6.4.5:

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              (A)    An entity identified by the Commission’s Uniform Tribal
                     Gaming Regulation CGCC-2, subdivision (h) (as in
                     effect on July 1, 2006).

              (B)    A person or entity whose sole connection with a
                     provision or extension of financing to the Tribe is to
                     provide loan brokerage or debt servicing for a Financial
                     Source at no cost to the Tribe or the Gaming Operation,
                     provided that no portion of any financing provided is an
                     extension of credit to the Tribe or the Gaming Operation
                     by that person or entity.

(h)     In recognition of changing financial circumstances, this section 6.4.5
        shall be subject to good faith renegotiation upon request of either
        party in or after five (5) years from the effective date of this Compact;
        provided such renegotiation shall not retroactively affect transactions
        that have already taken place where the Financial Source has been
        excluded or exempted from licensing requirements.

Sec. 6.4.6. Processing Tribal Gaming License Applications.

(a)     Each Applicant for a tribal gaming license shall submit the completed
        application along with the required information and an application fee,
        if required, to the Tribal Gaming Agency in accordance with the rules
        and regulations of that agency.

(b)     At a minimum, the Tribal Gaming Agency shall require submission
        and consideration of all information required under IGRA, including
        part 556.4 of title 25 of the Code of Federal Regulations, for licensing
        primary management officials and key employees.

(c)     For Applicants that are business entities, these licensing provisions
        shall apply to the entity as well as: (i) each of its officers and
        directors; (ii) each of its principal management employees, including
        any chief executive officer, chief financial officer, chief operating
        officer, and general manager; (iii) each of its owners, members, or
        partners, if an unincorporated business; (iv) each of its shareholders
        who owns more than ten percent (10%) of the shares of the
        corporation, if a corporation, or who has a direct controlling interest in

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        the Applicant; and (v) each person or entity (other than a Financial
        Source that the Tribal Gaming Agency has determined does not
        require a license under section 6.4.5) that, alone or in combination
        with others, has provided financing in connection with any Gaming
        Operation or Class III Gaming authorized under this Compact, if that
        person or entity provided more than ten percent (10%) of either the
        start-up capital or the operating capital, or of a combination thereof,
        over a twelve (12)-month period. For purposes of this subdivision,
        where there is any commonality of the characteristics identified in this
        section 6.4.6, subdivision (c)(i) through (c)(v), inclusive, between any
        two (2) or more entities, those entities may be deemed to be a single
        entity. For purposes of this subdivision, a direct controlling interest in
        the Applicant referred to in subdivision (c)(iv) excludes any passive
        investor or anyone who has an indirect or only a financial interest and
        does not have the ability to control, manage, or direct the management
        decisions of the Applicant.

(d)     Nothing herein precludes the Tribe or Tribal Gaming Agency from
        requiring more stringent licensing requirements.

Sec. 6.4.7. Suitability Standard Regarding Gaming Licenses.

(a)     In reviewing an application for a tribal gaming license, and in addition
        to any standards set forth in the Tribe’s Gaming Ordinance, the Tribal
        Gaming Agency shall consider whether issuance of the license is
        inimical to public health, safety, or welfare, and whether issuance of
        the license will undermine public trust that the Tribe’s Gaming
        Operation is free from criminal and dishonest elements and would be
        conducted honestly.

(b)     A license may not be issued unless, based on all information and
        documents submitted, the Tribal Gaming Agency is satisfied that the
        Applicant, and in the case of an entity, each individual identified in
        section 6.4.6, meets all the following requirements:

        (1)   The person is of good character, honesty, and integrity.

        (2)   The person’s prior activities, criminal record (if any),
              reputation, habits, and associations do not pose a threat to the
              public interest or to the effective regulation and control of

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              gaming, or create or enhance the dangers of unsuitable, unfair,
              or illegal practices, methods, or activities in the conduct of
              gaming, or in the carrying on of business and financial
              arrangements incidental thereto.

        (3)   The person is in all other respects qualified to be licensed as
              provided, and meets the criteria established in this Compact,
              IGRA, NIGC regulations, the Tribe’s Gaming Ordinance, and
              any other criteria adopted by the Tribal Gaming Agency or the
              Tribe; provided, however, an Applicant shall not be found to be
              unsuitable solely on the ground that the Applicant was an
              employee of a tribal gaming operation in California that was
              conducted prior to May 16, 2000.

Sec. 6.4.8. Background Investigations of Applicants.

(a)     The Tribal Gaming Agency shall conduct or cause to be conducted all
        necessary background investigations reasonably required to determine
        that the Applicant is qualified for a gaming license under the
        standards set forth in section 6.4.7, and to fulfill all requirements for
        licensing under IGRA, NIGC regulations, the Tribe’s Gaming
        Ordinance, and this Compact. The Tribal Gaming Agency shall not
        issue a gaming license, other than a temporary license pursuant to
        section 6.4.9, until a determination is made that those qualifications
        have been met.

(b)     In lieu of completing its own background investigation, and to the
        extent that doing so does not conflict with or violate IGRA or the
        Tribe’s Gaming Ordinance, the Tribal Gaming Agency may contract
        with the State Gaming Agency for the conduct of background
        investigations, may rely on a State determination of suitability
        previously issued under a Class III Gaming compact involving
        another tribe and the State, or may rely on a State Gaming Agency
        license previously issued to the Applicant, to fulfill some or all of the
        Tribal Gaming Agency’s background investigation obligations.

(c)     If the Tribal Gaming Agency contracts with the State Gaming Agency
        for the conduct of background investigations, then an Applicant for a
        tribal gaming license shall be required to provide releases to the State
        Gaming Agency to make available to the Tribal Gaming Agency

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        background information regarding the Applicant. The State Gaming
        Agency shall cooperate in furnishing to the Tribal Gaming Agency
        that information, unless doing so would violate state or federal law,
        would violate any agreement the State Gaming Agency has with a
        source of the information other than the Applicant, or would impair or
        impede a criminal investigation, or unless the Tribal Gaming Agency
        cannot provide sufficient safeguards to assure the State Gaming
        Agency that the information will remain confidential.

(d)     In lieu of obtaining summary criminal history information from the
        NIGC, the Tribal Gaming Agency may, pursuant to the provisions in
        subdivisions (d) through (i), obtain such information from the
        California Department of Justice. If the Tribe adopts an ordinance
        confirming that article 6 (commencing with section 11140) of chapter
        1 of title 1 of part 4 of the California Penal Code is applicable to
        members, investigators, and staff of the Tribal Gaming Agency, and
        those members, investigators, and staff thereafter comply with that
        ordinance, then, for purposes of carrying out its obligations under this
        section, the Tribal Gaming Agency shall be eligible to be considered
        an entity entitled to request and receive state summary criminal
        history information, within the meaning of subdivision (b)(13) of
        section 11105 of the California Penal Code.

(e)     The information received shall be used by the requesting agency
        solely for the purpose for which it was requested and shall not be
        reproduced for secondary dissemination to any other employment or
        licensing agency. The unauthorized access and misuse of criminal
        offender record information may affect an individual’s civil rights.
        Additionally, any person intentionally disclosing information obtained
        from personal or confidential records maintained by a state agency or
        from records within a system of records maintained by a government
        agency may be subject to prosecution.

(f)     The Tribal Gaming Agency shall submit to the California Department
        of Justice fingerprint images and related information required by the
        California Department of Justice of all Gaming Employees, as defined
        by section 2.11, for the purposes of obtaining information as to the
        existence and content of a record of state or federal convictions and
        state or federal arrests and also information as to the existence and
        content of a record of state or federal arrests for which the Department

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        of Justice establishes that the person is free on bail or on his or her
        recognizance pending trial or appeal.

(g)     When received, the California Department of Justice shall forward to
        the Federal Bureau of Investigation requests for federal summary
        criminal history information received pursuant to this section. The
        California Department of Justice shall review the information returned
        from the Federal Bureau of Investigation and compile and disseminate
        a response to the Tribal Gaming Agency.

(h)     The California Department of Justice shall provide a state or federal
        level response to the Tribal Gaming Agency pursuant to Penal Code
        section 11105, subdivision (p)(1).

(i)     The Tribal Gaming Agency shall request from the California
        Department of Justice subsequent notification service, as provided
        pursuant to section 11105.2 of the Penal Code, for persons described
        in subdivision (f) above.

Sec. 6.4.9. Temporary Licensing of Gaming Employees.

(a)     If the Applicant has completed a license application in a manner
        satisfactory to the Tribal Gaming Agency, and that agency has
        conducted a preliminary background investigation, and the
        investigation or other information held by that agency does not
        indicate that the Applicant has a criminal history or other information
        in his or her background that would either automatically disqualify the
        Applicant from obtaining a tribal gaming license or cause a reasonable
        person to investigate further before issuing a license, or that the
        Applicant is otherwise unsuitable for licensing, the Tribal Gaming
        Agency may issue a temporary tribal gaming license and may impose
        such specific conditions thereon pending completion of the
        Applicant’s background investigation, as the Tribal Gaming Agency
        in its sole discretion shall determine.

(b)     Special fees may be required by the Tribal Gaming Agency to issue or
        maintain a temporary tribal gaming license.

(c)     A temporary tribal gaming license shall remain in effect until
        suspended or revoked, or a final determination is made on the

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              application, or for a period of up to one (1) year, whichever comes
              first.

      (d)     At any time after issuance of a temporary tribal gaming license, the
              Tribal Gaming Agency shall or may, as the case may be, suspend or
              revoke it in accordance with the provisions of sections 6.5.1 or 6.5.5,
              and the State Gaming Agency may request suspension or revocation
              before making a determination of unsuitability.

      (e)     Nothing herein shall be construed to relieve the Tribe of any
              obligation under part 558 of title 25 of the Code of Federal
              Regulations.

      Sec. 6.5.0. Tribal Gaming License Issuance.

       Upon completion of the necessary background investigation, the Tribal
Gaming Agency may issue a tribal gaming license on a conditional or
unconditional basis. Nothing herein shall create a property or other right of an
Applicant in an opportunity to be licensed, or in a tribal gaming license itself, both
of which shall be considered to be privileges granted to the Applicant in the sole
discretion of the Tribal Gaming Agency.

      Sec. 6.5.1. Denial, Suspension, or Revocation of Licenses.

      (a)     Any Applicant’s application for a tribal gaming license may be
              denied, and any license issued may be revoked, if the Tribal Gaming
              Agency determines that the application is incomplete or deficient, or
              if the Applicant is determined to be unsuitable or otherwise
              unqualified for a tribal gaming license.

      (b)     Pending consideration of revocation, the Tribal Gaming Agency may
              suspend a tribal gaming license in accordance with section 6.5.5.

      (c)     All rights to notice and hearing shall be governed by tribal law and
              comport with federal procedural due process by, for instance,
              providing the employee with notice reasonably calculated to apprise
              the employee of the pendency of the determination, an opportunity to
              review materials upon which the charge is based in such a manner that
              does not compromise security or regulation of the Gaming Operation,
              and an opportunity to be heard. The Applicant shall be notified in

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        writing of the hearing and given notice of any intent to suspend or
        revoke the tribal gaming license.

(d)     Notwithstanding anything to the contrary herein, upon receipt of
        notice that the State Gaming Agency has determined that a person
        would be unsuitable for licensure in a gambling establishment subject
        to the jurisdiction of the State Gaming Agency, the Tribal Gaming
        Agency shall deny that person a tribal gaming license and promptly,
        and in no event more than thirty (30) days from the State Gaming
        Agency notification, revoke any tribal gaming license that has
        theretofore been issued to that person; provided that the Tribal
        Gaming Agency may, in its discretion, reissue a tribal gaming license
        to the person following entry of a final judgment reversing the
        determination of the State Gaming Agency in a proceeding between
        the applicant and the State Gaming Agency in state court conducted
        pursuant to section 1085 of the California Code of Civil Procedure.

Sec. 6.5.2. Renewal of Licenses; Extensions; Further Investigation.

(a)     Except as provided in section 6.4.4, subdivision (c), the term of a
        tribal gaming license shall not exceed two (2) years, and application
        for renewal of a license must be made prior to its expiration.
        Applicants for renewal of a license shall provide updated material, as
        requested, on the appropriate renewal forms, but, at the discretion of
        the Tribal Gaming Agency, may not be required to resubmit historical
        data previously submitted or which is otherwise available to the Tribal
        Gaming Agency. At the discretion of the Tribal Gaming Agency, an
        additional background investigation may be required at any time if the
        Tribal Gaming Agency determines the need for further information
        concerning the Applicant’s continuing suitability or eligibility for a
        license.

(b)     Prior to renewing a license, the Tribal Gaming Agency shall deliver to
        the State Gaming Agency the licensee’s application for a
        determination of suitability and a summary of any derogatory
        information, for purposes of the State Gaming Agency’s renewal of its
        determination of suitability. Copies of all other information and
        documents received in connection with the application for renewal of
        the tribal gaming license must be made available to the State Gaming
        Agency upon request, provided that the materials or information are

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              not otherwise prohibited or restricted from disclosure under applicable
              federal law or regulation.

      (c)     At the discretion of the State Gaming Agency, an additional
              background investigation may be required if the State Gaming
              Agency determines the need for further information concerning the
              Applicant’s continuing suitability for a license.

      Sec. 6.5.3. Identification Cards.

      (a)     The Tribal Gaming Agency shall require that all persons who are
              required to be licensed wear, in plain view at all times while in the
              Gaming Facility, identification badges issued by the Tribal Gaming
              Agency.

      (b)     Identification badges must display information, including, but not
              limited to, a photograph and the person’s name, which is adequate to
              enable members of the public and agents of the Tribal Gaming
              Agency to readily identify the person and determine the validity and
              date of expiration of his or her license.

      (c)     Upon request, the Tribe shall provide the State Gaming Agency with
              the name, badge identification number (if any), and job title of all
              Gaming Employees.

      Sec. 6.5.4. Fees for Tribal Gaming License.

     The fees for all tribal gaming licenses shall be set by the Tribal Gaming
Agency.

      Sec. 6.5.5. Summary Suspension of Tribal Gaming License.

       The Tribal Gaming Agency shall summarily suspend the tribal gaming
license of any employee if the Tribal Gaming Agency determines that the
continued licensing of the person could constitute a threat to the public health or
safety or may summarily suspend the license of any employee if the Tribal Gaming
Agency determines that the continued licensing of the person may violate the
Tribal Gaming Agency’s licensing or other standards. Any hearing in regard
thereto shall be governed by tribal law and comport with federal due process by,
for instance, providing the employee with notice reasonably calculated to apprise

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the employee of the pendency of the determination, an opportunity to review
materials upon which the charge is based in such a manner that does not
compromise security or regulation of the Gaming Operation, and an opportunity to
be heard.

      Sec. 6.5.6. State Determination of Suitability Process.

      (a)     With respect to Gaming Employees, upon receipt of an Applicant’s
              completed license application and a determination to issue either a
              temporary or permanent license, the Tribal Gaming Agency shall
              transmit within twenty-one (21) days to the State Gaming Agency for
              a determination of suitability for licensure under the California
              Gambling Control Act a notice of intent to license the Applicant,
              together with all of the following:

              (1)   A copy of all tribal license application materials and
                    information received by the Tribal Gaming Agency from the
                    Applicant, which is not otherwise restricted from disclosure
                    under applicable federal law or regulation.

              (2)   A complete set of fingerprint impressions, rolled by a certified
                    fingerprint roller, transmitted electronically.

              (3)   A current photograph.

              (4)   Except to the extent waived by the State Gaming Agency, such
                    releases of information, waivers, and other completed and
                    executed forms as have been obtained by the Tribal Gaming
                    Agency.

      (b)     Upon receipt of a written request from a Gaming Resource Supplier or
              a Financial Source for a determination of suitability, the State Gaming
              Agency shall transmit an application package to the Applicant to be
              completed and returned to the State Gaming Agency for purposes of
              allowing it to make a determination of suitability for licensure.

      (c)     Investigation and disposition of applications for a determination of
              suitability shall be governed entirely by State law, and the State
              Gaming Agency shall determine whether the Applicant would be
              found suitable for licensure in a gambling establishment subject to the

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        State Gaming Agency’s jurisdiction. Additional information may be
        required by the State Gaming Agency to assist it in its background
        investigation, to the extent permitted under State law for licensure in a
        gambling establishment subject to the State Gaming Agency’s
        jurisdiction.

(d)     The Tribal Gaming Agency shall require a licensee to apply for
        renewal of a determination of suitability by the State Gaming Agency
        at such time as the licensee applies for renewal of a tribal gaming
        license.

(e)     Upon receipt of completed license or license renewal application
        information from the Tribal Gaming Agency, the State Gaming
        Agency may conduct a background investigation pursuant to state law
        to determine whether the Applicant is suitable to be licensed for
        association with Class III Gaming operations. While the Tribal
        Gaming Agency shall ordinarily be the primary source of application
        information, the State Gaming Agency is authorized to directly seek
        application information from the Applicant. The Tribal Gaming
        Agency shall provide to the State Gaming Agency summary reports,
        including any derogatory information, of the background
        investigations conducted by the Tribal Gaming Agency and the NIGC,
        written statements by the Applicant, and related applications, if any,
        for Gaming Employees, Gaming Resource Suppliers, and Financial
        Sources. If further investigation is required to supplement the
        investigation conducted by the Tribal Gaming Agency, the Applicant
        will be required to pay the application fee charged by the State
        Gaming Agency pursuant to California Business and Professions
        Code section 19951, subdivision (a), but any deposit requested by the
        State Gaming Agency pursuant to section 19867 of that code shall
        take into account reports of the background investigation already
        conducted by the Tribal Gaming Agency and the NIGC, if any.
        Failure to provide information reasonably required by the State
        Gaming Agency to complete its investigation under State law or
        failure to pay the application fee or deposit can constitute grounds for
        denial of the application by the State Gaming Agency. The State
        Gaming Agency and Tribal Gaming Agency shall cooperate in
        sharing as much background information as possible, both to
        maximize investigative efficiency and thoroughness, and to minimize
        investigative costs.

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(f)     Upon completion of the necessary background investigation or other
        verification of suitability, the State Gaming Agency shall issue a
        notice to the Tribal Gaming Agency certifying that the State has
        determined that the Applicant is suitable, or that the Applicant is
        unsuitable, for licensure in a Gaming Operation and, if unsuitable,
        stating the reasons therefore. Issuance of a determination of
        suitability does not preclude the State Gaming Agency from a
        subsequent determination based on newly discovered information that
        a person or entity is unsuitable for the purpose for which the person or
        entity is licensed. Upon receipt of notice that the State Gaming
        Agency has determined that a person or entity is or would be
        unsuitable for licensure, the Tribal Gaming Agency shall deny that
        person or entity a license and promptly, and in no event more than
        thirty (30) days from the issuance of the State Gaming Agency
        notification, revoke any tribal gaming license that has theretofore been
        issued to that person or entity; provided that the Tribal Gaming
        Agency may, in its discretion, reissue a tribal gaming license to the
        person or entity following entry of a final judgment reversing the
        determination of the State Gaming Agency in a proceeding in state
        court between the Applicant and the State Gaming Agency conducted
        pursuant to section 1085 of the California Code of Civil Procedure.

(g)     Prior to denying an application for a determination of suitability, or to
        issuing notice to the Tribal Gaming Agency that a person or entity
        previously determined to be suitable had been determined unsuitable
        for licensure, the State Gaming Agency shall notify the Tribal Gaming
        Agency and afford the Tribe an opportunity to be heard. If the State
        Gaming Agency denies an application for a determination of
        suitability, or issues notice that a person or entity previously
        determined suitable has been determined unsuitable for licensure, the
        State Gaming Agency shall provide that person or entity with written
        notice of all appeal rights available under state law.

(h)     The Commission, or its successor, shall maintain a roster of Gaming
        Resource Suppliers and Financial Sources that it has determined to be
        suitable pursuant to the provisions of this section, or through separate
        procedures to be adopted by the Commission. Upon application to the
        Tribal Gaming Agency for a tribal gaming license, a Gaming
        Resource Supplier or Financial Source that appears on the

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              Commission’s suitability roster may be licensed by the Tribal Gaming
              Agency in the same manner as a Gaming Resource Supplier under
              subdivision (d) of section 6.4.4, subject to any later determination by
              the State Gaming Agency that the Gaming Resource Supplier or
              Financial Source is not suitable or to a tribal gaming license
              suspension or revocation pursuant to sections 6.5.1 or 6.5.5; provided
              that nothing in this subdivision exempts the Gaming Resource
              Supplier or Financial Source from applying for a renewal of a State
              determination of suitability.

      Sec. 6.6. Submission of New Application.

       Except as expressly provided otherwise in section 6.4.4, subdivisions (a) and
(c), nothing in section 6.0 shall be construed to preclude an Applicant who has
been determined to be unsuitable for licensure by the State Gaming Agency, or the
Tribe on behalf of such Applicant, from later submitting a new application for a
determination of suitability by the State Gaming Agency in accordance with
section 6.0.

SECTION 7.0. APPROVAL AND TESTING OF GAMING DEVICES.

      Sec. 7.1. Gaming Device Approval.

      (a)     No Gaming Device may be offered for play unless all the following
              occurs:

              (1)   The manufacturer or distributor which sells, leases, or
                    distributes such Gaming Device (i) has applied for a
                    determination of suitability by the State Gaming Agency at
                    least fifteen (15) days before it is offered for play, (ii) has not
                    been found to be unsuitable by the State Gaming Agency, and
                    (iii) has been licensed by the Tribal Gaming Agency;

              (2)   The software for the game authorized for play on the Gaming
                    Device has been tested, approved and certified by an
                    independent gaming test laboratory or state governmental
                    gaming test laboratory (Gaming Test Laboratory) as operating
                    in accordance with the standards of Gaming Laboratories
                    International, Inc. known as GLI-11, GLI-12, GLI-13, GLI-21,
                    and GLI-26, or the technical standards approved by the State of

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              Nevada, or such other technical standards as the State Gaming
              Agency and the Tribal Gaming Agency shall agree upon, which
              agreement shall not be unreasonably withheld;

        (3)   A copy of the certification by the Gaming Test Laboratory,
              specified in subdivision (a)(2), is provided to the State Gaming
              Agency by electronic transmission or by mail, unless the State
              Gaming Agency waives receipt of copies of the certification;

        (4)   The software for the game authorized for play on the Gaming
              Device is tested by the Tribal Gaming Agency to ensure each
              game authorized for play on the Gaming Device has the correct
              electronic signature prior to operation of the Gaming Device by
              the public, or if already inserted, tested prior to being made
              available for patron play on the gaming floor;

        (5)   The hardware and associated equipment for each type of
              Gaming Device has been tested by the Gaming Test Laboratory
              prior to operation by the public to ensure operation in
              accordance with the applicable Gaming Test Laboratory
              standards; and

        (6)   The hardware and associated equipment for the Gaming Device
              has been verified or tested by the Tribal Gaming Agency to
              ensure operation in accordance with the manufacturer’s
              specifications.

(b)     Where either the Tribe or the State Gaming Agency requests new
        standards for testing, approval, and certification of the software for the
        game authorized for play on the Gaming Device pursuant to
        subdivision (a)(2), the party requesting the new standards shall
        provide the other party with a detailed explanation of the reason(s) for
        the request. If the party to which the request is made disagrees with
        the request, the State Gaming Agency and the Tribal Gaming Agency
        shall meet and confer in a good-faith effort to resolve the
        disagreement, which meeting and conferring shall include
        consultation with an independent Gaming Test Laboratory. If the
        disagreement is not resolved within one hundred twenty (120) days of
        the request, either party may submit the matter to dispute resolution
        under section 13.0 of this Compact.

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      Sec. 7.2. Gaming Test Laboratory Selection.

      (a)     The Gaming Test Laboratory shall be an independent or state
              governmental gaming test laboratory recognized in the gaming
              industry which (i) is competent and qualified to conduct scientific
              tests and evaluations of Gaming Devices, and (ii) is licensed or
              approved by any of the following states: Arizona, California,
              Colorado, Illinois, Indiana, Iowa, Michigan, Missouri, Nevada, New
              Jersey, or Wisconsin. The Tribal Gaming Agency shall submit to the
              State Gaming Agency documentation that demonstrates the Gaming
              Test Laboratory satisfies (i) and (ii) herein at least thirty (30) days
              before the commencement of Gaming Activities pursuant to this
              Compact, or if such use follows the commencement of Gaming
              Activities, within fifteen (15) days prior to reliance thereon. If, at any
              time, the Gaming Test Laboratory license and/or approval required by
              (ii) herein is suspended or revoked by any of those states or the
              Gaming Test Laboratory is found unsuitable by the State Gaming
              Agency, then the State Gaming Agency may reject the use of such
              Gaming Test Laboratory, and upon such rejection, the Tribal Gaming
              Agency shall ensure that such Gaming Test Laboratory discontinues
              its responsibilities under this section.

      (b)     The Tribe and the State Gaming Agency shall inform the Gaming Test
              Laboratory in writing that irrespective of the source of payment of its
              fees, the Gaming Test Laboratory’s duty of loyalty runs equally to the
              State and the Tribe.

      Sec. 7.3. Maintenance of Records of Testing Compliance.

       The Tribal Gaming Agency shall prepare and maintain records of its
compliance with section 7.1 while any Gaming Device is on the gaming floor and
for a period of one (1) year after the Gaming Device is removed from the gaming
floor, and shall make those records available for inspection by the State Gaming
Agency upon request.

      Sec. 7.4. State Gaming Agency Inspections.

      (a)     The State Gaming Agency may inspect the Gaming Devices in
              operation at the Gaming Facility on a random basis not to exceed four

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              (4) times annually to confirm that they operate and play properly
              pursuant to the manufacturer’s technical standards. The State Gaming
              Agency shall make a good-faith effort to work with the Tribal Gaming
              Agency to minimize unnecessary disruption to the Gaming Operation
              including, where appropriate, performing desk audits rather than on-
              site physical inspections. The inspections may include all Gaming
              Device software, hardware, associated equipment, software
              maintenance records, and components critical to the operation of the
              Gaming Device. The random inspections conducted pursuant to this
              subdivision shall occur during normal business hours outside of
              weekends and holidays and shall not remove from play more than five
              percent (5%) of the Gaming Devices then in operation at the Gaming
              Facility, provided that the five percent (5%) limitation on removal of
              Gaming Devices shall not apply where a Gaming Device, including
              but not limited to a progressive controller, makes limiting removal
              from play to no more than five percent (5%) infeasible or impossible.
              Whenever practicable, the State Gaming Agency shall not require
              removal from play any Gaming Device that the State Gaming Agency
              determines may be fully and adequately tested while still in play.

      (b)     The State Gaming Agency shall provide notice to the Tribal Gaming
              Agency of such inspection at or prior to the commencement of the
              random inspection, and the Tribal Gaming Agency may accompany
              the State Gaming Agency inspector(s).

      (c)     The State Gaming Agency may retain and use qualified consultants to
              perform the functions authorized or specified herein but any such
              consultants shall be bound by the confidentiality and information use
              and disclosure provisions applicable to the State Gaming Agency and
              its employees.

      Sec. 7.5. Technical Standards.

       The Tribal Gaming Agency shall provide to the State Gaming Agency
copies of its regulations for technical standards applicable to the Tribe’s Gaming
Devices at least thirty (30) days before the commencement of the Gaming
Operation and at least thirty (30) days before the effective date of any revisions to
the regulations.




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    Sec. 7.6. Transportation of Gaming Devices.

    (a)     Subject to the provisions of subdivision (b), the Tribal Gaming
            Agency shall not permit any Gaming Device to be transported to or
            from the Tribe’s Indian lands except in accordance with procedures
            established by agreement between the State Gaming Agency and the
            Tribal Gaming Agency and upon at least ten (10) days’ notice to the
            Sheriff’s Department for the County.

    (b)     Transportation of a Gaming Device from a Gaming Facility within
            California is permissible only if:

            (1)   The final destination of the Gaming Device is a gaming facility
                  of any tribe in California that has a compact with the State
                  which makes lawful the receipt of such Gaming Device;

            (2)   The final destination of the Gaming Device is any other state in
                  which possession of the Gaming Device is made lawful by state
                  law or by tribal-state compact;

            (3)   The final destination of the Gaming Device is another country,
                  or any state or province of another country, wherein possession
                  of the Gaming Device is lawful; or

            (4)   The final destination is a location within California for testing,
                  repair, maintenance, or storage by a person or entity that has
                  been licensed by the Tribal Gaming Agency and has been found
                  suitable for licensure by the State Gaming Agency.

    (c)     Any Gaming Device transported from or to the Tribe’s Indian lands in
            violation of this section 7.6, or in violation of any permit issued
            pursuant thereto, is subject to summary seizure by California peace
            officers in accordance with California law.

SECTION 8.0. INSPECTIONS.

    Sec. 8.1. Investigation and Sanctions.

    (a)     The Tribal Gaming Agency shall investigate any reported violation of
            this Compact and shall require the Gaming Operation to correct the

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              violation upon such terms and conditions as the Tribal Gaming
              Agency determines are necessary.

      (b)     The Tribal Gaming Agency shall be empowered by the Gaming
              Ordinance to impose fines or other sanctions within the jurisdiction of
              the Tribe against gaming licensees who interfere with or violate the
              Tribe’s gaming regulatory requirements and obligations under IGRA,
              NIGC gaming regulations, the Gaming Ordinance, or this Compact as
              long as the fines or sanctions comport with federal due process by, for
              instance, providing the licensee with notice reasonably calculated to
              apprise the licensee of the pendency of the determination, an
              opportunity to review materials upon which the charge is based in
              such a manner that does not compromise security or regulation of the
              Gaming Operation, and an opportunity to be heard.

      (c)     The Tribal Gaming Agency shall report violations of this Compact
              that pose a substantial threat to gaming integrity, public health and
              safety, or the environment, or continued violations that, if isolated
              might not require reporting, but cumulatively pose a threat to gaming
              integrity, public health and safety, or the environment, and any
              failures to comply with the Tribal Gaming Agency’s orders, to the
              Commission and the Bureau of Gambling Control in the California
              Department of Justice within ten (10) days of discovery.

      Sec. 8.2. Assistance by State Gaming Agency.

       The Tribe may request the assistance of the State Gaming Agency whenever
it reasonably appears that such assistance may be necessary to carry out the
purposes described in section 8.1, or otherwise to protect public health, safety, or
welfare.

      Sec. 8.3. Access to Premises by State Gaming Agency; Notification;
Inspections.

      (a)     Notwithstanding that the Tribe and its Tribal Gaming Agency have
              the primary responsibility to administer and enforce the regulatory
              requirements of this Compact, the State Gaming Agency, including
              but not limited to any qualified consultants retained by it, shall have
              the right to inspect the Tribe’s Gaming Facility, and all Gaming
              Operation or Facility records relating to Class III Gaming as is

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        reasonably necessary to ensure Compact compliance, including such
        records located in off-site facilities dedicated to their storage subject
        to the conditions in subdivisions (b), (c), and (d).

(b)     Except as provided in section 7.4, the State Gaming Agency may
        inspect public areas of the Gaming Facility at any time without prior
        notice during normal Gaming Facility business hours.

(c)     Inspection of areas of the Gaming Facility not normally accessible to
        the public may be made at any time the Gaming Facility is open to the
        public, immediately after the State Gaming Agency’s authorized
        inspector notifies the Tribal Gaming Agency of his or her presence on
        the premises, presents proper identification, and requests access to the
        non-public areas of the Gaming Facility. The Tribal Gaming Agency,
        in its sole discretion, may require a member of the Tribal Gaming
        Agency to accompany the State Gaming Agency inspector at all times
        that the State Gaming Agency inspector is in a non-public area of the
        Gaming Facility. If the Tribal Gaming Agency imposes such a
        requirement, it shall require such member to be available at all times
        for those purposes and shall ensure that the member has the ability to
        gain immediate access to all non-public areas of the Gaming Facility.

(d)     Nothing in this Compact shall be construed to limit the State Gaming
        Agency to one inspector during inspections.

Sec. 8.4. Inspection, Copying and Confidentiality of Documents.

(a)     Inspection and copying of Gaming Operation papers, books, and
        records, that the State Gaming Agency deems necessary to ensure
        compliance with the terms of this Compact, may occur at any time,
        immediately after the State Gaming Agency gives notice to the Tribal
        Gaming Agency, during the hours from 8:00 a.m. to 5:00 p.m.
        Monday through Friday, and at any other time that a Tribal Gaming
        Agency employee, a Gaming Facility employee, or a Gaming
        Operation employee is available onsite with physical access to offices,
        including off-site facilities, where the papers, books, and records are
        kept. The Tribe shall cooperate with, and cannot refuse, the
        inspection and copying, provided that the State Gaming Agency
        inspectors cannot require copies of papers, books, or records in such



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        volume that it unreasonably interferes with the normal functioning of
        the Gaming Operation or Facility.

(b)     In lieu of onsite inspection and copying of Gaming Operation papers,
        books, and records by its inspectors, the State Gaming Agency may
        request in writing that the Tribal Gaming Agency provide copies of
        such papers, books, and records as the State Gaming Agency deems
        necessary to ensure compliance with the terms of this Compact. The
        State Gaming Agency’s written request shall describe those papers,
        books, and records requested to be copied with sufficient specificity to
        reasonably identify the requested documents. Within ten (10) days
        after it receives the request, or such other time as the State Gaming
        Agency may agree in writing, the Tribal Gaming Agency shall
        provide one (1) copy of the requested papers, books, and records to
        the requesting State Gaming Agency. An electronic version of the
        requested papers, books, and records may be submitted to the State
        Gaming Agency in lieu of a paper copy so long as the software
        required to access the electronic version is reasonably available to the
        State Gaming Agency and the State Gaming Agency does not object.

(c)     Notwithstanding any other provision of California law, any
        confidential information and records, as defined in subdivision (d),
        that the State Gaming Agency obtains or copies pursuant to this
        Compact shall be, and remain, the property solely of the Tribe;
        provided that such confidential information and records and copies
        may be retained by the State Gaming Agency as is reasonably
        necessary to assure the Tribe’s compliance with this Compact or to
        complete any investigation of suspected criminal activity; and
        provided further that the State Gaming Agency may provide such
        confidential information and records and copies to federal law
        enforcement and other state agencies or consultants that the State
        deems reasonably necessary in order to assure the Tribe’s compliance
        with this Compact, in order to renegotiate any provision thereof, or in
        order to conduct or complete any investigation of suspected criminal
        activity in connection with the Gaming Activities or the operation of
        the Gaming Facility or the Gaming Operation.

(d)     For the purposes of this section 8.4, “confidential information and
        records” means any and all information and records received from the



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        Tribe pursuant to the Compact, except for information and documents
        that are in the public domain.

(e)     The State Gaming Agency and all other state agencies and consultants
        to which it provides information and records obtained pursuant to
        subdivisions (a) or (b) of this section, which are confidential pursuant
        to subdivision (d), will exercise care in the preservation of the
        confidentiality of such information and records and will apply the
        highest standards of confidentiality provided under California state
        law to preserve such information and records from disclosure until
        such time as the information or record is no longer confidential or
        disclosure is authorized by the Tribe, by mutual agreement of the
        Tribe and the State, or pursuant to the arbitration procedures under
        section 13.2. The State Gaming Agency and all other state agencies
        and consultants may disclose confidential information or records as
        necessary to fully adjudicate or resolve a dispute arising pursuant to
        the Compact, in which case the State Gaming Agency and all other
        state agencies and consultants agree to preserve confidentiality to the
        greatest extent feasible and available. Before the State Gaming
        Agency provides confidential information and records to a consultant
        as authorized under subdivision (c), it shall enter into a confidentiality
        agreement with that consultant that meets the standards of this
        subdivision.

(f)     The Tribe may avail itself of any and all remedies under State law for
        the improper disclosure of confidential information and records. In
        the case of any disclosure of confidential information and records
        compelled by judicial process, the State Gaming Agency will
        endeavor to give the Tribe prompt notice of the order compelling
        disclosure and a reasonable opportunity to interpose an objection
        thereto with the court.

(g)     The Tribal Gaming Agency and the State Gaming Agency shall confer
        regarding protocols for the release to law enforcement agencies of
        information obtained during the course of background investigations.

(h)     Confidential information and records received by the State Gaming
        Agency from the Tribe in compliance with this Compact, or
        information compiled by the State Gaming Agency from those



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              confidential records, shall be exempt from disclosure under the
              California Public Records Act.

      (i)     Notwithstanding any other provision of this Compact, the State
              Gaming Agency shall not be denied access to papers, books, records,
              equipment, or places where such access is reasonably necessary to
              ensure compliance with this Compact or to conduct or complete an
              investigation of suspected criminal activity in connection with the
              Gaming Activities or the operation of the Gaming Facility or the
              Gaming Operation.

      Sec. 8.5. NIGC Audit Reports.
       The Tribe shall provide to the State Gaming Agency, within thirty (30) days
of their submission to the NIGC, copies of the audited financial statements of Class
III Gaming and management letter(s), if any, provided to the NIGC. All
submissions to the State Gaming Agency made pursuant to this section 8.5 shall be
subject to the confidentiality protections and assurances set forth in section 8.4,
subdivision (h) of this Compact.

      Sec. 8.6. Cooperation with Tribal Gaming Agency.

       The State Gaming Agency shall meet periodically with the Tribal Gaming
Agency and cooperate in all matters relating to the enforcement of the provisions
of this Compact and its Appendices.

      Sec. 8.7. Compact Compliance Review.

       The State Gaming Agency is authorized to conduct an annual
comprehensive Compact compliance review of the Gaming Operation, Gaming
Facility, and Gaming Activities to ensure compliance with all provisions of this
Compact, any applicable appendices hereto, and with all laws, ordinances, codes,
rules, regulations, policies, internal controls, standards, and procedures that are
required to be adopted, implemented, or complied with pursuant to this Compact.
Upon the discovery of an irregularity that the State Gaming Agency reasonably
determines may be a threat to gaming integrity or public safety, and after
consultation with the Tribal Gaming Agency, the State Gaming Agency may
conduct additional periodic reviews of any part of the Gaming Operation, Gaming
Facility, and Gaming Activities and other activities subject to this Compact in
order to ensure compliance with all provisions of this Compact and its appendices.


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Nothing in this section shall be construed to supersede any other audits,
inspections, investigations, and monitoring authorized by this Compact.

      Sec 8.8 Waiver of Materials

       The State Gaming Agency shall retain the discretion to waive, in whole or in
part, the right to receive materials otherwise required by this Compact to be
provided to the State Gaming Agency by the Tribal Gaming Agency or the Tribe.

SECTION 9.0. RULES AND REGULATIONS FOR THE OPERATION
AND MANAGEMENT OF THE GAMING OPERATION AND FACILITY.

     Sec. 9.1. Adoption of Regulations for Operation and Management;
Minimum Standards.

       It is the responsibility of the Tribal Gaming Agency to conduct on-site
gaming regulation and control in order to enforce the terms of this Compact, of
IGRA, of NIGC gaming regulations, of State Gaming Agency regulations, and of
the Gaming Ordinance, to protect the integrity of the Gaming Activities and the
Gaming Operation for honesty and fairness, and to maintain the confidence of
patrons that tribal governmental gaming in California meets the highest standards
of fairness and internal controls. To meet those responsibilities, the Tribal Gaming
Agency shall be vested with the authority to promulgate, and shall promulgate,
rules and regulations governing, at a minimum, the following subjects pursuant to
the standards and conditions set forth therein:

      (a)     The enforcement of all relevant laws and rules with respect to the
              Gaming Activities, Gaming Operation and Gaming Facility, and the
              conduct of investigations and hearings with respect thereto, and to any
              other subject within its jurisdiction.

      (b)     The physical safety of Gaming Facility patrons and employees, and
              any other person while in the Gaming Facility. Except as provided in
              section 12.2, nothing herein shall be construed, however, to make
              applicable to the Tribe any State laws, regulations, or standards
              governing the use of tobacco.

      (c)     The physical safeguarding of assets transported to, within, and from
              the Gaming Facility.



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(d)     The prevention of illegal activity within the Gaming Facility or with
        regard to the Gaming Operation or Gaming Activities, including, but
        not limited to, the maintenance of employee procedures and a
        surveillance system as provided in subdivision (e).

(e)     Maintenance of a closed-circuit television surveillance system
        consistent with industry standards for gaming facilities of the type and
        scale operated by the Tribe, which system shall be approved by, and
        may not be modified without the approval of, the Tribal Gaming
        Agency. The Tribal Gaming Agency shall have current copies of the
        Gaming Facility floor plan and closed-circuit television system at all
        times.

(f)     The recording of any and all occurrences within the Gaming Facility
        that deviate from normal operating policies and procedures
        (hereinafter “incidents”). The Tribal Gaming Agency’s rules and
        regulations shall provide that the Tribal Gaming Agency shall
        transmit copies of incident reports that it believes concern a
        significant or continued threat to public safety or gaming integrity to
        the State Gaming Agency within a reasonable period of time, not to
        exceed seven (7) days, after the incident. The procedure for recording
        incidents pursuant to the rules and regulations shall also do all of the
        following:

        (1)   Specify that security personnel record all incidents, regardless
              of an employee’s determination that the incident may be
              immaterial (all incidents shall be identified in writing).

        (2)   Require the assignment of a sequential number to each report.

        (3)   Provide for permanent reporting in indelible ink in a bound
              notebook from which pages cannot be removed and in which
              entries are made on each side of each page and/or in electronic
              form, provided the information is recorded in a manner so that,
              once the information is entered, it cannot be deleted or altered
              and is available to the State Gaming Agency pursuant to
              sections 8.3 and 8.4.

        (4)   Require that each report include, at a minimum, all of the
              following:

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              (A)    The record number.

              (B)    The date.

              (C)    The time.

              (D)    The location of the incident.

              (E)    A detailed description of the incident.

              (F)    The persons involved in the incident.

              (G)    The security department employee assigned to the
                     incident.

(g)     The establishment of employee procedures designed to permit
        detection of any irregularities, theft, cheating, fraud, or the like,
        consistent with industry practice.

(h)     Maintenance of a list of persons permanently excluded from the
        Gaming Facility who, because of their past behavior, criminal history,
        or association with persons or organizations, pose a threat to the
        integrity of the Gaming Activities of the Tribe or to the integrity of
        regulated gaming within the state. The Tribal Gaming Agency shall
        transmit a copy of the list to the State Gaming Agency quarterly and
        shall make a copy of the current list available to the State Gaming
        Agency upon request. Notwithstanding anything in this Compact to
        the contrary, the State Gaming Agency is authorized to make copies
        of the list available to other tribal gaming agencies, to licensees of the
        Commission, the California Horse Racing Board, and other law
        enforcement agencies. To the extent permissible under law, the State
        Gaming Agency may share information about individuals
        permanently excluded from other tribal gaming facilities or other
        gaming establishments within California with the Tribal Gaming
        Agency.

(i)     The conduct of an audit, at the Tribe’s expense, of the annual financial
        statements of the Gaming Operation.



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(j)     Submission to, and prior approval by, the Tribal Gaming Agency of
        the rules and regulations of each class III game to be operated by the
        Tribe, and of any changes in those rules and regulations. No class III
        game may be played that has not received Tribal Gaming Agency
        approval.

(k)     The obligation of the Gaming Facility and the Gaming Operation to
        maintain a copy of the rules, regulations, and procedures for each
        game as played, including, but not limited to, the method of play and
        the odds and method of determining amounts paid to winners.

(l)     Specifications and standards to ensure that information regarding the
        method of play, odds, and payoff determinations is visibly displayed
        or available to patrons in written form in the Gaming Facility and to
        ensure that betting limits applicable to any gaming station is displayed
        at that gaming station.

(m)     Maintenance of a cashier’s cage in accordance with industry standards
        for such facilities.

(n)     Specification of minimum staff and supervisory requirements for each
        Gaming Activity to be conducted.

(o)     Technical standards and specifications in conformity with the
        requirements of this Compact for the operation of Gaming Devices
        and other games authorized herein to be conducted by the Tribe.

Sec. 9.1.1. Minimum Internal Control Standards (MICS).

(a)     The Tribe shall conduct its Gaming Activities pursuant to an internal
        control system that implements minimum internal control standards
        for Class III Gaming that are no less stringent than those contained in
        the Minimum Internal Control Standards of the NIGC (25 C.F.R. §
        542), as they existed on October 19, 2006, and as they may thereafter
        be amended, without regard to the NIGC’s authority to promulgate,
        enforce, or audit the standards. These standards are posted on the
        State Gaming Agency website(s) and are referred to herein as the
        “Compact MICS.” This requirement is met through compliance with
        the provisions set forth in this section and in section 9.1 or in the



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        alternative by compliance with the statewide uniform regulation
        CGCC-8, as it exists currently and as it may hereafter be amended.

(b)     Before commencement of Gaming Operations, the Tribal Gaming
        Agency shall, in accordance with the Gaming Ordinance, establish
        written internal control standards for the Gaming Facility that shall:
        (i) provide a level of control that equals or exceeds the minimum
        internal control standards set forth in the Compact MICS, as they exist
        currently and as they may be revised; (ii) contain standards for
        currency transaction reporting that comply with title 31 Code of
        Federal Regulations part 103, as it exists currently and as it may
        hereafter be amended; (iii) satisfy the requirements of section 9.1; (iv)
        be consistent with this Compact; and (v) require the Gaming
        Operation to comply with the internal control standards.

(c)     The Gaming Operation shall operate the Gaming Facility pursuant to a
        written internal control system. The internal control system shall
        comply with and implement the internal control standards established
        by the Tribal Gaming Agency pursuant to subdivision (b) of this
        section 9.1.1. The internal control system, and any proposed changes
        to the system, must be approved by the Tribal Gaming Agency prior
        to implementation. The internal control system shall be designed to
        reasonably assure that: (i) assets are safeguarded and accountability
        over assets is maintained; (ii) liabilities are properly recorded and
        contingent liabilities are properly disclosed; (iii) financial records
        including records relating to revenues, expenses, assets, liabilities, and
        equity/fund balances are accurate and reliable; (iv) transactions are
        performed in accordance with the Tribal Gaming Agency’s general or
        specific authorization; (v) access to assets is permitted only in
        accordance with the Tribal Gaming Agency’s approved procedures;
        (vi) recorded accountability for assets is compared with actual assets
        at frequent intervals and appropriate action is taken with respect to
        any discrepancies; and (vii) functions, duties and responsibilities are
        appropriately segregated and performed in accordance with sound
        practices by qualified personnel.

(d)     The Tribal Gaming Agency shall provide a copy of its written internal
        control standards, and any changes to those control standards, to the
        State Gaming Agency within thirty (30) days of approval by the
        Tribal Gaming Agency. The State Gaming Agency will review and

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              submit to the Tribal Gaming Agency written comments or objections,
              if any, to the internal control standards and any changes to the
              standards, within thirty (30) days of receiving them, or by another
              date agreed upon by the Tribal Gaming Agency and the State Gaming
              Agency. The State Gaming Agency’s review shall be for the purpose
              of determining whether the internal control standards and any changes
              to the standards provide a level of control which equals or exceeds the
              level of control required by the minimum internal control standards
              set forth in the Compact MICS, as they exist currently and as they
              may be revised, and are consistent with this Compact.

      (e)     The Compact MICS shall apply to all Gaming Activities, the Gaming
              Facility and the Gaming Operation; however, the Compact MICS are
              not applicable to any activities not expressly permitted in this
              Compact. Should the terms in the Compact MICS be inconsistent
              with this Compact, the terms in this Compact shall prevail.

      (f)     The Tribal Gaming Agency shall provide the State Gaming Agency
              with a copy of the “Agreed-Upon Procedures” report prepared
              annually pursuant to part 542.3(f), of the Compact MICS, as they may
              be revised, within thirty (30) days after the Tribal Gaming Agency’s
              receipt of the report. The “Agreed-Upon Procedures” report shall be
              prepared by an independent auditor, who for the purposes of this
              section, shall be a certified public accountant licensed in the state of
              California to practice as an independent certified public accountant or
              who holds a California practice privilege, as provided in the
              California Accountancy Act, California Business and Professions
              Code, section 5000 et seq., who is not employed by the Tribe, the
              Tribal Gaming Agency, the Management Contractor, or the Gaming
              Operation, has no financial interest in any of these entities, and is only
              otherwise retained by any of these entities to conduct regulatory
              audits, independent audits of the Gaming Operation, or audits under
              this section.

      Sec. 9.2. Program to Mitigate Problem Gambling.

       The Gaming Operation shall establish a program, approved by the Tribal
Gaming Agency, to mitigate pathological and problem gambling by implementing
the following measures:



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      (a)     It shall train Gaming Facility supervisors and gaming floor employees
              on responsible gaming and to identify and manage problem gambling.

      (b)     It shall make available to patrons at conspicuous locations and ATMs
              in the Gaming Facility educational and informational materials which
              aim at the prevention of problem gambling and that specify where to
              find assistance.

      (c)     It shall establish self-exclusion programs whereby a self-identified
              problem gambler may request the halt of promotional mailings, the
              revocation of privileges for casino services, the denial or restraint on
              the issuance of credit and check -cashing services, and exclusion from
              the Gaming Facility.

      (d)     It shall establish an involuntary exclusion program that allows the
              Gaming Operation to halt promotional mailings, deny or restrain the
              issuance of credit and cash -checking services, and deny access to the
              Gaming Facility to patrons who have exhibited signs of problem
              gambling.

      (e)     It shall display at conspicuous locations and at ATMs within the
              Gaming Facility signage bearing a toll-free help-line number where
              patrons may obtain assistance for gambling problems.

      (f)     It shall make diligent efforts to prevent underage individuals from
              loitering in the area of the Gaming Facility where the Gaming
              Activities take place.

      (g)     It shall assure that advertising and marketing of the Gaming Activities
              at the Gaming Facility contain a responsible gambling message and a
              toll-free help-line number for problem gamblers, where practical, and
              that it make no false or misleading claims.

      (h)     It shall adopt a code of conduct, derived, inter alia, from that of the
              American Gaming Association, that addresses responsible gambling
              and responsible advertising.

      Nothing herein is intended to grant any third party the right to sue based on a
perceived violation of these standards.



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      Sec. 9.3. Enforcement of Regulations.

      The Tribal Gaming Agency shall ensure the enforcement of the rules,
regulations, and specifications promulgated under this Compact, including under
section 9.1.

      Sec. 9.4. State Civil and Criminal Jurisdiction.

       Nothing in this Compact expands, modifies, or impairs the civil or criminal
jurisdiction of the State, local law enforcement agencies and state courts under
Public Law 280 (18 U.S.C. § 1162; 28 U.S.C. § 1360) or IGRA, to the extent
applicable. Except as provided below, all State and local law enforcement
agencies and state courts shall exercise jurisdiction to enforce the State’s criminal
laws on the Tribe’s Indian lands, including the Gaming Facility and all related
structures, in the same manner and to the same extent, and subject to the same
restraints and limitations, imposed by the laws of the State and the United States,
as is exercised by State and local law enforcement agencies and state courts
elsewhere in the State. The Tribe hereby consents to such criminal jurisdiction.
However, no Gaming Activity conducted by the Tribe pursuant to this Compact
may be deemed to be a civil or criminal violation of any law of the State. Except
for such Gaming Activity conducted pursuant to this Compact, criminal
jurisdiction to enforce State gambling laws on the Tribe’s Indian lands, and to
adjudicate alleged violations thereof, is hereby transferred to the State pursuant to
18 U.S.C. § 1166(d).

      Sec. 9.5. Tribal Gaming Agency Members.

      (a)     The Tribe shall take all reasonable steps to ensure that members of the
              Tribal Gaming Agency are free from corruption, undue influence,
              compromise, and conflicting interests in the conduct of their duties
              under this Compact; shall adopt a conflict-of-interest code to that end
              and shall ensure its enforcement; and shall ensure the prompt removal
              of any member of the Tribal Gaming Agency who is found to have
              acted in a corrupt or compromised manner or to have a conflict of
              interest.

      (b)     The Tribe shall conduct a background investigation on each
              prospective member of the Tribal Gaming Agency, who shall meet the
              background requirements of a management contractor under IGRA;
              provided that if such member is elected through a tribal election

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        process, that member may not participate in any Tribal Gaming
        Agency matters under this Compact unless a background investigation
        has been concluded and the member has been found to be suitable. If
        requested by the Tribe or the Tribal Gaming Agency, the State
        Gaming Agency may assist in the conduct of such a background
        investigation and may assist in the investigation of any possible
        corruption or compromise of a member of the Tribal Gaming Agency.

(c)     In the event that the Tribe requests the assistance of the State Gaming
        Agency pursuant to subdivision (b) of this section and the State
        Gaming Agency determines that a member of the Tribal Gaming
        Agency is unsuitable, the State Gaming Agency shall serve upon the
        Tribe a written notice of its finding of unsuitability and request the
        removal of the member. Upon receipt of notice that the State Gaming
        Agency has determined the member to be unsuitable, the Tribe shall
        either immediately remove that member from the Tribal Gaming
        Agency or demand an expedited arbitration pursuant to section 13.2.

(d)     If the Tribe demands an expedited arbitration of the State Gaming
        Agency’s determination of unsuitability pursuant to subdivision (c),
        the arbitrator shall make a de novo determination as to whether the
        State Gaming Agency’s determination of unsuitability is justified
        using the following bases for such determination.

        (1)   To be found suitable, the member must be all of the following:

              (A)    A person of good character, honesty, and integrity.

              (B)    A person whose prior activities, criminal record, if any,
                     reputation, habits, and associations do not pose a threat to
                     the public interest of the State, or to the effective
                     regulation and control of controlled gambling, or create
                     or enhance the dangers of unsuitable, unfair, or illegal
                     practices, methods, and activities in the conduct of
                     controlled gambling or in the carrying on of the business
                     and financial arrangements incidental thereto.

              (C)    A person that is in all other respects qualified to be
                     licensed as provided in section 6.4.7 of this Compact.



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  (2)   A member is deemed unsuitable if any of the following apply:

        (A)   The person, any partner, or any officer, director, or
              shareholder of any corporation in which the person has a
              controlling interest, has any financial interest in any
              business or organization that is engaged in any form of
              gambling prohibited by section 330 of the California
              Penal Code, whether within or without the State of
              California, unless such gambling is lawful within the
              jurisdiction in which it is being conducted.

        (B)   The person fails to clearly establish eligibility and
              qualification in accordance with section 6.4.7 of this
              Compact.

        (C)   The person fails to provide information, documentation,
              and assurances required by sections 6.4.7, 6.4.8,
              subdivision (c), or 6.5.6 of this Compact or requested by
              the Tribal Gaming Agency, or fails to reveal any fact
              material to qualification, or supplies information that is
              untrue or misleading as to a material fact pertaining to
              the qualification criteria.

        (D)   The person has been convicted of a felony in any state or
              federal court, including a conviction by a federal court or
              by a court in another state for a crime that would
              constitute a felony if committed in California.

        (E)   The person has been convicted of any misdemeanor
              involving dishonesty or moral turpitude within the ten
              (10)-year period immediately preceding the beginning of
              his or her service on the Tribal Gaming Agency, unless
              the applicant has been granted relief pursuant to section
              1203.4, 1203.4a, or 1203.45 of the California Penal
              Code; provided, however, that the granting of relief
              pursuant to section 1203.4, 1203.4a, or 1203.45 of the
              California Penal Code shall not constitute a limitation on
              the discretion of the arbitrator to determine the person’s
              compliance with the requirements of sections 6.4.7 and
              9.5, subdivision (d)(1), of this Compact.

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                    (F)    The person has been associated with criminal profiteering
                           activity or organized crime, as defined by section 186.2
                           of the California Penal Code.

                    (G)    The person has exhibited contumacious defiance of any
                           legislative investigatory body, or other official
                           investigatory body of any state or of the United States,
                           when that body is engaged in the investigation of crimes
                           relating to gambling, official corruption related to
                           gambling activities, or criminal profiteering activity or
                           organized crime, as defined by section 186.2 of the
                           California Penal Code.

                    (H)    The person is less than twenty-one (21) years of age.

       In all cases, in coming to a decision, the arbitrator must give due
consideration for the proper protection of the health, safety and welfare of the
residents of the State, and must take into account whether membership on the
Tribal Gaming Agency would undermine public trust that the Gaming Operation is
free from criminal and dishonest elements and would be conducted honestly.

      Sec. 9.6. Uniform Tribal Gaming Regulations.

      (a)     Uniform Tribal Gaming Regulations CGCC-1, CGCC-2, CGCC-7,
              and CGCC-8 (as in effect on the date the parties execute this
              Compact), adopted by the State Gaming Agency and approved by the
              Association, shall apply to the Gaming Operation until amended or
              repealed, without further action by the State Gaming Agency, the
              Tribe, the Tribal Gaming Agency or the Association.

      (b)     Any subsequent Uniform Tribal Gaming Regulations adopted by the
              State Gaming Agency and approved by the Association shall apply to
              the Gaming Operation until amended or repealed.

      (c)     No State Gaming Agency regulation adopted pursuant to this section
              9.6 shall be effective with respect to the Tribe’s Gaming Operation
              unless it has first been approved by the Association and the Tribe has
              had an opportunity to review and comment on the proposed
              regulation.

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(d)     Every State Gaming Agency regulation adopted pursuant to this
        section 9.6 that is intended to apply to the Tribe (other than a
        regulation proposed or previously approved by the Association) shall
        be submitted to the Association for consideration prior to submission
        of the regulation to the Tribe for comment as provided in subdivision
        (c). A regulation adopted pursuant to this section 9.6 that is
        disapproved by the Association shall not be submitted to the Tribe for
        comment unless it is re-adopted by the State Gaming Agency as a
        proposed regulation, in its original or amended form, with a detailed,
        written response to the Association’s objections.

(e)     Except as provided in subdivision (d), no regulation of the State
        Gaming Agency adopted pursuant to this section 9.6 shall be adopted
        as a final regulation with respect to the Tribe’s Gaming Operation
        before the expiration of thirty (30) days after submission of the
        proposed regulation to the Tribe for comment as a proposed
        regulation, and after consideration of the Tribe’s comments, if any.

(f)     In exigent circumstances (e.g., imminent threat to public health and
        safety), the State Gaming Agency may adopt a regulation that
        becomes effective immediately. Any such regulation shall be
        accompanied by a detailed, written description of the exigent
        circumstances, and shall be submitted immediately to the Association
        for consideration. If the regulation is disapproved by the Association,
        it shall cease to be effective, but may be re-adopted by the State
        Gaming Agency as a proposed regulation, in its original or amended
        form, with a detailed, written response to the Association’s objections,
        and thereafter submitted to the Tribe for comment as provided in
        subdivision (e).

(g)     The Tribe may object to a State Gaming Agency regulation adopted
        pursuant to this section 9.6 on the ground that it is unnecessary,
        unduly burdensome, or unfairly discriminatory, and may seek repeal
        or amendment of the regulation through the dispute resolution process
        of section 13.0.




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SECTION 10.0. PATRON DISPUTES.

      The Tribal Gaming Agency shall promulgate regulations governing patron
disputes over the play or operation of any game, including any refusal to pay to a
patron any alleged winnings from any Gaming Activities, which regulations must
meet the following minimum standards:

      (a)     A patron who makes an oral or written complaint to personnel of the
              Gaming Operation over the play or operation of any game within
              three (3) days of the play or operation at issue shall be notified in
              writing of the patron’s right to request in writing, within fifteen (15)
              days of the Gaming Operation’s written notification to the patron of
              that right, resolution of the dispute by the Tribal Gaming Agency, and
              if dissatisfied with the resolution, to seek resolution in either the
              Tribe’s tribal court system, once a tribal court system is established,
              or through binding arbitration of the dispute before a retired judge
              pursuant to the terms and provisions in subdivision (c). If the patron
              is not provided with the aforesaid notification within thirty (30) days
              of the patron’s complaint, the deadlines herein shall be removed,
              leaving only the relevant statutes of limitations under California law
              that would otherwise apply.

      (b)     Upon receipt of the patron’s written request for a resolution of the
              patron’s complaint pursuant to subdivision (a), the Tribal Gaming
              Agency shall conduct an appropriate investigation, shall provide to the
              patron a copy of its regulations concerning patron complaints, and
              shall render a decision in accordance with industry practice. The
              decision shall be issued within sixty (60) days of the patron’s written
              request, shall be in writing, shall be based on the facts surrounding the
              dispute, and shall set forth the reasons for the decision.

      (c)     If the patron is dissatisfied with the decision of the Tribal Gaming
              Agency issued pursuant to subdivision (b), or no decision is issued
              within the sixty (60)-day period, the patron may request that the
              dispute be settled either in the Tribe’s tribal court system, once a tribal
              court system is established, or by binding arbitration before a JAMS
              arbitrator, in accordance with the Streamlined Arbitration Rules and
              Procedures of JAMS (or if those rules no longer exist, the closest
              equivalent) (hereafter “JAMS Streamlined Arbitration”). The
              decision to choose either the tribal court system or JAMS Streamlined

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         Arbitration shall be at the patron’s sole discretion. Resolution of the
         patron dispute before the tribal court system shall be at no cost to the
         patron (excluding patron’s attorney’s fees). The cost and expenses of
         the JAMS Streamlined Arbitration shall be initially borne equally by
         the Tribe and the patron (for purposes of this section, the “parties”)
         and both parties shall pay their share of the arbitration costs at the
         time of election of the arbitration option, but the arbitrator shall award
         to the prevailing party its costs and expenses (but not attorney fees).

(d)      Upon a patron’s request pursuant to subdivision (c), the Tribe and its
         Gaming Operation shall consent to tribal court adjudication or JAMS
         Streamlined Arbitration of the matter, and agree to abide by the
         decision of the tribal court or JAMS arbitrator; provided, however,
         that if any alleged winnings are found to be a result of a mechanical,
         electronic or electromechanical failure and not due to the intentional
         acts or gross negligence of the Tribe or its agents, the tribal court or
         JAMS arbitrator shall deny the patron’s claim for the winnings but
         shall award reimbursement of the amount wagered by the patron
         which was lost as a result of any said failure.

(e)      Any party dissatisfied with the award of the tribal court or JAMS
         arbitrator issued pursuant to subdivision (c), may at the party’s
         election invoke the JAMS Optional Arbitration Appeal Procedure
         (and if those rules no longer exist, the closest equivalent); provided
         that the party making such election shall bear all costs and expenses of
         JAMS and the JAMS arbitrators associated with the Appeal
         Procedure, regardless of the outcome.

(f)      To effectuate its consent to the tribal court system or JAMS
         Streamlined Arbitration and JAMS Optional Arbitration Appeal
         Procedure in this section 10.0, the Tribe shall, in the exercise of its
         sovereignty, waive its right to assert sovereign immunity in
         connection with the tribal court jurisdiction and JAMS arbitrator’s
         jurisdiction and in any action to (i) enforce the Tribe’s or the patron’s
         obligation to arbitrate, (ii) confirm, correct, modify, or vacate the
         tribal court award or the arbitral award rendered in the arbitration, or
         (iii) enforce or execute a judgment based upon the award.




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SECTION 11.0. OFF-RESERVATION ENVIRONMENTAL AND
ECONOMIC IMPACTS.

    Sec. 11.1. Tribal Environmental Impact Report.

    (a)      Before the commencement of a Project as defined in section 2.22, the
             Tribe shall cause to be prepared a comprehensive and adequate tribal
             environmental impact report (TEIR) analyzing the potentially
             significant off-reservation environmental impacts of the Project
             pursuant to the process set forth in this section 11.0; provided,
             however, that information or data that is relevant to the TEIR and is a
             matter of public record or is generally available to the public need not
             be repeated in its entirety in the TEIR, but may be specifically cited as
             the source for conclusions stated therein; and provided further that
             such information or data shall be briefly described, that its
             relationship to the TEIR shall be indicated, and that the source thereof
             shall be reasonably available for inspection at a public place or public
             building. The TEIR shall provide detailed information about the
             Significant Effect(s) on the Environment that the Project is likely to
             have, including each of the matters set forth in Appendix B, shall list
             ways in which the Significant Effects on the Environment might be
             minimized, and shall include a detailed statement setting forth all of
             the following:

             (1)   A description of the physical environmental conditions in the
                   vicinity of the Project (the environmental setting and existing
                   baseline conditions), as they exist at the time the notice of
                   preparation is issued;

             (2)   All Significant Effects on the Environment of the proposed
                   Project;

             (3)   In a separate section:

                   (A)    Any Significant Effect on the Environment that cannot be
                          avoided if the Project is implemented;

                   (B)    Any Significant Effect on the Environment that would be
                          irreversible if the Project is implemented;



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      (4)   Mitigation measures proposed to minimize Significant Effects
            on the Environment, including, but not limited to, measures to
            reduce the wasteful, inefficient, and unnecessary consumption
            of energy;

      (5)   Alternatives to the Project; provided that the Tribe need not
            address alternatives that would cause it to forgo its right to
            engage in the Gaming Activities authorized by this Compact on
            its Indian lands;

      (6)   Whether any proposed mitigation would be feasible;

      (7)   Any direct growth-inducing impacts of the Project; and

      (8)   Whether the proposed mitigation would be effective to
            substantially reduce the potential Significant Effects on the
            Environment.

(b)   In addition to the information required pursuant to subdivision (a), the
      TEIR shall also contain a statement indicating the reasons for
      determining that various effects of the Project on the off-reservation
      environment are not significant and consequently have not been
      discussed in detail in the TEIR. In the TEIR, the direct and indirect
      Significant Effects on the Environment, including each of the items on
      Appendix B, shall be clearly identified and described, giving due
      consideration to both the short-term and long-term effects. The
      discussion of mitigation measures shall describe feasible measures
      that could minimize significant adverse effects, and shall distinguish
      between the measures that are proposed by the Tribe and other
      measures proposed by others. Where several measures are available
      to mitigate an effect, each should be discussed and the basis for
      selecting a particular measure should be identified. Formulation of
      mitigation measures should not be deferred until some future time.
      The TEIR shall also describe a range of reasonable alternatives to the
      Project or to the location of the Project, which would feasibly attain
      most of the basic objectives of the Project and which would avoid or
      substantially lessen any of the Significant Effects on the Environment,
      and evaluate the comparative merits of the alternatives; provided that
      the Tribe need not address alternatives that would cause it to forgo its
      right to engage in the Gaming Activities authorized by this Compact

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         on its Indian lands. The TEIR must include sufficient information
         about each alternative to allow meaningful evaluation, analysis, and
         comparison. The TEIR shall also contain an index or table of contents
         and a summary, which shall identify each Significant Effect on the
         Environment with proposed measures and alternatives that would
         reduce or avoid that effect, and issues to be resolved, including the
         choice among alternatives and whether and how to mitigate the
         Significant Effects on the Environment. Previously approved land use
         documents, including, but not limited to, general plans, specific plans,
         and local coastal plans, may be used in the cumulative impact
         analysis. The Tribe shall consider any recommendations from the
         County concerning the person or entity to prepare the TEIR.

(c)      To the extent any terms in this section 11.0 are not defined in this
         Compact, they will be defined as in, or consistent with, the California
         Environmental Quality Act and its regulations, as construed by the
         California courts.

Sec. 11.2. Notice of Preparation of Draft TEIR.

(a)      Upon commencing the preparation of the draft TEIR, the Tribe shall
         issue a Notice of Preparation (Notice) to the State Clearinghouse in
         the State Office of Planning and Research (State Clearinghouse) and
         to the County for distribution to the public. The Notice shall provide
         all Interested Persons with information describing the Project and its
         potential Significant Effects on the Environment sufficient to enable
         Interested Persons to make a meaningful response or comment. At a
         minimum, the Notice shall include all of the following information:

         (1)   A description of the Project;

         (2)   The location of the Project shown on a detailed map, preferably
               topographical, and on a regional map; and

         (3)   The probable off-reservation environmental effects of the
               Project.

(b)      The Notice shall also inform Interested Persons of the preparation of
         the draft TEIR and shall inform them of the opportunity to provide
         comments to the Tribe within thirty (30) days of the date of the receipt

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         of the Notice by the State Clearinghouse and the County. The Notice
         shall also request Interested Persons to identify in their comments the
         off-reservation environmental issues and reasonable mitigation
         measures that the Tribe will need to have explored in the draft TEIR.

Sec. 11.3. Notice of Completion of Draft TEIR.

(a)      The Tribe shall file a copy of the draft TEIR and a Notice of
         Completion with the State Clearinghouse, the State Gaming Agency,
         the County, and the California Department of Justice, Office of the
         Attorney General. The Tribe shall also post the Notice of Completion
         and a copy of the draft TEIR on its website. The Notice of
         Completion shall include all of the following information:

         (1)   A brief description of the Project;

         (2)   The proposed location of the Project;

         (3)   An address where copies of the draft TEIR are available; and

         (4)   Notice of a period of forty-five (45) days during which the
               Tribe will receive comments on the draft TEIR.

(b)      The Tribe will submit ten (10) copies each of the draft TEIR and the
         Notice of Completion to the County, which will be asked to post
         public notice of the draft TEIR at the office of the County Board of
         Supervisors and to furnish the public notice to the public libraries
         serving the County. The County shall also be asked to serve in a
         timely manner the Notice of Completion to all Interested Persons,
         which Interested Persons shall be identified by the Tribe for the
         County, to the extent it can identify them. In addition, the Tribe will
         provide public notice by at least one (1) of the procedures specified
         below:

         (1)   Publication at least one time by the Tribe in a newspaper of
               general circulation in the area affected by the Project. If more
               than one area is affected, the notice shall be published in the
               newspaper of largest circulation from among the newspapers of
               general circulation in those areas; or



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               (2)   Direct mailing by the Tribe to the owners and occupants of
                     property adjacent to, but outside, the Indian lands on which the
                     Project is to be located. Owners of such property shall be
                     identified as shown on the latest equalization assessment roll.

      Sec. 11.4. Issuance of Final TEIR.

       The Tribe shall prepare, certify and make available to the County, the State
Clearinghouse, the State Gaming Agency, and the California Department of
Justice, Office of the Attorney General, at least fifty-five (55) days before the
completion of negotiations pursuant to section 11.7 a Final TEIR, which shall
consist of:

      (a)      The draft TEIR or a revision of the draft;

      (b)      Comments and recommendations received on the draft TEIR either
               verbatim or in summary;

      (c)      A list of persons, organizations, and public agencies commenting on
               the draft TEIR;

      (d)      The responses, which shall include good faith, reasoned analyses, of
               the Tribe to significant environmental points raised in the review and
               consultation process; and

      (e)      Any other information added by the Tribe.

      Sec. 11.5. Cost Reimbursement to County.

       The Tribe shall reimburse the County for copying and mailing costs
resulting from making the Notice of Preparation, Notice of Completion, and draft
TEIR available to the public under this section 11.0.

      Sec. 11.6. Failure to Prepare Adequate TEIR.

       The Tribe’s failure to prepare an adequate TEIR when required shall be
deemed a breach of this Compact and furthermore shall be grounds for issuance of
an injunction or other appropriate equitable relief. Notwithstanding anything to the
contrary herein, the document entitled, Final Tribal Environmental Impact Report
for the Buena Vista Rancheria of Me-Wuk Indians of California Gaming and

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Entertainment Facility,” dated May 2007 (2007 TEIR) is acceptable to the State as
a TEIR under this Compact, provided that the size and scope of a Project is
unchanged from, or is of a lesser size and scope than, the “proposed project”
described in and evaluated by the 2007 TEIR.

      Sec. 11.7. Intergovernmental Agreement.

      (a)      Before the commencement of a Project, and no later than the issuance
               of the Final TEIR to the County, the Tribe shall offer to commence
               negotiations with the County, and upon the County’s acceptance of
               the Tribe’s offer, shall negotiate with the County and shall enter into
               enforceable written agreements (referred to herein as
               “intergovernmental agreements”) with the County with respect to the
               matters set forth below:

               (1)   Reasonable and timely mitigation of any Significant Effect on
                     the Environment (which effects may include, but are not limited
                     to, aesthetics, agricultural resources, air quality, biological
                     resources, cultural resources, geology and soils, hazards and
                     hazardous materials, water resources, land use, mineral
                     resources, traffic, noise, utilities and service systems, and
                     cumulative effects), where such effect is attributable, in whole
                     or in part, to the Project unless the particular mitigation is
                     infeasible, taking into account economic, environmental, social,
                     technological, or other considerations. The reference to “timely
                     mitigation” should be interpreted in a manner consistent with
                     general principles of environmental law in the specific factual
                     context and is not intended to imply that any particular
                     mitigation is, or is not, a pre-requisite to commencement of a
                     Project or Gaming Activities.

               (2)   Reasonable compensation for law enforcement, fire protection,
                     emergency medical services and any other public services, to
                     the extent such services are to be provided by the County and
                     its special districts to the Tribe for the purposes of the Gaming
                     Operation, including the Gaming Facility, as a consequence of
                     the Project.

               (3)   Reasonable compensation for programs designed to address
                     gambling addiction.

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         (4)   Reasonable and feasible mitigation of any significant effect on
               public safety attributable to the Project, including any
               reasonable compensation to the County as a consequence
               thereof, to the extent such effects are not mitigated pursuant to
               subdivision (a)(2) above.

(b)      Except as provided in subdivision (d) below, the Tribe shall not
         commence a Project until the intergovernmental agreements specified
         in subdivisions (a) and (c) are executed by the parties or are
         effectuated pursuant to section 11.8.

(c)      If the Final TEIR identifies traffic impacts to the state highway system
         or facilities that are directly attributable in whole or in part to the
         Project, then before the commencement of the Project, the Tribe shall
         negotiate an intergovernmental agreement with the California
         Department of Transportation that provides for timely mitigation of
         all traffic impacts on the state highway system and facilities directly
         attributable to the Project, and payment of the Tribe’s fair share of
         cumulative traffic impacts. Alternatively, the California Department
         of Transportation may agree in writing that the Tribe may negotiate
         and conclude, prior to commencement of the Project, an
         intergovernmental agreement with the County that mitigates the traffic
         impacts to the state highway system or facilities.

(d)      Nothing in this section 11.7 requires the Tribe to enter into any other
         intergovernmental agreements with a local governmental entity other
         than as set forth in subdivisions (a) and (c). To the extent that an
         intergovernmental agreement that was negotiated or entered into
         under terms of a prior compact remains in effect, the Tribe is not
         obligated under this Compact to enter into any other
         intergovernmental agreement unless the Tribe plans a Project that is
         larger in size or scope than the “proposed project” described in and
         evaluated by the 2007 TEIR.

(e)      No later than the September 1 following any Fiscal Year (ending the
         previous June 30) in which funds were sent to the County pursuant to
         an intergovernmental agreement with the Tribe, the County shall
         furnish to the Tribe a report signed by both the County Administrator
         and the Auditor/Controller identifying: (i) all of those funds that were

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               expended by the County, (ii) which County departments
               utilized/expended those funds, (iii) through which budgetary
               departments those funds were used/expended and (iv) any unspent
               funds and the intended future use of such unspent funds. If any funds
               should be used to wholly make any capital purchases or complete any
               capital projects, those purchases or projects shall also be identified in
               the report.

      Sec. 11.8. Arbitration.

       To foster good government-to-government relationships and to assure that
the Tribe is not unreasonably prevented from commencing a Project and benefiting
therefrom, if an intergovernmental agreement with the County, or the California
Department of Transportation if required by section 11.7, subdivision (c), is not
entered within seventy-five (75) days of the submission of the Final TEIR, or such
further time as the Tribe and the County, or the Tribe and the California
Department of Transportation if required by section 11.7, subdivision (c) (for
purposes of this section the “parties”) may agree in writing, any party may demand
binding arbitration before a JAMS arbitrator pursuant to JAMS Comprehensive
Arbitration with respect to any remaining disputes arising from, connected with, or
related to the negotiation:

      (a)      The arbitration shall be conducted as follows: Each party shall
               exchange with each other within five (5) days of the demand for
               arbitration its last, best written offer made during the negotiation
               pursuant to section 11.7. The arbitrator shall schedule a hearing to be
               heard within thirty (30) days of his or her appointment unless the
               parties agree to a longer period. The arbitrator shall be limited to
               awarding only one (1) of the offers submitted, without modification,
               based upon that proposal which best provides feasible mitigation of
               Significant Effects on the Environment and on public safety and most
               reasonably compensates for public services pursuant to section 11.7,
               without unduly interfering with the principal objectives of the Project
               or imposing environmental mitigation measures which are different in
               nature or scale from the type of measures that have been required to
               mitigate impacts of a similar scale of other projects in the surrounding
               area, to the extent there are such other projects. The arbitrator shall
               take into consideration whether the Final TEIR provides the data and
               information necessary to enable the County, or the California
               Department of Transportation if required by section 11.7, subdivision

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               (c), to determine both whether the Project may result in a Significant
               Effect on the Environment and whether the proposed measures in
               mitigation are sufficient to mitigate any such effect. If the respondent
               does not participate in the arbitration, the arbitrator shall nonetheless
               conduct the arbitration and issue an award, and the claimant shall
               submit such evidence as the arbitrator may require therefore. Review
               of the resulting arbitration award is waived.

      (b)      To effectuate this section 11.8, and in the exercise of its sovereignty,
               the Tribe agrees to expressly waive, and to waive its right to assert,
               sovereign immunity in connection with the arbitrator’s jurisdiction
               and in any action to (i) enforce the other party’s obligation to
               arbitrate, (ii) enforce or confirm any arbitral award rendered in the
               arbitration, or (iii) enforce or execute a judgment based upon the
               award.

      (c)      The arbitral award will become part of the intergovernmental
               agreements with the County required under section 11.7.

      (d)      An arbitral award entered pursuant to this section 11.8 as the result of
               arbitration between the Tribe and the California Department of
               Transportation, when an intergovernmental agreement is required by
               section 11.7, subdivision (c), will become the intergovernmental
               agreement with the California Department of Transportation.

SECTION 12.0. PUBLIC AND WORKPLACE HEALTH, SAFETY, AND
LIABILITY.

      Sec. 12.1. General Requirements.

      The Tribe shall not conduct Class III Gaming in a manner that endangers the
public health, safety, or welfare, provided, however, that nothing herein shall be
construed to make applicable to the Tribe any State laws or regulations governing
the use of tobacco.

      Sec. 12.2. Tobacco Smoke.

       Notwithstanding section 12.1, the Tribe agrees to provide a non-smoking
area in the Gaming Facility and to utilize a ventilation system throughout the
Gaming Facility that exhausts tobacco smoke to the extent reasonably feasible

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under state-of-the-art technology existing as of the date of the construction or
significant renovation of the Gaming Facility, and further agrees not to offer or sell
tobacco products, including but not limited to smokeless tobacco products or e-
cigarettes, to anyone younger than the minimum age specified in state law to
legally purchase tobacco products.

      Sec. 12.3. Health and Safety Standards.

       To protect the health and safety of patrons and employees of the Gaming
Facility, the Tribe shall, for the Gaming Facility:

      (a)      Adopt and comply with State public health standards for food and
               beverage handling. The Tribe will allow, during normal hours of
               operation, inspection of food and beverage services in the Gaming
               Facility by State health inspectors, or County health inspectors if State
               inspectors are unavailable, to assess compliance with these standards,
               unless inspections are routinely made by an agency of the United
               States government to ensure compliance with equivalent standards of
               the United States Public Health Service. Any report subsequent to an
               inspection or visit by the State, County, or federal health inspectors
               shall be transmitted, within seventy-two (72) hours of its receipt by
               the Tribe, to the State Gaming Agency and the Tribal Gaming
               Agency. This includes any document that includes a citation or
               finding. Nothing herein shall be construed as submission of the Tribe
               to the jurisdiction of those State or County health inspectors, but any
               violations of the standards may be the subject of dispute resolution
               pursuant to section 13.0. The inspections shall be conducted in a
               manner that effectively and efficiently determines compliance with
               the standards while reasonably minimizing disruption to the Gaming
               Facility and Gaming Operation.

      (b)      Adopt and comply with federal water quality and safe drinking water
               standards applicable in California. The Tribe will allow, during
               normal hours of operation, inspection and testing of water quality at
               the Gaming Facility by State health inspectors, or County health
               inspectors if State inspectors are unavailable, to assess compliance
               with these standards, unless inspections and testing are routinely made
               by an agency of the United States pursuant to federal law to ensure
               compliance with federal water quality and safe drinking water
               standards. Any report or other writings by the State, County, or

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         federal health inspectors shall be transmitted, within seventy-two (72)
         hours of its receipt by the Tribe, to the State Gaming Agency and the
         Tribal Gaming Agency. Nothing herein shall be construed as
         submission of the Tribe to the jurisdiction of those State, or County
         health inspectors, but any violations of the standards may be the
         subject of dispute resolution per section 13.0. The inspections shall
         be conducted in a manner that effectively and efficiently determines
         compliance with the standards while reasonably minimizing
         disruption to the Gaming Facility and Gaming Operation.

(c)      Comply with the building and safety standards set forth in section
         6.4.2.

(d)      Adopt and comply with federal workplace and occupational health
         and safety standards. The Tribe will allow inspection of Gaming
         Facility workplaces by State inspectors, during normal hours of
         operation, to assess compliance with these standards; provided that
         there is no right to inspection by State inspectors where an inspection
         has been conducted by an agency of the United States pursuant to
         federal law during the previous calendar quarter and the Tribe has
         provided a copy of the federal agency’s report to the State Gaming
         Agency within ten (10) days of the federal inspection.

(e)      Adopt and comply with tribal codes to the extent consistent with the
         provisions of this Compact and other applicable federal law regarding
         public health and safety.

(f)      Adopt and comply with federal laws and state laws forbidding
         harassment, including sexual harassment, in the workplace, forbidding
         employers from discrimination in connection with the employment of
         persons to work or working for the Gaming Operation or in the
         Gaming Facility on the basis of race, color, religion, ancestry, national
         origin, gender, marital status, medical condition, sexual orientation,
         age, or disability, and forbidding employers from retaliation against
         persons who oppose discrimination or participate in employment
         discrimination proceedings (hereinafter “harassment, retaliation, or
         employment discrimination”); provided that nothing herein shall
         preclude the Tribe from giving a preference in employment to
         members of federally recognized Indian tribes pursuant to a duly
         adopted tribal ordinance.

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   (1)   The Tribe shall obtain and maintain an employment practices
         liability insurance policy consistent with industry standards for
         non-tribal casinos and underwritten by an insurer with an A.M.
         Best rating of A or higher which provides coverage of at least
         three million dollars ($3,000,000) per occurrence for unlawful
         harassment, retaliation, or employment discrimination arising
         out of the claimant’s employment in, in connection with, or
         relating to the operation of, the Gaming Operation, Gaming
         Facility or Gaming Activities. To effectuate the insurance
         coverage, the Tribe, in the exercise of its sovereignty, shall
         expressly waive, and also waive its right to assert, sovereign
         immunity and any and all defenses based thereon up to the
         greater of three million dollars ($3,000,000) or the limits of the
         employment practices liability insurance policy, in accordance
         with the tribal ordinance referenced in subdivision (f)(2) below,
         in connection with any claim for harassment, retaliation, or
         employment discrimination arising out of the claimant’s
         employment in, in connection with, or relating to the operation
         of, the Gaming Operation, Gaming Facility or Gaming
         Activities; provided, however, that nothing herein requires the
         Tribe to agree to liability for punitive damages or to waive its
         right to assert sovereign immunity in connection therewith.
         The employment practices liability insurance policy shall
         acknowledge in writing that the Tribe has expressly waived,
         and also waived its right to assert, sovereign immunity and any
         and all defenses based thereon for the purpose of arbitration of
         those claims for harassment, retaliation, or employment
         discrimination up to the limits of such policy and for the
         purpose of enforcement of any ensuing award or judgment and
         shall include an endorsement providing that the insurer shall not
         invoke tribal sovereign immunity up to the limits of such
         policy; however, such endorsement or acknowledgement shall
         not be deemed to waive or otherwise limit the Tribe’s sovereign
         immunity for any portion of the claim that exceeds such policy
         limits or three million dollars ($3,000,000), whichever is
         greater. Nothing in this provision shall be interpreted to
         supersede any requirement in the Tribe’s employment
         discrimination complaint ordinance that a claimant must
         exhaust administrative remedies as a prerequisite to arbitration.

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   (2)   The Tribe’s harassment, retaliation, or employment
         discrimination standards shall be subject to enforcement
         pursuant to an employment discrimination complaint ordinance
         which shall be adopted by the Tribe prior to the effective date
         of this Compact and made available to all employees and their
         legal representatives. The ordinance shall continuously provide
         at least the following:

         (A)   That California law shall govern all claims of
               harassment, retaliation, or employment discrimination
               arising out of the claimant’s employment in, in
               connection with, or relating to the operation of, the
               Gaming Operation, Gaming Facility or Gaming
               Activities; provided that California law governing
               punitive damages need not be a part of the ordinance.
               Nothing in this provision shall be construed as a
               submission of the Tribe to the jurisdiction of the
               California Department of Fair Employment and Housing
               or the California Fair Employment and Housing
               Commission, or any successor agencies thereto.

         (B)   That a claimant shall have one (1) year from the date that
               an alleged discriminatory act occurred to file a written
               notice with the Tribe that he or she has suffered
               prohibited harassment, retaliation, or employment
               discrimination.

         (C)   That, in the exercise of its sovereignty, the Tribe
               expressly waives, and also waives its right to assert,
               sovereign immunity with respect to the dispute resolution
               processes expressly authorized in this section 12.3,
               subdivision (f) relating to claims for harassment,
               retaliation, or employment discrimination, as described in
               subdivision (f)(2)(D), below, but only up to the greater of
               three million dollars ($3,000,000) or the limits of the
               employment practices liability insurance policy
               referenced in subdivision (f)(1) above; provided,
               however, such waiver shall not be deemed to waive or
               otherwise limit the Tribe’s sovereign immunity for any

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               portion of the claim that exceeds three million dollars
               ($3,000,000) or the insurance policy limits, whichever is
               greater.

         (D)   That the Tribe consents to binding arbitration before a
               JAMS arbitrator in accordance with JAMS
               Comprehensive Arbitration, that discovery in the
               arbitration proceedings shall be governed by section
               1283.05 of the California Code of Civil Procedure, that
               the Tribe shall initially bear the cost of JAMS and the
               JAMS arbitrator, but the arbitrator may award costs to
               the prevailing party not to exceed those allowable in a
               suit in California superior court, and that any party
               dissatisfied with the award of the arbitrator may at the
               party’s election invoke the JAMS Optional Arbitration
               Appeal Procedure (or if those rules no longer exist, the
               closest equivalent), provided that the party making such
               election must bear all costs and expenses of JAMS and
               the JAMS arbitrators associated with the Appeal
               Procedure, regardless of the outcome. The arbitration
               shall take place within seventy-five (75) miles of the
               Gaming Facility, or as otherwise mutually agreed by the
               parties. To effectuate its consent to the foregoing
               arbitration procedure, the Tribe shall, in the exercise of
               its sovereignty, expressly waive, and also waive its right
               to assert, sovereign immunity in connection with the
               arbitrator’s jurisdiction and in any state or federal court
               action to (i) enforce the parties’ obligation to arbitrate,
               (ii) confirm, correct, or vacate the arbitral award rendered
               in the arbitration in accordance with section 1285 et seq.
               of the California Code of Civil Procedure, or (iii) enforce
               or execute a judgment based upon the award. The Tribe
               agrees not to assert, and will waive, any defense alleging
               improper venue or forum non conveniens as to any state
               court located within the County or any federal court
               located in the Eastern District of California in any such
               action brought with respect to the arbitration award.

   (3)   The employment discrimination complaint ordinance required
         under subdivision (f)(2) may require, as a prerequisite to

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         binding arbitration under subdivision (f)(2)(D), that the
         claimant exhaust the Tribe’s administrative remedies, if any
         exist, in the form of a tribal employment discrimination
         complaint resolution process, for resolving the claim in
         accordance with the following standards:

         (A)   Upon notice that the claimant alleges that he or she has
               suffered prohibited harassment, retaliation, or
               employment discrimination, the Tribe or its designee
               shall provide notice by personal service or certified mail,
               return receipt requested, that the claimant is required to
               proceed with the Tribe’s employment discrimination
               complaint resolution process in the event that the
               claimant wishes to pursue his or her claim.

         (B)   The claimant must bring his or her claim within one
               hundred eighty (180) days of receipt of the written notice
               (“limitation period”) of the Tribe’s employment
               discrimination complaint resolution process as long as
               the notice thereof is served personally on the claimant or
               by certified mail with an executed return receipt by the
               claimant and the one hundred eighty (180)-day limitation
               period is prominently displayed on the front page of the
               notice.

         (C)   The arbitration may be stayed until the completion of the
               Tribe’s employment discrimination complaint resolution
               process or one hundred eighty (180) days from the date
               the claim was filed, whichever first occurs, unless the
               parties mutually agree upon a longer period.

         (D)   The decision of the Tribe’s employment discrimination
               complaint resolution process shall be in writing, shall be
               based on the facts surrounding the dispute, shall be a
               reasoned decision, and shall be rendered within one
               hundred eighty (180) days from the date the claim was
               filed, unless the parties mutually agree upon a longer
               period.




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   (4)   Within fourteen (14) days following notification that a claimant
         claims that he or she has suffered harassment, retaliation, or
         employment discrimination, the Tribe shall provide notice by
         personal service or certified mail, return receipt requested, that
         the claimant is required within the specified limitation period to
         first exhaust the Tribe’s employment discrimination complaint
         resolution process, if any exists, and if dissatisfied with the
         resolution, is entitled to arbitrate his or her claim before a
         retired judge in a binding arbitration proceeding, at no cost to
         the claimant (except for the claimant’s attorney’s fees).

   (5)   In the event the Tribe fails to adopt the ordinance specified in
         subdivision (f)(2), persons who claim they have suffered
         prohibited harassment, retaliation, or employment
         discrimination may proceed to arbitration as provided in this
         subdivision (f), in which case California employment
         discrimination law, including applicable statutes of limitations,
         shall apply to all such claims arising out of the claimant’s
         employment in, in connection with, or relating to the operation
         of the Gaming Operation, Gaming Facility or Gaming
         Activities, and the Tribe shall be deemed to have expressly
         waived, and also waived its right to assert, sovereign immunity
         up to the greater of three million dollars ($3,000,000) or the
         limits of the employment practices insurance policy in
         connection with the arbitration of any such claims, any court
         proceedings based on such arbitration, including the arbitral
         award resulting therefrom, and any ensuing judgments.
         Nothing in this subdivision (f)(5), shall be interpreted as a
         waiver of the Tribe’s sovereign immunity or consent to the
         jurisdiction of any court other than for the purposes set forth in
         this subdivision (f).

   (6)   The Tribe shall provide written notice of the employment
         discrimination complaint ordinance and the procedures for
         bringing a complaint in its employee handbook. The Tribe also
         shall post and keep posted in prominent and accessible places in
         the Gaming Facility where notices to employees and applicants
         for employment are customarily posted, a notice setting forth
         the pertinent provisions of the employment discrimination



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               complaint ordinance and information pertinent to the filing of a
               complaint.

         (7)   Nothing herein shall be construed as authorization that
               resolution of employment discrimination complaints may be
               adjudicated by a tribal court system or intertribal court system
               as part of the Tribe’s dispute resolution process or otherwise.

(g)      Adopt and comply with standards that are no less stringent than State
         laws prohibiting a gambling enterprise from cashing any check drawn
         against a federal, state, county, or city fund, including but not limited
         to, Social Security, unemployment insurance, disability payments, or
         public assistance payments.

(h)      Adopt and comply with standards that are no less stringent than State
         laws, if any, prohibiting a gambling or other gaming enterprise from
         providing, allowing, contracting to provide, or arranging to provide
         alcoholic beverages, or food or lodging, for no charge or at reduced
         prices at a gambling establishment or lodging facility as an incentive
         or enticement.

(i)      Adopt and comply with standards that are no less stringent than State
         laws, if any, prohibiting extensions of credit.

(j)      Comply with provisions of the Bank Secrecy Act, P.L. 91-508,
         October 26, 1970, 31 U.S.C. §§ 5311-5314, as amended, and all
         reporting requirements of the Internal Revenue Service, insofar as
         such provisions and reporting requirements are applicable to gambling
         establishments.

(k)      Adopt and comply with the Fair Labor Standards Act, 29 U.S.C. § 201
         et seq., the United States Department of Labor regulations
         implementing the Fair Labor Standards Act, 29 C.F.R. § 500 et seq.,
         the State’s minimum wage law set forth in California Labor Code
         section 1182.12, and the State Department of Industrial Relations
         regulations implementing the State’s minimum wage law, California
         Code of Regulations, title 8, section 1100 et seq. Notwithstanding the
         foregoing, only the federal minimum wage laws set forth in the Fair
         Labor Standards Act, 29 Code of Federal Regulations, part 500 et



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               seq., shall apply to tipped employees. Nothing herein shall make
               applicable state law concerning overtime.

      Sec. 12.4. Tribal Gaming Facility Standards Ordinance.

       The Tribe shall adopt in the form of an ordinance the standards described in
subdivisions (a) through (k) of section 12.3 to which the Gaming Operation and
Gaming Facility are held, and shall transmit the ordinance to the State Gaming
Agency not later than thirty (30) days after the effective date of this Compact. In
the absence of a promulgated tribal standard in respect to a matter identified in
those subdivisions, or the express adoption of an applicable federal and/or State
statute or regulation, as the case may be, in respect of any such matter, the
otherwise applicable federal and/or State statute or regulation shall be deemed to
have been adopted by the Tribe as the applicable standard.

      Sec. 12.5. Insurance Coverage and Claims.

      (a)      The Tribe shall obtain and maintain commercial general liability
               insurance consistent with industry standards for non-tribal casinos in
               the United States underwritten by an insurer with an A.M. Best rating
               of A or higher which provides coverage of no less than ten million
               dollars ($10,000,000) per occurrence for bodily injury, personal
               injury, and property damage arising out of, connected with, or relating
               to the operation of the Gaming Facility or Gaming Activities (Policy).
               To effectuate the insurance coverage, the Tribe shall expressly waive,
               and waive its right to assert, sovereign immunity up to the greater of
               ten million dollars ($10,000,000) or the limits of the Policy, in
               accordance with the tribal ordinance referenced in subdivision (b)
               below, in connection with any claim for bodily injury, personal injury,
               or property damage, arising out of, connected with, or relating to the
               operation of the Gaming Operation, Gaming Facility, or the Gaming
               Activities, including, but not limited to, injuries resulting from entry
               onto the Tribe’s land for purposes of patronizing the Gaming Facility
               or providing goods or services to the Gaming Facility; provided,
               however, that nothing herein requires the Tribe to agree to liability for
               punitive damages or to waive its right to assert sovereign immunity in
               connection therewith. The Policy shall acknowledge in writing that
               the Tribe has expressly waived, and waived its right to assert,
               sovereign immunity for the purpose of arbitration of those claims up
               to the greater of ten million dollars ($10,000,000) or the limits of the

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      Policy referred to above and for the purpose of enforcement of any
      ensuing award or judgment and shall include an endorsement
      providing that the insurer shall not invoke tribal sovereign immunity
      up to the limits of the Policy; however, such endorsement or
      acknowledgement shall not be deemed to waive or otherwise limit the
      Tribe’s sovereign immunity for any portion of the claim that exceeds
      ten million dollars ($10,000,000) or the Policy limits, whichever is
      greater.

(b)   The Tribe shall adopt, and at all times hereinafter shall maintain in
      continuous force, an ordinance that provides for all of the following:

      (1)   The ordinance shall provide that California tort law shall
            govern all claims of bodily injury, personal injury, or property
            damage arising out of, connected with, or relating to the
            operation of the Gaming Operation, Gaming Facility, or the
            Gaming Activities, including but not limited to injuries
            resulting from entry onto the Tribe’s land for purposes of
            patronizing the Gaming Facility or providing goods or services
            to the Gaming Facility, provided that California law governing
            punitive damages need not be a part of the ordinance. Further,
            the Tribe may include in the ordinance required by this
            subdivision a requirement that a person with claims for money
            damages against the Tribe file those claims within the time
            periods applicable for the filing of claims for money damages
            against public entities under California Government Code
            section 810, et seq.

      (2)   The ordinance shall also expressly provide for waiver of the
            Tribe’s sovereign immunity and its right to assert sovereign
            immunity with respect to the arbitration or resolution of such
            claims in the Tribe’s tribal court system, once a tribal court
            system is established, but only up to the greater of ten million
            dollars ($10,000,000) or the limits of the Policy; provided,
            however, such waiver shall not be deemed to waive or
            otherwise limit the Tribe’s sovereign immunity for any portion
            of the claim that exceeds ten million dollars ($10,000,000) or
            the Policy limits, whichever is greater.




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   (3)   The ordinance shall allow for the dispute to be settled either in
         the Tribe’s tribal court system, once a tribal court system is
         established, or by binding arbitration before a JAMS arbitrator,
         in accordance with JAMS Comprehensive Arbitration. The
         decision to choose either the tribal court system or JAMS
         Comprehensive Arbitration shall be at the claimant’s sole
         discretion. Resolution of the dispute before the tribal court
         system shall be at no cost to the claimant (excluding claimant’s
         attorney’s fees). The cost and expenses of the JAMS
         Comprehensive Arbitration shall be initially borne equally by
         the parties and the parties shall pay their share of the arbitration
         costs at the time of claimant’s election of the arbitration option,
         but the arbitrator may award costs to the prevailing party not to
         exceed those allowable in a suit in California Superior Court.

   (4)   The Tribe shall consent to tribal court adjudication or binding
         JAMS Comprehensive Arbitration before a JAMS arbitrator to
         the extent of the limits of the Policy, that discovery in the
         arbitration proceedings shall be governed by section 1283.05 of
         the California Code of Civil Procedure, that the Tribe and the
         claimant shall initially bear the cost of JAMS and the JAMS
         arbitrator equally, to be paid at the time of election of
         arbitration but that the JAMS arbitrator may award costs to the
         prevailing party not to exceed those allowable in a suit in
         California Superior Court, and that any party dissatisfied with
         the award of the arbitrator may at the party’s election invoke
         the JAMS Optional Arbitration Appeal Procedure (or if those
         rules no longer exist, the closest equivalent), provided that the
         party making such election must bear all costs and expenses of
         JAMS and the JAMS arbitrators associated with the Appeal
         Procedure, regardless of the outcome.

   (5)   To effectuate its consent to the tribal court system or JAMS
         Comprehensive Arbitration, and JAMS Optional Arbitration
         Appeal Procedure in the ordinance, the Tribe shall, in the
         exercise of its sovereignty, expressly waive, and also waive its
         right to assert, sovereign immunity in connection with the
         arbitrator’s jurisdiction and in any action to (i) enforce the
         parties’ obligation to arbitrate, (ii) confirm, correct, modify, or



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               vacate the arbitral award rendered in the arbitration, or (iii)
               enforce or execute a judgment based upon the award.

         (6)   The ordinance may also require that the claimant first exhaust
               the Tribe’s administrative remedies for resolving the claim
               (hereinafter the “Tribal Dispute Process”) in accordance with
               the following standards: The claimant must bring his or her
               claim within one hundred eighty (180) days of receipt of
               written notice of the Tribal Dispute Process as long as notice
               thereof is served personally on the claimant or by certified mail
               with an executed return receipt by the claimant and the one
               hundred eighty (180)-day limitation period is prominently
               displayed on the front page of the notice. The ordinance may
               provide that any arbitration shall be stayed until the completion
               of the Tribal Dispute Process or one hundred eighty (180) days
               from the date the claim is filed in the Tribal Dispute Process,
               whichever first occurs, unless the parties mutually agree to a
               longer period.

(c)      Upon notice that a claimant claims to have suffered an injury or
         damage covered by this section, the Tribe shall provide notice by
         personal service or certified mail, return receipt requested, that the
         claimant is required within the specified limitation period to first
         exhaust the Tribal Dispute Process, if any, and if dissatisfied with the
         resolution, entitled to arbitrate his or her claim de novo before a
         retired judge.

(d)      In the event the Tribe fails to adopt the ordinance specified in
         subdivision (b), the tort law of the State of California, including
         applicable statutes of limitations, shall apply to all claims of bodily
         injury, personal injury, and property damage arising out of, connected
         with, or relating to the operation of the Gaming Operation, Gaming
         Facility, or the Gaming Activities, including but not limited to injuries
         resulting from entry onto the Tribe’s land for purposes of patronizing
         the Gaming Facility or providing goods or services to the Gaming
         Facility; and the Tribe shall be deemed to have expressly waived, and
         also waived its right to assert, sovereign immunity up to the greater of
         ten million dollars ($10,000,000) or the limits of the Policy in
         connection with the arbitration of any such claims, any court



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              proceedings based on such arbitration, including the arbitral award
              resulting therefrom, and any ensuing judgments.

     (e)      The Tribe shall not invoke on behalf of any employee or agent, the
              Tribe’s sovereign immunity in connection with any claim for, or any
              judgment based on any claim for, intentional injury to persons or
              property committed by the employee or agent, without regard to the
              Tribe’s liability insurance limits. Nothing in this subdivision prevents
              the Tribe from invoking sovereign immunity on its own behalf or
              authorizes a claim against the Tribe or a tribally owned entity.

    Sec. 12.6. Participation in State Statutory Programs Related to
Employment.

     (a)      The Tribe agrees that it will participate in the State’s workers’
              compensation program with respect to employees employed at the
              Gaming Operation and the Gaming Facility. The workers’
              compensation program includes, but is not limited to, state laws
              relating to the securing of payment of compensation through one or
              more insurers duly authorized to write workers’ compensation
              insurance in this state or through self-insurance as permitted under the
              State’s workers’ compensation laws. If the Tribe participates in the
              State’s workers’ compensation program, it agrees that all disputes
              arising from the workers’ compensation laws shall be heard by the
              Workers’ Compensation Appeals Board pursuant to the California
              Labor Code. The Tribe hereby consents to the jurisdiction of the
              Workers’ Compensation Appeals Board and the courts of the State of
              California for purposes of enforcement. The parties agree that
              independent contractors doing business with the Tribe are bound by
              all state workers’ compensation laws and obligations.

     (b)      In lieu of participating in the State’s statutory workers’ compensation
              system, the Tribe may create and maintain a system that provides
              redress for Gaming Facility employees’ work-related injuries through
              requiring insurance or self-insurance, which system must include a
              scope of coverage, provision of up to ten thousand dollars ($10,000)
              in medical treatment for an alleged injury until the date that liability
              for the claim is accepted or rejected, employee choice of physician
              (either after thirty (30) days from the date of the injury is reported or
              if a medical provider network has been established, within the medical

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         provider network), quality and timely medical treatment provided
         comparable to the state’s medical treatment utilization schedule,
         availability of an independent medical examination to resolve
         disagreements on appropriate treatment (by an Independent Medical
         Reviewer on the state’s approved list, a Qualified Medical Evaluator
         on the state’s approved list, or an Agreed Medical Examiner upon
         mutual agreement of the employer and employee), the right to notice,
         hearings before an independent tribunal, a means of enforcement
         against the employer, and benefits (including, but not limited to,
         disability, rehabilitation and return to work) comparable to those
         mandated for comparable employees under state law. Not later than
         the effective date of this Compact, or sixty (60) days prior to the
         commencement of Gaming Activities under this Compact, the Tribe
         will advise the State of its election to participate in the State’s
         workers’ compensation system or, alternatively, will forward to the
         State all relevant ordinances that have been adopted and all other
         documents establishing the system and demonstrating that the system
         is fully operational and compliant with the comparability standard set
         forth above. The parties agree that independent contractors doing
         business with the Tribe must comply with all state workers’
         compensation laws and obligations.

(c)      The Tribe agrees that it will participate in the State’s program for
         providing unemployment compensation benefits and unemployment
         compensation disability benefits with respect to employees employed
         at the Gaming Operation or Gaming Facility, which participation shall
         include compliance with the provisions of the California
         Unemployment Insurance Code, and the Tribe consents to the
         jurisdiction of the State agencies charged with the enforcement of that
         code and of the courts of the State of California for purposes of
         enforcement.

(d)      As a matter of comity, with respect to persons, including nonresidents
         of California, employed at the Gaming Operation or Gaming Facility,
         the Tribe shall withhold all taxes due to the State as provided in the
         California Unemployment Insurance Code, and shall forward such
         amounts to the State. The Tribe shall file with the Franchise Tax
         Board a copy of any information return filed with the Secretary of the
         Treasury, as provided in the California Revenue and Taxation Code
         and the regulations thereunder, except those pertaining to tribal

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               members living on the Tribe’s reservation. For purposes of this
               subdivision, “reservation” refers to the Tribe’s Indian lands within the
               meaning of IGRA or lands otherwise held in trust for the Tribe by the
               United States, and “tribal members” refers to the enrolled members of
               the Tribe.

      (e)      As a matter of comity, the Tribe shall, with respect to the earnings of
               any person employed at the Gaming Operation or Gaming Facility,
               comply with all earnings withholding orders for taxes, support of a
               child, or spouse or former spouse, and all other orders by which the
               earnings of an employee are required to be withheld by an employer
               pursuant to chapter 5 (commencing with section 706.010) of division
               1 of title 9 of part 2 of the California Code of Civil Procedure, and
               with all earnings assignment orders for support made pursuant to
               chapter 8 (commencing with section 5200) of part 5 of division 9 of
               the California Family Code or section 3088 of the California Probate
               Code.

      Sec. 12.7. Emergency Services Accessibility.

     The Tribe shall make reasonable provisions for adequate emergency fire,
medical, and related relief and disaster services for patrons and employees of the
Gaming Facility.

      Sec. 12.8. Alcoholic Beverage Service.

      Purchase, sale, and service of alcoholic beverages by or to patrons shall be
subject to state alcoholic beverage laws.

      Sec. 12.9. Possession of Firearms.

      The possession of firearms by any person in the Gaming Facility is
prohibited at all times, except for federal, state, or local law enforcement
personnel, or tribal law enforcement or security personnel authorized by tribal law
and federal or state law to possess firearms at the Gaming Facility.

      Sec. 12.10. Labor Relations.

       The Gaming Activities authorized by this Compact may only commence
after the Tribe has adopted an ordinance identical to the Tribal Labor Relations

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Ordinance attached hereto as Appendix C, and the Gaming Activities may only
continue as long as the Tribe maintains the ordinance. The Tribe shall provide
written notice to the State that it has adopted the ordinance, along with a copy of
the ordinance, before commencing the Gaming Activities authorized by this
Compact.

SECTION 13.0. DISPUTE RESOLUTION PROVISIONS.

      Sec. 13.1. Voluntary Resolution; Court Resolution.

       In recognition of the government-to-government relationship of the Tribe
and the State, the parties shall make their best efforts to resolve disputes that arise
under this Compact by good faith negotiations whenever possible. Therefore,
except for the right of either party to seek injunctive relief against the other when
circumstances are deemed to require immediate relief, the Tribe and the State shall
seek to resolve disputes by first meeting and conferring in good faith in order to
foster a spirit of cooperation and efficiency in the administration and monitoring of
the performance and compliance of the terms, provisions, and conditions of this
Compact, as follows:

      (a)      Either party shall give the other, as soon as possible after the event
               giving rise to the concern, a written notice setting forth the facts
               giving rise to the dispute and with specificity, the issues to be
               resolved.

      (b)      The other party shall respond in writing to the facts and issues set
               forth in the notice within fifteen (15) days of receipt of the notice,
               unless both parties agree in writing to an extension of time.

      (c)      The parties shall meet and confer in good faith by telephone or in
               person in an attempt to resolve the dispute through negotiation within
               thirty (30) days after receipt of the notice set forth in subdivision (a),
               unless both parties agree in writing to an extension of time.

      (d)      If the dispute is not resolved to the satisfaction of the parties after the
               first meeting, either party may seek to have the dispute resolved by an
               arbitrator in accordance with this section, but neither party shall be
               required to agree to submit to arbitration.




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      (e)      Disputes that are not otherwise resolved by arbitration or other
               mutually agreed means may be resolved in the United States District
               Court in the judicial district where the Tribe’s Gaming Facility is
               located, or if those federal courts lack jurisdiction, in any state court
               of competent jurisdiction located in the County of Sacramento. The
               disputes to be submitted to court action include, but are not limited to,
               claims of breach of this Compact, provided that the remedies
               expressly provided in section 13.4, subdivision (a)(ii) are the sole and
               exclusive remedies available to either party for issues arising out of
               this Compact, and supersede any remedies otherwise available,
               whether at law, tort, contract, or in equity and, notwithstanding any
               other provision of law or this Compact, neither the State nor the Tribe
               shall be liable for damages or attorney fees in any action based in
               whole or in part on the fact that the parties have either entered into
               this Compact, or have obligations under this Compact. The parties are
               entitled to all rights of appeal permitted by law in the court system in
               which the action is brought.

      (f)      In no event may the Tribe be precluded from pursuing any arbitration
               or judicial remedy against the State on the ground that the Tribe has
               failed to exhaust its State administrative remedies, and in no event
               may the State be precluded from pursuing any arbitration or judicial
               remedy against the Tribe on the ground that the State has failed to
               exhaust any tribal administrative remedies.

      Sec. 13.2. Arbitration Rules for the Tribe and the State.

       Arbitration between the Tribe and the State shall be conducted before a
JAMS arbitrator in accordance with JAMS Comprehensive Arbitration. Discovery
in the arbitration proceedings shall be governed by section 1283.05 of the
California Code of Civil Procedure, provided that no discovery authorized by that
section may be conducted without leave of the arbitrator. The parties shall equally
bear the cost of JAMS and the JAMS arbitrator. Either party dissatisfied with the
award of the arbitrator may at the party’s election invoke the JAMS Optional
Arbitration Appeal Procedure (or if those rules no longer exist, the closest
equivalent). In any JAMS arbitration under this section 13.2, the parties will bear
their own attorney’s fees. The arbitration shall take place within seventy-five (75)
miles of the Gaming Facility, or as otherwise mutually agreed by the parties and
the parties agree that either party may file a state or federal court action to (i)
enforce the parties’ obligation to arbitrate, (ii) confirm, correct, or vacate the

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arbitral award rendered in the arbitration in accordance with section 1285 et seq. of
the California Code of Civil Procedure, or (iii) enforce or execute a judgment
based upon the award. In any such action brought with respect to the arbitration
award, the parties agree that venue is proper in any state court located within the
County of Sacramento or in any federal court located in the Eastern District of
California.

     Sec. 13.3. No Waiver or Preclusion of Other Means of Dispute
Resolution.

       This section 13.0 may not be construed to waive, limit, or restrict any
remedy to address issues not arising out of this Compact that is otherwise available
to either party, nor may this section be construed to preclude, limit, or restrict the
ability of the parties to pursue, by mutual agreement, any other method of Compact
dispute resolution, including, but not limited to, mediation.

      Sec. 13.4. Limited Waiver of Sovereign Immunity.

      (a)      For the purpose of actions or arbitrations based on disputes between
               the State and the Tribe that arise under this Compact and the
               enforcement of any judgment or award resulting therefrom, the State
               and the Tribe expressly waive their right to assert their sovereign
               immunity from suit and enforcement of any ensuing judgment or
               arbitral award and consent to the arbitrator’s jurisdiction and further
               consent to be sued in federal or state court, as the case may be,
               provided that (i) the dispute is limited solely to issues arising under
               this Compact, (ii) neither the Tribe nor the State makes any claim for
               restitution or monetary damages, except that payment of any money
               expressly required by the terms of this Compact may be sought, and
               solely injunctive relief, specific performance (including enforcement
               of a provision of this Compact expressly requiring the payment of
               money to one or another of the parties), and declaratory relief (limited
               to a determination of the respective obligations of the parties under
               the Compact) may be sought, and (iii) nothing herein shall be
               construed to constitute a waiver of the sovereign immunity of either
               the Tribe or the State with respect to any third party that is made a
               party or intervenes as a party to the action.

      (b)      In the event that intervention, joinder, or other participation by any
               additional party in any action between the State and the Tribe would

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               result in the waiver of the Tribe’s or the State’s sovereign immunity as
               to that additional party, the waivers of either the Tribe or the State
               provided herein may be revoked, except where joinder is required to
               preserve the court’s jurisdiction, in which case the State and the Tribe
               may not revoke their waivers of sovereign immunity as to each other.

      (c)      The waivers and consents to jurisdiction expressly provided for under
               this section 13.0 and elsewhere in the Compact shall extend to all
               arbitrations and civil actions expressly authorized by this Compact,
               including, actions to compel arbitration, any arbitration proceeding
               herein, any action to confirm, modify, or vacate any arbitral award or
               to enforce any judgment, and any appellate proceeding emanating
               from any such proceedings, whether in state or federal court.

      (d)      Except as stated herein or elsewhere in this Compact, no other waivers
               or consents to be sued, either express or implied, are granted by either
               party, whether in state statute or otherwise, including but not limited
               to Government Code section 98005.

SECTION 14.0. EFFECTIVE DATE AND TERM OF COMPACT.

      Sec. 14.1. Effective Date.

      This Compact shall not be effective unless and until all of the following have
occurred:

      (a)      The Compact is ratified in accordance with State law; and

      (b)      Notice of approval or constructive approval is published in the Federal
               Register as provided in 25 U.S.C. § 2710(d)(3)(B).

      Sec. 14.2. Term of Compact; Termination.

      (a)      Once effective, this Compact shall be in full force and effect for
               twenty-five (25) years following the effective date.

      (b)      Either party may bring an action in federal court, after providing a
               thirty (30)-day written notice of an opportunity to cure any alleged
               breach of this Compact, for a declaration that the other party has
               materially breached this Compact or that a material part of this

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               Compact has been invalidated. Unless the declaratory judgment is
               stayed, upon issuance of a final, non-appealable declaratory judgment
               by the court, and in the event that the acts or omissions that were the
               subject of the declaratory judgment continue after the declaratory
               judgment becomes final, then the complaining party may unilaterally
               terminate this Compact upon service of written notice on the other
               party. In the event a federal court determines that it lacks jurisdiction
               over such an action, the action may be brought in the state court
               located in the County of Sacramento. The parties expressly waive,
               and also waive their right to assert, sovereign immunity from suit for
               purposes of an action under this subdivision, subject to the
               qualifications stated in section 13.4.

      (c)      If this Compact does not take effect by September 1, 2017, it shall be
               deemed null and void unless the Tribe and the State agree in writing
               to extend the date.

SECTION 15.0. AMENDMENTS; RENEGOTIATIONS.

      Sec. 15.1. Amendment by Agreement.

       The terms and conditions of this Compact may be amended at any time by
the mutual and written agreement of both parties during the term of this Compact
set forth in section 14.2, provided that each party voluntarily consents to such
negotiations in writing. Any amendments to this Compact shall be deemed to
supersede, supplant and extinguish all previous understandings and agreements on
the subject.

      Sec. 15.2. Negotiations for a New Compact.

       No sooner than eighteen (18) months before the termination date of this
Compact set forth in section 14.2, either party may request the other party to enter
into negotiations to extend the term of this Compact or to enter into a new Class III
Gaming compact. If the parties have not agreed to extend the term of this Compact
or have not entered into a new compact by the termination date in section 14.2, this
Compact shall automatically be extended for one (1) calendar year. If the parties
are engaged in negotiations that both parties agree in writing is proceeding towards
conclusion of a new or amended compact, this Compact shall automatically extend
for an additional two (2) years.



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      Sec. 15.3. Requests to Amend or to Negotiate a New Compact.

       All requests to amend this Compact or to negotiate to extend the term of this
Compact or to negotiate for a new Class III Gaming compact shall be in writing,
addressed to the Tribal Chair or the Governor, as the case may be, and shall
include the activities or circumstances to be negotiated, together with a statement
of the basis supporting the request. If the request meets both the requirements of
this section and section 15.1 for an amendment to this Compact, or the
requirements of this section and section 15.2 for a new Class III Gaming compact,
and all parties agree in writing to negotiate, the parties shall confer promptly and
determine within forty-five (45) days of the request a schedule for commencing
negotiations, and both parties shall negotiate in good faith. The Tribal Chair and
the Governor of the State are hereby authorized to designate the person or agency
responsible for conducting the negotiations, and shall execute any documents
necessary to do so.

SECTION 16.0. NOTICES.

       Unless otherwise indicated by this Compact, all notices required or
authorized to be served shall be served by first-class mail or facsimile transmission
to the following addresses, or to such other address as either party may designate
by written notice to the other:

Governor                               Tribal Chair
Governor’s Office                      Buena Vista Rancheria of Me-Wuk Indians
State Capitol                          1418 20th Street, Ste. 200
Sacramento, CA 95814                   Sacramento, CA 95814

SECTION 17.0. CHANGES TO IGRA.

        This Compact is intended to meet the requirements of IGRA as it reads on
the effective date of this Compact, and, when reference is made to IGRA or to an
implementing regulation thereof, the referenced provision is deemed to have been
incorporated into this Compact as if set out in full. Subsequent changes to IGRA
that diminish the rights of the State or the Tribe may not be applied retroactively to
alter the terms of this Compact, except to the extent that federal law validly
mandates retroactive application without the State’s or the Tribe’s respective
consent.




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SECTION 18.0. MISCELLANEOUS.

      Sec. 18.1. Third-Party Beneficiaries.

       Notwithstanding any provision of law, this Compact is not intended to, and
shall not be construed to, create any right on the part of a third party to bring an
action to enforce any of its terms.

      Sec. 18.2. Complete Agreement.

      This Compact, together with all appendices, sets forth the full and complete
agreement of the parties and supersedes any prior agreements or understandings
with respect to the subject matter hereof.

      Sec. 18.3. Construction.

       Neither the presence in another tribal-state Class III Gaming compact of
language that is not included in this Compact, nor the absence in another tribal-
state Class III Gaming compact of language that is present in this Compact shall be
a factor in construing the terms of this Compact. In the event of a dispute between
the parties as to the language of this Compact or the construction or meaning of
any term hereof, this Compact will be deemed to have been drafted by the parties
in equal parts so that no presumptions or inferences concerning its terms or
interpretation may be construed against any party to this Compact.

      Sec. 18.4. Successor Provisions.

      Wherever this Compact makes reference to a specific statutory provision,
regulation, or set of rules, it also applies to the provision or rules, as they may be
amended from time to time, and any successor provision or set of rules.

      Sec. 18.5. Ordinances and Regulations.

       Whenever the Tribe adopts or amends any ordinance or regulations required
to be adopted and/or maintained under this Compact, in addition to any other
Compact obligations to provide a copy to others, the Tribe shall provide a copy of
such adopted or amended ordinance or regulations to the State Gaming Agency
within thirty (30) days of the effective date of such ordinance or regulations.




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      Sec. 18.6. Calculation of Time.

      In computing any period of time prescribed by this Compact, the day of the
event from which the designated period of time begins to run shall not be included.
The last day of the period so computed shall be included, unless it is a Saturday, a
Sunday, or a legal holiday under the Tribe’s laws, State law, or federal law. Unless
otherwise specifically provided herein, the term “days” shall be construed as
calendar days.

      Sec. 18.7. Representations.

      (a)      The Tribe expressly represents that as of the date of the undersigned’s
               execution of this Compact the undersigned has the authority to
               execute this Compact on behalf of the Tribe, including any waiver of
               sovereign immunity and the right to assert sovereign immunity
               therein, and will provide written proof of such authority and of the
               ratification of this Compact by the tribal governing body to the
               Governor no later than thirty (30) days after the execution of this
               Compact by the undersigned.

      (b)      The Tribe further represents that it is (i) recognized as eligible by the
               Secretary of the Interior for special programs and services provided by
               the United States to Indians because of their status as Indians, and (ii)
               recognized by the Secretary of the Interior as possessing powers of
               self-government.

      (c)      In entering into this Compact, the State expressly relies upon the
               foregoing representations by the Tribe, and the State’s entry into the
               Compact is expressly made contingent upon the truth of those
               representations as of the date of the Tribe’s execution of this Compact
               through the undersigned. If the Tribe fails to timely provide written
               proof of the undersigned’s aforesaid authority to execute this Compact
               or written proof of ratification by the Tribe’s governing body, the
               Governor shall have the right to declare this Compact null and void.




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       (d)    This Compact shall not be presented to the California State
              Legislature for a ratification vote until the Tribe has provided the
              written proof required in subdivision (a) to the Governor.

       IN WITNESS WHEREOF, the undersigned sign this Compact on behalf of
the State of California and the Buena Vista Rancheria of Me-Wuk Indians of
California.

STATE OF CALIFORNIA                            BUENA VISTA RANCHERIA OF

                           L                   ME-WUK INDIANS OF
                                               CALIFORNI



By Edmwld G. Brown Jr.
                                              ~l .~I'-'J--~
                                               By Rhonda L. orningstar Pope
Governor of the State of California            Chairperson of the Buena Vista
                                               Rancheria of Me-Wuk Indians of
                                               California

Executed this 113- day of ;rlLVle.....- ,      Executed this J- 4 day of ;{lLnL ,
2016, at Sacramento, California                2016 , at  S4.-t (-'IL1reJoin  '
                                               California



ATTEST:



Alex Padilla
Secretary of State, State of California




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                              APPENDICES

A.   Description and Map of Buena Vista Rancheria of Me-Wuk Indians
     Reservation
B.   Off-Reservation Environmental Impact Analysis Checklist
C.   Tribal Labor Relations Ordinance




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                                        APPENDIX A

      Description and Map of Buena Vista Rancheria of Me-Wuk Indians
                                Reservation

The land referred to herein is situated in the unincorporated area, County of Amador, State of
California, and is described as follows:

COMMENCING AT THE NORTHEAST CORNER OF SECTION 19, TOWNSHIP 5 NORTH,
RANGE 10 EAST, M.D.B. & M., AND THENCE RUNNING WEST ALONG SECTION LINE
578 FEET; THENCE AT RIGHT ANGLES SOUTH 5280 FEET; THENCE AT RIGHT
ANGLES EAST 578 FEET; THENCE AT RIGHT ANGLES NORTH 5280 FEET TO A
PLACE OF BEGINNING.

EXCEPTING THEREFROM THE FOLLOWING:

ALL THE PORTION OF THE NORTHEAST QUARTER OF SECTION 19, TOWNSHIP 5
NORTH, RANGE 10 EAST, M.D.B. & M., DESCRIBED AS FOLLOWS:

BEGINNING AT A 3 INCH IRON PIPE FENCE END POST AT THE SOUTHERLY END OF
A NEW ROAD FENCE, FROM WHICH POINT A 1 1/2 INCH CAPPED IRON PIPE
STAMPED "U.S.I.S. 1953 17, 18, 19 AND 20" FOUND MARKING THE NORTHEAST
CORNER OF SAID SECTION 19, BEARS NORTH 30 DEG. 08' 30" EAST 1099.38 FEET
DISTANT; THENCE, FROM SAID POINT OF BEGINNING, ALONG THE SOUTHERLY
PROLONGATION OF SAID NEW ROAD FENCE, SOUTH 00 DEG. 39' 30" EAST 65.11
FEET TO A 3/4 INCH STEEL REINFORCING ROAD TAGGED R.C.E. 10761; THENCE
SOUTH 01 DEG. 58' 50" WEST 385.29 FEET TO A SIMILAR STEEL ROAD; THENCE
SOUTH 19 DEG. 02' 00" WEST 186.24 FEET TO A Z IRON FENCE POST; THENCE
SOUTH 62 DEG. 22' 50" WEST 6.19 FEET TO A 3/4 INCH STEEL REINFORCING ROD
TAGGED R.C.E. 10761 SET ON THE WESTERLY LINE OF THAT CERTAIN PARCEL OF
LAND CONVEYED BY THE UNITED STATES OF AMERICA, DEPARTMENT OF THE
INTERIOR TO LOUIS OLIVER AND HIS WIFE, ANNIE OLIVER, BY INSTRUMENT
DATED OCTOBER 6, 1959, AND RECORDED IN THE OFFICE OF THE RECORDER OF
AMADOR COUNTY ON OCTOBER 8, 1959, IN BOOK 86 OF OFFICIAL RECORDS AT
PAGE 198; THENCE ALONG THE WESTERLY LINE OF SAID OLIVER PARCEL OF
LAND, NORTH 01 DEG. 58' 50" EAST 481.11 FEET TO A SIMILAR STEEL ROAD, FROM
WHICH POINT THE NORTHWEST CORNER OF SAID OLIVER PARCEL OF LAND,
BEARS NORTH 01 DEG. 58' 50" EAST 1100.00 FEET DISTANT; THENCE SOUTH 88
DEG. 01' 10" EAST 40.00 FEET TO A SIMILAR STEEL ROAD; THENCE NORTH 08 DEG.
26' 00" EAST 151.30 FEET TO THE POINT OF BEGINNING.

ALSO EXCEPTING THEREFROM ALL MINERALS AND METALS AS RESERVED BY B.
ACCAMPO IN DEED FILED FOR RECORD OCTOBER 5, 1925 IN BOOK 45 OF DEEDS
AT PAGE 43, RECORDS OF AMADOR COUNTY.

APN: 012-100-005-000


                                               A-1
                                                                                                                                                                   NCHERIA COMPACT MAP
                                                                                                                                  PN 012-100-005 (67.16 acres)
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                                                                                                        Rid. Ilk. 36, Pg. 79                                                                                    County of Amador. Colif.
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                                          APPENDIX B
                Off-Reservation Environmental Impact Analysis Checklist


        I.       Aesthetics
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
                                                                           Impact           With         Impact
Would the project:                                                                       Mitigation
                                                                                       Incorporation


 a)   Have a substantial adverse effect on a scenic vista?

 b)   Substantially damage off-reservation scenic resources,
      including, but not limited to, trees, rock outcroppings, and
      historic buildings within a state scenic highway?

 c)   Create a new source of substantial light or glare, which
      would adversely affect day or nighttime views of historic
      buildings or views in the area?




        II.      Agricultural and Forest Resources
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation

 a)   Involve changes in the existing environment, which, due to
      their location or nature, could result in conversion of
      off-reservation farmland to non-agricultural use or
      conversion of off-reservation forest land to non-forest use?




        III.     Air Quality
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation


 a)   Conflict with or obstruct implementation of the applicable air
      quality plan?

 b)   Violate any air quality standard or contribute to an existing or
      projected air quality violation?

 c)   Result in a cumulatively considerable net increase of any
      criteria pollutant for which the project region is non-
      attainment under an applicable federal or state ambient air
      quality standard (including releasing emissions, which
      exceed quantitative thresholds for ozone precursors)?


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                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation


 d)   Expose off-reservation sensitive receptors to substantial
      pollutant concentrations?

 e)   Create objectionable odors affecting a substantial number of
      people off-reservation?




        IV.      Biological Resources
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation


 a)   Have a substantial adverse impact, either directly or through
      habitat modifications, on any species in local or regional
      plans, policies, or regulations, or by the California
      Department of Fish and Game or U.S. Fish and Wildlife
      Service?

 b)   Have a substantial adverse effect on any off-reservation
      riparian habitat or other sensitive natural community
      identified in local or regional plans, policies, and regulations
      or by the California Department of Fish and Game or U.S.
      Fish and Wildlife Service?

 c)   Have a substantial adverse effect on federally protected off-
      reservation wetlands as defined by Section 404 of the Clean
      Water Act?

 d)   Interfere substantially with the movement of any native
      resident or migratory fish or wildlife species or with
      established native resident or migratory wildlife corridors, or
      impede the use of native wildlife nursery sites?

 e)   Conflict with the provisions of an adopted Habitat
      Conservation Plan, Natural Community Conservation Plan,
      or other approved local, regional, or state habitat
      conservation plan?




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            V.      Cultural Resources
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation


 a)   Cause a substantial adverse change in the significance of
      an off-reservation historical or archeological resource?

 b)   Directly or indirectly destroy a unique off-reservation
      paleontological resource or site or unique off-reservation
      geologic feature?

 c)   Disturb any off-reservation human remains, including those
      interred outside of formal cemeteries?


            VI.     Geology and Soils
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation


 a)   Expose off-reservation people or structures to potential
      substantial adverse effects, including the risk of loss, injury,
      or death involving:
      i)     Rupture of a known earthquake fault, as delineated on the
             most recent Alquist-Priolo Earthquake Fault Zoning Map
             issued by the State Geologist for the area or based on
             other substantial evidence of a known fault? Refer to
             Division of Mines and Geology Special Publication 42.

      ii)    Strong seismic ground shaking?
      iii) Seismic-related ground failure, including liquefaction?
      iv) Landslides?

 b)   Result in substantial off-reservation soil erosion or the loss
      of topsoil?

            VII.    Greenhouse Gas Emissions
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation


 a)   Generate greenhouse gas emissions, either directly or
      indirectly, that may have a significant impact on the off-
      reservation environment?

 b)   Conflict with any off-reservation plan, policy or regulation
      adopted for the purpose of reducing the emissions of
      greenhouse gases?




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        VIII. Hazards and Hazardous Materials
                                                                                          Less Than
                                                                         Potentially      Significant     Less than
                                                                                                                            No
Would the project:                                                       Significant         With         Significant
                                                                                                                          Impact
                                                                           Impact         Mitigation        Impact
                                                                                        Incorporation

 a)   Create a significant hazard to the off-reservation public or
      the off-reservation environment through the routine
      transport, use, or disposal of hazardous materials?

 b)   Create a significant hazard to the off-reservation public or
      the off-reservation environment through reasonably
      foreseeable upset and accident conditions involving the
      release of hazardous materials into the environment?

 c)   Emit hazardous emissions or handle hazardous or acutely
      hazardous materials, substances, or waste within one-
      quarter mile of an existing or proposed off-reservation
      school?

 d)   Expose off-reservation people or structures to a significant
      risk of loss, injury or death involving wildland fires.

        IX. Water Resources
                                                                         Potentially     Less Than      Less than         No
                                                                         Significant     Significant    Significant     Impact
Would the project:                                                         Impact           With          Impact
                                                                                         Mitigation
                                                                                       Incorporation


 a)   Violate any water quality standards or waste discharge
      requirements?

 b)   Substantially deplete off-reservation groundwater supplies or
      interfere substantially with groundwater recharge such that
      there should be a net deficit in aquifer volume or a lowering
      of the local groundwater table level (e.g., the production rate
      of pre-existing nearby wells would drop to a level which
      would not support existing land uses or planned uses for
      which permits have been granted)?

 c)   Substantially alter the existing drainage pattern of the site or
      area, including through the alteration of the course of a
      stream or river, in a manner which would result in substantial
      erosion of siltation off-site?

 d)   Substantially alter the existing drainage pattern of the site or
      area, including through the alteration of the course of a
      stream or river, or substantially increase the rate or amount
      of surface runoff in a manner which would result in flooding
      off-site?

 e)   Create or contribute runoff water which would exceed the
      capacity of existing or planned storm water drainage
      systems or provide substantial additional sources of polluted
      runoff off-reservation?

 f)   Place within a 100-year flood hazard area structures, which
      would impede or redirect off-reservation flood flows?
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                                                                          Potentially     Less Than     Less than       No
                                                                          Significant     Significant   Significant   Impact
Would the project:                                                          Impact           With         Impact
                                                                                          Mitigation
                                                                                        Incorporation




  g)   Expose off-reservation people or structures to a significant
       risk of loss, injury or death involving flooding, including
       flooding as a result of the failure of a levee or dam?



         X.       Land Use
                                                                          Potentially     Less Than     Less than       No
                                                                          Significant     Significant   Significant   Impact
Would the project:                                                          Impact           With         Impact
                                                                                          Mitigation
                                                                                        Incorporation


  a)   Conflict with any off-reservation land use plan, policy, or
       regulation of an agency adopted for the purpose of avoiding
       or mitigating an environmental effect?

  b)   Conflict with any applicable habitat conservation plan or
       natural communities conservation plan covering off-
       reservation lands?


         XI.      Mineral Resources
                                                                          Potentially     Less Than     Less than       No
                                                                          Significant     Significant   Significant   Impact
Would the project:                                                          Impact           With         Impact
                                                                                          Mitigation
                                                                                        Incorporation

  a)   Result in the loss of availability of a known off-reservation
       mineral resource classified MRZ-2 by the State Geologist
       that would be of value to the region and the residents of the
       state?

  b)   Result in the loss of availability of an off-reservation locally
       important mineral resource recovery site delineated on a
       local general plan, specific plan, or other land use plan?



         XII.     Noise
                                                                          Potentially     Less Than     Less than       No
                                                                          Significant     Significant   Significant   Impact
Would the project result in:                                                Impact           With         Impact
                                                                                          Mitigation
                                                                                        Incorporation

  a)   Exposure of off-reservation persons to noise levels in excess
       of standards established in the local general plan or noise
       ordinance, or applicable standards of other agencies?

  b)   Exposure of off-reservation persons to excessive
       groundborne vibration or groundborne noise levels?

  c)   A substantial permanent increase in ambient noise levels in
                                                          B-5
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                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project result in:                                               Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation

       the off-reservation vicinity of the project?

  d)   A substantial temporary or periodic increase in ambient
       noise levels in the off-reservation vicinity of the project?

         XIII. Population and Housing
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation

  a)   Induce substantial off-reservation population growth?

  b)   Displace substantial numbers of existing housing,
       necessitating the construction of replacement housing
       elsewhere off-reservation?


         XIV. Public Services
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation


 a)    Result in substantial adverse physical impacts associated
       with the provision of new or physically altered off-reservation
       governmental facilities, the construction of which could
       cause significant environmental impacts, in order to maintain
       acceptable service ratios, response times, or other
       performance objectives for any of the off-reservation public
       services:

           Fire protection?
           Police protection?
           Schools?
           Parks?
           Other public facilities?



         XV.      Recreation
                                                                         Potentially     Less Than     Less than       No
                                                                         Significant     Significant   Significant   Impact
Would the project:                                                         Impact           With         Impact
                                                                                         Mitigation
                                                                                       Incorporation

  a)   Increase the use of existing off-reservation neighborhood
       and regional parks or other recreational facilities such that
       substantial physical deterioration of the facility would occur
       or be accelerated?

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        XVI. Transportation / Traffic
                                                                       Potentially     Less Than     Less than       No
                                                                       Significant     Significant   Significant   Impact
Would the project:                                                       Impact           With         Impact
                                                                                       Mitigation
                                                                                     Incorporation

 a)   Conflict with an applicable plan, ordinance or policy
      establishing measures of effectiveness for the performance
      of the off-reservation circulation system, taking into account
      all modes of transportation including mass transit and non-
      motorized travel and relevant components of the circulation
      system, including, but not limited to intersections, streets,
      highways and freeways, pedestrian and bicycle paths, and
      mass transit?

 b)   Conflict with an applicable congestion management
      program, including, but not limited to, level of service
      standards and travel demand measures, or other standards
      established by the county congestion management agency
      for designated off-reservation roads or highways?

 c)   Substantially increase hazards to an off-reservation design
      feature (e.g., sharp curves or dangerous intersections) or
      incompatible uses (e.g., farm equipment)?

 d)   Result in inadequate emergency access for off-reservation
      responders?



        XVII. Utilities and Service Systems
                                                                       Potentially     Less Than     Less than       No
                                                                       Significant     Significant   Significant   Impact
Would the project:                                                       Impact           With         Impact
                                                                                       Mitigation
                                                                                     Incorporation

 a)   Exceed off-reservation wastewater treatment requirements
      of the applicable Regional Water Quality Control Board?

 b)   Require or result in the construction of new water or
      wastewater treatment facilities or expansion of existing
      facilities, the construction of which could cause significant
      off-reservation environmental effects?

 c)   Require or result in the construction of new storm water
      drainage facilities or expansion of existing facilities, the
      construction of which could cause significant off-reservation
      environmental effects?


 d)   Result in a determination by an off-reservation wastewater
      treatment provider (if applicable), which serves or may serve
      the project that it has inadequate capacity to serve the
      project’s projected demand in addition to the provider’s
      existing commitments?




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        XVIII. Cumulative Effects
                                                                     Potentially     Less Than     Less than       No
                                                                     Significant     Significant   Significant   Impact
                                                                       Impact           With         Impact
Would the project:                                                                   Mitigation
                                                                                   Incorporation


 a)   Have impacts that are individually limited, but cumulatively
      considerable off-reservation? “Cumulatively considerable”
      means that the incremental effects of a project are
      considerable when viewed in connection with the effects of
      past, current, or probable future projects.




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                                      Appendix C

                          Tribal Labor Relations Ordinance

Section 1: Threshold of Applicability

      (a)      If the Buena Vista Rancheria of Me-Wuk Indians (Tribe) employs
               250 or more persons in a tribal casino and related facility, it shall
               adopt this Tribal Labor Relations Ordinance (TLRO or Ordinance).
               For purposes of this Ordinance, a “tribal casino” is one in which
               class III gaming is conducted pursuant to the tribal-state compact. A
               “related facility” is one for which the only significant purpose is to
               facilitate patronage of the class III gaming operations. Even if this
               Ordinance is adopted, it shall not apply if the tribal casino and
               related facilities employ less than 250 people.

      (b)      Upon the request of a labor union or organization (any organization of
               any kind, or any agency or employee representation committee or
               plan, in which employees participate and which exists for the purpose,
               in whole or in part, of dealing with employers concerning grievances,
               labor disputes, wages, rates of pay, hours of employment, or
               conditions of work), the Tribal Gaming Commission shall certify the
               number of employees in a tribal casino or other related facility as
               defined in subsection (a) of this Section 1. Either party may dispute
               the certification of the Tribal Gaming Commission to the Tribal Labor
               Panel, which is defined in Section 13 herein.

Section 2: Definition of Eligible Employees

      (a)      The provisions of this ordinance shall apply to any person
               (hereinafter “Eligible Employee”) who is employed within a tribal
               casino in which class III gaming is conducted pursuant to a tribal-
               state compact or other related facility, the only significant purpose
               of which is to facilitate patronage of the class III gaming operations,
               except for any of the following:

               (1)   any employee who is a supervisor, defined as any individual
                     having authority, in the interest of the Tribe and/or employer,
                     to hire, transfer, suspend, lay off, recall, promote, discharge,
                     assign, reward, or discipline other employees, or

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                   responsibility to direct them or to adjust their grievances, or
                   effectively to recommend such action, if in connection with
                   the foregoing the exercise of such authority is not of a merely
                   routine or clerical nature, but requires the use of independent
                   judgment;

             (2)   any employee of the Tribal Gaming Commission;

             (3)   any employee of the security or surveillance department, other
                   than those who are responsible for the technical repair and
                   maintenance of equipment;

             (4)   any cash operations employee who is a “cage” employee or
                   money counter; or

             (5)   any dealer.

             (6)   For clarification, Eligible Employees shall not include any
                   representative, official, director, officer, or employee of the
                   Tribal government, as distinct from the Tribal agency or
                   enterprise with control over the casino, including any such
                   person whose Tribal governmental duties may relate to the
                   casino.

      (b)    On [month] 1 of each year, the Tribal Gaming Commission shall
             certify the number of Eligible Employees employed by the Tribe to
             the administrator of the Tribal Labor Panel.

Section 3: Non-Interference with Regulatory or Security Activities

       Operation of this Ordinance shall not interfere in any way with the duty of
the Tribal Gaming Commission to regulate the gaming operation in accordance
with the Tribe’s National Indian Gaming Commission-approved gaming
ordinance. Furthermore, the exercise of rights hereunder shall in no way
interfere with the tribal casino’s surveillance/security systems, or any other
internal controls system designed to protect the integrity of the Tribe’s gaming
operations. The Tribal Gaming Commission is specifically excluded from the
definition of Tribe and its agents.




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Section 4: Eligible Employees Free to Engage in or Refrain From Concerted
Activity

       Eligible Employees shall have the right to self-organization, to form, to
join, or assist employee organizations, to bargain collectively through
representatives of their own choosing, to engage in other concerted activities for
the purpose of collective bargaining or other mutual aid or protection, and shall
also have the right to refrain from any or all such activities.

Section 5: Unfair Labor Practices for the Tribe

      It shall be an unfair labor practice for the Tribe and/or employer or their
agents:

      (a)      to interfere with, restrain or coerce Eligible Employees in the
               exercise of the rights guaranteed herein;

      (b)      to dominate or interfere with the formation or administration of any
               labor organization or contribute financial or other support to it, but
               this does not restrict the Tribe and/or employer and a certified union
               from agreeing to union security or dues check off;

      (c)      to discharge or otherwise discriminate against an Eligible Employee
               because s/he has filed charges or given testimony under this
               Ordinance; or

      (d)      after certification of the labor organization pursuant to
               Section 10, to refuse to bargain collectively with the
               representatives of Eligible Employees.

Section 6: Unfair Labor Practices for the Union

      It shall be an unfair labor practice for a labor organization or its agents:

      (a)      to interfere, restrain or coerce Eligible Employees in the exercise of
               the rights guaranteed herein;

      (b)      to engage in, or to induce or encourage any individual employed by
               any person engaged in commerce or in an industry affecting
               commerce to engage in, a strike or a primary or secondary boycott or

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              a refusal in the course of his employment to use, manufacture,
              process, transport or otherwise handle or work on any goods,
              articles, materials, or commodities or to perform any services; or to
              threaten, coerce, or restrain any person engaged in commerce or in an
              industry affecting commerce or other terms and conditions of
              employment. This section does not apply to Section 11(b);

     (c)      to force or require the Tribe and/or employer to recognize or bargain
              with a particular labor organization as the representative of Eligible
              Employees if another labor organization has been certified as the
              representative of such Eligible Employees under the provisions of
              this TLRO;

     (d)      to refuse to bargain collectively with the Tribe and/or employer,
              provided it is the representative of Eligible Employees subject to
              the provisions herein; or

     (e)      to attempt to influence the outcome of a tribal governmental
              election, provided, however, that this section does not apply
              to Tribal members.

Section 7: Tribe and Union Right to Free Speech

     (a)      The Tribe’s and union’s expression of any view, argument or opinion
              or the dissemination thereof, whether in written, printed, graphic or
              visual form, shall not constitute or be evidence of interference with,
              restraint, or coercion if such expression contains no threat of reprisal
              or force or promise of benefit.

     (b)      The Tribe agrees that if a union first offers in writing that it and its
              local affiliates will comply with (b)(1) and (b)(2), the Tribe shall
              comply with the provisions of (c) and (d).

              (1)   For a period of three hundred sixty-five (365) days following
                    delivery of a Notice of Intent to Organize (NOIO) to the Tribe:

                    (A)    not engage in strikes, picketing, boycotts, attack
                           websites, or other economic activity at or in relation to
                           the tribal casino or related facility; and refrain from



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                     engaging in strike-related picketing on Indian lands as
                     defined in 25 U.S.C. § 2703(4);

               (B)   not disparage the Tribe for purposes of organizing
                     Eligible Employees;

               (C)   not attempt to influence the outcome of a tribal
                     government election; and

               (D)   during the three hundred sixty-five (365) days after the
                     Tribe received the NOIO, the union must collect dated
                     and signed authorization cards pursuant to Section 10
                     herein and complete the secret ballot election also in
                     Section 10 herein. Failure to complete the secret ballot
                     election within the three hundred sixty five (365) days
                     after the Tribe received the NOIO shall mean that the
                     union shall not be permitted to deliver another NOIO for
                     a period of two years (730 days).

         (2)   Resolve all issues, including collective bargaining impasses,
               through the binding dispute resolution mechanisms set forth in
               Section 13 herein.

(c)      Upon receipt of a NOIO, the Tribe shall:

         (1)   within two (2) days provide to the union an election eligibility
               list containing the full first and last names of the Eligible
               Employees within the sought-after bargaining unit and the
               Eligible Employees’ last known addresses, telephone numbers
               and email addresses;

         (2)   for period of three hundred sixty-five (365) days thereafter, not
               act in any way which is or could reasonably be perceived to be
               anti-union. This includes refraining from making derisive
               comments about unions; publishing or posting pamphlets,
               fliers, letters, posters or any other communication which
               should be interpreted as criticism of the union or advises
               Eligible Employees to vote “no” against the union. However,
               the Tribe shall be free at all times to fully inform Eligible
               Employees about the terms and conditions of employment it

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                    provides to employees and the advantages of working for the
                    Tribe; and

              (3)   resolve all issues, including collective bargaining impasses,
                    through the binding dispute resolution mechanisms set forth in
                    Section 13 herein.

     (d)      The union’s offer in subsection (b) of this Section 7 shall be deemed
              an offer to accept the entirety of this Ordinance as a bilateral contract
              between the Tribe and the union, and the Tribe agrees to accept such
              offer. By entering into such bilateral contract, the union and Tribe
              mutually waive any right to file any form of action or proceeding with
              the National Labor Relations Board for the three hundred sixty-five
              (365)-day period following the NOIO.

     (e)      The Tribe shall mandate that any entity responsible for all or part of
              the operation of the casino and related facility shall assume the
              obligations of the Tribe under this Ordinance. If at the time of the
              management contract, the Tribe recognizes a labor organization as the
              representative of its employees, certified pursuant to this Ordinance,
              the labor organization will provide the contractor, upon request, the
              election officer’s certification which constitutes evidence that the
              labor organization has been determined to be the majority
              representative of the Tribe’s Eligible Employees.

Section 8: Access to Eligible Employees

     (a)      Access shall be granted to the union for the purposes of organizing
              Eligible Employees, provided that such organizing activity shall
              not interfere with patronage of the casino or related facility or with
              the normal work routine of the Eligible Employees and shall be
              done on non-work time in non-work areas that are designated as
              employee break rooms or locker rooms that are not open to the
              public. The Tribe may require the union and or union organizers
              to be subject to the same licensing rules applied to individuals or
              entities with similar levels of access to the casino or related facility,
              provided that such licensing shall not be unreasonable,
              discriminatory, or designed to impede access.




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      (b)      The Tribe, in its discretion, may also designate additional voluntary
               access to the union in such areas as employee parking lots and non-
               casino facilities located on tribal lands.

      (c)      In determining whether organizing activities potentially interfere
               with normal tribal work routines, the union’s activities shall not be
               permitted if the Tribal Labor Panel determines that they
               compromise the operation of the casino:

               (1)   security and surveillance systems throughout the casino, and
                     reservation;

               (2)   access limitations designed to ensure security;

               (3)   internal controls designed to ensure security; or

               (4)   other systems designed to protect the integrity of the Tribe’s
                     gaming operations, tribal property and/or safety of casino
                     personnel, patrons, employees or tribal members, residents,
                     guests or invitees.

      (d)      The Tribe agrees to facilitate the dissemination of information from
               the union to Eligible Employees at the tribal casino by allowing
               posters, leaflets and other written materials to be posted in non-
               public employee break areas where the Tribe already posts
               announcements pertaining to Eligible Employees. Actual posting of
               such posters, notices, and other materials shall be by employees
               desiring to post such materials.

Section 9: Indian Preference Explicitly Permitted

       Nothing herein shall preclude the Tribe from giving Indian preference in
employment, promotion, seniority, lay-offs or retention to members of any
federally recognized Indian tribe or shall in any way affect the Tribe’s right to
follow tribal law, ordinances, personnel policies or the Tribe’s customs or
traditions regarding Indian preference in employment, promotion, seniority, lay-
offs or retention. Moreover, in the event of a conflict between tribal law, tribal
ordinance or the Tribe’s customs and traditions regarding Indian preference and
this Ordinance, other tribal law, tribal ordinance, or the Tribe’s customs and
traditions shall govern.

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Section 10: Secret Ballot Elections

      (a)      The election officer shall be chosen within three (3) business days of
               notification by the labor organization to the Tribe of its intention to
               present authorization cards, and the same election officer shall
               preside thereafter for all proceedings under the request for
               recognition; provided, however, that if the election officer resigns,
               dies, or is incapacitated for any other reason from performing the
               functions of this office, a substitute election officer shall be selected
               in accordance with the dispute resolution provisions herein. Dated
               and signed authorized cards from thirty percent (30%) or more of the
               Eligible Employees within the bargaining unit verified by the
               elections officer will result in a secret ballot election. The election
               officer shall make a determination as to whether the required thirty
               percent (30%) showing has been made within one (1) working day
               after the submission of authorization cards. If the election officer
               determines the required thirty percent (30%) showing of interest has
               been made, the election officer shall issue a notice of election. The
               election shall be concluded within thirty (30) calendar days of the
               issuance of the notice of election.

      (b)      Upon the showing of interest to the election officer pursuant to
               subsection (a), within two (2) working days the Tribe shall provide
               to the union an election eligibility list containing the full first and last
               names of the Eligible Employees within the sought after bargaining
               unit and the Eligible Employees’ last known addresses, telephone
               numbers and email addresses. Nothing herein shall preclude a Tribe
               from voluntarily providing an election eligibility list at an earlier
               point of a union organizing campaign with or without an election.

      (c)      The election shall be conducted by the election officer by secret
               ballot pursuant to procedures set forth in a consent election
               agreement in substantially the same form as Attachment 1. In the
               event either that a party refuses to enter into the consent election
               agreement or that the parties do not agree on the terms, the election
               officer shall issue an order that conforms to the terms of the form
               consent election agreement and shall have authority to decide any
               terms upon which the parties have not agreed, after giving the parties
               the opportunity to present their views in writing or in a telephonic

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         conference call. The election officer shall be a member of the Tribal
         Labor Panel chosen pursuant to the dispute resolution provisions
         herein. All questions concerning representation of the Tribe and/or
         Eligible Employees by a labor organization shall be resolved by the
         election officer.

(d)      The election officer shall certify the labor organization as the
         exclusive collective bargaining representative of a unit of employees
         if the labor organization has received the support of a majority of the
         Eligible Employees in a secret ballot election that the election officer
         determines to have been conducted fairly. The numerical threshold
         for certification is fifty percent (50%) of the Eligible Employees plus
         one. If the election officer determines that the election was
         conducted unfairly due to misconduct by the Tribe and/or employer
         or union, the election officer may order a re-run election. If the
         election officer determines that there was the commission of serious
         Unfair Labor Practices by the Tribe, or in the event the union made
         the offer provided for in Section 7(b) that the Tribe violated its
         obligations under Section 7(c), that interferes with the election
         process and precludes the holding of a fair election, and the labor
         organization is able to demonstrate that it had the support of a
         majority of the employees in the unit at any time before or during the
         course of the Tribe’s misconduct, the election officer shall certify the
         labor organization as the exclusive bargaining representative.

(e)      The Tribe or the union may appeal within five (5) days any
         decision rendered after the date of the election by the election
         officer to a three (3) member panel of the Tribal Labor Panel
         mutually chosen by both parties, provided that the Tribal Labor
         Panel must issue a decision within thirty (30) days after
         receiving the appeal.

(f)      A union which loses an election and has exhausted all dispute
         remedies related to the election may not invoke any provisions of
         this ordinance at that particular casino or related facility until one (1)
         year after the election was lost.




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Section 11: Collective Bargaining Impasse

     (a)      Upon recognition, the Tribe and the union will negotiate in good faith
              for a collective bargaining agreement covering bargaining unit
              employees represented by the union.

     (b)      Except where the union has made the written offer set forth in Section
              7(b), if collective bargaining negotiations result in impasse, the union
              shall have the right to strike. Strike-related picketing shall not be
              conducted on Indian lands as defined in 25 U.S.C. § 2703(4).

     (c)      Where the union makes the offer set forth in Section 7(b), if collective
              bargaining negotiations result in impasse, the matter shall be resolved
              as set forth in Section 13(c).

Section 12: Decertification of Bargaining Agent

     (a)      The filing of a petition signed by thirty percent (30%) or more of the
              Eligible Employees in a bargaining unit seeking the decertification
              of a certified union, will result in a secret ballot election. The
              election officer shall make a determination as to whether the
              required thirty percent (30%) showing has been made within one (1)
              working day after the submission of authorization cards. If the
              election officer determines the required thirty percent (30%)
              showing of interest has been made, the election officer shall issue a
              notice of election. The election shall be concluded within thirty (30)
              calendar days of the issuance of the notice of election.

     (b)      The election shall be conducted by an election officer by secret
              ballot pursuant to procedures set forth in a consent election
              agreement in substantially the same form as Attachment 1. The
              election officer shall be a member of the Tribal Labor Panel chosen
              pursuant to the dispute resolution provisions herein. All questions
              concerning the decertification of the union shall be resolved by an
              election officer. The election officer shall be chosen upon
              notification to the Tribe and the union of the intent of the Eligible
              Employees to present a decertification petition, and the same
              election officer shall preside thereafter for all proceedings under the
              request for decertification; provided however that if the election
              officer resigns, dies or is incapacitated for any other reason from

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              performing the functions of this office, a substitute election officer
              shall be selected in accordance with the dispute resolution provisions
              herein.

     (c)      The election officer shall order the labor organization decertified as
              the exclusive collective bargaining representative if a majority of
              the Eligible Employees support decertification of the labor
              organization in a secret ballot election that the election officer
              determines to have been conducted fairly. The numerical threshold
              for decertification is fifty percent (50%) of the Eligible Employees
              plus one (1). If the election officer determines that the election was
              conducted unfairly due to misconduct by the Tribe and/or employer
              or the union the election officer may order a re-run election or
              dismiss the decertification petition.

     (d)      A decertification proceeding may not begin until one (1) year after
              the certification of a labor union if there is no collective bargaining
              agreement. Where there is a collective bargaining agreement, a
              decertification petition may only be filed no more than ninety (90)
              days and no less than sixty (60) days prior to the expiration of a
              collective bargaining agreement. A decertification petition may be
              filed any time after the expiration of a collective bargaining
              agreement.

     (e)      The Tribe or the union may appeal within five (5) days any decision
              rendered after the date of the election by the election officer to a
              three (3) member panel of the Tribal Labor Panel chosen in
              accordance with Section 13(c), provided that the Tribal Labor Panel
              must issue a decision within thirty (30) days after receiving the
              appeal.

Section 13: Binding Dispute Resolution Mechanism

     (a)     All issues shall be resolved exclusively through the binding dispute
             resolution mechanisms herein.

     (b)     The method of binding dispute resolution shall be a resolution by the
             Tribal Labor Panel, consisting of ten (10) arbitrators appointed by
             mutual selection of the parties which panel shall serve all tribes that
             have adopted this ordinance. The Tribal Labor Panel shall have


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        authority to hire staff and take other actions necessary to conduct
        elections, determine units, determine scope of negotiations, hold
        hearings, subpoena witnesses, take testimony, and conduct all other
        activities needed to fulfill its obligations under this Ordinance.

         (1)   Each member of the Tribal Labor Panel shall have relevant
               experience in federal labor law and/or federal Indian law with
               preference given to those with experience in both. Names of
               individuals may be provided by such sources as, but not limited
               to, Indian Dispute Resolution Services, Federal Mediation and
               Conciliation Service, and the American Academy of
               Arbitrators.

         (2)   One arbitrator from the Tribal Labor Panel will render a
               binding decision on the dispute under the Ordinance. Five (5)
               Tribal Labor Panel names shall be submitted to the parties and
               each party may strike no more than two (2) names. A coin toss
               shall determine which party may strike the first name. The
               arbitrator will generally follow the American Arbitration
               Association's procedural rules relating to labor dispute
               resolution. The arbitrator must render a written, binding
               decision that complies in all respects with the provisions of
               this Ordinance within thirty (30) days after a hearing.

(c)      (1)   Upon certification of a union in accordance with Section 10 of
               this Ordinance, the Tribe and union shall negotiate for a period
               of ninety (90) days after certification. If, at the conclusion of
               the ninety (90)-day period, no collective bargaining agreement
               is reached and either the union and/or the Tribe believes
               negotiations are at an impasse, at the request of either party,
               the matter shall be submitted to mediation with the Federal
               Mediation and Conciliation Service. The costs of mediation
               and conciliation shall be borne equally by the parties.

         (2)   Upon appointment, the mediator shall immediately schedule
               meetings at a time and location reasonably accessible to the
               parties. Mediation shall proceed for a period of thirty (30)
               days. Upon expiration of the thirty (30)-day period, if the
               parties do not resolve the issues to their mutual satisfaction,
               the mediator shall certify that the mediation process has been

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               exhausted. Upon mutual agreement of the parties, the
               mediator may extend the mediation period.

         (3)   Within twenty-one (21) days after the conclusion of
               mediation, the mediator shall file a report that resolves all of
               the issues between the parties and establishes the final terms
               of a collective bargaining agreement, including all issues
               subject to mediation and all issues resolved by the parties prior
               to the certification of the exhaustion of the mediation process.
               With respect to any issues in dispute between the parties, the
               report shall include the basis for the mediator’s determination.
               The mediator’s determination shall be supported by the record.

(d)      In resolving the issues in dispute, the mediator may consider those
         factors commonly considered in similar proceedings.

(e)      Either party may seek a motion to compel arbitration or a motion to
         confirm or vacate an arbitration award, under this Section 13, in the
         appropriate state superior court, unless a bilateral contract has been
         created in accordance with Section 7, in which case either party may
         proceed in federal court. The Tribe agrees to a limited waiver of its
         sovereign immunity for the sole purpose of compelling arbitration or
         confirming or vacating an arbitration award issued pursuant to the
         Ordinance in the appropriate state superior court or in federal court.
         The parties are free to put at issue whether or not the arbitration
         award exceeds the authority of the Tribal Labor Panel.




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Attachment 1

             CONSENT ELECTION AGREEMENT PROCEDURES

      Pursuant to the Tribal Labor Relations Ordinance adopted pursuant to
section 10.7 of the compact, the undersigned parties hereby agree as follows:

       1.    Jurisdiction. The Buena Vista Rancheria of Me-Wuk Indians (Tribe)
is an employer within the meaning of the Ordinance; and each employee
organization named on the ballot is an employee organization within the meaning
of the Ordinance; and the employees described in the voting unit are Eligible
Employees within the meaning of the Ordinance.

      2.     Election. An election by secret ballot shall be held under the
supervision of the elections officer among the Eligible Employees of the Tribe
named above, and in the manner described below, to determine which employee
organization, if any, shall be certified to represent such employees pursuant to the
Ordinance.

       3.     Voter Eligibility. Unless otherwise indicated below, the eligible
voters shall be all Eligible Employees who were employed on the eligibility cutoff
date indicated below, and who are still employed on the date they cast their ballots
in the election, i.e., the date the voted ballot is received by the elections officer.
Eligible Employees who are ill, on vacation, on leave of absence or sabbatical,
temporarily laid off, and employees who are in the military service of the United
States shall be eligible to vote.

       4.      Voter Lists. The Tribe shall electronically file with the elections
officer a list of eligible voters within two (2) business days after receipt of a Notice
of Election.

       5.    Notice of Election. The elections officer shall serve Notices of
Election on the Tribe and on each party to the election. The Notice shall contain a
sample ballot, a description of the voting unit and information regarding the
balloting process. Upon receipt, the Tribe shall post such Notice of Election
conspicuously on all employee bulletin boards in each facility of the employer in
which members of the voting unit are employed. Once a Notice of Election is
posted, where the union has made the written offer set forth in Section 7(b) of the
Tribal Labor Relations Ordinance, the Tribe shall continue to refrain from
publishing or posting pamphlets, fliers, letters, posters or any other communication

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which should be interpreted as criticism of the union or advises employees to vote
“no” against the union. The Tribe shall be free at all times to fully inform
employees about the terms and conditions of employment it provides to employees
and the advantages of working for the Tribe.

       6.     Challenges. The elections officer or an authorized agent of any party
to the election may challenge, for good cause, the eligibility of a voter. Any
challenges shall be made prior to the tally of the ballots.

        7.    Tally of Ballots. At the time and place indicated below, ballots shall
be co-mingled and tabulated by the elections officer. Each party shall be allowed
to station an authorized agent at the ballot count to verify the tally of ballots. At
the conclusion of the counting, the elections officer shall serve a Tally of Ballots
on each party.

       8.    Objections and Post-election Procedures. Objections to the conduct of
the election may be filed with the elections officer within five (5) calendar days
following the service of the Tally of Ballots. Service and proof of service is
required.

     9.     Runoff Election. In the event a runoff election is necessary, it shall be
conducted at the direction of the elections officer.

     10. Wording on Ballot. The choices on the ballot shall appear in the
wording and order enumerated below.

                  FIRST:         [***]
                  SECOND:        [***]
                  THIRD:         [***]

      11.    Cutoff Date for Voter Eligibility: [***]

       12. Description of the Balloting Process. A secret ballot election will take
place within thirty (30) days after delivery of the voter list referenced in paragraph
4. The employer will determine the location or locations of the polling places for
the election. There must be at least one (1) neutral location (such as a high school,
senior center, or similar facility) which is not within the gaming facility and
employees must also be afforded the option of voting by mail through procedures
established by the elections officer. Only voters, designated observers and the
election officer or supporting staff can be present in the polling area. Neither

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employer nor union representatives may campaign in or near the polling area. If
the election officer or supporting staff questions an employee’s eligibility to vote
in the election, the ballot will be placed in a sealed envelope until your eligibility is
determined. The box will be opened under the supervision of the election officer
when voting is finished. Ballots submitted by mail must be received by the
elections officer no later than the day of the election in order to be counted in the
official tally of ballots.

       13. Voter List Format and Filing Deadline: Not later than two (2)
business days after receipt of the Notice of Election, the Tribe shall file with the
elections officer, at [**address**], an alphabetical list of all eligible voters
including their job titles, work locations and home addresses.

       Copies of the list shall be served concurrently on the designated
representative for the [***]; proof of service must be concurrently filed with
elections officer.

       In addition, the Tribe shall submit to the elections officer on or before [***],
by electronic mail, a copy of the voter list in an Excel spreadsheet format, with
columns labeled as follows: First Name, Last Name, Street Address, City, State,
and Zip Code. Work locations and job titles need not be included in the electronic
file. The file shall be sent to [***].

      14.    Notices of Election: Shall be posted by the Tribe no later than [***].

      15. Date, Time and Location of Counting of Ballots: Beginning at
[**time**] on [**date**], at the [**address**].




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      16. Each signatory to this Agreement hereby declares under penalty of
perjury that s/he is a duly authorized agent empowered to enter into this Consent
Election Agreement.


            (Name of Party)                             (Name of Party)
By                                            By
      (Title)                                      (Title)
      (Date)                                       (Date)


            (Name of Party)                             (Name of Party)
By                                            By
      (Title)                                      (Title)
      (Date)                                       (Date)


Date approved: ______________________

[**Author**]
Elections Officer




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             EXHIBIT B
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TRIBAL-STATE GAMING COMPACT

                     BETWEEN

   THE STATE OF CALIFORNIA

                          AND

  THE BLUE LAKE RANCHERIA,

                  CALIFORNIA
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                   TRIBAL-STATE GAMING COMPACT
                  BETWEEN THE STATE OF CALIFORNIA
              AND THE BLUE LAKE RANCHERIA, CALIFORNIA

        The Blue Lake Rancheria, California (Tribe), a federally recognized Indian
tribe, and the State of California (State) enter into this Tribal-State Gaming
Compact Between the State of California and the Blue Lake Rancheria, California
(Compact) pursuant to the Indian Gaming Regulatory Act of 1988 (IGRA).

                                    PREAMBLE
WHEREAS, in 1999, the Tribe and the State entered into the Tribal-State
Compact Between the State of California and the Blue Lake Rancheria (1999
Compact), which enabled the Tribe, through revenues generated by its Gaming
Operation, to improve the governance, environment, education, health, safety, and
general welfare of its citizens, and to promote a strong tribal government, self-
sufficiency, and to provide essential government services to its citizens; and

WHEREAS, the State and the Tribe agree that all terms of this Compact are
intended to be binding and enforceable.

NOW, THEREFORE, the Tribe and the State agree as set forth herein:

SECTION 1.0. PURPOSES AND OBJECTIVES.
      The terms of this Compact are designed and intended to:
      (a)      Evidence the goodwill and cooperation of the Tribe and the State in
               fostering a mutually respectful government-to-government
               relationship that will serve the mutual interests of the parties.

      (b)      Develop, enhance and implement a means of regulating Class III
               Gaming, and only Class III Gaming, on the Tribe’s Indian lands to
               ensure its fair and honest operation in accordance with IGRA, and
               through that regulated Class III Gaming, enable the Tribe to develop
               self-sufficiency, promote tribal economic development, and generate
               jobs and revenues to support the Tribe’s government and its
               governmental services and programs.
      (c)      Promote ethical practices in conjunction with Class III Gaming,
               through the licensing and control of persons and entities employed in,
               or providing goods and services to, the Gaming Operation, protect
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             against the presence or participation of persons whose criminal
             backgrounds, reputations, character, or associations make them
             unsuitable for participation in gaming, thereby maintaining a high
             level of integrity in tribal government gaming, and protect the patrons
             and employees of the Gaming Operation and Gaming Facility, and the
             local communities.

SECTION 2.0. DEFINITIONS.
      Sec. 2.1. “Applicable Codes” means the California Building Standards Code
and the California Public Safety Code applicable to the County, as set forth in titles
19 and 24 of the California Code of Regulations, as those regulations may be
amended during the term of this Compact, including, but not limited to, codes for
building, electrical, energy, mechanical, plumbing, fire, and safety.
     Sec. 2.2. “Applicant” means an individual or entity that applies for a tribal
gaming license or State determination of suitability.
      Sec. 2.3. “Association” means an association of California tribal and state
gaming regulators, the membership of which comprises up to two (2)
representatives from each tribal gaming agency of those tribes with whom the State
has a Class III Gaming compact or which possess Secretarial Procedures under
IGRA, and up to two (2) delegates each from the California Department of Justice,
Bureau of Gambling Control and the California Gambling Control Commission.
      Sec. 2.4. “Class III Gaming” means the forms of class III gaming defined as
such in 25 U.S.C. § 2703(8) and by the regulations of the National Indian Gaming
Commission.

    Sec. 2.5. “Commission” means the California Gambling Control
Commission, or any successor agency of the State.

       Sec. 2.6. “Compact” means this Tribal-State Gaming Compact Between the
State of California and the Blue Lake Rancheria, California.

      Sec. 2.7. “County” means the County of Humboldt, California, a political
subdivision of the State.

       Sec. 2.8. “Financial Source” means any person or entity who, directly or
indirectly, extends financing in connection with the Tribe’s Gaming Facility or
Gaming Operation.


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     Sec. 2.9. “Gaming Activity” or “Gaming Activities” means the Class III
Gaming activities authorized under this Compact.

       Sec. 2.10. “Gaming Device” means any slot machine within the meaning of
article IV, section 19, subdivision (f) of the California Constitution. For purposes
of calculating the number of Gaming Devices, each player station or terminal on
which a game is played constitutes a separate Gaming Device, irrespective of
whether it is part of an interconnected system to such terminals or stations.
“Gaming Device” includes, but is not limited to, video poker, but does not include
electronic, computer, or other technological aids that qualify as class II gaming (as
defined under IGRA).

       Sec. 2.11. “Gaming Employee” means any natural person who is an
employee of the Gaming Operation and (i) conducts, operates, maintains, repairs,
accounts for, or assists in any Gaming Activities, or is in any way responsible for
supervising such Gaming Activities or persons who conduct, operate, maintain,
repair, account for, assist, or supervise any such Gaming Activities, (ii) is in a
category under federal or tribal gaming law requiring licensing, or (iii) is a person
whose employment duties require or authorize access to restricted areas of the
Gaming Facility that are not open to the public. The definition of Gaming
Employee does not include members or employees of the Tribal Gaming Agency.
      Sec. 2.12. “Gaming Facility” or “Facility” means the buildings or structures
in which Class III Gaming, as authorized by this Compact, is conducted.
      Sec. 2.13. “Gaming Operation” means the business enterprise that offers and
operates Gaming Activities, whether exclusively or otherwise, but does not include
the Tribe’s governmental or other business activities unrelated to operation of the
Gaming Facility.

      Sec. 2.14. “Gaming Ordinance” means a tribal ordinance or resolution duly
authorizing the conduct of Gaming Activities on the Tribe’s Indian lands in
California and approved under IGRA.
      Sec. 2.15. “Gaming Resources” means any goods or services provided or
used in connection with Gaming Activities, whether exclusively or otherwise,
including, but not limited to, equipment, furniture, Gaming Devices and ancillary
equipment, implements of Gaming Activities such as playing cards, furniture
designed primarily for Gaming Activities, maintenance or security equipment and
services, and Class III Gaming management or consulting services. “Gaming
Resources” does not include professional accounting and legal services.

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       Sec. 2.16. “Gaming Resource Supplier” means any person or entity who,
directly or indirectly, does, or is deemed likely to, manufacture, distribute, supply,
vend, lease, purvey, or otherwise provide, to the Gaming Operation or Gaming
Facility at least twenty-five thousand dollars ($25,000) in Gaming Resources in
any twelve (12)-month period, or who, directly or indirectly, receives, or is deemed
likely to receive, in connection with the Gaming Operation or Gaming Facility, at
least twenty-five thousand dollars ($25,000) in any consecutive twelve (12)-month
period, provided that the Tribal Gaming Agency may exclude a purveyor of
equipment or furniture that is not specifically designed for, and is distributed
generally for use other than in connection with, Gaming Activities, if, but for the
purveyance, the purveyor is not otherwise a Gaming Resource Supplier as defined
herein, the compensation received by the purveyor is not grossly disproportionate
to the value of the goods or services provided, and the purveyor is not otherwise a
person who exercises a significant influence over the Gaming Operation.
       Sec. 2.17. “IGRA” means the Indian Gaming Regulatory Act of 1988 (18
U.S.C. §§ 1166-1168; 25 U.S.C. § 2701 et seq.), and any amendments thereto, as
interpreted by all regulations promulgated thereunder.

      Sec. 2.18. “Management Contractor” means any Gaming Resource Supplier
with whom the Tribe has contracted for the management of any Gaming Activity
or Gaming Facility, including, but not limited to, any person who would be
regarded as a management contractor under IGRA.
      Sec. 2.19. “Net Win” means drop from Gaming Devices, plus the
redemption value of expired tickets, less fills, less free play, less payouts, less that
portion of the Gaming Operation’s payments to a third-party wide-area progressive
jackpot system provider that is contributed only to the progressive jackpot amount.

      Sec. 2.20. “NIGC” means the National Indian Gaming Commission.
      Sec. 2.21. “Secretarial Procedures” means procedures prescribed by the
Secretary of the Department of the Interior pursuant to 25 U.S.C.
§ 2710(d)(7)(B)(vii) of IGRA.

     Sec. 2.22. “State” means the State of California or an authorized official or
agency thereof designated by this Compact or by the Governor.
      Sec. 2.23. “State Designated Agency” means the entity or entities
designated or to be designated by the Governor to exercise rights and fulfill
responsibilities established by this Compact.

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       Sec. 2.24. “State Gaming Agency” means the entities authorized to
investigate, approve, regulate and license gaming pursuant to the Gambling
Control Act (chapter 5 (commencing with section 19800) of division 8 of the
California Business and Professions Code), or any successor statutory scheme, and
any entity or entities in which that authority may hereafter be vested.

      Sec. 2.25. “Tribal Chair” or “Tribal Chairperson” means the person duly
elected under the Tribe’s Constitution to perform the duties specified therein,
including serving as the Tribe’s official representative.

      Sec. 2.26. RESERVED

      Sec. 2.27. “Tribal Gaming Agency” means the person, agency, board,
committee, commission, or council designated under tribal law, including, but not
limited to, an intertribal gaming regulatory agency approved to fulfill those
functions by the NIGC, primarily responsible for carrying out the Tribe’s
regulatory responsibilities under IGRA and the Tribe’s Gaming Ordinance. No
person employed in, or in connection with, the management, supervision, or
conduct of any Gaming Activity may be a member or employee of the Tribal
Gaming Agency.

        Sec. 2.28. “Tribe” means the Blue Lake Rancheria, California, an Indian
tribe listed in the Federal Register as a federally recognized tribe.

SECTION 3.0. SCOPE OF CLASS III GAMING AUTHORIZED.
      (a)      The Tribe is hereby authorized and permitted to operate only the
               following Gaming Activities under the terms and conditions set forth
               in the Compact:

               (1)   Gaming Devices.
               (2)   Any banking or percentage card game.

               (3)   Any devices or games that are authorized under state law to the
                     California State Lottery, provided that the Tribe will not offer
                     such games through use of the Internet, unless any other person,
                     organization, or entity in the state is permitted to do so under
                     state and federal law.




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               (4)   Off-track wagering on horse races at a satellite wagering
                     facility pursuant to the requirements in the document attached
                     hereto as Appendix B.

      (b)      Nothing herein shall be construed to authorize or permit the operation
               of any Class III Gaming that the State lacks the power to authorize or
               permit under article IV, section 19, subdivision (f) of the California
               Constitution.

      (c)      The Tribe shall not engage in Class III Gaming that is not expressly
               authorized in this Compact.

SECTION 4.0. AUTHORIZED NUMBER OF GAMING DEVICES,
LOCATION OF GAMING FACILITIES, AND COST REIMBURSEMENT.

      Sec. 4.1. Authorized Number of Gaming Devices.
       The Tribe is entitled to operate up to a total of two thousand, two hundred
and fifty (2,250) Gaming Devices pursuant to the conditions set forth in section 3.0
and sections 4.2 through and including section 5.3.

      Sec. 4.2. Authorized Gaming Facilities.
       The Tribe may establish and operate not more than three (3) Gaming
Facilities, one (1) of which has a primary purpose other than gaming and operates
no more than fifty (50) Gaming Devices, and engage in Class III Gaming only on
the Tribe’s eligible Indian lands on which Class III Gaming may lawfully be
conducted under IGRA as of the execution date of this Compact. The Tribe may
combine and operate in its Gaming Facilities any forms and kinds of gaming
permitted under law, except to the extent limited under IGRA, this Compact, or the
Tribe’s Gaming Ordinance.

      Sec. 4.3. Special Distribution Fund.

      (a)      The Tribe shall pay to the State on a pro rata basis the State’s 25
               U.S.C. § 2710(d)(3)(C) costs incurred for purposes consistent with
               IGRA, including the performance of all its duties under this Compact,
               the administration and implementation of tribal-state Class III Gaming
               compacts and Secretarial Procedures, and funding for the Office of
               Problem Gambling, as determined by the monies appropriated in the
               annual Budget Act each fiscal year to carry out those purposes
               (Appropriation). The Appropriation and the maximum number of

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      Gaming Devices operated by all federally recognized tribes in
      California determined to be in operation during the previous State
      fiscal year shall be reported annually by the State Gaming Agency to
      the Tribe on or before December 15. The term “operated” or
      “operation” as used in this Compact in relation to Gaming Devices
      describes each and every Gaming Device available to patrons
      (including slot tournament contestants) for play at any given time.

(b)   The Tribe’s pro rata share of the State’s 25 U.S.C. § 2710(d)(3)(C)
      costs in any given year this Compact is in effect shall be calculated by
      the following equation:

            The maximum number of Gaming Devices operated in
            the Tribe’s Gaming Facility(ies) during the previous
            State fiscal year as determined by the State Gaming
            Agency, divided by the maximum number of Gaming
            Devices operated by all federally recognized tribes in
            California pursuant to tribal-state Class III Gaming
            compacts or Secretarial Procedures during the previous
            State fiscal year, multiplied by the Appropriation, equals
            the Tribe’s pro rata share.

      (1)   Beginning the first full quarter after the commencement of
            Gaming Activities under this Compact, the Tribe shall pay its
            pro rata share to the State Gaming Agency for deposit into the
            Indian Gaming Special Distribution Fund established by the
            Legislature (Special Distribution Fund). The payment shall be
            made in four (4) equal quarterly installments due on the
            thirtieth (30th) day following the end of each calendar quarter
            (i.e., by April 30 for the first quarter, July 30 for the second
            quarter, October 30 for the third quarter, and January 30 for the
            fourth quarter); provided, however, that in the event the
            Gaming Activities authorized by this Compact commence
            during a calendar quarter, payment shall be prorated for the
            number of days remaining in that initial quarter, in addition to
            any remaining full quarters in the first calendar year of
            operation to obtain a full year of full quarterly payments of the
            Tribe’s pro rata share specified above. A payment year will run
            from January through December. If any portion of the Tribe’s
            quarterly pro rata share payment or payment pursuant to section

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               4.3, subdivision (b) or section 5.2 is overdue the Tribe shall pay
               to the State for purposes of deposit into the appropriate fund,
               the amount overdue plus interest accrued thereon at the rate of
               one percent (1%) per month or the maximum rate permitted by
               state law for delinquent payments owed to the State, whichever
               is less. All quarterly payments shall be accompanied by the
               report specified in section 4.5.

         (2)   If the Tribe objects to the State’s determination of the Tribe’s
               pro rata share, or to the amount of the Appropriation as
               including matters not consistent with IGRA, the matter shall be
               resolved in accordance with the dispute resolution provisions of
               section 13.0. Any State determination of the Tribe’s pro rata
               share challenged by the Tribe shall govern and must be paid by
               the Tribe to the State when due, and the Tribe’s payment is a
               condition precedent to invoking the section 13.0 dispute
               resolution provisions.
         (3)   Only for purposes of calculating the Tribe’s annual pro rata
               share under section 4.3, subdivision (a), any increase in the
               Appropriation for the current year shall be capped at an amount
               equal to five percent (5%) from the Appropriation used to
               calculate the Tribe’s pro rata share in the immediately
               preceding year. The Appropriation, so capped, will be used to
               calculate the Tribe’s pro rata share under the equation set forth
               in section 4.3, subdivision (b). The Tribe and the State
               anticipate and intend that annual increases in the Tribe’s pro
               rata share payment will be significantly less than five percent
               (5%) annually on an ongoing basis, and that this five percent
               (5%) cap will be rarely, if ever, implemented.

         (4)   The foregoing payments have been negotiated between the
               parties as a fair and reasonable contribution, based upon the
               State’s costs of regulating and mitigating certain impacts of
               tribal Class III Gaming Activities, as well as the Tribe’s market
               conditions, its circumstances, and the rights afforded and
               consideration provided by this Compact.
(c)      In any given State fiscal year, to the extent permissible and only as
         may be provided under state law, the State Gaming Agency may

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               reduce, or eliminate, the Tribe’s pro rata share payment obligation to
               the Special Distribution Fund.

      Sec. 4.4. Use of Special Distribution Funds.
      Revenue placed in the Special Distribution Fund shall be available for
appropriation by the Legislature for the purposes specified in California
Government Code section 12012.85.

      Sec. 4.5. Quarterly Payments and Quarterly Contribution Report.
      (a)      (1)   The Tribe shall remit quarterly to the State Gaming Agency (i)
                     the payments described in section 4.3, for deposit into the
                     Special Distribution Fund and (ii) the payments described in
                     section 5.2, for deposit into the Revenue Sharing Trust Fund or
                     the Tribal Nation Grant Fund. The Tribe and State have
                     negotiated a fair and equitable framework for revenue sharing
                     for the benefit of the Revenue Sharing Trust Fund eligible
                     tribes and the Tribe’s agreement to contribute to the Tribal
                     Nation Grant Fund does not increase the Tribe’s revenue
                     sharing payment.

               (2)   If the Gaming Activities authorized by this Compact commence
                     during a calendar quarter, the first payment shall be due on the
                     thirtieth (30th) day following the end of the first full quarter of
                     the Gaming Activities and shall cover the period from the
                     commencement of the Gaming Activities to the end of the first
                     full calendar quarter.
               (3)   All quarterly payments shall be accompanied by the
                     certification specified in subdivision (b).
      (b)      At the time each quarterly payment is due, regardless of whether any
               monies are owed, the Tribe shall submit to the State Gaming Agency
               a certification (the “Quarterly Contribution Report”) prepared by the
               chief financial officer of the Gaming Operation that specifies the
               following:
               (1)   The calculation of the maximum number of Gaming Devices
                     operated in the Gaming Facility for each day during the given
                     quarter;

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         (2)   The amount due pursuant to section 4.3;
         (3)   The calculation of the amount due pursuant to section 5.2; and

         (4)   The total amount of the quarterly payment paid to the State.

(c)      The following shall also be included in the Quarterly Contribution
         Report:
         (1)   At any time after the fourth quarter, but in no event later than
               April 30 of the following calendar year, the Tribe shall provide
               to the State Gaming Agency an audited annual certification of
               its Net Win calculation from the operation of Gaming Devices.
               The audit shall be conducted in accordance with generally
               accepted auditing standards, as applied to audits for the gaming
               industry, by an independent certified public accountant
               (auditor) who is not employed by the Tribe, the Tribal Gaming
               Agency, the Management Contractor, or the Gaming Operation,
               is only otherwise retained by any of these entities to conduct
               regulatory audits or independent audits of the Gaming
               Operation, and has no financial interest in any of these entities.
               The auditor used by the Tribe for this purpose shall be approved
               by the State Gaming Agency, or other State Designated
               Agency, but the State shall not unreasonably withhold its
               consent.
         (2)   If the audit shows that the Tribe made an overpayment to the
               State based on its Net Win during the year covered by the audit,
               the Tribe’s next quarterly payment may be reduced by the
               amount of the overage. If the audit shows that the Tribe made
               an underpayment to the State during the year covered by the
               audit, the Tribe’s next quarterly payment shall be increased by
               the amount of the underpayment.

         (3)   The State Gaming Agency shall be authorized to confer with
               the auditor at the conclusion of the audit process and to review
               all of the auditor’s final work papers and documentation
               relating to the audit. The Tribal Gaming Agency shall be
               notified of and provided the opportunity to participate in and
               attend any such conference or document review.


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(d)      The State Gaming Agency may audit the calculations in subdivision
         (b) and, if applicable, the Net Win calculations specified in the audit
         provided pursuant to subdivision (c). The State Gaming Agency shall
         have access to all records deemed necessary by the State Gaming
         Agency to verify the calculations in subdivision (b) and, if applicable,
         the Net Win calculations, including access to the Gaming Device
         accounting systems and server-based systems and software, and to the
         data contained therein on a read only basis. If the State Gaming
         Agency determines that the Net Win is understated or the deductions
         overstated, it will promptly notify the Tribe and provide a copy of the
         State Gaming Agency’s audit. The Tribe within twenty (20) days will
         either accept the difference or provide a reconciliation satisfactory to
         the State Gaming Agency. If the Tribe accepts the difference or does
         not provide a reconciliation satisfactory to the State Gaming Agency,
         the Tribe must immediately pay the amount of the resulting
         deficiency, plus accrued interest thereon at the rate of one percent
         (1%) per month or the maximum rate permitted by state law for
         delinquent payments owed to the State, whichever is less. If the Tribe
         does not accept the difference but does not provide a reconciliation
         satisfactory to the State Gaming Agency, the Tribe, once payment is
         made, may commence dispute resolution under section 13.0. The
         parties expressly acknowledge that the Quarterly Contribution Reports
         provided for in subdivision (b) are subject to section 8.4, subdivision
         (g).
(e)      Notwithstanding anything to the contrary in section 13.0, any failure
         of the Tribe to remit the payments referenced in subdivision (a) will
         entitle the State to immediately seek injunctive relief in federal or
         state court, at the State’s election, to compel the payments, plus
         accrued interest thereon at the rate of one percent (1%) per month, or
         the maximum rate permitted by state law for delinquent payments
         owed to the State, whichever is less; and further, the Tribe expressly
         consents to be sued in either court and hereby waives its sovereign
         immunity and its right to assert sovereign immunity against the State
         in any such proceeding. Failure to make timely payment shall be
         deemed a material breach of this Compact.
(f)      If any portion of the payments under subdivision (a) of this section is
         overdue after the State Gaming Agency has provided written notice to
         the Tribe of the overdue amount with an opportunity to cure of at least

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               fifteen (15) business days, and if more than sixty (60) calendar days
               have passed from the due date, then the Tribe shall cease operating all
               of its Gaming Devices until full payment is made.

      Sec. 4.6. Exclusivity.
      In recognition of the Tribe’s agreement to make the payments specified in
sections 4.3 and 5.2, the Tribe shall have the following rights:

      (a)      In the event the exclusive right of Indian tribes to operate Gaming
               Devices in California is abrogated by the enactment, amendment, or
               repeal of a state statute or constitutional provision, or the
               conclusive and dispositive judicial construction of a statute or the
               State Constitution by a California appellate court after the effective
               date of this Compact that Gaming Devices may lawfully be
               operated by another person, organization, or entity (other than an
               Indian tribe operating pursuant to a Class III Gaming compact or
               Secretarial Procedures) within California, the Tribe shall have the
               right to exercise one (1) of the following options:

               (1)   Terminate this Compact, in which case the Tribe will lose the
                     right to operate Gaming Devices and other Class III Gaming
                     authorized by this Compact; or

               (2)   Continue under this Compact following the conclusion of
                     negotiations with the State for Compact amendments that
                     provide for the following: (i) an entitlement to a reduction of
                     the rates specified in section 5.2; (ii) compensation to the State
                     for the costs of regulation, as set forth in section 4.3,
                     subdivision (a); (iii) distributions under section 11.1; (iv) grants
                     for programs designed to address and treat gambling addiction;
                     and (v) such assessments as may be permissible at that time
                     under federal law. The negotiations shall commence within
                     thirty (30) days after receipt of a written request by either the
                     Tribe or the State to enter into negotiations, unless both parties
                     agree in writing to an extension of time. If the Tribe and the
                     State fail to reach agreement on the amount of the reduction of
                     such payments within sixty (60) days following commencement
                     of the negotiations specified in this subdivision (a)(2), the
                     amount shall be determined by the dispute resolution provisions
                     of section 13.0.
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    (b)      Nothing in this section is intended to preclude the California State
             Lottery from offering any lottery games or devices that are currently
             or may hereafter be authorized by state law.

    (c)      Nothing in this section precludes the Tribe from discussing with the
             State the issue of whether any person or entity (other than an Indian
             tribe pursuant to a Class III Gaming compact or Secretarial
             Procedures) is engaging in the Gaming Activities specified in
             subdivision (a) of section 3.0 of this Compact.

SECTION 5.0. REVENUE SHARING WITH NON-GAMING AND
LIMITED-GAMING TRIBES.

    Sec. 5.1. Definitions.
    For purposes of this section 5.0, the following definitions apply:
    (a)      The “Revenue Sharing Trust Fund” is a fund created by the
             Legislature and administered by the State Gaming Agency that, as
             limited trustee, is not a trustee subject to the duties and liabilities
             contained in the California Probate Code, similar state or federal
             statutes, rules or regulations, or under California state or federal
             common law or equitable principles, and has no duties,
             responsibilities, or obligations hereunder except for the receipt,
             deposit, and distribution of monies paid by gaming tribes for the
             benefit of Non-Gaming Tribes and Limited-Gaming Tribes. The State
             Gaming Agency shall allocate and disburse the Revenue Sharing
             Trust Fund monies on a quarterly basis as specified by the Legislature.
             Each eligible Non-Gaming Tribe and Limited-Gaming Tribe in the
             state shall receive the sum of one million one hundred thousand
             dollars ($1,100,000) per year from the Revenue Sharing Trust Fund.
             In the event there are insufficient monies in the Revenue Sharing
             Trust Fund to pay one million one hundred thousand dollars
             ($1,100,000) per year to each eligible Non-Gaming Tribe and
             Limited-Gaming Tribe, any available monies in that fund shall be
             distributed to eligible Non-Gaming Tribes and Limited-Gaming
             Tribes in equal shares. Monies deposited into the Revenue Sharing
             Trust Fund in excess of the amount necessary to distribute one million
             one hundred thousand dollars ($1,100,000) to each eligible Non-
             Gaming Tribe and Limited-Gaming Tribe shall remain in the Revenue
             Sharing Trust Fund available for disbursement in future years, or

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      deposited into the Tribal Nation Grant Fund, but shall not be used for
      purposes other than the Revenue Sharing Trust Fund or the Tribal
      Nation Grant Fund. In no event shall the State’s general fund be
      obligated to make up any shortfall in the Revenue Sharing Trust Fund
      or to pay any unpaid claims connected therewith and, notwithstanding
      any provision of law, including any existing provision of law
      implementing the State Gaming Agency’s obligations related to the
      Revenue Sharing Trust Fund under any Class III Gaming compact or
      Secretarial Procedures. Non-Gaming Tribes and Limited-Gaming
      Tribes are not third-party beneficiaries of this Compact and shall have
      no right to seek any judicial order compelling disbursement of any
      Revenue Sharing Trust Fund monies to them.
(b)   The “Tribal Nation Grant Fund” is a fund created by the Legislature to
      make discretionary distribution of funds to Non-Gaming Tribes and
      Limited-Gaming Tribes upon application of such tribes for purposes
      related to effective self-governance, self-determined community, and
      economic development. The fiscal operations of the Tribal Nation
      Grant Fund are administered by the State Gaming Agency, which acts
      as a limited trustee, not subject to the duties and liabilities contained
      in the California Probate Code, similar California or federal statutes,
      rules or regulations, or under California or federal common law or
      equitable principles, and with no duties or obligations hereunder
      except for the receipt, deposit, and distribution of monies paid by
      gaming tribes for the benefit of Non-Gaming Tribes and Limited-
      Gaming Tribes, as those payments are directed by a State Designated
      Agency. The State Gaming Agency shall allocate and disburse the
      Tribal Nation Grant Fund monies as specified by a State Designated
      Agency to one (1) or more eligible Non-Gaming Tribe or Limited-
      Gaming Tribe upon a competitive application basis. The State
      Gaming Agency shall exercise no discretion or control over, nor bear
      any responsibility arising from, the recipient tribes’ use or
      disbursement of Tribal Nation Grant Fund monies. The State
      Designated Agency shall perform any necessary audits to ensure that
      monies awarded to any tribe are being used in accordance with their
      disbursement in relation to the purpose of the Tribal Nation Grant
      Fund. In no event shall the State’s general fund be obligated to pay
      any monies into the Tribal Nation Grant Fund or to pay any unpaid
      claims connected therewith and, notwithstanding any provision of
      law, including any existing provision of law implementing the State’s

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              obligations related to the Tribal Nation Grant Fund or the Revenue
              Sharing Trust Fund under any Class III Gaming compact or
              Secretarial Procedures. Non-Gaming Tribes and Limited-Gaming
              Tribes shall have no right to seek any judicial order compelling
              disbursement of any Tribal Nation Grant Fund monies to them.

     (c)      A “Non-Gaming Tribe” is a federally recognized tribe in California,
              with or without a tribal-state Class III Gaming compact or Secretarial
              Procedures that, as of the date of the last distribution to such tribe
              from the Revenue Sharing Trust Fund or the Tribal Nation Grant
              Fund, and during the immediately preceding three hundred sixty-five
              (365) days, has not engaged in, or offered, class II gaming or Class III
              Gaming in any location whether within or without California.

     (d)      A “Limited-Gaming Tribe” is a federally recognized tribe in
              California that has a Class III Gaming compact with the State or
              Secretarial Procedures but is operating and has operated fewer than a
              combined total of three hundred fifty (350) Gaming Devices in all of
              its gaming operations wherever located, or does not have a Class III
              Gaming compact or Secretarial Procedures but is engaged in class II
              gaming, whether within or without California, during the immediately
              preceding three hundred sixty-five (365) days.

     Sec. 5.2. Payments to the Revenue Sharing Trust Fund or the Tribal
Nation Grant Fund.
     (a)      If the Tribe operates up to one thousand, two hundred (1,200) Gaming
              Devices, the Tribe shall have no obligation to pay any amount to the
              State Gaming Agency for deposit into the Revenue Sharing Trust
              Fund or the Tribal Nation Grant Fund.
     (b)      If the Tribe operates one thousand, two hundred one (1,201) Gaming
              Devices or more, the Tribe shall pay into the Revenue Sharing Trust
              Fund or the Tribal Nation Grant Fund six percent (6%) of the Net Win
              generated from the operation of all Gaming Devices in excess of three
              hundred and fifty (350) Gaming Devices.

     (c)      The Tribe shall remit the payments referenced in subdivision (b) to
              the State Gaming Agency in quarterly payments, which payments
              shall be due thirty (30) days following the end of each calendar
              quarter (i.e., by April 30 for the first quarter, July 30 for the second

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         quarter, October 30 for the third quarter, and January 30 for the fourth
         quarter).

(d)      The quarterly payments required in subdivision (b) shall be
         determined by first determining the total number of all Gaming
         Devices operated by the Tribe during a given quarter (Quarterly
         Device Base). The Quarterly Device Base is equal to the sum total of
         the maximum number of Gaming Devices in operation for each day of
         the calendar quarter, divided by the number of days in the calendar
         quarter that the Gaming Operation operates any Gaming Devices
         during the given calendar quarter.

(e)      If any portion of the payments under subdivision (b) is overdue after
         the State Gaming Agency has provided written notice to the Tribe of
         the overdue amount with an opportunity to cure of at least fifteen (15)
         business days, and if more than sixty (60) calendar days have passed
         from the due date, then the Tribe shall cease operating all of its
         Gaming Devices until full payment is made.
(f)      All payments made by the Tribe to the State Gaming Agency pursuant
         to subdivision (b) shall be deposited into the Revenue Sharing Trust
         Fund and the Tribal Nation Grant Fund in a proportion to be
         determined by the Legislature, provided that if there are insufficient
         monies in the Revenue Sharing Trust Fund to pay one million one
         hundred thousand dollars ($1,100,000) per year to each eligible Non-
         Gaming Tribe and Limited-Gaming Tribe, the State Gaming Agency
         shall deposit all payments into the Revenue Sharing Trust Fund.

Sec. 5.3. Credits Related to Payments Due Under Section 5.2.
(a)      Notwithstanding anything to the contrary in section 5.2, the State
         agrees to provide the Tribe with annual credits to the payments
         otherwise due under section 5.2 for the purposes itemized in
         subdivision (b) below. The highest Gaming Device count during a
         calendar year shall be the Gaming Device count used to determine the
         annual credit percentage applicable for that calendar year. The annual
         credits to be applied to the section 5.2 payments are based upon the
         number of Gaming Devices operated by the Tribe as provided in the
         following formula:



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      If the Tribe operates in excess of one thousand, two hundred (1,200)
      Gaming Devices, the Tribe may take annual credits up to sixty-five
      percent (65%) of the payments otherwise due under section 5.2,
      subdivision (b).

(b)   The credits provided by this subdivision shall not derive from a direct
      or indirect state or federal funding source, shall not be available for
      costs or payments remitted pursuant to section 11.0, and shall be
      available to the Tribe for the following purposes:

      (1)   The cost of payments made or services provided by the Tribe to
            the County, local jurisdictions, school or water districts, charter
            schools, and non-profit and civic organizations for operating
            facilities or providing services within the County for purposes
            of fire, emergency medical services, law enforcement, public
            transit, education, tourism, youth athletics or other youth
            programs, cultural, health care, transit, road improvements, or
            other services, facilities or infrastructure improvements that in
            part serve off-reservation needs of County residents. This
            includes the cost of providing cultural, educational, and
            recreational programs and services offered by the Tribe that
            benefit the community. At least twenty percent (20%) of the
            annual credits authorized by this section 5.3 shall be utilized for
            the purposes described in this subdivision (b)(1);
      (2)   Payments by the Tribe to reimburse the County for any loss of
            property tax revenues, sales tax revenues for retail sales, or
            transient occupancy taxes that would otherwise be due to the
            County if the Gaming Facility was not located on Indian lands.
            No more than fifteen percent (15%) of the annual credits
            authorized by this section 5.3 shall be utilized for the purposes
            described in this subdivision (b)(2);

      (3)   Payments by the Tribe for non-gaming related capital
            investments and economic development, including costs to
            support and expand the tribal agriculture program, and
            infrastructure improvement projects such as financing costs for
            the construction of a fire department or public safety substation,
            that the State or State Designated Agency agrees provide
            mutual benefits to the Tribe and the County or State because,
            for instance, they have particular cultural, social, educational,
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         public safety or environmental value, or diversify the sources of
         revenue for the Tribe’s general fund;

   (4)   Investments by the Tribe in and any funds paid to the State or
         County for renewable energy or energy conservation projects,
         such as a solar farm, that, in part, serve the Gaming Facility or
         other tribal facilities, or projects that incorporate charging
         stations for electric or other zero-emission vehicles that are
         available to patrons and employees of the Gaming Facility or
         the Tribe and its members. For purposes of this subdivision
         (b)(4), “renewable energy project” means a project that utilizes
         a technology other than a conventional power source, as defined
         in section 2805 of the California Public Utilities Code, as it
         may be amended, including, without limitation, renewable
         energy sources identified in section 1391, subdivision (c), of
         title 20 of the California Code of Regulations or section 25741
         of the California Public Resources Code, as they may be
         amended, such as biomass, solar thermal, photovoltaic, wind,
         geothermal, fuel cells using renewable fuel, small hydroelectric,
         digester gas, solid waste conversion, landfill gas, and any
         related additions or enhancements. The renewable energy
         power source must not utilize more than twenty-five percent
         (25%) fossil fuel;
   (5)   Costs, payments or donations by the Tribe to support capital
         improvements and operating expenses for facilities or programs
         located within California providing health care, cultural,
         educational, youth, senior, disabled, and recreational services
         with respect to tribal members, Indians, or non-Indians;

   (6)   Payments by the Tribe towards the principal amount of the
         Tribe’s debt services secured by the assets of the Gaming
         Operation, which promote economic growth that benefits the
         Tribe and the surrounding community through the Tribe’s
         investments in facilities, infrastructure, or other projects that
         contribute to sustaining jobs and ensuring the financial stability
         of the Tribe. No more than twenty percent (20%) of the annual
         credits authorized by this section 5.3 shall be utilized for the
         purposes described in this subdivision (b)(6);


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   (7)   Costs incurred by the Tribe to purchase property for, and fund
         the construction and operation of, a museum or cultural center
         or cultural site, or costs and payments to support the awareness
         and preservation of native cultures, cultural resources, or
         historical buildings, landmarks or objects within California that
         have cultural significance to the Tribe, or to promote the
         awareness and understanding of California native cultures;

   (8)   The costs to the Tribe of providing general welfare benefits for,
         among other things, educational, health care, cultural or
         vocational purposes to non-Indians or Indians who are not
         members of the Tribe;
   (9)   Payments or capital costs incurred by the Tribe to provide or
         support housing, including but not limited to mortgage
         assistance, for the Tribe’s elders or members, Indian and/or
         non-Indian people who are determined by the Tribe to be
         financially in need, taking into account federal poverty
         guidelines and local conditions, including the cost of living;

   (10) Costs and payments by the Tribe to purchase property, support
        the construction and capital improvement, and provide
        operating expenses for facilities located within California
        (including facilities located on or off tribal trust land) that
        provide health care, including alcohol and drug abuse
        prevention programs and services, or assisted living services to
        tribal members, Indians, and non-Indians;

   (11) The costs to the Tribe associated with improving the protection
        of wildlife and habitat (e.g., property purchase costs,
        environmental studies, permits, construction, maintenance, and
        other related expenses), including but not limited to those
        associated with protecting, raising awareness, and educating the
        public about migratory birds or other species of significance;
   (12) Costs and payments by the Tribe for delivery of potable water,
        water treatment or water conservation projects that primarily
        serve the surrounding community including the school district
        and other on- and off-reservation needs within the County; and



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         (13) Costs and payments by the Tribe for the cost of recycling
              programs, and any improvements incorporating recycling
              technology, that, in part, serve the Gaming Facility, or other on-
              or off-reservation needs within the County.

(c)      On or before March 30 of each year, the Tribe shall provide to the
         State its annual budget for items eligible for credits under this section
         5.3. Upon receipt, the State shall have ninety (90) days within which
         to review the items proposed and object if they do not meet the
         purposes set out in this section. If the State does not object to the
         items proposed within ninety (90) days, the State shall not later seek
         to disallow those credits except as provided below. The State’s intent
         is to encourage the Tribe to make full use of the credits as specifically
         defined and articulated under this section 5.3.
(d)      During the year, the Tribe shall take such credits during the first three
         (3) quarters in prorated amounts based on the annual budget, but
         during the fourth quarter shall take an adjusted amount based on
         actual amounts spent. At the end of each year, the Tribe shall submit
         to the State a budget reconciliation, reflecting the actual amounts
         expended compared to the budgeted numbers. The State shall have
         the right to review the credits taken and, if necessary, request
         additional information from the Tribe. If the State determines that the
         information provided does not substantiate the amount of credits
         taken, the State may reduce or disallow such credits.

(e)      Any disputes shall be subject to the dispute resolution provisions of
         section 13.0 of this Compact. All excess credits that cannot be
         applied in any one (1) year shall carry forward to all following years
         until completely exhausted. If in any year during the term of this
         Compact the Tribe is unable to take the full amount of the credits and
         all carry-forward credits have been exhausted, the Tribe may request
         and the State shall agree to, a reopening of negotiations, limited to
         section 5.2, subdivision (b).
(f)      On or before January 31 of each year, or other date as otherwise may
         be agreed to by the parties, the Tribe shall provide to the State a report
         of annual credits taken and contributions made pursuant to sections
         5.2 and 5.3. The reporting will include sufficient detail to enable the
         Tribe and the State to ensure that the funds are being used in a manner
         consistent with the purposes set forth above.
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SECTION 6.0. LICENSING.

      Sec. 6.1. Gaming Ordinance and Regulations.
      (a)      All Gaming Activities authorized to be conducted under this
               Compact shall comply with (i) a Gaming Ordinance duly adopted by
               the Tribe and approved in accordance with IGRA, (ii) all applicable
               rules, regulations, procedures, specifications, and standards duly
               adopted by the NIGC, the Tribal Gaming Agency, and the State
               Gaming Agency, and (iii) the provisions of this Compact.

      (b)      Upon request the Tribal Gaming Agency will make the following
               documents available for inspection by the State Gaming Agency: a
               copy of the Gaming Ordinance, and all of its rules, regulations,
               procedures, specifications, ordinances, or standards applicable to the
               Gaming Activities and Gaming Operation. This provision excludes
               the Tribal Gaming Agency’s internal policies and procedures.

      (c)      The Tribal Gaming Agency agrees to make the following documents
               available to Gaming Operation patrons or their legal representatives,
               through electronic means or otherwise in its discretion: the Gaming
               Ordinance; the rules of each Class III Gaming game operated by the
               Tribe, to the extent that such rules are not available for display on the
               Gaming Device or the table on which the game is played; rules
               governing promotions; rules governing points and the player’s club
               program, including rules regarding confidentiality of the player
               information, if any; the tribal law specified in section 12.6; and the
               regulations promulgated by the Tribal Gaming Agency concerning
               patron disputes pursuant to section 10.0. To the extent that any of the
               foregoing are available to the public on a website maintained by an
               agency of the State or the federal government, or by the Tribe or the
               Gaming Operation, the Tribal Gaming Agency may refer requesters to
               such website(s) for the requested information.

     Sec. 6.2. Tribal Ownership, Management, and Control of Gaming
Operation.
       The Gaming Operation authorized under this Compact is owned solely by
the Tribe as required by IGRA.



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      Sec. 6.3. Prohibitions Regarding Minors.
      (a)      The Tribe has decided not to permit persons under the age of twenty-
               one (21) years to participate in Gaming Activities, or to loiter in the
               vicinity of the Gaming Facility where Gaming Activities are
               conducted. Persons under the age of twenty-one (21) years may be
               employed by the Gaming Operation in a non-gaming capacity. This
               decision of the Tribe shall be maintained for the duration of this
               Compact.

      (b)      If the Tribe permits the consumption of alcoholic beverages in the
               Gaming Facility, the Tribe agrees to prohibit persons under the age of
               twenty-one (21) years from being present in any area in which
               alcoholic beverages may be consumed, except to the extent permitted
               by the Gaming Facility’s California Department of Alcoholic
               Beverage Control license(s).

      Sec. 6.4. Licensing Requirements and Procedures.
      Sec. 6.4.1. Summary of Licensing Principles.
       The Tribe agrees to require a tribal gaming license for all persons in any way
connected with the Gaming Operation or Gaming Facility who are required to be
licensed or to submit to a background investigation under IGRA, any others
required to be licensed under this Compact, including, without limitation, all
Gaming Employees, Gaming Resource Suppliers, Financial Sources not otherwise
exempt from licensing requirements, and any other person having a significant
influence over the Gaming Operation. Each person or entity must be licensed by
the Tribal Gaming Agency and, except as otherwise provided, cannot have had any
determination of suitability denied or revoked by the State Gaming Agency. The
Tribe and the State intend that the licensing process provided for in this Compact
shall involve mutual cooperation between the Tribal Gaming Agency and the State
Gaming Agency, as more particularly described herein.

      Sec. 6.4.2. Gaming Facility.
      (a)      Each Gaming Facility authorized by this Compact is licensed by the
               Tribal Gaming Agency in conformity with the requirements of the
               Gaming Ordinance, IGRA, any applicable regulations adopted by the
               NIGC, as well as this Compact. The license shall be reviewed and
               renewed every two (2) years thereafter. The Tribe agrees to provide
               verification that this requirement has been met to the State by sending,
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         either electronically or by hard copy, a copy of the initial license and
         each renewal license to the State Gaming Agency within twenty (20)
         days after issuance of the license or renewal. The Tribal Gaming
         Agency’s certification that the Gaming Facility is being operated in
         conformity with these requirements will be posted in a conspicuous
         and public place in the Gaming Facility.
(b)      To assure the protection of the health and safety of all Gaming
         Facility patrons, guests, and employees, the Tribe shall adopt and
         maintain throughout the term of this Compact, an ordinance that
         requires any Gaming Facility construction to meet or exceed the
         standards in the Applicable Codes. The Gaming Facility and all
         construction, expansion, improvement, modification, or renovation to
         the Gaming Facility will also comply with title III of the federal
         Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq.
         Notwithstanding the foregoing, the Tribe need not comply with any
         state standard that specifically applies in name or in fact only to tribal
         facilities. Without limiting the rights of the State under this section,
         reference to Applicable Codes is not intended to confer code
         enforcement jurisdiction upon the State or its political subdivisions.
         For purposes of this section, the terms “building official” and “code
         enforcement agency” as used in titles 19 and 24 of the California
         Code of Regulations mean the Tribal Gaming Agency or such other
         tribal government agency or official as may be designated by the
         Tribe’s law. The building official and code enforcement agency
         designated by the Tribe’s law may exercise authority granted to such
         individuals and entities as specified within the Applicable Codes with
         regard to the Gaming Facility.
(c)      The Tribe shall require inspections of all new construction and the
         Tribe will engage qualified plan checkers or review firms to ensure
         compliance with the Applicable Codes. To be qualified as a plan
         checker or review firm for purposes of this Compact, plan checkers or
         review firms must be either California licensed architects, engineers
         or International Code Council (ICC)-certified building inspectors with
         relevant experience, or California licensed architects, engineers or
         ICC-certified building inspectors on the list, if any, of approved plan
         checkers or review firms provided by the city or County in which the
         Gaming Facility is located. The Tribe shall also employ qualified
         project inspectors. To be qualified as a project inspector for purposes

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         of this Compact, project inspectors must possess the same
         qualifications and certifications as project inspectors utilized by the
         County in which the Gaming Facility is located. The same persons or
         firms may serve as both plan checkers/reviewers and project
         inspectors. The plan checkers, review firms, and project inspectors
         shall hereinafter be referred to as “Inspectors.” The Tribe agrees to
         report any failure to comply with the Applicable Codes to the State
         Gaming Agency, in writing and within thirty (30) days after the
         discovery thereof. The Tribe agrees to correct any Gaming Facility
         condition noted in the inspections that does not meet the Applicable
         Codes (hereinafter “deficiency”).
(d)      The Tribe shall make the design and construction calculations, and
         plans and specifications that form the basis for the Gaming Facility
         construction (hereinafter “Design and Building Plans”) to be available
         to the State Gaming Agency for inspection and copying by the State
         Gaming Agency, upon its request.
(e)      In the event that material changes to a structural detail of the Design
         and Building Plans will result from contract change orders or any
         other changes in the Design and Building Plans, such changes shall be
         reviewed and field-verified by the Inspectors for compliance with the
         Applicable Codes.
(f)      The Tribe shall maintain during construction all structural contract
         change orders for inspection and copying by the State Gaming
         Agency upon its request.
(g)      The Tribe shall maintain the Design and Building Plans depicting the
         as-built Gaming Facility, unless and until superseded by subsequent
         as-built Design and Building Plans upon which the superseding
         construction was based, and shall make them available to the State
         Gaming Agency for inspection and copying by the State Gaming
         Agency upon its request, for the term of this Compact.
(h)      Upon final certification by the Inspectors that the Gaming Facility
         meets the Applicable Codes, the Tribe agrees that the Tribal Gaming
         Agency will forward the Inspectors’ certification to the State Gaming
         Agency within ten (10) days of issuance. If the State Gaming Agency
         objects to that certification, the Tribe shall make a good-faith effort to
         address the State’s concerns, but if the State Gaming Agency does not

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         withdraw its objection, the matter will be resolved in accordance with
         the dispute resolution provisions of section 13.0.

(i)      Any failure to remedy within a reasonable period of time any material
         and timely raised deficiency shall be deemed a violation of this
         Compact, and furthermore, any deficiency that poses a serious or
         significant risk to the health or safety of any occupant shall be
         grounds for the State, pursuant to court order, to prohibit occupancy
         of the affected portion of the Gaming Facility until the deficiency is
         corrected. The Tribe agrees and asserts that it will not allow
         occupancy of any portion of the Gaming Facility that is constructed or
         maintained in a manner that endangers the health or safety of the
         occupants.

(j)      The Tribe shall take all necessary steps to reasonably ensure the
         ongoing availability of sufficient and qualified fire suppression
         services to the Gaming Facility, and to reasonably ensure that the
         Gaming Facility satisfies all requirements of the Applicable Codes, as
         set forth below:

         (1)   Within thirty (30) days prior to commencing Gaming Activities
               under this Compact, and not less than biennially thereafter, and
               upon at least ten (10) days’ notice to the State Gaming Agency,
               the Gaming Facility shall be inspected, at the Tribe’s expense,
               by an independent fire inspector certified by the ICC or the
               National Fire Protection Association for purposes of certifying
               that the Gaming Facility meets a reasonable standard of fire
               safety and life safety.
         (2)   The State Gaming Agency shall be entitled to designate and
               have a qualified representative or representatives, which may
               include local fire suppression entities, present during the
               inspection. During such inspection, the State Gaming Agency’s
               representative(s) shall specify to the independent fire inspector
               any condition that the representative(s) reasonably believes
               would preclude certification of the Gaming Facility as meeting
               a reasonable standard of fire safety and life safety.
         (3)   The independent fire inspector shall issue to the Tribal Gaming
               Agency and the State Gaming Agency a report on the
               inspection within fifteen (15) days after its completion, or

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         within thirty (30) days after commencement of the inspection,
         whichever first occurs, identifying any deficiency in fire safety
         or life safety at the Gaming Facility or in the ability of the Tribe
         to meet reasonably expected fire suppression needs of the
         Gaming Facility.

   (4)   Within twenty-one (21) days after the issuance of the report, the
         independent fire inspector shall also require and approve a
         specific plan for correcting deficiencies, whether in fire safety
         or life safety, at the Gaming Facility or in the Tribe’s ability to
         meet the reasonably expected fire suppression needs of the
         Gaming Facility, including deficiencies identified by the State
         Gaming Agency’s representative. A copy of the report and plan
         of correction shall be delivered to the State Gaming Agency and
         the Tribal Gaming Agency. If the independent fire inspector
         disagrees with an allegation of deficiency by the State Gaming
         Agency’s representative, the Tribe may take the matter to
         dispute resolution pursuant to section 13.0.

   (5)   Immediately upon correction of all deficiencies identified in the
         report and plan of correction, the independent fire inspector
         shall certify in writing to the Tribal Gaming Agency and the
         State Gaming Agency that all deficiencies have been corrected.
   (6)   Any failure to correct all deficiencies identified in the report
         and plan of correction within a reasonable period of time shall
         be a violation of this Compact, and any failure to promptly
         correct those deficiencies that pose a serious or significant risk
         to the health or safety of any occupants shall be a violation of
         this Compact and grounds for the State to prohibit, pursuant to
         court order, occupancy of the affected portion of the Gaming
         Facility until the deficiency is corrected.

   (7)   Consistent with its obligation to ensure the safety of those
         within the Gaming Facility, the Tribe agrees to promptly notify
         the State Gaming Agency of circumstances that it reasonably
         believes pose a serious or significant risk to the health or safety
         of any occupants, and take prompt action to correct such
         circumstances. Any failure to remedy within a reasonable
         period of time any serious or significant risk to health or safety
         shall be deemed a violation of this Compact, and furthermore,
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               any circumstance that poses a serious or significant risk to the
               health or safety of any occupant shall be grounds for the State
               to seek a court order prohibiting occupancy of the affected
               portion of the Gaming Facility until the deficiency is corrected.

(k)      Notwithstanding anything in section 6.4.2 or elsewhere in this
         Compact, the construction requirements of any Gaming Facility that
         has taken place or has commenced prior to the effective date of this
         Compact shall be subject to the Gaming Facility license rules in
         section 6.4.2 of the 1999 Compact.

Sec. 6.4.3. Gaming Employees.
(a)      Every Gaming Employee shall obtain, and thereafter maintain current,
         a valid tribal gaming license and, except as provided in subdivision
         (b), shall obtain, and thereafter maintain current, a State Gaming
         Agency determination of suitability, which license and determination
         shall be subject to biennial renewal; provided that in accordance with
         section 6.4.9, those persons may be employed on a temporary or
         conditional basis pending completion of the licensing process and the
         State Gaming Agency determination of suitability.
(b)      The State Gaming Agency and the Tribal Gaming Agency shall
         identify those Gaming Employees who, in addition to a tribal gaming
         license, must also apply for, obtain, and maintain, a finding of
         suitability from the State Gaming Agency. The general principles
         governing those Gaming Employees who must have both a tribal
         gaming license and a finding of suitability from the State Gaming
         Agency are set forth below. Position titles of those Gaming
         Employees who must have both a tribal gaming license and a finding
         of suitability are to be negotiated between the State Gaming Agency
         and the Tribal Gaming Agency and placed on what is referred to as
         the Compact Key Employee Position List. A Gaming Employee who
         is required to obtain and maintain current a valid tribal gaming license
         under subdivision (a) is not required to obtain or maintain a State
         Gaming Agency determination of suitability if any of the following
         applies:

         (1)   A Gaming Employee shall not be placed on the Compact Key
               Employee Position List if the employee’s position title is
               subject to the licensing requirement of subdivision (a) solely
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               because he or she is a person who conducts, operates,
               maintains, repairs, or assists in Gaming Activities, provided that
               this exception shall not apply if he or she supervises Gaming
               Activities or persons who conduct, operate, maintain, repair,
               assist, account for or supervise any such Gaming Activity, and
               is empowered to make discretionary decisions affecting the
               conduct or operation of the Gaming Activities.

         (2)   A Gaming Employee shall not be placed on the Compact Key
               Employee Position List if the employee’s position title is
               subject to the licensing requirement of subdivision (a) solely
               because he or she is a person whose employment duties require
               or authorize access to areas of the Gaming Facility that are not
               open to the public, provided that this exception shall not apply
               if he or she supervises Gaming Activities or persons who
               conduct, operate, maintain, repair, assist, account for or
               supervise any such Gaming Activity, and is empowered to
               make discretionary decisions affecting the conduct or operation
               of the Gaming Activities.

         (3)   Members and employees of the Tribal Gaming Agency are not
               subject to a finding of suitability from the State Gaming
               Agency.
         (4)   The State Gaming Agency and the Tribal Gaming Agency
               agree to exempt a Gaming Employee from the requirement to
               obtain or maintain current a State Gaming Agency
               determination of suitability.
(c)      For those position titles not included on the Compact Key Employee
         Position List, notwithstanding subdivision (b), where the State
         Gaming Agency reasonably believes that licensure of an individual
         may pose a threat to gaming integrity or public safety, the State
         Gaming Agency may notify the Tribal Gaming Agency of its concerns
         and request a meeting with the Tribal Gaming Agency to review the
         tribal license application, and all materials and information received
         by the Tribal Gaming Agency in connection therewith, for any person
         whom the Tribal Gaming Agency has licensed, or proposes to license,
         as a Gaming Employee. Upon that request, the Tribal Gaming
         Agency shall meet with the State Gaming Agency and discuss such
         application and materials. If after the meeting the State Gaming
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         Agency continues to believe that the person would be unsuitable for
         issuance of a license or permit for a similar level of employment in a
         gambling establishment subject to the jurisdiction of the State, it shall
         notify the Tribal Gaming Agency of its determination and the reasons
         supporting its determination. The Tribal Gaming Agency shall
         thereafter conduct a hearing in accordance with section 6.5.5 to
         reconsider issuance of the tribal gaming license and shall notify the
         State Gaming Agency of its determination immediately upon issuing
         its decision following conclusion of the hearing, which decision shall
         be final unless the State Gaming Agency requests within thirty (30)
         days of such notification that the decision be made the subject of
         dispute resolution pursuant to section 13.0. This subdivision (c) is
         intended and anticipated to be exercised infrequently, if at all, on a
         case-by-case basis. Nothing in this subdivision (c) shall require the
         Tribal Gaming Agency to disclose or discuss any materials or
         information which are otherwise prohibited or restricted from
         disclosure under applicable federal law or regulation.

(d)      Except as provided in subdivision (e), the Tribe shall not employ, or
         continue to employ, any person whose application to the State
         Gaming Agency for a determination of suitability or for a renewal of
         such a determination has been denied or withdrawn, or whose
         determination of suitability has expired without renewal.
(e)      Notwithstanding subdivisions (b) and (c), the Tribe may employ or
         retain in its employ a person whose application for a determination of
         suitability, or for a renewal of such a determination, has been denied
         by the State Gaming Agency, if the person is an enrolled member of
         the Tribe (defined for purposes of this subdivision as a person who is
         a member of the Tribe as determined by the Tribe’s law), and if:
         (1)   The enrolled member of the Tribe holds a valid and current
               license issued by the Tribal Gaming Agency that must be
               renewed at least biennially;

         (2)   The enrolled member of the Tribe is not an employee or agent
               of any other gaming operation; and
         (3)   The denial of the application by the State Gaming Agency is
               based solely on activities, conduct, or associations that antedate,
               by at least five (5) years, the filing of the enrolled member of

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               the Tribe’s initial application to the State Gaming Agency for a
               determination of suitability.

(f)      At any time after five (5) years following the effective date of this
         Compact, either the Tribal Gaming Agency or the State Gaming
         Agency may request to amend the position titles identified on the
         Compact Key Employee Position List.

Sec. 6.4.4. Gaming Resource Suppliers.
(a)      Every Gaming Resource Supplier shall be licensed by the Tribal
         Gaming Agency prior to the sale, lease, or distribution, or further sale,
         lease, or distribution, of any Gaming Resources to or in connection
         with the Tribe’s Gaming Operation or Facility. Unless the Tribal
         Gaming Agency licenses the Gaming Resource Supplier pursuant to
         subdivision (d), the Gaming Resource Supplier shall also apply to the
         State Gaming Agency for a determination of suitability at least thirty
         (30) days prior to the sale, lease, or distribution, or further sale, lease,
         or distribution, of any Gaming Resources to or in connection with the
         Tribe’s Gaming Operation or Facility, except that for Gaming Devices
         the period specified under section 7.1, subdivision (a)(1) shall govern.
         The period during which a determination of suitability as a Gaming
         Resource Supplier is valid expires on the earlier of (i) the date two (2)
         years following the date on which the determination is issued, unless a
         different expiration date is specified by the State Gaming Agency, or
         (ii) the date of its revocation by the State Gaming Agency. If the
         State Gaming Agency denies or revokes a determination of suitability,
         the State Gaming Agency shall notify the Tribal Gaming Agency
         within seven (7) days of taking such action, and the Gaming Resource
         Supplier shall no longer be authorized to perform any work within or
         provide any goods or services to, in support of, or in connection with,
         the Tribe’s Gaming Operation or Facility thirty (30) days from the
         date on which the State Gaming Agency’s decision takes effect under
         State law. The license and determination of suitability shall be
         reviewed at least every two (2) years for continuing compliance. In
         connection with such a review, the Tribal Gaming Agency shall
         require the Gaming Resource Supplier to update all information
         provided in the previous application. For purposes of section 6.5.2,
         such a review shall be deemed to constitute an application for
         renewal.

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(b)      Any agreement between the Tribe and a Gaming Resource Supplier
         shall be deemed to include a provision for its termination without
         further liability on the part of the Tribe, except for the bona fide
         payment of all outstanding sums (exclusive of interest) owed as of, or
         payment for services or materials received up to, the date of
         termination, upon revocation or nonrenewal of the Gaming Resource
         Supplier’s license by the Tribal Gaming Agency based on a
         determination of unsuitability by the State Gaming Agency. Except
         as set forth above, the Tribe shall not enter into, or continue to make
         payments to a Gaming Resource Supplier pursuant to, any contract or
         agreement for the provision of Gaming Resources with any person or
         entity whose application to the State Gaming Agency for a
         determination of suitability has been denied or revoked or whose
         determination of suitability has expired without renewal.
(c)      Notwithstanding subdivision (a), the Tribal Gaming Agency may
         license a Management Contractor for a period of no more than seven
         (7) years, but the Management Contractor must still apply for renewal
         of a determination of suitability by the State Gaming Agency at least
         every two (2) years and where the State Gaming Agency denies or
         revokes a determination of suitability, the State Gaming Agency shall
         notify the Tribal Gaming Agency within seven (7) days of taking such
         action, and the Management Contractor shall no longer be authorized
         to perform any work within or provide any goods or services to, in
         support of, or in connection with the Tribe’s Gaming Operation thirty
         (30) days from the date on which the State Gaming Agency’s decision
         takes effect under state law. Except where the State Gaming Agency
         has determined a Management Contractor to be unsuitable, nothing in
         this subdivision shall be construed to bar the Tribal Gaming Agency
         from issuing additional new licenses to the same Management
         Contractor following the expiration of a seven (7)-year license.

(d)      The Tribal Gaming Agency may elect to license a person or entity as a
         Gaming Resource Supplier without requiring it to apply to the State
         Gaming Agency for a determination of suitability under subdivision
         (a) if the Gaming Resource Supplier has already been issued a
         determination of suitability that is then valid. In that case, and within
         seven (7) days of the issuance of the license, the Tribal Gaming
         Agency shall notify the State Gaming Agency of its licensure of the
         person or entity as a Gaming Resource Supplier, and shall identify in

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         its notification the State Gaming Agency determination of suitability
         on which the Tribal Gaming Agency has relied in proceeding under
         this subdivision (d). Subject to the Tribal Gaming Agency’s
         compliance with the requirements of this subdivision, a Gaming
         Resource Supplier licensed under this subdivision may, during and
         only during the period in which the determination of suitability
         remains valid, engage in the sale, lease, or distribution of Gaming
         Resources to or in connection with the Tribe’s Gaming Operation or
         Facility, without applying to the State Gaming Agency for a
         determination of suitability. The issuance of a license under this
         subdivision is in all cases subject to any later determination by the
         State Gaming Agency that the Gaming Resource Supplier is not
         suitable or to a tribal gaming license suspension or revocation
         pursuant to section 6.5.1, and does not extend the time during which
         the determination of suitability relied on by the Tribal Gaming
         Agency is valid. In the event the State Gaming Agency later revokes
         the determination of suitability relied on by the Tribal Gaming
         Agency, the State Gaming Agency shall notify the Tribal Gaming
         Agency of such revocation. Nothing in this subdivision affects the
         obligations of the Tribal Gaming Agency, or of the Gaming Resource
         Supplier, under sections 6.5.2 and 6.5.6 of this Compact.

(e)      Except where subdivision (d) applies, within twenty-one (21) days of
         the issuance of a license to a Gaming Resource Supplier, the Tribal
         Gaming Agency shall provide to the State Gaming Agency summary
         reports, including any derogatory information, of the background
         investigations conducted by the Tribal Gaming Agency and written
         statements by the Applicant.

Sec. 6.4.5. Financial Sources.
(a)      Subject to subdivision (h) of this section, each Financial Source shall
         be licensed by the Tribal Gaming Agency prior to the Financial
         Source extending financing in connection with the Tribe’s Gaming
         Facility or Gaming Operation.

(b)      Every Financial Source required to be licensed by the Tribal Gaming
         Agency shall, contemporaneously with the filing of its tribal license
         application, apply to the State Gaming Agency for a determination of
         suitability. In the event the State Gaming Agency denies or revokes
         the determination of suitability, the Tribal Gaming Agency shall deny
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         or revoke the Financial Source’s license within thirty (30) days of
         receiving notice of denial or revocation from the State Gaming
         Agency.

(c)      A license issued under this section shall be reviewed at least every
         two (2) years for continuing compliance. In connection with that
         review, the Tribal Gaming Agency shall require the Financial Source
         to update all information provided in the Financial Source’s previous
         application. For purposes of this section, that review shall be deemed
         to constitute an application for renewal.

(d)      Any agreement between the Tribe and a Financial Source shall
         include, and shall be deemed to include, a provision for its termination
         without further liability on the part of the Tribe, except for the bona
         fide repayment of all outstanding sums (exclusive of interest) owed as
         of the date of termination upon revocation or non-renewal of the
         Financial Source’s license by the Tribal Gaming Agency based on a
         determination of unsuitability by the State Gaming Agency. The
         Tribe shall not enter into, or continue to make payments to a Financial
         Source pursuant to, any contract or agreement for the provision of
         financing with any person or entity whose application to the State
         Gaming Agency for a determination of suitability has been denied or
         whose determination of suitability has been revoked or has expired
         without renewal.
(e)      A Gaming Resource Supplier who provides financing exclusively in
         connection with the provision, sale, or lease of Gaming Resources
         obtained from that Gaming Resource Supplier may be licensed solely
         in accordance with the licensing procedures applicable, if at all, to
         Gaming Resource Suppliers, and need not be separately licensed as a
         Financial Source under this section.
(f)      The Tribal Gaming Agency may elect to license a person or entity as a
         Financial Source without requiring it to apply to the State Gaming
         Agency for a determination of suitability under subdivision (b) if the
         Financial Source has already been issued a determination of suitability
         that is then valid. In that case, the Tribal Gaming Agency shall
         immediately notify the State Gaming Agency of its licensure of the
         person or entity as a Financial Source, and shall identify in its
         notification the State Gaming Agency determination of suitability on
         which the Tribal Gaming Agency has relied in proceeding under this
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      subdivision (f). Subject to the Tribal Gaming Agency’s compliance
      with the requirements of this subdivision, a Financial Source licensed
      under this subdivision may, during and only during the period in
      which the determination of suitability remains valid, engage in
      financing in connection with the Tribe’s Gaming Operation or
      Facility, without applying to the State Gaming Agency for a
      determination of suitability. The issuance of a license under this
      subdivision is in all cases subject to any later determination by the
      State Gaming Agency that the Financial Source is not suitable or to a
      tribal gaming license suspension or revocation pursuant to section
      6.5.1, and does not extend the time during which the determination of
      suitability relied on by the Tribal Gaming Agency is valid. A license
      issued under this subdivision expires upon the revocation or
      expiration of the determination of suitability relied on by the Tribal
      Gaming Agency. Nothing in this subdivision affects the obligations
      of the Tribal Gaming Agency, or of the Financial Source, under
      section 6.5.2 and section 6.5.6 of this Compact.

(g)   Except where subdivision (f) applies, within twenty-one (21) days of
      the issuance of a license to a Financial Source, the Tribal Gaming
      Agency shall transmit to the State Gaming Agency a copy of the
      license and a copy of all tribal license application materials and
      information received by it from the Applicant that is not otherwise
      prohibited or restricted from disclosure under applicable federal law
      or regulation.

(h)   (1)   The Tribal Gaming Agency may, at its discretion, exclude from
            the licensing requirements of this section the following
            Financial Sources under the circumstances stated:
            (A)   Any federally-regulated or state-regulated bank, savings
                  and loan association, or other federally- or state-regulated
                  lending institution and any fund or other investment
                  vehicle, including, without limitation, a bond indenture
                  or syndicated loan, which is administered or managed by
                  any such entity.
            (B)   An entity identified by the Commission’s Uniform
                  Statewide Tribal Gaming Regulation CGCC-2,
                  subdivision (f) (as in effect on the date the parties
                  execute this Compact), when that entity is a Financial
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               Source solely by reason of being (i) a purchaser or a
               holder of debt securities or other forms of indebtedness
               issued directly or indirectly by the Tribe for a Gaming
               Facility or for the Gaming Operation or (ii) the owner of
               a participation interest in any amount of indebtedness for
               which a Financial Source described in subdivision
               (h)(l)(A), or any fund or other investment vehicle that is
               administered or managed by any such Financial Source,
               is the creditor.

         (C)   Any investor who, alone or together with any person(s)
               controlling, controlled by or under common control with
               such investor, holds less than ten percent (10%) of all
               outstanding debt securities or other forms of indebtedness
               issued directly or indirectly by the Tribe for a Gaming
               Facility or for the Gaming Operation.
         (D)   Any agency of the federal government, or of a tribal,
               state or local government providing financing, together
               with any person purchasing any debt securities or other
               forms of indebtedness of the agency to provide such
               financing.

         (E)   A real estate investment trust (as defined in 26 U.S.C.
               § 856(a)) that is publicly traded on a stock exchange,
               registered with the Securities and Exchange Commission,
               and subject to the regulatory oversight of the Securities
               and Exchange Commission.
         (F)   An entity or category of entities that the State Gaming
               Agency and the Tribal Gaming Agency jointly determine
               can be excluded from the licensing requirements of this
               section without posing a threat to the public interest or
               the integrity of the Gaming Operation.
   (2)   In any case where the Tribal Gaming Agency elects pursuant to
         subdivision (h)(1) to exclude a Financial Source from the
         licensing requirements of this section, the Tribal Gaming
         Agency shall give thirty (30) days’ notice thereof to the State
         Gaming Agency, and shall give the State Gaming Agency
         reasonable advance notice of any extension of financing by the

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         Financial Source in connection with the Tribe’s Gaming
         Operation or Facility, and upon request of the State Gaming
         Agency, shall provide it with sufficient documentation to
         support the Tribal Gaming Agency’s exclusion of the Financial
         Source from the licensing requirements of this section. If the
         thirty (30)-day notice period required under this subdivision
         would have the potential to inhibit the ability of the Tribe to
         access financing by an excluded Financial Source, the Tribe
         may request a waiver of this notice period, which the State
         Gaming Agency shall have the authority to grant.

   (3)   The Tribal Gaming Agency and the State Gaming Agency shall
         work collaboratively to resolve any reasonable concerns
         regarding the initial or ongoing excludability of an individual or
         entity as a Financial Source. If the State Gaming Agency finds
         that an investigation of any Financial Source is warranted, the
         Financial Source shall be required to submit an application for a
         determination of suitability to the State Gaming Agency and
         shall pay the costs and charges incurred in the investigation and
         processing of the application, in accordance with the provisions
         set forth in California Business and Professions Code sections
         19867 and 19951. Any dispute between the Tribal Gaming
         Agency and the State Gaming Agency pertaining to the
         excludability of an individual or entity as a Financial Source
         shall be resolved by the dispute resolution provisions in section
         13.0.

   (4)   The following are not Financial Sources for purposes of this
         section.

         (A)   An entity identified by the Commission’s Uniform
               Statewide Tribal Gaming Regulation CGCC-2,
               subdivision (h) (as in effect on the effective date of this
               Compact).
         (B)   A person or entity whose sole connection with a
               provision or extension of financing to the Tribe is to
               provide loan brokerage or debt servicing for a Financial
               Source at no cost to the Tribe or the Gaming Operation,
               provided that no portion of any financing provided is an

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                      extension of credit to the Tribe or the Gaming Operation
                      by that person or entity.

               (C)    A person or entity that the State Gaming Agency has
                      determined does not require licensure pursuant to any
                      process the State Gaming Agency deems necessary due
                      to the nature of financing services provided, the existence
                      of current and effective federal or state agency oversight
                      or licensure, attenuated interests of the person or entity as
                      passive investors without the ability to exert significant
                      influence over the Gaming Operation, or other grounds
                      that alleviate the need for licensure that, subject to its
                      responsibilities under state law, the State Gaming
                      Agency determines are appropriate.
(i)      In recognition of changing financial circumstances, this section shall
         be subject to good-faith renegotiation by the Tribe and the State, upon
         the request of either party; provided that the renegotiation shall not
         retroactively affect transactions that have already taken place where
         the Financial Source has been excluded or exempted from licensing
         requirements.

Sec. 6.4.6. Processing Tribal Gaming License Applications.
(a)      Each Applicant for a tribal gaming license shall submit the completed
         application along with the required information and an application fee,
         if required, to the Tribal Gaming Agency in accordance with the rules
         and regulations of that agency.
(b)      At a minimum, the Tribal Gaming Agency shall require submission
         and consideration of all information required under IGRA, including
         part 556.4 of title 25 of the Code of Federal Regulations, for licensing
         primary management officials and key employees.

(c)      For Applicants that are business entities, these licensing provisions
         shall apply to the entity as well as: (i) each of its officers, limited
         liability company members, and directors; (ii) each of its principal
         management employees, including any chief executive officer, chief
         financial officer, chief operating officer, and general manager; (iii)
         each of its owners or partners, if an unincorporated business; (iv) each
         of its shareholders who owns more than ten percent (10%) of the

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         shares of the corporation, if a corporation, or who has a direct
         controlling interest in the Applicant; and (v) each person or entity
         (other than a Financial Source that the Tribal Gaming Agency has
         determined does not require a license under section 6.4.5) that, alone
         or in combination with others, has provided financing in connection
         with any Gaming Operation or Class III Gaming authorized under this
         Compact, if that person or entity provided more than ten percent
         (10%) of either the start-up capital or the operating capital, or of a
         combination thereof, over a twelve (12)-month period. For purposes
         of this subdivision, where there is any commonality of the
         characteristics identified in this section 6.4.6, subdivision (c)(i)
         through (v), inclusive, between any two (2) or more entities, those
         entities may be deemed to be a single entity. For purposes of this
         subdivision, a direct controlling interest in the Applicant referred to in
         subdivision (c)(iv) excludes any passive investor or anyone who has
         an indirect or only a financial interest and does not have the ability to
         control, manage, or direct the management decisions of the Applicant.

(d)      Nothing herein precludes the Tribe or Tribal Gaming Agency from
         requiring more stringent licensing requirements.

Sec. 6.4.7. Suitability Standard Regarding Gaming Licenses.
(a)      In reviewing an application for a tribal gaming license, and in addition
         to any standards set forth in the Gaming Ordinance, the Tribal
         Gaming Agency shall consider whether issuance of the license is
         inimical to public health, safety, or welfare, and whether issuance of
         the license will undermine public trust that the Gaming Operation is
         free from criminal and dishonest elements and would be conducted
         honestly.
(b)      A license may not be issued unless, based on all information and
         documents submitted, the Tribal Gaming Agency is satisfied that the
         Applicant, and in the case of an entity, each individual identified in
         section 6.4.6, subdivision (c), meets all of the following requirements:

         (1)   The person is of good character, honesty, and integrity.
         (2)   The person’s prior activities, criminal record (if any),
               reputation, habits, and associations do not pose a threat to the
               public interest or to the effective regulation and control of

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               gaming, or create or enhance the dangers of unsuitable, unfair,
               or illegal practices, methods, or activities in the conduct of
               gaming, or in the carrying on of the business and financial
               arrangements incidental thereto.

         (3)   The person is in all other respects qualified to be licensed as
               provided, and meets the criteria established in this Compact,
               IGRA, NIGC regulations, the Gaming Ordinance, and any other
               criteria adopted by the Tribal Gaming Agency or the Tribe;
               provided, however, an Applicant shall not be found to be
               unsuitable solely on the ground that the Applicant was an
               employee of a tribal gaming operation in California that was
               conducted prior to May 16, 2000.

Sec. 6.4.8. Background Investigations of Applicants.
(a)      As set forth in the Tribe’s Gaming Ordinance, the Tribal Gaming
         Agency is responsible for conducting and the Tribe agrees that the
         Tribal Gaming Agency shall conduct or cause to be conducted all
         necessary background investigations reasonably required to determine
         that the Applicant is qualified for a gaming license under the
         standards set forth in section 6.4.7, and to fulfill all applicable
         requirements for licensing under IGRA, NIGC regulations, the
         Gaming Ordinance, and this Compact. The Tribal Gaming Agency
         may issue a temporary license pursuant to section 6.4.9, until a
         determination is made that those qualifications have been met, at
         which time a license may be issued under this provision.
(b)      In lieu of obtaining summary criminal history information from the
         NIGC, the Tribal Gaming Agency may, pursuant to the provisions in
         subdivisions (b) through (h), obtain such information from the
         California Department of Justice. If the Tribe adopts an ordinance
         confirming that article 6 (commencing with section 11140) of chapter
         1 of title 1 of part 4 of the California Penal Code is applicable to
         members, investigators, and staff of the Tribal Gaming Agency, and
         those members, investigators, and staff thereafter comply with that
         ordinance, then, for purposes of carrying out its obligations under this
         section, the Tribal Gaming Agency shall be eligible to be considered
         an entity entitled to request and receive state summary criminal
         history information, within the meaning of subdivision (b)(13) of
         section 11105 of the California Penal Code.
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(c)      The information received shall be used by the Tribal Gaming Agency
         solely for the purpose for which it was requested and shall not be
         reproduced for secondary dissemination to any other employment or
         licensing agency. Additionally, any person intentionally disclosing
         information obtained from personal or confidential records maintained
         by a state agency or from records within a system of records
         maintained by a government agency may be subject to prosecution.

(d)      For purposes of subdivision (b), the Tribal Gaming Agency shall
         submit to the California Department of Justice fingerprint images and
         related information required by the California Department of Justice
         of all Applicants for the purposes of obtaining information as to the
         existence and content of a record of state or federal convictions and
         state or federal arrests and also information as to the existence and
         content of a record of state or federal arrests for which the California
         Department of Justice establishes that the person is free on bail or on
         his or her recognizance pending trial or appeal.
(e)      When received, the California Department of Justice shall forward to
         the Federal Bureau of Investigation requests for federal summary
         criminal history information received pursuant to this section. The
         California Department of Justice shall review the information returned
         from the Federal Bureau of Investigation and compile and disseminate
         a response to the Tribal Gaming Agency.
(f)      The California Department of Justice shall provide a state or federal
         level response to the Tribal Gaming Agency pursuant to California
         Penal Code section 11105, subdivision (p)(1).
(g)      For persons described in subdivision (d), the Tribal Gaming Agency
         shall request from the California Department of Justice subsequent
         notification service, as provided pursuant to section 11105.2 of the
         California Penal Code.

(h)      The California Department of Justice shall charge a fee sufficient to
         cover the cost of processing the request described in this section.

Sec. 6.4.9. Temporary Licensing.
(a)      If the Applicant has completed a license application in a manner
         satisfactory to the Tribal Gaming Agency, and that agency has
         conducted a preliminary background investigation, and the
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               investigation or other information held by that agency does not
               indicate that the Applicant has a criminal history or other information
               in his or her background that would either automatically disqualify the
               Applicant from obtaining a tribal gaming license or cause a reasonable
               person to investigate further before issuing a license, or that the
               Applicant is otherwise unsuitable for licensing, the Tribal Gaming
               Agency may issue a temporary tribal gaming license and may impose
               such specific conditions thereon pending completion of the
               Applicant’s background investigation, as the Tribal Gaming Agency
               in its sole discretion shall determine.

      (b)      Special fees may be required by the Tribal Gaming Agency to issue or
               maintain a temporary tribal gaming license.

      (c)      A temporary tribal gaming license, issued in accordance with the
               Tribal Gaming Ordinance, shall remain in effect until suspended or
               revoked, or a final determination is made on the application by the
               Tribal Gaming Agency, or for a period of up to one (1) year,
               whichever comes first.

      (d)      At any time after issuance of a temporary tribal gaming license, the
               Tribal Gaming Agency shall or may, as the case may be, suspend or
               revoke it in accordance with the provisions of sections 6.5.1 or 6.5.5,
               and the State Gaming Agency may request suspension or revocation
               before making a determination of unsuitability.

      (e)      Nothing herein shall be construed to relieve the Tribe of any
               obligation under part 558 of title 25 of the Code of Federal
               Regulations.

      Sec. 6.5. Tribal Gaming License Issuance.
       Upon completion of the necessary background investigation, the Tribal
Gaming Agency may issue a tribal gaming license on a conditional or
unconditional basis. Nothing herein shall create a property or other right of an
Applicant in an opportunity to be licensed, or in a tribal gaming license itself, both
of which shall be considered to be privileges granted to the Applicant in the sole
discretion of the Tribal Gaming Agency.




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Sec. 6.5.1. Denial, Suspension, or Revocation of Licenses.
(a)      Any Applicant’s application for a tribal gaming license may be
         denied, and any license issued may be revoked, if the Tribal Gaming
         Agency determines that the application is incomplete or deficient, or
         if the Applicant is determined to be unsuitable or otherwise
         unqualified for a tribal gaming license.
(b)      Pending consideration of revocation, the Tribal Gaming Agency may
         suspend a tribal gaming license in accordance with section 6.5.5.

(c)      All rights to notice and hearing shall be governed by tribal law. The
         Applicant shall be notified in writing of any hearing and given notice
         of any intent to suspend or revoke the tribal gaming license.
(d)      Except as provided in subdivision (e), upon receipt of notice that the
         State Gaming Agency has determined that a person would be
         unsuitable for licensure in a gambling establishment subject to the
         jurisdiction of the State Gaming Agency, the Tribal Gaming Agency
         shall deny that person a tribal gaming license and promptly, and in no
         event more than sixty (60) days from the State Gaming Agency
         notification, revoke any tribal gaming license that has theretofore been
         issued to that person; provided that the Tribal Gaming Agency may, in
         its discretion, reissue a tribal gaming license to the person following
         entry of a final judgment reversing the determination of the State
         Gaming Agency in a proceeding between the Applicant and the State
         Gaming Agency in state court conducted pursuant to section 1085 or
         1094.5 of the California Code of Civil Procedure, as provided by the
         California Gambling Control Act.
(e)      Notwithstanding a determination of unsuitability by the State Gaming
         Agency, the Tribal Gaming Agency may, in its discretion, decline to
         revoke a tribal gaming license issued to a person employed by the
         Tribe pursuant to section 6.4.3, subdivision (e).

Sec. 6.5.2. Renewal of Licenses; Extensions; Further Investigation.
(a)      Except as provided in section 6.4.4, subdivision (c), the term of a
         tribal gaming license shall not exceed two (2) years, and application
         for renewal of a license must be made prior to its expiration.
         Applicants for renewal of a tribal gaming license shall provide
         updated material, as requested, on the appropriate renewal forms, but,
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         at the discretion of the Tribal Gaming Agency, may not be required to
         resubmit historical data previously submitted or that is otherwise
         available to the Tribal Gaming Agency. At the discretion of the
         Tribal Gaming Agency, an additional background investigation may
         be required at any time if the Tribal Gaming Agency determines the
         need for further information concerning the Applicant’s continuing
         suitability or eligibility for a license.

(b)      To assist the State Gaming Agency with its consideration of renewal
         of its determination of suitability of all those on the Compact Key
         Employee Position List, a Gaming Resource Supplier, or a Financial
         Source, before renewing that Applicant’s tribal gaming license the
         Tribal Gaming Agency will provide the State Gaming Agency copies
         of all information and documents received in connection with the
         application for renewal of the tribal gaming license that is not
         otherwise prohibited or restricted from disclosure under applicable
         federal law or regulation, including the federal Criminal Justice
         Information Services (CJIS) Security Policy, Version 5.9, dated June
         1, 2020, as it may be amended, for purposes of the State Gaming
         Agency’s review of such Applicants.
(c)      For those Applicants for a position identified on the Compact Key
         Employee Position List who are currently employed by the Tribe
         pursuant to section 6.4.3, subdivision (e), after the State Gaming
         Agency receives the information required by subdivision (b) and
         informs the Tribal Gaming Agency that the employee still meets the
         requirements of section 6.4.3, subdivision (e), the Applicant shall not
         be subject to the State Gaming Agency’s consideration of renewal of
         its determination of suitability.

Sec. 6.5.3. Identification Cards.
(a)      The Tribe agrees that the Tribal Gaming Agency will require that all
         persons who are required to be licensed wear, in plain view at all
         times while in the Gaming Facility, identification badges issued by the
         Tribal Gaming Agency. The Tribal Gaming Agency may allow
         temporary exceptions to this provision for the purposes of authorizing
         investigators who are actively investigating a matter within the
         Gaming Facility to monitor Gaming Activities.



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      (b)      Identification badges must display information, including, but not
               limited to, a photograph and an identification number that is adequate
               to enable agents of the Tribal Gaming Agency to readily identify the
               person and determine the validity and date of expiration of his or her
               license.

      (c)      The Tribe shall upon request provide the State Gaming Agency with
               the name, badge identification number, and job title of all Gaming
               Employees.

      Sec. 6.5.4. Fees for Tribal Gaming License.
      As a matter of tribal law, the fees for all tribal gaming licenses shall be set
by the Tribal Gaming Agency.

      Sec. 6.5.5. Summary Suspension of Tribal Gaming License.
       The Tribal Gaming Agency may summarily suspend the tribal gaming
license of any licensee if the Tribal Gaming Agency determines that the continued
licensing of the person could constitute a threat to the public health or safety or
may violate the Tribal Gaming Agency’s licensing or other standards. The Tribe
agrees that the Tribal Gaming Agency shall notify the State Gaming Agency
within seven (7) days of any such determination. Any right to notice or hearing in
regard thereto shall be governed by tribal law.

      Sec. 6.5.6. State Determination of Suitability Process.
      (a)      The Tribe agrees that the State has its own interests in ensuring that
               certain Applicants be found suitable. For those Applicants as to
               whom or which a determination of suitability is required, the Tribe
               agrees to direct the Tribal Gaming Agency to transmit to the State
               Gaming Agency the Applicant’s completed license application within
               sixty (60) days of the Tribal Gaming Agency’s finding of suitability.
               The Tribal Gaming Agency will provide the State Gaming Agency
               with a notice of intent to license the Applicant, together with all of the
               following:

               (1)   A copy of all tribal license application materials and
                     information received by the Tribal Gaming Agency from the
                     Applicant that is not otherwise prohibited or restricted from
                     disclosure under applicable federal law or regulation;

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         (2)   An original, complete set of fingerprint impressions, rolled by a
               California state-certified fingerprint roller or by a person
               exempt from state certification pursuant to California Penal
               Code section 11102.1, subdivision (a)(2), and which may be on
               a fingerprint card or obtained and transmitted electronically;

         (3)   A current photograph; and
         (4)   Except to the extent waived by the State Gaming Agency, such
               releases of information, waivers, and other completed and
               executed forms as have been obtained by the Tribal Gaming
               Agency.

(b)      Upon receipt of a written request from a Gaming Resource Supplier or
         a Financial Source for a determination of suitability, the State Gaming
         Agency shall transmit an application package to the Applicant to be
         completed and returned to the State Gaming Agency for purposes of
         allowing it to make a determination of suitability for licensure.
(c)      Investigation and disposition of applications for a determination of
         suitability by the State Gaming Agency shall be governed entirely by
         California state law, and the State Gaming Agency shall determine
         whether the Applicant would be found suitable for licensure in a
         gambling establishment subject to the State Gaming Agency’s
         jurisdiction. Additional information may be required from the
         Applicant by the State Gaming Agency to assist it in its background
         investigation, to the extent permitted under state law for licensure in a
         gambling establishment subject to the State Gaming Agency’s
         jurisdiction.
(d)      The Tribal Gaming Agency shall require a licensee required by this
         Compact to obtain a State Gaming Agency determination of
         suitability to apply for renewal of a determination of suitability by the
         State Gaming Agency at such time as the licensee applies for renewal
         of a tribal gaming license.
(e)      Upon receipt of completed license or license renewal application
         information from the Applicant or the Tribal Gaming Agency, the
         State Gaming Agency may conduct a background investigation
         pursuant to state law to determine whether the Applicant is suitable to
         be licensed. The Tribal Gaming Agency agrees to provide to the State

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         Gaming Agency summary reports, including any derogatory
         information, of the background investigations conducted by the Tribal
         Gaming Agency, written statements by the Applicant and any related
         applications. While the Tribal Gaming Agency shall ordinarily be the
         primary source of application information, the State Gaming Agency
         is authorized to directly seek application information from the
         Applicant. If further investigation is required to supplement the
         investigation conducted by the Tribal Gaming Agency, and the
         Applicant is a Gaming Resource Supplier or a Financial Source, the
         Applicant will be required to pay the application fee charged by the
         State Gaming Agency pursuant to California Business and Professions
         Code section 19951, subdivision (a), but any deposit requested by the
         State Gaming Agency pursuant to section 19867 of that code shall
         take into account reports of the background investigation already
         conducted by the Tribal Gaming Agency and the NIGC, if any.
         Failure to provide information reasonably required by the State
         Gaming Agency to complete its investigation under California law or
         failure to pay the application fee or deposit can constitute grounds for
         denial of the application by the State Gaming Agency. The State
         Gaming Agency and Tribal Gaming Agency shall cooperate in
         sharing as much background information as possible, both to
         maximize investigative efficiency and thoroughness, and to minimize
         investigative costs.

(f)      Upon completion of the necessary background investigation or other
         verification of suitability, the State Gaming Agency shall issue a
         notice to the Tribal Gaming Agency certifying that the State has
         determined that the Applicant is suitable, or that the Applicant is
         unsuitable, for licensure and, if unsuitable, stating the reasons
         therefore. Issuance of a determination of suitability does not preclude
         the State Gaming Agency from a subsequent determination based on
         newly discovered information that a person or entity is unsuitable for
         the purpose for which the person or entity is licensed.
(g)      Prior to denying an application for a determination of suitability, or to
         issuing notice to the Tribal Gaming Agency that a person or entity
         previously determined to be suitable has been determined unsuitable
         for licensure, the State Gaming Agency shall notify the Tribal Gaming
         Agency and afford the Tribe an opportunity to be heard before any
         decision is made. If the State Gaming Agency denies an application

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         for a determination of suitability, or issues notice that a person or
         entity previously determined suitable has been determined unsuitable
         for licensure, the State Gaming Agency shall provide that person or
         entity with written notice of all appeal rights available under state law.

(h)      Upon receipt of notice that the State Gaming Agency has determined
         that a person or entity is or would be unsuitable for licensure, except
         as provided in section 6.4.3, subdivision (e), the Tribal Gaming
         Agency shall deny that person or entity a license, or immediately
         suspend or revoke that person’s or entity’s license, as provided in
         section 6.5.1. Any right to notice or hearing in regard thereto shall be
         governed by tribal law. Thereafter, the Tribal Gaming Agency shall
         revoke any tribal gaming license that has theretofore been issued to
         that person.
(i)      The Tribal Gaming Agency may, in its discretion, reissue a tribal
         gaming license to the person or entity following entry of a final
         judgment reversing the determination of the State Gaming Agency in
         a proceeding in state court between the Applicant and the State
         Gaming Agency conducted pursuant to section 1085 or 1094.5 of the
         California Code of Civil Procedure, as provided by the California
         Gambling Control Act.

(j)      The Commission, or its successor, shall maintain a roster of Gaming
         Resource Suppliers and Financial Sources that it has determined to be
         suitable pursuant to the provisions of this section, or through separate
         procedures to be adopted by the Commission. Upon application to the
         Tribal Gaming Agency for a tribal gaming license, a Gaming
         Resource Supplier that appears on the Commission’s suitability roster
         may be licensed by the Tribal Gaming Agency under section 6.4.4,
         subdivision (d), and a Financial Source that appears on the
         Commission’s suitability roster may be licensed by the Tribal Gaming
         Agency under section 6.4.5, subdivision (f), subject to any later
         determination by the State Gaming Agency that the Gaming Resource
         Supplier or Financial Source is not suitable or to a tribal gaming
         license suspension or revocation pursuant to sections 6.5.1 or 6.5.5;
         provided that nothing in this subdivision exempts the Gaming
         Resource Supplier or Financial Source from applying for a renewal of
         a State Gaming Agency determination of suitability.


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      Sec. 6.6. Submission of New Application.
       Nothing in section 6.0 shall be construed to preclude an Applicant who has
been determined to be unsuitable for licensure by the State Gaming Agency, or the
Tribe on behalf of such Applicant, from later submitting a new application for a
determination of suitability by the State Gaming Agency in accordance with
section 6.0, provided that the Applicant may not commence duties or activities
until found suitable by the State Gaming Agency.

SECTION 7.0. APPROVAL AND TESTING OF GAMING DEVICES.

      Sec. 7.1. Gaming Device Approval.
      (a)      No Gaming Device may be offered for play unless all of the following
               occurs:
               (1)   The manufacturer or distributor that sells, leases, or distributes
                     such Gaming Device (i) has applied for a determination of
                     suitability by the State Gaming Agency at least fifteen (15)
                     days before it is offered for play, (ii) has not been found to be
                     unsuitable by the State Gaming Agency, and (iii) has been
                     licensed by the Tribal Gaming Agency;

               (2)   The software for each game authorized for play on the Gaming
                     Device has been tested, approved and certified by an
                     independent gaming test laboratory or state or national
                     governmental gaming test laboratory (Gaming Test Laboratory)
                     as operating in accordance with technical standards that meet or
                     exceed industry standards;

               (3)   A copy of the certification by the Gaming Test Laboratory,
                     specified in subdivision (a)(2), is provided to the State Gaming
                     Agency by electronic transmission or by mail, unless the State
                     Gaming Agency waives receipt of copies of the certification;
               (4)   The software for the games authorized for play on the Gaming
                     Device is tested by the Tribal Gaming Agency to ensure each
                     game authorized for play on the Gaming Device has the correct
                     electronic signature prior to insertion into the Gaming Device,
                     or if the software is to be installed on a server to which one (1)
                     or more Gaming Devices will be connected, prior to the
                     connection of any Gaming Devices to the server;
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         (5)   The hardware and associated equipment for each type of
               Gaming Device has been tested by the Gaming Test Laboratory
               prior to operation by the public to ensure operation in
               accordance with the standards established by the Tribal Gaming
               Agency that meet or exceed industry standards; and

         (6)   The hardware and associated equipment for the Gaming Device
               has been tested by the Tribal Gaming Agency to confirm
               operation in accordance with the manufacturer’s specifications.

(b)      If either the Tribal Gaming Agency or the State Gaming Agency
         requests new standards for testing, approval, and certification of the
         software for the game authorized for play on the Gaming Device
         pursuant to subdivision (a)(2), the party requesting the new standards
         shall provide the other party with a detailed explanation of the
         reason(s) for the request. If the party to which the request is made
         disagrees with the request, the State Gaming Agency and the Tribal
         Gaming Agency shall meet and confer in a good-faith effort to resolve
         the disagreement, which meeting and conferring shall include
         consultation with a Gaming Test Laboratory. If the disagreement is
         not resolved within one hundred twenty (120) days after the initial
         meeting between the regulators to discuss the matter, either the Tribe
         or the State may submit the matter to dispute resolution under section
         13.0 of this Compact.

Sec. 7.2. Gaming Test Laboratory Selection.
(a)      The Gaming Test Laboratory shall be an independent commercial
         gaming test laboratory that is (i) recognized in the gaming industry as
         competent and qualified to conduct scientific tests and evaluations of
         Gaming Devices, and (ii) licensed or approved by any state or tribal
         government within the jurisdiction of which the operation of Gaming
         Devices is authorized. At least thirty (30) days before the
         commencement of Gaming Activities pursuant to this Compact, or if
         such use follows the commencement of Gaming Activities, at least
         fifteen (15) days prior to reliance thereon, the Tribal Gaming Agency
         shall submit to the State Gaming Agency documentation that
         demonstrates the Gaming Test Laboratory satisfies (i) and (ii) herein.
         If, at any time, the Gaming Test Laboratory license and/or approval
         required by (ii) is suspended or revoked by any of those jurisdictions
         or the Gaming Test Laboratory is found unsuitable by the State
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               Gaming Agency, then the State Gaming Agency may reject the use of
               that Gaming Test Laboratory, and upon such rejection, the Tribal
               Gaming Agency shall ensure that the Gaming Test Laboratory
               discontinues its responsibilities under section 7.0. Any such
               suspension, revocation, or determination of unsuitability shall not
               affect the Tribe’s right to continue operating Gaming Devices that had
               been tested and evaluated by that Gaming Test Laboratory, but
               Gaming Devices tested, evaluated and approved by that Gaming Test
               Laboratory shall be re-tested, re-evaluated and re-approved by a
               substitute Gaming Test Laboratory within sixty (60) days from the
               date on which the Tribal Gaming Agency is notified of the
               suspension, revocation, or determination of unsuitability, or if
               circumstances require, any other reasonable timeframe as may be
               mutually agreed to by the Tribal Gaming Agency and the State
               Gaming Agency.

      (b)      The Tribe and the State Gaming Agency shall inform the Gaming Test
               Laboratory in writing that, irrespective of the source of payment of its
               fees, the Gaming Test Laboratory’s duty of loyalty runs equally to the
               State and the Tribe; provided, that if the State Gaming Agency
               requests that the Gaming Test Laboratory perform additional work,
               the State Gaming Agency shall be solely responsible for the cost of
               such additional work.

      Sec. 7.3. Maintenance of Records of Testing Compliance.
       The Tribal Gaming Agency agrees to prepare and maintain records of its
compliance with section 7.1 while any Gaming Device is on the gaming floor and
for a period of one (1) year after the Gaming Device is removed from the gaming
floor, and make those records available for inspection by the State Gaming Agency
upon request.

      Sec. 7.4. State Gaming Agency Inspections.
      (a)      The State Gaming Agency may inspect the Gaming Devices in
               operation at a Gaming Facility on a random basis to confirm that they
               operate and play properly pursuant to applicable technical standards.
               The inspection may be conducted onsite or remotely as a desk audit
               and include all Gaming Device software, hardware, associated
               equipment, software maintenance records, and components critical to
               the operation of the Gaming Device. The State Gaming Agency shall

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         make a good-faith effort to work with the Tribal Gaming Agency to
         minimize unnecessary disruption to the Gaming Operation including,
         where appropriate, performing desk audits rather than onsite physical
         inspections. If the State Gaming Agency determines that an
         irregularity or finding in a prior inspection establishes a basis to return
         to the Gaming Facility for additional inspections, it shall immediately
         provide the Tribal Gaming Agency the basis for such finding and an
         opportunity for the issue to be resolved without an additional
         inspection. The State Gaming Agency may conduct up to two (2)
         additional inspections if a proper basis for such inspections has been
         established through a record of irregularities or negative findings in
         prior inspections. If the Tribal Gaming Agency does not agree with
         the State’s allegations of an irregularity or negative finding arising
         from a prior inspection, the matter shall be resolved in accordance
         with the dispute resolution provisions of section 13.0.

(b)      The Tribal Gaming Agency shall cooperate with the State Gaming
         Agency’s reasonable efforts to obtain information that facilitates the
         conduct of remote but effective inspections that minimize disruption
         to Gaming Activities. If the State Gaming Agency determines that
         more than one (1) annual onsite inspection is necessary or appropriate,
         it will provide the Tribal Gaming Agency with the basis for its
         determination that additional onsite inspections are justified, as set
         forth above. If the State Gaming Agency requires more than one (1)
         annual onsite inspection in successive years, the State and the Tribe
         may meet and confer to discuss the basis for such determinations.
         During each random inspection, the State Gaming Agency may not
         remove a Gaming Device from play, except during inspection or
         testing, unless it obtains the concurrence of the Tribal Gaming
         Agency, which shall not be unreasonably withheld.

(c)      Whenever practicable, the State Gaming Agency shall not require
         removal from play any Gaming Device that the State Gaming Agency
         determines may be fully and adequately tested while still in play. The
         inspections may include all Gaming Device software, hardware,
         associated equipment, software and hardware maintenance and testing
         records, and components critical to the operation of the Gaming
         Device. The random inspections conducted pursuant to this section
         shall occur during normal business hours outside of weekends and
         holidays and shall not remove from play more than five percent (5%)

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         of the Gaming Devices then in operation at the Gaming Facility,
         provided that the five percent (5%) limitation on removal of Gaming
         Devices shall not apply where a Gaming Device, including but not
         limited to a progressive controller, makes limiting removal from play
         to no more than five percent (5%) infeasible or impossible.

(d)      To minimize unnecessary disruption to the Gaming Operation, rather
         than conducting on-site inspections, the State Gaming Agency may
         perform desk audits of the Tribe’s Gaming Devices currently in
         operation. Upon receipt of notice from the State Gaming Agency of
         the intent to conduct a desk audit, the Tribal Gaming Agency shall
         provide the State Gaming Agency with a list of all of the Tribe’s
         Gaming Devices currently in operation, together with the information
         for each such Gaming Device that supports a desk audit. This
         information shall include, but is not limited to, the following:
         (1)   Manufacturer;
         (2)   Game name or theme;
         (3)   Serial number;

         (4)   Machine or asset number;
         (5)   Location;

         (6)   Denomination;
         (7)   Slot type (e.g., video, reel);

         (8)   Progressive type (e.g., stand alone, linked, wide area
               progressive);

         (9)   Software ID number for all certified software in the Gaming
               Device, including game, base or system, boot chips and
               communication chip; and

         (10) Any other information deemed relevant and appropriate by the
              State Gaming Agency and the Tribal Gaming Agency.

(e)      The State Gaming Agency shall provide notice to the Tribal Gaming
         Agency of its intent to conduct any on-site Gaming Device inspection
         with prior notice sufficient to afford the presence of proper staffing
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               and, where applicable, manufacturer’s representatives, to ensure the
               overall efficiency of the inspection process. The inspection shall not
               be unreasonably delayed and must take place within thirty (30) days
               of notification unless the Tribal Gaming Agency and the State
               Gaming Agency agree otherwise.

      (f)      The State Gaming Agency may retain and use qualified consultants to
               perform the functions authorized or specified herein but any such
               consultants shall be bound by the confidentiality and information use
               and disclosure provisions applicable to the State Gaming Agency and
               its employees. The State Gaming Agency shall ensure that any
               consultants retained by it have met the standards and requirements,
               including any background investigations, established by applicable
               regulations governing contract employees prior to participating in any
               matter under this Compact. The State Gaming Agency shall also take
               all reasonable steps to ensure that consultants are free from conflicting
               interests in the conduct of their duties under this Compact. The Tribal
               Gaming Agency, in its sole discretion, may require a member or staff
               of the Tribal Gaming Agency or a representative of the State Gaming
               Agency to accompany any consultant at all times that the consultant is
               in a non-public area of the Gaming Facility.
      (g)      The State Gaming Agency promptly shall consult with the Tribal
               Gaming Agency concerning any material discrepancies noted and
               whether those discrepancies continue to exist.

      Sec. 7.5. Technical Standards.
       The Tribal Gaming Agency shall provide to the State Gaming Agency
copies of its regulations for technical standards applicable to the Tribe’s Gaming
Devices at least thirty (30) days before the commencement of Gaming Activities or
within thirty (30) days after the effective date of this Compact, whichever is later,
and thereafter at least thirty (30) days before the effective date of any revisions to
the regulations, unless exigent circumstances require that any revisions to the
regulations take effect sooner to ensure game integrity or otherwise to protect the
public or the Gaming Operation, in which event the revisions to the regulations
shall be provided to the State Gaming Agency as soon as reasonably practicable.




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      Sec. 7.6. Transportation of Gaming Devices.
      (a)      Subject to the provisions of subdivision (b), the Tribal Gaming
               Agency shall not permit any Gaming Device to be transported to or
               from the Tribe’s Indian lands except in accordance with procedures
               established by agreement between the State Gaming Agency and the
               Tribal Gaming Agency and upon at least ten (10) days’ notice to the
               Sheriff’s Department for the County.

      (b)      Transportation of a Gaming Device from a Gaming Facility within
               California is permissible only if:

               (1)   The final destination of the Gaming Device is a gaming facility
                     of any tribe in California that has a Class III Gaming compact
                     with the State or Secretarial Procedures that makes lawful the
                     operation of Gaming Devices;
               (2)   The final destination of the Gaming Device is any other state in
                     which possession of the Gaming Device is made lawful by that
                     state’s law, tribal-state compact, or Secretarial Procedures;
               (3)   The final destination of the Gaming Device is another country,
                     or any state or province of another country, wherein possession
                     of Gaming Devices is lawful; or
               (4)   The final destination is a location within California for testing,
                     repair, maintenance, or storage by a person or entity that has
                     been licensed by the Tribal Gaming Agency and has been found
                     suitable for licensure by the State Gaming Agency.

      (c)      Any Gaming Device transported from or to the Tribe’s Indian lands in
               violation of this section 7.6 or in violation of any permit issued
               pursuant thereto, is subject to summary seizure by California peace
               officers in accordance with California law.

SECTION 8.0. INSPECTIONS.

      Sec. 8.1. On-Site Regulation.
      This Compact recognizes and respects the primary role of the Tribal Gaming
Agency to perform on-site regulation and to protect the integrity of the Gaming
Activities, the reputation of the Tribe and the Gaming Operation for honesty and

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fairness, and to maintain the confidence of patrons that tribal governmental gaming
in California meets the highest standards of regulation and internal controls. This
Compact also acknowledges and affords the State with the authority and
responsibility to ensure that the Tribe complies with all of the terms of this
Compact and that gaming is conducted with integrity and in a manner that protects
the health, safety and other interests of the people of California.

      Sec. 8.1.1. Investigation and Sanctions.
      (a)      The Tribal Gaming Agency shall investigate any reported violation of
               this Compact and shall require the Gaming Operation to correct the
               violation upon such terms and conditions as the Tribal Gaming
               Agency determines are necessary.
      (b)      The Tribal Gaming Agency shall be empowered by the Gaming
               Ordinance to impose fines or other sanctions within the jurisdiction of
               the Tribe against tribal gaming licensees who interfere with or violate
               the Tribe’s gaming regulatory requirements and obligations under
               IGRA, the Gaming Ordinance, or this Compact. Any right to notice
               or hearing in regard thereto shall be governed by tribal law. Nothing
               in this Compact expands, modifies, or impairs the jurisdiction of the
               Tribal Gaming Agency under IGRA, the Tribal Gaming Ordinance or
               other applicable tribal law.

      (c)      The Tribal Gaming Agency shall report individual or continuing
               violations of this Compact that pose a significant threat to gaming
               integrity or public health and safety, and any failures to comply with
               the Tribal Gaming Agency’s orders, to the State Gaming Agency
               within ten (10) days of discovery.

      Sec. 8.2. Assistance by State Gaming Agency.
       The Tribe may request the assistance of the State Gaming Agency whenever
it reasonably appears that such assistance may be necessary to carry out the
purposes described in section 8.1.1, or otherwise to protect public health, safety, or
welfare.

      Sec. 8.3. Access to Premises by State Gaming Agency; Notification;
Inspections.
      (a)      Notwithstanding that the Tribe and its Tribal Gaming Agency have
               the primary responsibility to administer and enforce the regulatory
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         requirements of this Compact, the State Gaming Agency, including
         any consultant retained by it, shall have the right to inspect the Tribe’s
         Gaming Facility, and all Gaming Operation or Gaming Facility
         records relating thereto as is reasonably necessary to ensure Compact
         compliance, including with adequate notice such records located in
         off-site facilities dedicated to their storage, subject to the conditions in
         subdivisions (b), (c), and (d). If the Tribe objects to the State’s
         determination of the areas included within any inspection, the matter
         shall be resolved in accordance with the dispute resolution provisions
         of section 13.0. The State Gaming Agency shall ensure that any
         consultants retained by it have met the standards and requirements,
         including any background investigations, established by applicable
         regulations governing contract employees prior to participating in any
         matter under this Compact. The State Gaming Agency shall also take
         all reasonable steps to ensure that consultants are free from conflicting
         interests in the conduct of their duties under this Compact and shall
         provide the Tribal Gaming Agency with prior notice of the use of any
         consultant. The Tribal Gaming Agency, in its sole discretion, may
         require a member or staff of the Tribal Gaming Agency or a
         representative of the State Gaming Agency to accompany any
         consultant at all times that the consultant is in a non-public area of the
         Gaming Facility.
(b)      Except as provided in section 7.4, the State Gaming Agency may
         inspect public areas of the Gaming Facility at any time without prior
         notice during normal Gaming Facility business hours.

(c)      Inspection of areas of the Gaming Facility not normally accessible to
         the public may be made at any time during the normal administrative
         hours of the Tribal Gaming Agency, immediately after the State
         Gaming Agency’s authorized inspector notifies the Tribal Gaming
         Agency of his or her presence on the premises, presents proper
         identification, and requests access to the non-public areas of the
         Gaming Facility. Inspection of areas of the Gaming Facility not
         normally accessible to the public may be made at any time outside the
         normal administrative hours of the Tribal Gaming Agency with
         fourteen (14) days’ notice to the Tribal Gaming Agency, except that
         fourteen (14) days’ notice is not required upon the existence of
         exigent circumstances that the State Gaming Agency reasonably
         determines may be a threat to gaming integrity or public safety. The

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         Tribal Gaming Agency, in its sole discretion, may require a member
         or staff of the Tribal Gaming Agency to accompany the State Gaming
         Agency inspector at all times that the State Gaming Agency inspector
         is in a non-public area of the Gaming Facility. If the Tribal Gaming
         Agency imposes such a requirement, it shall require such member or
         staff to be available at appropriate times for those purposes and shall
         ensure that the member or staff has the ability to gain immediate
         access to all non-public areas of the Gaming Facility.

(d)      Nothing in this Compact shall be construed to limit the State Gaming
         Agency to one (1) inspector during inspections.

Sec. 8.4. Inspection, Copying, and Confidentiality of Documents.
(a)      Inspection and copying of Gaming Operation papers, books, and
         records that the State Gaming Agency reasonably deems necessary to
         ensure compliance with the terms of this Compact, may occur at any
         time after the State Gaming Agency gives notice to the Tribal Gaming
         Agency during the normal administrative hours of the Tribal Gaming
         Agency, provided that the State Gaming Agency inspectors cannot
         require copies of papers, books, or records: (i) that are unrelated to
         Gaming Activities, or any matters beyond the scope of authority under
         this Compact; or (ii) in such manner or volume that it unreasonably
         interferes with the normal functioning of the Gaming Operation or
         Gaming Facility, or with the operation of the Tribal Gaming Agency.
(b)      In lieu of onsite inspection and copying of Gaming Operation papers,
         books, and records by its inspectors, the State Gaming Agency may
         request in writing that the Tribal Gaming Agency provide copies of
         such papers, books, and records as the State Gaming Agency
         reasonably deems necessary to ensure compliance with the terms of
         this Compact; provided, the State Gaming Agency inspectors cannot
         require copies of papers, books, or records: (i) that are unrelated to
         Gaming Activities, or any matters beyond the scope of authority under
         this Compact; or (ii) in such volume that it unreasonably interferes
         with the normal functioning of the Gaming Operation or Gaming
         Facility, or with the operation of the Tribal Gaming Agency. The
         State Gaming Agency’s written request shall describe those papers,
         books, and records requested to be copied with sufficient specificity to
         reasonably identify the requested documents. Within ten (10) days
         after it receives the request, or such other time as the State Gaming
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         Agency may agree in writing, the Tribal Gaming Agency shall
         provide one (1) copy of the requested papers, books, and records to
         the requesting State Gaming Agency. An electronic version of the
         requested papers, books, and records may be submitted to the State
         Gaming Agency in lieu of a paper copy so long as the software
         required to access the electronic version is reasonably available to the
         State Gaming Agency.

(c)      Notwithstanding any other provision of California law, any
         confidential information and records, as defined in this subdivision,
         that the State Gaming Agency obtains or copies pursuant to this
         Compact shall be, and remain, the property solely of the Tribe;
         provided that such confidential information and records and copies
         may be retained by the State Gaming Agency as is reasonably
         necessary to assure the Tribe’s compliance with this Compact. The
         State Gaming Agency may provide such confidential information and
         records and copies to federal law enforcement and other state agencies
         or consultants that the State deems reasonably necessary in order to
         assure the Tribe’s compliance with this Compact; provided that to the
         extent reasonably feasible, the State Gaming Agency will consult with
         representatives of the Tribe prior to such disclosure. Upon request,
         the State Gaming Agency shall provide the Tribal Gaming Agency
         with information regarding its relevant confidentiality policies. For
         the purposes of this section 8.4, “confidential information and
         records” means any and all information and records received from the
         Tribe pursuant to the Compact, except for information and documents
         that are in the public domain.
(d)      The State Gaming Agency and all other state agencies and consultants
         to which it provides information and records obtained pursuant to
         subdivisions (a) or (b) of this section, which are confidential pursuant
         to subdivision (c), will exercise utmost care in the preservation of the
         confidentiality of such information and records and will apply the
         highest standards of confidentiality provided under California state
         law to preserve such information and records from disclosure until
         such time as the information or record is no longer confidential or
         disclosure is authorized by the Tribe, by mutual agreement of the
         Tribe and the State, or pursuant to the dispute resolution provisions of
         section 13.0. The State Gaming Agency and all other state agencies
         and consultants may disclose confidential information or records as

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         necessary to fully adjudicate or resolve a dispute arising pursuant to
         the Compact, in which case the State Gaming Agency and all other
         state agencies and consultants agree to preserve confidentiality to the
         greatest extent feasible and available. Before the State Gaming
         Agency provides confidential information and records to a consultant
         as authorized under subdivision (c), it shall enter into a confidentiality
         agreement with that consultant that meets the standards of this
         subdivision.

(e)      The Tribe may avail itself of any and all remedies under state law for
         the improper disclosure of confidential information and records. In
         the case of any disclosure of confidential information and records
         compelled by judicial process, the State Gaming Agency will
         endeavor to give the Tribe prompt notice of the order compelling
         disclosure and a reasonable opportunity to interpose an objection
         thereto with the court.
(f)      Except as otherwise provided in any regulation approved by the
         Association, the Tribal Gaming Agency and the State Gaming Agency
         shall confer and agree regarding protocols for the release to law
         enforcement agencies of information obtained during the course of
         background investigations.

(g)      Confidential information and records received by the State Gaming
         Agency from the Tribe in compliance with this Compact, or
         information compiled by the State Gaming Agency from those
         confidential records, shall be exempt from disclosure under the
         California Public Records Act, California Government Code section
         6250 et seq.

(h)      Notwithstanding any other provision of this Compact, the State
         Gaming Agency shall not be denied access to papers, books, records,
         equipment, or places where such access is reasonably necessary to
         ensure compliance with this Compact or to conduct or complete an
         investigation of suspected criminal activity in connection with the
         Gaming Activities or the operation of the Gaming Facility or the
         Gaming Operation.
(i)      Upon request, the State Gaming Agency shall provide the Tribal
         Gaming Agency with a current copy of its records retention and
         destruction policy.

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      Sec. 8.5. Cooperation with Tribal Gaming Agency.
       The State Gaming Agency shall meet periodically with the Tribal Gaming
Agency and cooperate in all matters relating to the enforcement of the provisions
of this Compact.

      Sec. 8.6. Compact Compliance Review.
       The State Gaming Agency is authorized to conduct an annual Compact
compliance review (also known as a “site visit”) to ensure compliance with all
provisions of this Compact and any appendices hereto. The Tribal Gaming
Agency will coordinate with the State Gaming Agency to address any irregularity
that the State Gaming Agency reasonably determines may be a threat to gaming
integrity or public safety. If a disagreement arises between the Tribal Gaming
Agency and the State Gaming Agency and the issue is not resolved within one
hundred twenty (120) days after the initial meeting between the regulators to
discuss the matter, either the Tribe or the State may submit the matter to dispute
resolution under section 13.0 of this Compact. Nothing in this section shall be
construed to supersede any other audits, inspections, investigations, and
monitoring authorized by this Compact.

      Sec. 8.7. Waiver of Materials.
       The State Gaming Agency shall retain the discretion to waive, in whole or in
part, receipt of materials otherwise required by this Compact to be provided to the
State Gaming Agency by the Tribal Gaming Agency or the Tribe.

SECTION 9.0. RULES AND REGULATIONS FOR THE OPERATION
AND MANAGEMENT OF THE GAMING OPERATION AND FACILITY.

     Sec. 9.1. Adoption of Regulations for Operation and Management;
Minimum Standards.
       The State recognizes that the Tribe is the primary regulator of its Gaming
Operation and that is the responsibility of the Tribal Gaming Agency to conduct
on-site gaming regulation and control in order to enforce the terms of this
Compact, IGRA, NIGC gaming regulations, State Gaming Agency regulations, and
the Gaming Ordinance, to protect the integrity of the Gaming Activities, the
reputation of the Tribe and the Gaming Operation for honesty and fairness, and to
maintain the confidence of patrons that tribal governmental gaming in California
meets the highest standards of fairness and internal controls. To meet those
responsibilities, the Tribal Gaming Agency is vested with the authority to
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promulgate, and shall promulgate and enforce, rules and regulations governing, at
a minimum, the following subjects pursuant to the standards and conditions set
forth therein:

      (a)      The enforcement of all relevant laws and rules with respect to the
               Gaming Activities, Gaming Operation, and Gaming Facility, and the
               conduct of investigations and hearings with respect thereto, and any
               other subject within its jurisdiction.

      (b)      The physical safety of Gaming Operation and Gaming Facility patrons
               and employees, and any other person while in the Gaming Facility.
               Except as provided in section 12.2, nothing herein shall be construed,
               however, to make applicable to the Tribe state laws, regulations, or
               standards governing the use of tobacco.
      (c)      The physical safeguarding of assets transported to, within, and from
               the Gaming Facility.
      (d)      The prevention of illegal activity within the Gaming Facility or with
               regard to the Gaming Operation or Gaming Activities, including, but
               not limited to, the maintenance of employee procedures and a
               surveillance system as provided in subdivision (e).
      (e)      Maintenance of an internal video surveillance system consistent with
               industry standards for gaming facilities of the type and scale operated
               by the Tribe, which system shall be approved by, and may not be
               modified without the approval of, the Tribal Gaming Agency. The
               Tribal Gaming Agency shall have current copies of the Gaming
               Facility floor plan and internal video surveillance system at all times,
               and any modifications thereof first shall be approved by the Tribal
               Gaming Agency.

      (f)      The establishment of employee procedures designed to permit
               detection of any irregularities, theft, cheating, fraud, or the like,
               consistent with industry practice.

      (g)      Maintenance of a list of persons permanently excluded from the
               Gaming Facility who, because of their past behavior, criminal history,
               or association with persons or organizations, pose a threat to the
               integrity of the Gaming Activities of the Tribe or to the integrity of
               regulated gambling within California. The Tribal Gaming Agency
               and the State Gaming Agency shall make a good-faith effort to share
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               information regarding such permanent exclusions. Nothing herein is
               intended to grant any third party the right to sue based upon any
               sharing of information.

      (h)      The conduct of an audit of the Gaming Operation, not less than
               annually, by an independent certified public accountant, in accordance
               with industry standards.
      (i)      Submission to, and prior approval by, the Tribal Gaming Agency of
               the rules and regulations of each Class III Gaming game to be
               operated by the Tribe, and of any changes in those rules and
               regulations. No Class III Gaming game may be offered for play that
               has not received Tribal Gaming Agency approval.
      (j)      The obligation of the Gaming Facility and the Gaming Operation to
               maintain a copy of the rules, regulations, and procedures for each
               game as played, including, but not limited to, the method of play and
               the odds and method of determining amounts paid to winners.
      (k)      Specifications and standards to ensure that information regarding the
               method of play, odds, and payoff determinations is visibly displayed
               or available to patrons in written form in the Gaming Facility and to
               ensure that betting limits applicable to any gaming station are
               displayed at that gaming station.
      (l)      Maintenance of a cashier’s cage in accordance with tribal internal
               control standards that meet or exceed industry standards for such
               facilities.

      (m)      Specification of minimum staff and supervisory requirements for each
               Gaming Activity to be conducted.

      (n)      Technical standards and specifications in conformity with the
               requirements of this Compact for the operation of Gaming Devices
               and other games authorized herein or as provided in any regulation
               approved by the Association.

      Sec. 9.2. Manner in Which Incidents Are Reported.
      The Tribe agrees that the Tribal Gaming Agency shall require the
recording of any and all occurrences within the Gaming Facility that deviate
from normal operating policies and procedures (hereinafter “incident(s)”). The

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Tribe agrees that the Tribal Gaming Agency shall transmit copies of incident
reports that it reasonably believes concern a significant or continued threat to
public safety or gaming integrity to the State Gaming Agency within a
reasonable period of time, not to exceed seven (7) days, after the incident. The
procedure for recording incidents pursuant to this section shall also do all of the
following:
      (a)      Specify that security personnel record all incidents, regardless of an
               employee’s determination that the incident may be immaterial (and all
               incidents shall be identified in writing).

      (b)      Require the assignment of a sequential number to each incident report.

      (c)      Provide for permanent reporting in indelible ink in a bound notebook
               from which pages cannot be removed and in which entries are made
               on each side of each page and/or in electronic form, provided the
               information is recorded in a manner so that, once the information is
               entered, it cannot be deleted or altered and is available to the State
               Gaming Agency pursuant to sections 8.3 and 8.4.

      (d)      Require that each report include, at a minimum, all of the following:

               (1)   The record number.

               (2)   The date.
               (3)   The time.
               (4)   The location of the incident.
               (5)   A detailed description of the incident.

               (6)   The persons involved in the incident.

               (7)   The security department employee assigned to the incident.

      Sec. 9.3. Minimum Internal Control Standards (MICS).
      (a)      The Tribe agrees that it will conduct its Gaming Activities pursuant
               to an internal control system that implements minimum internal
               control standards for Class III Gaming that are no less stringent than
               those contained in (i) the Minimum Internal Control Standards of
               the NIGC (25 C.F.R. § 542), as they existed on October 20, 2006,

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               and as they have been or may be amended from time to time,
               without regard to the NIGC’s authority to promulgate, enforce, or
               audit the standards, or (ii) any subsequent NIGC regulation or
               NIGC guidance that is at least as stringent as the Minimum Internal
               Control Standards of the NIGC, including the August 14, 2018
               NIGC Guidance on the Class III Minimum Internal Control
               Standards. These standards are posted on the State Gaming Agency
               website(s) and are referred to herein as the “Compact MICS.” This
               requirement is met through compliance with the provisions set forth
               in this section and sections 9.1 and 9.2 of this Compact, or in the
               alternative, by compliance with the Commission’s Uniform
               Statewide Tribal Gaming Regulation CGCC-8, as it exists currently
               and as it may hereafter be amended.
      (b)      In the event the Commission’s Uniform Statewide Tribal Gaming
               Regulation CGCC-8 is rescinded or otherwise ceases to exist, or if
               the NIGC withdraws its regulations at 25 C.F.R. part 542, the
               Compact MICS, as they may be amended from time to time, shall
               continue to serve as the minimum internal control standards for the
               purposes of this Compact. Any change, modification, or
               amendment thereto shall be effected by action of the Association.
      (c)      The minimum internal control standards set forth in the Compact
               MICS shall apply to all Gaming Activities, Gaming Facilities, and
               the Gaming Operation; however, the Compact MICS are not
               applicable to any class II gaming activities. Should the terms in
               the Compact MICS be inconsistent with this Compact, the terms in
               this Compact shall prevail.

      Sec. 9.4. Program to Mitigate Problem Gambling.
       The Gaming Operation will establish and maintain a program, approved by
the Tribal Gaming Agency, to mitigate pathological and problem gambling by
implementing the following measures:

      (a)      Training Gaming Facility supervisors and gaming floor employees
               on responsible gaming and to identify and manage problem
               gambling.
      (b)      Making available to patrons at conspicuous locations and ATMs in
               the Gaming Facility educational and informational materials that

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               aim at the prevention of problem gambling and that specify where
               to find assistance, and shall display at conspicuous locations and at
               ATMs within the Gaming Facility signage bearing a toll-free help-
               line number where patrons may obtain assistance for gambling
               problems.

      (c)      Establishing self-exclusion measures whereby a self-identified
               problem gambler may request the halt of promotional mailings,
               the revocation of privileges for casino services, the denial or
               restraint on the issuance of credit and check cashing services,
               and exclusion from the Gaming Facility.

      (d)      Establishing involuntary exclusion measures that allow the
               Gaming Operation to halt promotional mailings, deny or restrain
               the issuance of credit and check-cashing services, and deny access
               to the Gaming Facility to patrons who have exhibited signs of
               problem gambling. No person involuntarily excluded under such
               measures shall be entitled to assert any claim whatsoever against
               the Tribe, the Gaming Operation or any official, employee or
               agent of the Tribe or the Gaming Operation as the result of such
               exclusion.
      (e)      Making diligent efforts to prevent underage individuals from
               loitering in the area of the Gaming Facility where the Gaming
               Activities take place.

      (f)      Assuring that advertising and marketing of the Gaming Facility’s
               Gaming Activities contain a responsible gambling message and a
               toll- free help-line number for problem gamblers, where practical,
               and that they make no false or misleading claims.
      Any deficiency in the effectiveness of these measures or standards, as
opposed to compliance with the program and measures specified above, does
not constitute a material breach of this Compact.

      Nothing herein is intended to grant any third party the right to sue
based upon any alleged deficiency or violation of these measures.




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      Sec. 9.5. Enforcement of Regulations.
      The Tribe agrees that the Tribal Gaming Agency shall ensure the
enforcement of the rules, regulations, and specifications promulgated under
this Compact.

      Sec. 9.6. State Civil and Criminal Jurisdiction.
       Nothing in this Compact expands, modifies or impairs the civil or
criminal jurisdiction of the State, local law enforcement agencies and state
courts under Public Law 280 (18 U.S.C. § 1162; 28 U.S.C. § 1360) or IGRA.
Except as provided below, all state and local law enforcement agencies and
state courts shall exercise jurisdiction to enforce the State’s criminal laws on
the Tribe’s Indian lands, including the Gaming Facility and all related
structures, in the same manner and to the same extent, and subject to the same
restraints and limitations, imposed by the laws of the State and the United
States, as is exercised by state and local law enforcement agencies and state
courts elsewhere in the state. However, no Gaming Activity conducted by the
Tribe pursuant to this Compact may be deemed to be a civil or criminal
violation of any law of the State. Except for Gaming Activity conducted
pursuant to this Compact, criminal jurisdiction to enforce the State’s gambling
laws on the Tribe’s Indian lands, and to adjudicate alleged violations thereof,
is hereby transferred to the State pursuant to 18 U.S.C. § 1166(d).

      Sec. 9.7. Tribal Gaming Agency Members.
      (a)      The Tribe is obligated under its own laws and IGRA, and agrees to
               take reasonable steps, to ensure that members of the Tribal Gaming
               Agency are free from corruption, undue influence, compromise,
               and conflicting interests in the conduct of their duties under this
               Compact; and agrees to adopt a conflict-of-interest code to that end;
               and shall ensure the prompt removal of any member of the Tribal
               Gaming Agency who is found to have acted in a corrupt or
               compromised manner, or is found to have violated the conflict-of-
               interest code.
      (b)      The Tribe’s Gaming Ordinance and this Compact require and the
               Tribe agrees that the Tribal Gaming Agency shall conduct a
               background investigation on each prospective member of the
               Tribal Gaming Agency; provided that if such member is elected
               through a tribal election process, that member may not participate

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         in any Tribal Gaming Agency matters under this Compact unless a
         background investigation has been concluded and the member has
         been found to be suitable.

(c)      The Tribe shall conduct a background investigation on each
         prospective employee of the Tribal Gaming Agency to ensure that
         he or she satisfies the requirements of section 6.4.7.

Sec. 9.8. RESERVED.

Sec. 9.9. Uniform Statewide Tribal Gaming Regulations.
(a)      The Uniform Statewide Tribal Gaming Regulations CGCC-1,
         CGCC- 2, CGCC-7, and CGCC-8 (as in effect on the date the
         parties execute this Compact), adopted by the State Gaming
         Agency and approved by the Association, shall apply to the
         Gaming Operation until amended or repealed, without further
         action by the State Gaming Agency, the Tribe, the Tribal Gaming
         Agency or the Association.
(b)      Any subsequent Uniform Statewide Tribal Gaming Regulations
         adopted by the State Gaming Agency and approved by the
         Association shall apply to the Gaming Operation until amended
         or repealed.

(c)      No State Gaming Agency regulation adopted pursuant to this
         section shall be effective with respect to the Tribe’s Gaming
         Operation unless it has first been approved by the Association and
         the Tribe has had an opportunity to review and comment on the
         proposed regulation, except as provided in subdivision (f).

(d)      Every State Gaming Agency regulation adopted pursuant to this
         section that is intended to apply to the Tribe (other than a regulation
         proposed or previously approved by the Association) shall be
         submitted to the Association for consideration prior to submission
         of the regulation to the Tribe for comment as provided in
         subdivision (c). A regulation adopted pursuant to this section that
         is disapproved by the Association shall not be submitted to the
         Tribe for comment unless it is re-adopted by the State Gaming
         Agency as a proposed regulation, in its original or amended form,
         with a detailed, written response to the Association’s objections.

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      (e)      Except as provided in subdivision (f), no regulation of the State
               Gaming Agency adopted pursuant to this section shall be adopted
               as a final regulation with respect to the Tribe’s Gaming Operation
               before the expiration of thirty (30) days after submission of the
               proposed regulation to the Tribe for comment as a proposed
               regulation, and after consideration of the Tribe’s comments, if any.
      (f)      In exigent circumstances (e.g., imminent threat to public health and
               safety), the State Gaming Agency may adopt a regulation that
               becomes effective immediately. Any such regulation shall be
               accompanied by a detailed, written description of the exigent
               circumstances, and shall be submitted immediately to the
               Association for consideration. If the regulation is disapproved by
               the Association, it shall cease to be effective, but may be readopted
               by the State Gaming Agency as a proposed regulation, in its
               original or amended form, with a detailed, written response to the
               Association’s objections, and thereafter submitted to the Tribe for
               comment as provided in subdivision (e).

      (g)      The Tribe may object to a State Gaming Agency regulation adopted
               pursuant to this section on the ground that it is unnecessary, unduly
               burdensome, or unfairly discriminatory, and may seek repeal or
               amendment of the regulation through the dispute resolution process
               of section 13.0.
      (h)      Chapter 3.5 (commencing with section 11340) of part 1 of
               division 3 of title 2 of the California Government Code does not
               apply to regulations adopted by the State Gaming Agency
               pursuant to this section.

SECTION 10.0. PATRON DISPUTES.
      The Tribal Gaming Agency shall promulgate regulations governing patron
disputes over the play or operation of any game, including any refusal to pay to a
patron any alleged winnings from any Gaming Activities, which regulations must
meet the following minimum standards:

      (a)      A patron who makes an oral or written complaint to personnel of the
               Gaming Operation over the play or operation of any game within
               three (3) days of the play or operation at issue shall be notified in
               writing of the patron’s right to request in writing, within fifteen (15)

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         days of the Gaming Operation’s written notification to the patron of
         that right, resolution of the dispute by the Tribal Gaming Agency, and
         if dissatisfied with the Tribal Gaming Agency’s resolution of the
         dispute, the right to seek resolution before the Tribe’s tribal court
         (Tribal Court). If the patron is not provided with the aforesaid
         notification within thirty (30) days of the patron’s complaint, the
         deadlines herein shall be removed, leaving only the relevant statutes
         of limitations under State law that would otherwise apply.

(b)      Upon receipt of the patron’s written request for a resolution of the
         patron’s complaint pursuant to subdivision (a), the Tribal Gaming
         Agency shall conduct an appropriate investigation, shall provide to the
         patron a copy of its regulations concerning patron complaints, and
         shall render a decision in accordance with industry practice. The
         decision shall be issued within sixty (60) days of the patron’s written
         request, shall be in writing, shall be based on the facts surrounding the
         dispute, and shall set forth the reasons for the decision.
(c)      If the patron is dissatisfied with the decision of the Tribal Gaming
         Agency issued pursuant to subdivision (b), or no decision is issued
         within the sixty (60)-day period, the patron may request that the
         dispute be resolved in the Tribal Court. The Tribal Court must afford
         the patron with a dispute resolution process that incorporates the
         essential elements of fairness and due process. Resolution of the
         dispute before the Tribal Court shall be at no cost to the patron
         (excluding patron’s attorney’s fees and court filing fees).

(d)      Consistent with industry practice, if any alleged winnings are found to
         be a result of a mechanical, electronic or electromechanical failure
         and not due to the intentional acts or gross negligence of the Tribe or
         its agents, the patron’s claim for the winnings shall be denied but the
         patron shall be awarded reimbursements of the amount wagered by
         the patron that were lost as a result of any mechanical, electronic or
         electromechanical failure.
(e)      Any party dissatisfied with the award of the Tribal Court may invoke
         the jurisdiction of the applicable tribal appellate court.
(f)      To effectuate its consent to the Tribal Court and the tribal appellate
         court in this section 10.0, the Tribe shall, in the exercise of its
         sovereignty, waive its right to assert sovereign immunity in

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                 connection with the jurisdiction of the Tribal Court and the tribal
                 appellate court and in any action to (i) enforce the Tribe’s or the
                 patron’s obligation under this section 10.0, or (ii) enforce or execute a
                 judgment based upon the award of the Tribal Court or the tribal
                 appellate court, to the extent of the amount of winnings in
                 controversy.

SECTION 11.0. TRIBAL DISTRIBUTIONS TO MITIGATE IMPACTS OF
GAMING ON LOCAL GOVERNMENTS.
        Sec. 11.1. Distributions by Tribe to Local Governments.
       The Tribe recognizes that activities associated with operation of its Gaming
Facilities may impact law enforcement, emergency services, and other public
services of neighboring jurisdictions and place an increased burden on them. The
Tribe agrees to establish an Impact Mitigation Fund for purposes of providing
assistance to non-tribal law enforcement, emergency services, and service agencies
with demonstrated impacts from the Gaming Facilities. The Tribe shall withhold
one percent (1%) of Net Win for deposit into the Impact Mitigation Fund and
distribute those funds to neighboring jurisdictions to mitigate impacts upon those
jurisdictions resulting from the operation of the Gaming Facility, or other purposes
as the Tribe and a jurisdiction may agree.

        Sec. 11.2. Tracking of Tribal Distributions from the Impact Mitigation
Fund.
        (a)      On or before April 1 of each year, the Tribe shall prepare a report for
                 the State for distributions made pursuant to section 11.1, stating for
                 the prior calendar year the Impact Mitigation Fund’s starting and
                 ending balance, the total amount distributed to each neighboring
                 jurisdiction receiving funds, and the purposes for which the Tribe
                 made those distributions.

        (b)      The Tribe will manage the distribution of funds from the Impact
                 Mitigation Fund to ensure that the Impact Mitigation Fund’s balance
                 does not exceed the total amount contributed by the Tribe to the
                 Impact Mitigation Fund for the prior two (2) years.




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SECTION 12.0. PUBLIC AND WORKPLACE HEALTH, SAFETY, AND
LIABILITY.
      Sec. 12.1. General Requirements.
      The Tribe shall not conduct Class III Gaming in a manner that endangers the
public health, safety, or welfare, provided, however, that nothing herein shall be
construed to make applicable to the Tribe any state laws or regulations governing
the use of tobacco.

      Sec. 12.2. Tobacco Smoke.
      Notwithstanding section 12.1, in the interest of public health, including the
health of tribal members who may enter the Gaming Facility, the Tribe will
provide a non-smoking area in the Gaming Facility and utilize a ventilation system
throughout the Gaming Facility that exhausts tobacco smoke to the extent
reasonably feasible under state-of-the-art technology existing as of the date of the
construction or significant renovation of the Gaming Facility.

      Sec. 12.3. Health and Safety Standards.
       To protect the health and safety of patrons and employees of the Gaming
Facility, the Tribe shall, for the Gaming Facility:

      (a)      Adopt and comply with standards no less stringent than state public
               health standards for food and beverage handling. The Gaming
               Operation will allow inspection of food and beverage services by state
               or county health inspectors, during normal hours of operation, to
               assess compliance with these standards, unless inspections are
               routinely made by an agency of the United States government to
               ensure compliance with equivalent standards of the United States
               Public Health Service. Nothing herein shall be construed as
               submission of the Tribe to the jurisdiction of those state or county
               health inspectors, but any alleged violations of the standards shall be
               treated as alleged violations of this Compact.

      (b)      Adopt and comply with standards no less stringent than federal water
               quality and safe drinking water standards applicable in California; the
               Gaming Operation will allow for inspection and testing of water
               quality by state or county health inspectors, as applicable, during
               normal hours of operation, to assess compliance with these standards,
               unless inspections and testing are made by an agency of the United
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         States pursuant to, or by the Tribe under express authorization of
         federal law, to ensure compliance with federal water quality and safe
         drinking water standards. Nothing herein shall be construed as
         submission of the Tribe to the jurisdiction of those state or county
         health inspectors, but any alleged violations of the standards shall be
         treated as alleged violations of this Compact.
(c)      Comply with the building and safety standards set forth in section
         6.4.2.

(d)      Adopt and comply with federal workplace and occupational health
         and safety standards. The Tribe will allow inspection of Gaming
         Facility workplaces by State inspectors, during normal hours of
         operation, to assess compliance with these standards, provided that
         there is no right to inspection by State inspectors where an inspection
         to assess compliance has been conducted by an agency of the United
         States pursuant to federal law during the previous calendar quarter and
         the Tribe has provided a copy of the federal agency’s report to the
         State Gaming Agency within ten (10) days of the federal inspection.

(e)      Adopt and comply with tribal codes to the extent consistent with the
         provisions of this Compact and other applicable federal law regarding
         public health and safety.
(f)      Adopt and comply with standards that are no less stringent than
         California state laws prohibiting a gambling enterprise from cashing
         any check drawn against a federal, state, county, or city fund,
         including but not limited to, Social Security, unemployment
         insurance, disability payments, or public assistance payments.

(g)      Adopt and comply with, as a matter of tribal law, standards that are no
         less stringent than California state laws, if any, governing the terms of
         extension of credit to patrons by gambling enterprises.
(h)      Comply with provisions of the Bank Secrecy Act, 31 U.S.C. §§ 5311-
         5314, as amended, and all reporting requirements of the Internal
         Revenue Service, insofar as such provisions and reporting
         requirements are applicable to gambling establishments.
(i)      Adopt and comply with ordinances or policies no less stringent than
         (i) the minimum wage, maximum hour, child labor, and overtime
         standards set forth in the Fair Labor Standards Act, 29 U.S.C. §§ 206,
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              207 and 212, subject to 29 U.S.C. §§ 213 and 214; (ii) the United
              States Department of Labor regulations implementing the foregoing
              sections of the Fair Labor Standards Act, appearing at 29 Code of
              Federal Regulations, part 500 et seq.; (iii) the State’s minimum wage
              law set forth in California Labor Code section 1182.12; and (iv) the
              State Department of Industrial Relations regulations implementing the
              State’s minimum wage law contained at California Code of
              Regulations, title 8, sections 11000 to 11170. Notwithstanding the
              foregoing, only the federal minimum wage laws set forth in the Fair
              Labor Standards Act, 29 U.S.C. § 206 et seq., shall apply to tipped
              employees. Nothing herein shall make applicable state law
              concerning overtime, or be construed as authorizing or creating any
              private cause of action against the Tribe or the Gaming Operation
              based upon an alleged violation of any of the foregoing standards.

     Sec. 12.4. Prohibited Discrimination, Harassment and Retaliation
Standards.

     (a)      Before the effective date of this Compact, the Tribe shall establish
              written procedures forbidding harassment, including sexual
              harassment, in the workplace; forbidding employers from
              discrimination in connection with the employment of persons to work
              or working for the Gaming Operation or in the Gaming Facility on the
              basis of race and any other protected groups under federal or
              California law; and forbidding employers from retaliation against
              persons who oppose harassment or discrimination or participate in
              proceedings arising out of allegations of harassment or discrimination
              (prohibited discrimination, harassment or retaliation). The procedures
              shall include all time limits applicable to the disposition of an alleged
              incident of prohibited discrimination, harassment or retaliation
              (Employment-Related Claim) and a provision that, upon request, the
              employee, or employee’s designated representative, shall be provided
              with a copy of the procedures as well as the name, address and
              telephone number of the Gaming Operation and the appropriate
              contact information for the employee to provide any required
              document or materials to initiate or process the Employment-Related
              Claim. The Tribe shall not be deemed to have waived its sovereign
              immunity from suit with respect to such claims by establishing such
              procedures or by any provision of this Compact, but agrees not to
              assert such immunity as provided in subdivision (b) of this section.
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      (b)      During the term of this Compact, the Gaming Operation shall
               maintain an employment practices liability insurance policy consistent
               with industry standards for non-tribal casinos in the United States
               underwritten by an insurer with an AM Best rating of A or higher that
               provides coverage of no less than three million dollars ($3,000,000)
               per occurrence (Employment Practices Policy Limit) for prohibited
               discrimination, harassment or retaliation (Employment Practices
               Policy). The Employment Practices Policy shall include an
               endorsement providing that neither the insurer nor the Gaming
               Operation may invoke tribal sovereign immunity up to the limits of
               the policy set forth above with respect to any claim covered under the
               policy and disposed of in accordance with the Tribe’s Employment-
               Related Claim procedures. Neither the insurer nor the Gaming
               Operation shall be precluded from asserting any other statutory or
               common law defense and provided further that any award or judgment
               rendered in favor of the employee shall be satisfied solely from
               insurance proceeds.

      (c)      The Tribe shall provide written notice of its procedures for bringing
               an Employment-Related Claim in its employee handbook.

      Sec. 12.5. Tribal Gaming Facility Standards.
       The Tribe shall adopt in the form of an ordinance or ordinances the
standards and obligations described in sections 12.3 and 12.4 to which the Gaming
Operation and Gaming Facility are held, and shall transmit the ordinance(s) to the
State Gaming Agency not later than sixty (60) days prior to the commencement of
Gaming Activities under this Compact. In the absence of a promulgated tribal
standard in respect to a matter identified in sections 12.3 or 12.4 or the express
adoption of an applicable federal and/or state statute or regulation, as the case may
be, in respect of any such matter, the otherwise applicable federal and/or California
state statute or regulation shall be deemed to have been adopted by the Tribe as the
applicable standard.

      Sec. 12.6. Insurance Coverage and Claims.
      (a)      Before the effective date of this Compact, the Tribe shall establish
               written procedures for the disposition of tort claims arising from
               personal injury or property damage alleged to have been suffered by
               any person who is a patron of the Gaming Facility or who is otherwise
               lawfully on the premises of the Gaming Facility (collectively,

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         Claimant). The Tribe shall enact such tribal law as is necessary to
         implement these procedures. The procedures shall include all time
         limits applicable to the disposition of the tort claim and a provision
         that, upon request, the Claimant, or the Claimant’s designated
         representative, shall be provided with a copy of the procedures as well
         as the name, address and telephone number of the Gaming Operation
         and the appropriate contact information for the Claimant to provide
         any required document or materials to initiate or process the tort
         claim. The Tribe shall not be deemed to have waived its sovereign
         immunity from suit with respect to such claims by establishing such
         procedures or by any provision of this Compact, but agrees not to
         assert such immunity as provided in subsection (b) of this section.
(b)      During the term of this Compact, the Gaming Operation shall
         maintain a policy of commercial general liability insurance consistent
         with industry standards for non-tribal casinos in the United States
         underwritten by an insurer with an AM Best rating of A or higher that
         provides coverage of no less than ten million dollars ($10,000,000)
         per occurrence. The insurance policy shall include an endorsement
         providing that neither the insurer nor the Gaming Operation may
         invoke tribal sovereign immunity up to the limits of the policy set
         forth above with respect to any claim covered under the policy and
         disposed of in accordance with the Tribe’s tort claim procedures,
         provided, that the policy shall not exclude all claims made by a
         Claimant for personal injury or property damage. Neither the insurer
         nor the Gaming Operation shall be precluded from asserting any other
         statutory or common law defense and provided further that any award
         or judgment rendered in favor of the Claimant shall be satisfied solely
         from insurance proceeds.

Sec. 12.7. Participation in State Programs Related to Employment.
(a)      Within sixty (60) days prior to the commencement of Gaming
         Activities under this Compact, the Tribe will advise the State of its
         election to participate in the statutory workers’ compensation system
         as provided in subdivision (a)(l) below or, alternatively, will forward
         to the State all relevant ordinances that have been adopted and all
         other documents establishing the system and demonstrating that the
         system is fully operational and compliant with the comparability
         standards set forth in subdivision (a)(2), including such waivers of the

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   Tribe’s sovereign immunity as are necessary to allow Gaming
   Operation and Gaming Facility employees to enforce the Tribe’s
   workers’ compensation system. The Tribe and the State agree that
   independent contractors doing business with the Tribe must comply
   with all state workers’ compensation laws and obligations.

   (1)   The Tribe agrees that it will participate in the State’s workers’
         compensation program with respect to employees employed at
         the Gaming Operation or Gaming Facility. The workers’
         compensation program includes, but is not limited to, state laws
         relating to the securing of payment of compensation through
         one (1) or more insurers duly authorized to write workers’
         compensation insurance in this state or through self-insurance
         as permitted under the State’s workers’ compensation laws. All
         disputes arising from the workers’ compensation laws shall be
         heard by the Workers’ Compensation Appeals Board pursuant
         to the California Labor Code. The Tribe hereby consents to the
         jurisdiction of the State Workers’ Compensation Appeals Board
         and the courts of the State of California for purposes of
         enforcement of this subdivision (a)(1).
   (2)   In lieu of participating in the State’s statutory workers’
         compensation system, the Tribe, in its sole and absolute
         discretion, may create and maintain a system that provides
         redress for Gaming Operation and Gaming Facility employees’
         work-related injuries through requiring insurance or self-
         insurance. This system must include a scope of coverage,
         provision of up to ten thousand dollars ($10,000) in medical
         treatment for an alleged injury until the date that liability for the
         claim is accepted or rejected, employee choice of physician
         provisions comparable to those mandated for comparable
         employees under state law, quality and timely medical
         treatment provided comparable to the state’s medical treatment
         utilization schedule, availability of an independent medical
         examination to resolve disagreements on appropriate treatment
         (by an Independent Medical Reviewer on the state-approved
         list, a Qualified Medical Evaluator on the state-approved list, or
         an Agreed Medical Examiner upon mutual agreement of the
         employer and employee), the right to notice, hearings before an
         independent tribunal, a means of enforcement against the

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               employer, and benefits (including, but not limited to, temporary
               and permanent disability, death, supplemental job displacement,
               and return to work supplement), comparable to those mandated
               for comparable employees under state law.

(b)      The Tribe agrees that it will participate in the State’s program for
         providing unemployment compensation benefits and unemployment
         compensation disability benefits with respect to employees employed
         at the Gaming Operation or Gaming Facility, which participation shall
         include compliance with the provisions of the California
         Unemployment Insurance Code, and the Tribe agrees to waive its
         right to assert sovereign immunity in connection with the enforcement
         of the Tribe’s obligations under the California Unemployment
         Insurance Code.
(c)      As a matter of comity, the Tribe shall, with respect to all persons
         employed at the Gaming Operation or Gaming Facility, including
         nonresidents of California, but excluding California Indian tribal
         members who are exempt pursuant to California Revenue and Tax
         Code section 17131.7, withhold all amounts due to the State as
         provided in the California Unemployment Insurance Code and the
         California Revenue and Taxation Code and the regulations
         thereunder, as may be amended, and shall forward such amounts to
         the State. The Tribe shall file with the Franchise Tax Board a copy of
         any information return filed with the Secretary of the Treasury, as
         provided in the California Revenue and Taxation Code and the
         regulations thereunder, except those pertaining to California Indian
         tribal members who are exempt pursuant to California Revenue and
         Tax Code section 17131.7. Any subsequent applicable changes to the
         California Revenue and Taxation Code and the regulations thereunder
         regarding the income tax withholding of tribal members shall
         supersede the tax withholding requirements of this subdivision. The
         Tribe shall notify the State prior to implementing any changes to the
         tax-withholding requirements of this subdivision. Any disagreement
         regarding the Tribe’s proposed change in tax withholding shall be




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             subject to the dispute resolution provisions of section 13.0 of this
             Compact.

      Sec. 12.8. Emergency Services Accessibility.
     The Tribe shall make reasonable provisions for adequate emergency fire,
medical, and related relief and disaster services for patrons and employees of the
Gaming Facility.

      Sec. 12.9. Alcoholic Beverage Service.
      Purchase, sale, and service of alcoholic beverages shall be subject to state
alcoholic beverage laws.

      Sec. 12.10. Possession of Firearms.
      The possession of firearms by any person in the Gaming Facility is
prohibited at all times, except for federal, state, or local law enforcement
personnel, or tribal law enforcement or security personnel authorized by tribal law
and federal or state law to possess firearms at the Gaming Facility.

      Sec. 12.11. Labor Relations.
       The Gaming Activities authorized by this Compact may commence only
after the Tribe has adopted an ordinance identical to the Tribal Labor Relations
Ordinance attached hereto as Appendix A, and the Gaming Activities may
continue only as long as the Tribe maintains the ordinance which, for the
avoidance of doubt, includes compliance with the ordinance. The Tribe shall
provide written notice to the State that it has adopted the ordinance, along with a
copy of the ordinance, before the effective date of this Compact.

SECTION 13.0. DISPUTE RESOLUTION PROVISIONS.

      Sec. 13.1. Voluntary Resolution; Court Resolution.
        In recognition of the government-to-government relationship of the Tribe
and the State, the parties shall make their best efforts to resolve disputes that arise
under this Compact by good-faith negotiations whenever possible. Therefore,
except for the right of either party to seek injunctive relief against the other when
circumstances are deemed to require immediate relief, the Tribe and the State (for
purposes of this section 13.0 also referred to as the “party” or “parties”) shall seek
to resolve disputes by first meeting and conferring in good faith in order to foster a
spirit of cooperation and efficiency in the administration and monitoring of the
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performance and compliance of the terms, provisions, and conditions of this
Compact, as follows:

      (a)      Either party shall give the other, as soon as possible after the event
               giving rise to the concern, a written notice setting forth the facts
               giving rise to the dispute and with specificity, the issues to be
               resolved.
      (b)      The other party shall respond in writing to the facts and issues set
               forth in the notice within fifteen (15) days of receipt of the notice,
               unless both parties agree in writing to an extension of time.

      (c)      The parties shall meet and confer in good faith by telephone or in
               person in an attempt to resolve the dispute through negotiation within
               thirty (30) days after receipt of the notice set forth in subdivision (a),
               unless both parties agree in writing to an extension of time.
      (d)      Disputes that are not otherwise resolved by mutually agreed means
               may be resolved in the United States District Court in the judicial
               district where the Tribe’s Gaming Facility is located, or if the federal
               court lacks jurisdiction, in any state court of competent jurisdiction in
               or over the County. The disputes to be submitted to court action
               include, but are not limited to, claims of breach of this Compact, and
               failure to negotiate in good faith as required by the terms of the
               Compact, provided that the remedies expressly provided in section
               13.3, subdivision (a)(ii) are the sole and exclusive remedies available
               to either party for issues arising out of this Compact, and supersede
               any remedies otherwise available, whether at law, tort, contract, or in
               equity and, notwithstanding any other provision of law or this
               Compact, neither the State nor the Tribe shall be liable for damages or
               attorney fees in any action based in whole or in part on issues arising
               out of this Compact, or based in whole or in part on the fact that the
               parties have either entered into this Compact, or have obligations
               under this Compact. The parties are entitled to all rights of appeal
               permitted by law in the court system in which the action is brought.
      (e)      In no event may the Tribe be precluded from pursuing any judicial
               remedy against the State on the ground that the Tribe has failed to
               exhaust state administrative remedies, and in no event may the State
               be precluded from pursuing any judicial remedy against the Tribe on


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               the ground that the State has failed to exhaust any tribal administrative
               remedies.

     Sec. 13.2. No Waiver or Preclusion of Other Means of Dispute
Resolution.
       This section 13.0 may not be construed to waive, limit, or restrict any
remedy to address issues not arising out of this Compact that is otherwise available
to either the Tribe or the State, nor may this section 13.0 be construed to preclude,
limit, or restrict the ability of the parties to pursue, by mutual agreement in writing,
any other method of Compact dispute resolution, including, but not limited to,
mediation.

      Sec. 13.3. Limited Waiver of Sovereign Immunity.
      (a)      For the purpose of actions based on disputes between the State and the
               Tribe that arise under this Compact and the judicial enforcement of
               any judgment or award resulting therefrom, the State and the Tribe
               expressly waive their right to assert any and all sovereign immunity
               from suit and enforcement of any ensuing judgment and further
               consent to be sued in federal or state court, as the case may be,
               provided that (i) the dispute is limited solely to issues arising under
               this Compact, (ii) neither the Tribe nor the State makes any claim for
               restitution or monetary damages (except that payment of any money
               expressly required by the terms of this Compact may be sought), and
               solely injunctive relief, specific performance (including enforcement
               of a provision of this Compact expressly requiring the payment of
               money to one or another of the parties), and declaratory relief (limited
               to a determination of the respective obligations of the parties under
               the Compact) may be sought, and (iii) nothing herein shall be
               construed to constitute a waiver of the sovereign immunity of either
               the Tribe or the State with respect to any third party that is made a
               party or intervenes as a party to the action.

      (b)      In the event that intervention, joinder, or other participation by any
               additional party in any action between the State and the Tribe would
               result in the waiver of the Tribe’s or the State’s sovereign immunity as
               to that additional party, the waivers of either the Tribe or the State
               provided herein may be revoked, except where joinder is required, as
               determined by the court, to preserve the court’s jurisdiction, in which


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         case the State and the Tribe may not revoke their waivers of sovereign
         immunity as to each other.

(c)      The waivers and consents to jurisdiction expressly provided for under
         this section 13.0 and elsewhere in the Compact shall extend to all civil
         actions expressly authorized by this Compact, including, but not
         limited to, any action to enforce any judgment, and any appellate
         proceeding emanating from any such proceedings, whether in state or
         federal court.

(d)      Except as stated herein or elsewhere in this Compact, no other waivers
         or consents to be sued, either express or implied, are granted by either
         party, whether in state statute or otherwise, including but not limited
         to California Government Code section 98005.

Sec. 13.4. Judicial Remedies for Material Breach.
(a)      Subsequent to exhausting the section 13.0 dispute resolution
         provisions, after providing a thirty (30)-day written notice of an
         opportunity to cure any alleged breach of this Compact, unless the
         circumstances are deemed to require immediate relief, either the Tribe
         or the State may bring an action in federal court for a declaration that
         the other party has materially breached this Compact. If the federal
         court rules that a party has materially breached this Compact, then the
         party found to have committed the breach shall have thirty (30) days
         to cure the material breach after a final decision has been issued by
         the court after any appeals. The court may order additional time to
         cure the breach if the material breach cannot be cured within thirty
         (30) days even in good faith and with due diligence.

(b)      If the material breach is not cured within the time allowed by the
         court, then in addition to the declaration of material breach and any
         equitable remedies explicitly identified in section 13.0 that may have
         been awarded, the non-breaching party may seek, in the same federal
         court action, termination of the Compact as a further judicially
         imposed remedy. The court may order termination based on a finding
         (i) that the respondent party has breached its Compact obligations, and
         (ii) that the respondent party failed to cure the material breach within
         the time allowed. In the event a federal court determines that it lacks
         jurisdiction over such an action, the action may be brought in the
         superior court for the County, and any finding that termination is

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               warranted shall be effective thirty (30) days after issuance of the
               termination order by the federal district court or superior court, as the
               case may be.

      (c)      The parties expressly waive, and also waive their right to assert, their
               sovereign immunity from suit for purposes of an action under this
               section, subject to the waiver qualifications stated in section 13.3.

SECTION 14.0. EFFECTIVE DATE AND TERM OF COMPACT.

      Sec. 14.1. Effective Date.
      This Compact shall be effective upon the occurrence of both of the
following:

      (a)      The Compact is ratified in accordance with the Tribe’s law and State
               law; and
      (b)      Notice that the Compact has been approved or deemed approved is
               published in the Federal Register as provided in 25 U.S.C.
               § 2710(d)(3)(B).

      Sec. 14.2. Term of Compact.
      Once effective, this Compact shall be in full force and effect for State law
purposes for twenty-five (25) years following the effective date.

SECTION 15.0. AMENDMENTS; RENEGOTIATIONS.
      Sec. 15.1. Amendment by Agreement.
      The terms and conditions of this Compact may be amended at any time by
the mutual and written agreement of the Tribe and the State (also referred to in
section 15.0 as “party” or “parties”) during the term of this Compact set forth in
section 14.2, provided that each party voluntarily consents to such negotiations,
including the scope of such negotiations, in writing.

      Sec. 15.2. Negotiations for a New Compact.
       No sooner than eighteen (18) months before the termination date of this
Compact set forth in section 14.2, either party may request the other party to enter
into negotiations to extend the term of this Compact or to enter into a new Class III
Gaming compact. If the parties have not agreed to extend the term of this Compact

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or have not entered into a new compact by the termination date in section 14.2, this
Compact shall automatically be extended for eighteen (18) months. If, at the
conclusion of that extended eighteen (18) month period, the parties are engaged in
negotiations that both parties agree in writing are proceeding towards conclusion of
a new or amended Class III Gaming compact, this Compact shall automatically be
extended for an additional two (2) years.

      Sec. 15.3. Changes in the Law.
       If a federal or state court decides that, as a result of a change in the law, a
provision of the Compact is invalid or inoperable but also decides that the Compact
remains valid and the court’s judgment is not stayed pending appeal, the parties
shall meet and negotiate in good faith a replacement for that Compact provision
and other appropriate related amendments. The parties shall meet within thirty
(30) days after the ruling of invalidity or inoperability becomes effective.

    Sec. 15.4. Entitlement to Renegotiate Compact Based on Changed
Market Conditions.
       Notwithstanding the foregoing sections 15.1 through 15.3, the State shall,
within forty-five (45) days of the Tribe’s written request, enter into good-faith
negotiations with the Tribe to amend the Compact where the stated basis for the
Tribe’s request is changed conditions that either (i) materially and adversely affect
the Tribe’s Gaming Operation such that the Tribe no longer enjoys the benefits
otherwise provided by this Compact and the Tribe’s obligations under this
Compact therefore become unduly onerous, or (ii) create new opportunities to
expand its Gaming Operation beyond the limitations on Gaming Devices or
Gaming Facilities of this Compact. The State has no obligation to enter into
negotiations unless the Tribe provides information adequate to prove that its
request meets the required basis for negotiations pursuant to this section.

     Sec. 15.5. Entitlement to Renegotiate Compact Based on State
Authorization of New Forms of Class III Gaming.
       If the State authorizes Class III Gaming activities not expressly authorized in
this Compact, the parties shall, at the Tribe’s request, enter into good-faith
negotiations pursuant to IGRA to amend section 3.0 of this Compact for the
purpose of adding the newly authorized Class III Gaming activity and making
other appropriate related Compact amendments.



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      Sec. 15.6. Entitlement to Renegotiate for Gaming on Newly Acquired
 Indian Lands.
       The Tribe retains the right to acquire additional eligible Indian lands
 under IGRA and, subject to the provisions of section 15.0, to request
 negotiation of an amendment to this Compact to authorize Class III Gaming
 on the subsequently acquired eligible Indian lands.

      Sec. 15.7. Requests to Amend or to Negotiate a New Compact.
       All requests to amend this Compact or to negotiate to extend the term of this
Compact or to negotiate for a new Class III Gaming compact shall be in writing,
addressed to the Tribal Chair or the Governor, as the case may be, and shall
include the activities or circumstances to be negotiated, together with a statement
of the basis supporting the request. If the request meets both the requirements of
this section and either section 15.1, 15.2, 15.3, 15.4, 15.5 or 15.6, the parties shall
confer within forty-five (45) days of the request to determine (i) whether the
request meets the requirements of section 15.0 and, if so, (ii) the scope of
negotiations, and (iii) a schedule for commencing negotiations, and thereafter both
parties shall negotiate in good faith. The Tribal Chair and the Governor of the
State are hereby authorized to designate the person or agency responsible for
conducting the negotiations, and shall execute any documents necessary to do so.

SECTION 16.0. NOTICES.
       Unless otherwise indicated by this Compact, all notices required or
authorized to be served shall be served by first-class mail at the following
addresses, or to such other address as either party may designate by written notice
to the other:
Governor                                Tribal Chairperson
Governor’s Office                       Blue Lake Rancheria, California
State Capitol                           P.O. Box 428
Sacramento, CA 95814                    Blue Lake, CA 95525

SECTION 17.0. CHANGES TO IGRA.
       This Compact is intended to meet the requirements of IGRA as it reads on
the effective date of this Compact, and when reference is made to IGRA or to an
implementing regulation thereof, the referenced provision is deemed to have been
incorporated into this Compact as if set out in full. Subsequent changes to IGRA
that diminish the rights of the State or the Tribe may not be applied retroactively to
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alter the terms of this Compact, except to the extent that federal law validly
mandates retroactive application without the State’s or the Tribe’s respective
consent.

SECTION 18.0. MISCELLANEOUS.

      Sec. 18.1. Third-Party Beneficiaries.
       Notwithstanding any provision of law, this Compact is not intended to, and
shall not be construed to, create any right on the part of a third party or third-party
beneficiary to bring an action to enforce any of its terms.

      Sec. 18.2. Complete Agreement.
      This Compact, together with all appendices, sets forth the full and complete
agreement of the Tribe and the State and supersedes, supplants, and extinguishes
any prior agreements or understandings with respect to the subject matter hereof.

      Sec. 18.3. Construction.
       Neither the presence in another tribal-state Class III Gaming compact of
language that is not included in this Compact, nor the absence in another tribal-
state Class III Gaming compact of language that is present in this Compact shall be
a factor in construing the terms of this Compact. In the event of a dispute between
the Tribe and the State as to the language of this Compact or the construction or
meaning of any term hereof, this Compact will be deemed to have been drafted by
the Tribe and the State in equal parts so that no presumptions or inferences
concerning its terms or interpretation may be construed against either party to this
Compact.

      Sec. 18.4. Successor Provisions.
       Wherever this Compact makes reference to a specific statutory provision,
regulation, or set of rules, it also applies to the provision, regulation or rules, as
they may be amended from time to time, and any successor provision, regulation,
or set of rules. Within thirty (30) days of discovery of the adoption of any
subsequent amendment of such statutory provision, regulation, or rules or any
successor provision (for purposes of this section “Amendment”) either the Tribe or
the State may give notice of its position that the Amendment does not apply to the
Compact. If the Tribe and the State agree that the Amendment applies or does not
apply to the Compact, that agreement shall be memorialized in a document
endorsed by the Tribe and the State. If the parties do not agree that the

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Amendment applies or does not apply to the Compact, the parties shall resolve the
dispute in accordance with section 13.0 of this Compact.

      Sec. 18.5. Ordinances and Regulations.
       Whenever the Tribe adopts or materially amends any ordinance or
regulations required to be adopted and/or maintained under this Compact, in
addition to any other Compact obligations to provide a copy to others, the Tribe
shall provide a copy of such adopted or materially amended ordinance or
regulations to the State Gaming Agency within thirty (30) days of the effective
date of such ordinance or regulations and the State Gaming Agency shall provide
the Tribe with written confirmation of receipt of the ordinance or regulations
within thirty (30) days of receipt thereof.

      Sec. 18.6. Calculation of Time.
       In computing any period of time prescribed by this Compact, the day of the
event from which the designated period of time begins to run shall not be included.
The last day of the period so computed shall be included, unless it is a Saturday, a
Sunday, or a legal holiday under the Tribe’s laws, the State’s law, or federal law.
Unless otherwise specifically provided herein, the term “days” shall be construed
as calendar days.

      Sec. 18.7. Force Majeure.
       In the event of a force majeure event, including but not limited to: an act of
God; accident; fire; flood; earthquake; or other natural disaster; strike or other
labor dispute; epidemic or pandemic; riot or civil commotion; act of public enemy;
enactment of any rule, order or act of a government or governmental
instrumentality; effects of an extended restriction of energy use; or other causes of
a similar nature beyond the Tribe’s control that cause the Tribe’s Gaming
Operation or Facility to be inoperable or operate at significantly less capacity, or
be unable to meet one (1) or more of its obligations under this Compact; the Tribe
and the State agree to meet and confer for the purpose of discussing the event and
appropriate actions, if any, given the circumstances. In the instance that a force
majeure event impacts more than fifty percent (50%) of tribal gaming operations
located in California, the State and the Tribe agree to allow the State to elect to
meet and confer with several or all gaming tribes that have been impacted by the
force majeure event for the purpose of discussing the event and appropriate
actions, if any, given the circumstances.


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Sec. 18.8. Representations.
(a)      The Tribe expressly represents that as of the date of the undersigned’s
         execution of this Compact the undersigned has the authority to
         execute this Compact on behalf of the Tribe, including any waiver of
         sovereign immunity and the right to assert sovereign immunity
         therein, and will provide written proof of such authority and of the
         ratification of this Compact by the tribal governing body to the
         Governor no later than thirty (30) days after the execution of this
         Compact by the undersigned.

(b)      The Tribe further represents that it is (i) recognized as eligible by the
         Secretary of the Department of the Interior for special programs and
         services provided by the United States to Indians because of their
         status as Indians, and (ii) recognized by the Secretary of the
         Department of the Interior as possessing powers of self-government.

(c)      In entering into this Compact, the State expressly relies upon the
         foregoing representations by the Tribe, and the State’s entry into the
         Compact is expressly made contingent upon the truth of those
         representations as of the date of the Tribe’s execution of this Compact
         through the undersigned. If the Tribe fails to timely provide written
         proof of the undersigned’s aforesaid authority to execute this Compact
         or written proof of ratification by the Tribe’s governing body, the
         Governor shall have the right to declare this Compact null and void.

(d)      In the event the Tribe (i) asserts in any dispute between the Tribe and
         the State that the undersigned lacked the authority to execute this
         Compact on behalf of the Tribe, or (ii) in any Compact-related dispute
         in the limited contexts set forth in this Compact, including, but not
         limited to, the Compact provisions governing tort, workers’
         compensation, patron, or employment discrimination claims, whether
         or not involving the State, asserts that its waiver of sovereign
         immunity is not valid based upon a claim by the Tribe that the
         representations regarding the authority to waive or the waiver did not
         comply with the Tribe’s laws, then the State and the Tribe agree that
         the Tribe shall lose all rights to conduct Class III Gaming under the
         terms of this Compact. If the Tribe otherwise identifies a potential
         defect regarding the authority of the undersigned to execute this
         Compact or the effectiveness of the limited waivers of the Tribe’s
         sovereign immunity, and takes action to resolve the defect, the Tribe’s
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   right to conduct Class III Gaming under the terms of this Compact are
   not implicated unless and until the Tribe makes the assertions
   specified in (i) or (ii) above.

   (1)   The Tribe shall give written notice to the State of its intent to
         assert either that the undersigned lacked authority to execute
         this Compact on behalf of the Tribe or that its waiver of
         sovereign immunity is not valid for the reasons stated in this
         subdivision at least fourteen (14) days before making that
         assertion, and shall cease conducting Class III Gaming within
         thirty (30) days of making the assertion.

   (2)   Within fourteen (14) days after identifying a potential defect
         regarding the authority of the undersigned to execute this
         Compact or the effectiveness of the limited waivers of the
         Tribe’s sovereign immunity as stated in the Compact, the Tribe
         shall give written notice to the State of the facts related to the
         potential defect and the specific actions the Tribe is taking to
         cure the potential defect.




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      (e)      This Compact shall not be presented to the California State
               Legislature for a ratification vote until the Tribe has provided the
               written proof required in subdivision (a) to the Governor.

       IN WITNESS WHEREOF, the undersigned sign this Compact on behalf of
the State of California and the Blue Lake Rancheria, California.

STATE OF CALIFORNIA                              BLUE LAKE RANCHERIA,
                                                 CALIFORNIA



By Gavin Newsom                                  By Claudia Brundin
Governor of the State of California              Chairperson of the Blue Lake
                                                 Rancheria, California

Executed this ___ day of _________,              Executed this ___ day of _________,
2023, at Sacramento, California                  2023, at ______________, California




ATTEST:



Shirley N. Weber, Ph.D.
Secretary of State, State of California




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APPENDICES

    A.      Tribal Labor Relations Ordinance                            A-1

    B.      Off-Track Satellite Wagering                                B-1




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                                   APPENDIX A

                        Tribal Labor Relations Ordinance

Section 1: Threshold of Applicability

     (a)      If the Tribe employs 250 or more persons in a tribal casino and related
              facility, not including enrolled members of the Tribe, it shall adopt
              this Tribal Labor Relations Ordinance (TLRO or Ordinance). For
              purposes of this Ordinance, a “tribal casino” is one in which class III
              gaming is conducted pursuant to the tribal-state compact. A “related
              facility” is one for which the only significant purpose is to facilitate
              patronage of the class III gaming operations.

     (b)      Upon the request of a labor union or organization which exists for the
              purpose, in whole or in part, of dealing with employers concerning
              grievances, labor disputes, wages, rates of pay, hours of employment,
              or conditions of work, the Tribal Gaming Commission shall certify
              the number of employees, not including enrolled members of the
              Tribe, in a tribal casino or other related facility as defined in
              subsection (a) of this Section 1. Either party may dispute the
              certification of the Tribal Gaming Commission to the Tribal Labor
              Panel, which is defined in Section 13 herein.

Section 2: Definition of Eligible Employees

     (a)      The provisions of this Ordinance shall apply to any person
              (hereinafter “Eligible Employee”) who is employed within a tribal
              casino in which class III gaming is conducted pursuant to a tribal-state
              compact, or other related facility, the only significant purpose of
              which is to facilitate patronage of the class III gaming operations,
              except for any of the following:

              (1)   any employee who is a supervisor, defined as any individual
                    having authority, in the interest of the Tribe and/or employer, to
                    hire, transfer, suspend, lay off, recall, promote, discharge,
                    assign, reward, or discipline other employees, or responsibility
                    to direct them or to adjust their grievances, or effectively to
                    recommend such action, if in connection with the foregoing the



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                   exercise of such authority is not of a merely routine or clerical
                   nature, but requires the use of independent judgment;

             (2)   any employee of the Tribal Gaming Commission;

             (3)   any employee of the security or surveillance department, other
                   than those who are responsible for the technical repair and
                   maintenance of equipment;

             (4)   any cash operations employee who is a “cage” employee or
                   money counter; or

             (5)   any dealer.

      (b)    On [month] 1 of each year, the Tribal Gaming Agency shall certify
             the number of Eligible Employees employed by the Tribe to the
             administrator of the Tribal Labor Panel.

Section 3: Non-Interference with Regulatory or Security Activities

       Operation of this Ordinance shall not interfere in any way with the duty of
the Tribal Gaming Commission to regulate the gaming operation in accordance
with the Tribe’s National Indian Gaming Commission - approved gaming
ordinance. Furthermore, the exercise of rights hereunder shall in no way interfere
with the tribal casino’s surveillance/security systems, or any other internal controls
system designed to protect the integrity of the Tribe’s gaming operations. The
Tribal Gaming Commission is specifically excluded from the definition of Eligible
Employees.

Section 4: Eligible Employees Free to Engage in or Refrain From Concerted
Activity

       Eligible Employees shall have the right to self-organization, to form, to join,
or assist employee organizations, to bargain collectively through representatives of
their own choosing, to engage in other concerted activities for the purpose of
collective bargaining or other mutual aid or protection, and shall also have the right
to refrain from any or all such activities.




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Section 5: Unfair Labor Practices for the Tribe

      It shall be an unfair labor practice for the Tribe and/or employer or their
agents:

      (a)      to interfere with, restrain or coerce Eligible Employees in the exercise
               of the rights guaranteed herein;

      (b)      to dominate or interfere with the formation or administration of any
               labor organization or contribute financial or other support to it, but
               this does not restrict the Tribe and/or employer and a certified union
               from agreeing to union security or dues check off;

      (c)      to discharge or otherwise discriminate against an Eligible Employee
               because s/he has filed charges or given testimony under this
               Ordinance; or

      (d)      after certification of the labor organization pursuant to Section 10, to
               refuse to bargain collectively with the representatives of Eligible
               Employees.

Section 6: Unfair Labor Practices for the Union

      It shall be an unfair labor practice for a labor organization or its agents:

      (a)      to interfere, restrain or coerce Eligible Employees in the exercise of
               the rights guaranteed herein;

      (b)      to engage in, or to induce or encourage any individual employed by
               any person engaged in commerce or in an industry affecting
               commerce to engage in, a strike or a primary or secondary boycott or
               a refusal in the course of his employment to use, manufacture,
               process, transport or otherwise handle or work on any goods, articles,
               materials, or commodities or to perform any services; or to threaten,
               coerce, or restrain any person engaged in commerce or in an industry
               affecting commerce or other terms and conditions of employment.
               This section does not apply to Section 11;

      (c)      to force or require the Tribe and/or employer to recognize or bargain
               with a particular labor organization as the representative of Eligible

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              Employees if another labor organization has been certified as the
              representative of such Eligible Employees under the provisions of this
              TLRO;

     (d)      to refuse to bargain collectively with the Tribe and/or employer,
              provided it is the representative of Eligible Employees subject to the
              provisions herein; or

     (e)      to attempt to influence the outcome of a tribal governmental election,
              provided, however, that this section does not apply to tribal members.

Section 7: Tribe and Union Right to Free Speech

     (a)      The Tribe’s and union’s expression of any view, argument or opinion
              or the dissemination thereof, whether in written, printed, graphic or
              visual form, shall not constitute or be evidence of interference with,
              restraint, or coercion if such expression contains no threat of reprisal
              or force or promise of benefit.

     (b)      The Tribe agrees that if a union first offers in writing that it and its
              local affiliates will comply with (b)(1) and (b)(2), the Tribe shall
              comply with the provisions of (c) and (d).

              (1)   For a period of three hundred sixty-five (365) days following
                    delivery of a Notice of Intent to Organize (“NOIO”) to the
                    Tribe:

                    (A)    not engage in strikes, picketing, boycotts, attack
                           websites, or other economic activity at or in relation to
                           the tribal casino or related facility; and refrain from
                           engaging in strike-related picketing on Indian lands as
                           defined in 25 U.S.C. § 2703(4);

                    (B)    not disparage the Tribe for purposes of organizing
                           Eligible Employees;

                    (C)    not attempt to influence the outcome of a tribal
                           government election; and




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               (D)   during the three hundred sixty-five (365) days after the
                     Tribe received the NOIO, the Union must collect dated
                     and signed authorization cards pursuant to Section 10
                     herein and complete the secret ballot election also in
                     Section 10 herein. Failure to complete the secret ballot
                     election within the three hundred sixty-five (365) days
                     after the Tribe received the NOIO shall mean that the
                     union shall not be permitted to deliver another NOIO for
                     a period of two years (730 days).

         (2)   Resolve all issues, including collective bargaining impasses,
               through the binding dispute resolution mechanisms set forth in
               Section 13 herein.

(c)      Upon receipt of a NOIO, the Tribe shall:

         (1)   within two (2) days provide to the union an election eligibility
               list containing the full first and last names of the Eligible
               Employees within the sought-after bargaining unit and the
               Eligible Employees’ last known addresses and telephone
               numbers and email addresses;

         (2)   for period of three hundred sixty-five (365) days thereafter,
               Tribe will not do any action nor make any statement that
               directly or indirectly states or implies any opposition by the
               Tribe to the selection by such employees of a collective
               bargaining agent, or preference for or opposition to any
               particular union as a bargaining agent. This includes refraining
               from making derisive comments about unions; publishing or
               posting pamphlets, fliers, letters, posters, or any other
               communication which could reasonably be interpreted as
               criticizing the union or advising Eligible Employees to vote
               “no” against the union. However, the Tribe shall be free at all
               times to fully inform Eligible Employees about the terms and
               conditions of employment it provides to employees and the
               advantages of working for the Tribe; and

         (3)   resolve all issues, including collective bargaining impasses,
               through the binding dispute resolution mechanisms set forth in
               Section 13 herein.

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     (d)      The union’s offer in subsection (b) of this Section 7 shall be deemed
              an offer to accept the entirety of this Ordinance as a bilateral contract
              between the Tribe and the union, and the Tribe agrees to accept such
              offer. By entering into such bilateral contract, the union and Tribe
              mutually waive any right to file any form of action or proceeding with
              the National Labor Relations Board for the three hundred sixty-five
              (365)-day period following the NOIO.

     (e)      The Tribe shall mandate that any entity responsible for all or part of
              the operation of the casino and related facility shall assume the
              obligations of the Tribe under this Ordinance. If at the time of the
              management contract, the Tribe recognizes a labor organization as the
              representative of its employees, certified pursuant to this Ordinance,
              the labor organization will provide the contractor, upon request, the
              election officer’s certification which constitutes evidence that the
              labor organization has been determined to be the majority
              representative of the Tribe’s Eligible Employees.

Section 8: Access to Eligible Employees

     (a)      Access shall be granted to the union for the purposes of organizing
              Eligible Employees, provided that such organizing activity shall not
              interfere with patronage of the casino or related facility or with the
              normal work routine of the Eligible Employees and shall be done on
              non-work time in non-work areas that are designated as employee
              break rooms or locker rooms that are not open to the public. The
              Tribe may require the union and or union organizers to be subject to
              the same licensing rules applied to individuals or entities with similar
              levels of access to the casino or related facility, provided that such
              licensing shall not be unreasonable, discriminatory, or designed to
              impede access.

     (b)      The Tribe, in its discretion, may also designate additional voluntary
              access to the Union in such areas as employee parking lots and non-
              casino facilities located on tribal lands.

     (c)      In determining whether organizing activities potentially interfere with
              normal tribal work routines, the union’s activities shall not be



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               permitted if the Tribal Labor Panel determines that they compromise
               the operation of the casino:

               (1)   security and surveillance systems throughout the casino, and
                     reservation;

               (2)   access limitations designed to ensure security;

               (3)   internal controls designed to ensure security; or

               (4)   other systems designed to protect the integrity of the Tribe’s
                     gaming operations, tribal property and/or safety of casino
                     personnel, patrons, employees or tribal members, residents,
                     guests or invitees.

      (d)      The Tribe agrees to facilitate the dissemination of information from
               the union to Eligible Employees at the tribal casino by allowing
               posters, leaflets and other written materials to be posted in non-public
               employee break areas where the Tribe already posts announcements
               pertaining to Eligible Employees. Actual posting of such posters,
               notices, and other materials shall be by employees desiring to post
               such materials.

Section 9: Indian Preference Explicitly Permitted

       Nothing herein shall preclude the Tribe from giving Indian preference in
employment, promotion, seniority, lay-offs or retention to members of any
federally recognized Indian tribe or shall in any way affect the Tribe’s right to
follow tribal law, ordinances, personnel policies or the Tribe’s customs or
traditions regarding Indian preference in employment, promotion, seniority, lay-
offs or retention. Moreover, in the event of a conflict between tribal law, tribal
ordinance or the Tribe’s customs and traditions regarding Indian preference and
this Ordinance, the tribal law, tribal ordinance, or the Tribe’s customs and
traditions shall govern.

Section 10: Secret Ballot Elections

      (a)      The election officer shall be chosen within three (3) business days of
               notification by the labor organization to the Tribe of its intention to
               present authorization cards, and the same election officer shall preside

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      thereafter for all proceedings under the request for recognition;
      provided, however, that if the election officer resigns, dies, or is
      incapacitated for any other reason from performing the functions of
      this office, a substitute election officer shall be selected in accordance
      with the dispute resolution provisions herein. Dated and signed
      authorized cards from thirty percent (30%) or more of the Eligible
      Employees within the bargaining unit verified by the elections officer
      will result in a secret ballot election. The election officer shall make a
      determination as to whether the required thirty percent (30%) showing
      has been made within one (1) working day after the submission of
      authorization cards. If the election officer determines the required
      thirty percent (30%) showing of interest has been made, the election
      officer shall issue a notice of election. The election shall be
      concluded within thirty (30) calendar days of the issuance of the
      notice of election.

(b)   Upon the showing of interest to the election officer pursuant to
      subsection (a), within two (2) working days the Tribe shall provide to
      the union an election eligibility list containing the full first and last
      names of the Eligible Employees within the sought after bargaining
      unit and the Eligible Employees’ last known addresses and telephone
      numbers and email addresses. Nothing herein shall preclude a Tribe
      from voluntarily providing an election eligibility list at an earlier point
      of a union organizing campaign with or without an election. The
      election shall be conducted by the election officer by secret ballot
      pursuant to procedures set forth in a consent election agreement in
      substantially the same form as Attachment 1. In the event either that a
      party refuses to enter into the consent election agreement or that the
      parties do not agree on the terms, the election officer shall issue an
      order that conforms to the terms of the form consent election
      agreement and shall have authority to decide any terms upon which
      the parties have not agreed, after giving the parties the opportunity to
      present their views in writing or in a telephonic conference call. The
      election officer shall be a member of the Tribal Labor Panel chosen in
      the same manner as a single arbitrator pursuant to the dispute
      resolution provisions herein at Section 13(b)(2). All questions
      concerning representation of the Tribe and/or Eligible Employees by a
      labor organization shall be resolved by the election officer.




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     (c)      The election officer shall certify the labor organization as the
              exclusive collective bargaining representative of a unit of employees
              if the labor organization has received the support of a majority of the
              Eligible Employees in a secret ballot election that the election officer
              determines to have been conducted fairly. The numerical threshold
              for certification is fifty percent (50%) of the Eligible Employees plus
              one. If the election officer determines that the election was conducted
              unfairly due to misconduct by the Tribe and/or employer or union, the
              election officer may order a re-run election. If the election officer
              determines that there was the commission of serious Unfair Labor
              Practices by the Tribe, or in the event the union made the offer
              provided for in Section 7(b) that the Tribe violated its obligations
              under Section 7(c), that interferes with the election process and
              precludes the holding of a fair election, and the labor organization is
              able to demonstrate that it had the support of a majority of the
              employees in the unit at any time before or during the course of the
              Tribe’s misconduct, the election officer shall certify the labor
              organization as the exclusive bargaining representative.

     (d)      The Tribe or the union may appeal within five (5) days any decision
              rendered after the date of the election by the election officer to a three
              (3) member panel of the Tribal Labor Panel mutually chosen by both
              parties, provided that the Tribal Labor Panel must issue a decision
              within thirty (30) days after receiving the appeal.

     (e)      A union which loses an election and has exhausted all dispute
              remedies related to the election may not invoke any provisions of this
              ordinance at that particular casino or related facility until one (1) year
              after the election was lost.

Section 11: Collective Bargaining Impasse

     (a)      Upon recognition, the Tribe and the union will negotiate in good faith
              for a collective bargaining agreement covering bargaining unit
              employees represented by the union.

     (b)      Except where the union has made the written offer set forth in Section
              7(b), if collective bargaining negotiations result in impasse, the union
              shall have the right to strike. Strike-related picketing shall not be
              conducted on Indian lands as defined in 25 U.S.C. § 2703(4).

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     (c)      Where the union makes the offer set forth in Section 7(b), if collective
              bargaining negotiations result in impasse, the matter shall be resolved
              as set forth in Section 13(c).

Section 12: Decertification of Bargaining Agent

     (a)      The filing of a petition signed by thirty percent (30%) or more of the
              Eligible Employees in a bargaining unit seeking the decertification of
              a certified union will result in a secret ballot election. The election
              officer shall make a determination as to whether the required thirty
              percent (30%) showing has been made within one (1) working day
              after the submission of authorization cards. If the election officer
              determines the required thirty percent (30%) showing of interest has
              been made, the election officer shall issue a notice of election. The
              election shall be concluded within thirty (30) calendar days of the
              issuance of the notice of election.

     (b)      The election shall be conducted by an election officer by secret ballot
              pursuant to procedures set forth in a consent election agreement in
              substantially the same form as Attachment 1. The election officer
              shall be a member of the Tribal Labor Panel chosen in the same
              manner as a single arbitrator pursuant to the dispute resolution
              provisions herein at Section 13(b)(2). All questions concerning the
              decertification of the union shall be resolved by an election officer.
              The election officer shall be chosen upon notification to the Tribe and
              the union of the intent of the Eligible Employees to present a
              decertification petition, and the same election officer shall preside
              thereafter for all proceedings under the request for decertification;
              provided however that if the election officer resigns, dies or is
              incapacitated for any other reason from performing the functions of
              this office, a substitute election officer shall be selected in accordance
              with the dispute resolution provisions herein.

     (c)      The election officer shall order the labor organization decertified as
              the exclusive collective bargaining representative if a majority of the
              Eligible Employees support decertification of the labor organization in
              a secret ballot election that the election officer determines to have
              been conducted fairly. The numerical threshold for decertification is
              fifty percent (50%) of the Eligible Employees plus one (1). If the

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              election officer determines that the election was conducted unfairly
              due to misconduct by the Tribe and/or employer or the union the
              election officer may order a re-run election or dismiss the
              decertification petition.

     (d)      A decertification proceeding may not begin until one (1) year after the
              certification of a labor union if there is no collective bargaining
              agreement. Where there is a collective bargaining agreement, a
              decertification petition may only be filed no more than ninety (90)
              days and no less than sixty (60) days prior to the expiration of a
              collective bargaining agreement. A decertification petition may be
              filed any time after the expiration of a collective bargaining
              agreement.

     (e)      The Tribe or the union may appeal within five (5) days any decision
              rendered after the date of the election by the election officer to a three
              (3) member panel of the Tribal Labor Panel chosen in accordance
              with Section 13(c), provided that the Tribal Labor Panel must issue a
              decision within thirty (30) days after receiving the appeal.

Section 13: Binding Dispute Resolution Mechanism

     (a)      All issues shall be resolved exclusively through the binding dispute
              resolution mechanisms herein.

     (b)      The method of binding dispute resolution shall be a resolution by the
              Tribal Labor Panel, consisting of ten (10) arbitrators appointed by
              mutual selection of the parties which panel shall serve all tribes that
              have adopted this Ordinance. The Tribal Labor Panel shall have
              authority to hire staff and take other actions necessary to conduct
              elections, determine units, determine scope of negotiations, hold
              hearings, subpoena witnesses, take testimony, and conduct all other
              activities needed to fulfill its obligations under this ordinance.

              (1)   Each member of the Tribal Labor Panel shall have relevant
                    experience in federal labor law and/or federal Indian law with
                    preference given to those with experience in both. Names of
                    individuals may be provided by such sources as, but not limited
                    to, Indian Dispute Services, Federal Mediation and Conciliation
                    Service, and the American Academy of Arbitrators.

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         (2)   Unless either party objects, one (1) arbitrator from the Tribal
               Labor Panel will render a binding decision on the dispute under
               the Ordinance. If either party objects, the dispute will be
               decided by a three (3)-member panel, unless arbitrator
               scheduling conflicts prevent the arbitration from occurring
               within thirty (30) days of selection of the arbitrators, in which
               case a single arbitrator shall render a decision. If one (1)
               arbitrator will be rendering a decision, five (5) Tribal Labor
               Panel names shall be submitted to the parties and each party
               may strike no more than two (2) names. If the dispute will be
               decided by a three (3)-member panel, seven (7) Tribal Labor
               Panel names will be submitted and each party can strike no
               more than two (2) names. A coin toss shall determine which
               party may strike the first name. The arbitrator will generally
               follow the American Arbitration Association’s procedural rules
               relating to labor dispute resolution. The arbitrator must render
               a written, binding decision that complies in all respects with the
               provisions of this Ordinance within thirty (30) days after a
               hearing.

(c)      (1)   Upon certification of a union in accordance with Section 10 of
               this Ordinance, the Tribe and union shall negotiate for a period
               of ninety (90) days after certification. If, at the conclusion of
               the ninety (90)-day period, no collective bargaining agreement
               is reached and either the union and/or the Tribe believes
               negotiations are at an impasse, at the request of either party, the
               matter shall be submitted to mediation with the Federal
               Mediation and Conciliation Service. The costs of mediation
               and conciliation shall be borne equally by the parties.

         (2)   Upon appointment, the mediator shall immediately schedule
               meetings at a time and location reasonably accessible to the
               parties. Mediation shall proceed for a period of thirty (30)
               days. Upon expiration of the thirty (30)-day period, if the
               parties do not resolve the issues to their mutual satisfaction, the
               mediator shall certify that the mediation process has been
               exhausted. Upon mutual agreement of the parties, the mediator
               may extend the mediation period.



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         (3)   Within twenty-one (21) days after the conclusion of mediation,
               the mediator shall file a report that resolves all of the issues
               between the parties and establishes the final terms of a
               collective bargaining agreement, including all issues subject to
               mediation and all issues resolved by the parties prior to the
               certification of the exhaustion of the mediation process. With
               respect to any issues in dispute between the parties, the report
               shall include the basis for the mediator’s determination. The
               mediator’s determination shall be supported by the record.

(d)      In resolving the issues in dispute, the mediator may consider those
         factors commonly considered in similar proceedings.

(e)      Either party may seek a motion to compel arbitration or a motion to
         confirm or vacate an arbitration award, under this Section 13, in the
         appropriate state superior court, unless a bilateral contract has been
         created in accordance with Section 7, in which case either party may
         proceed in federal court. The Tribe agrees to a limited waiver of its
         sovereign immunity for the sole purpose of compelling arbitration or
         confirming or vacating an arbitration award issued pursuant to the
         Ordinance in the appropriate state superior court or in federal court.
         The parties are free to put at issue whether or not the arbitration award
         exceeds the authority of the Tribal Labor Panel.




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Attachment 1

CONSENT ELECTION AGREEMENT PROCEDURES


      Pursuant to the Tribal Labor Relations Ordinance adopted pursuant to
section 12.11 of the compact, the undersigned parties hereby agree as follows:

      1.      Jurisdiction. Tribe is a federally recognized Indian tribal government
subject to the Ordinance; and each employee organization named on the ballot is
an employee organization within the meaning of the Ordinance; and the employees
described in the voting unit are Eligible Employees within the meaning of the
Ordinance.

      2.     Election. An election by secret ballot shall be held under the
supervision of the elections officer among the Eligible Employees as defined in
Section 2 of the Ordinance of the Tribe named above, and in the manner described
below, to determine which employee organization, if any, shall be certified to
represent such employees pursuant to the Ordinance.

       3.     Voter Eligibility. Unless otherwise indicated below, the eligible
voters shall be all Eligible Employees who were employed on the eligibility cutoff
date indicated below, and who are still employed on the date they cast their ballots
in the election, i.e., the date the voted ballot is received by the elections officer.
Eligible Employees who are ill, on vacation, on leave of absence or sabbatical,
temporarily laid off, and employees who are in the military service of the United
States shall be eligible to vote.

       4.      Voter Lists. The Tribe shall electronically file with the elections
officer a list of eligible voters within two (2) business days after receipt of a Notice
of Election.

       5.    Notice of Election. The elections officer shall serve Notices of
Election on the Tribe and on each party to the election. The Notice shall contain a
sample ballot, a description of the voting unit and information regarding the
balloting process. Upon receipt, the Tribe shall post such Notice of Election
conspicuously on all employee bulletin boards in each facility of the employer in
which members of the voting unit are employed. Once a Notice of Election is
posted, where the union has made the written offer set forth in Section 7(b) of the
Tribal Labor Relations Ordinance, the Tribe shall continue to refrain from

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publishing or posting pamphlets, fliers, letters, posters or any other communication
which should be interpreted as criticism of the union or advises employees to vote
“no” against the union. The Tribe shall be free at all times to fully inform
employees about the terms and conditions of employment it provides to employees
and the advantages of working for the Tribe.

       6.     Challenges. The elections officer or an authorized agent of any party
to the election may challenge, for good cause, the eligibility of a voter. Any
challenges shall be made prior to the tally of the ballots.

        7.    Tally of Ballots. At the time and place indicated below, ballots shall
be co-mingled and tabulated by the elections officer. Each party shall be allowed
to station an authorized agent at the ballot count to verify the tally of ballots. At
the conclusion of the counting, the elections officer shall serve a Tally of Ballots
on each party.

       8.     Objections and Post-election Procedures. Objections to the conduct
of the election may be filed with the elections officer within five (5) calendar days
following the service of the Tally of Ballots. Service and proof of service is
required.

      9.    Runoff Election. In the event a runoff election is necessary, it shall
be conducted at the direction of the elections officer.

     10. Wording on Ballot. The choices on the ballot shall appear in the
wording and order enumerated below.

             FIRST:  [***]
             SECOND: [***]
             THIRD:  [***]

      11.    Cutoff Date for Voter Eligibility: [***]

       12. Description of the Balloting Process. A secret ballot election will
take place within thirty (30) days after delivery of the voter list referenced in
paragraph 4. The employer will determine the location or locations of the polling
places for the election. There must be at least one (1) neutral location (such as a
high school, senior center, or similar facility) which is not within the gaming
facility and employees must also be afforded the option of voting by mail through
procedures established by the elections officer. Such procedures must include

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provisions that provide meaningful protection for each employee’s ability to make
an informed and voluntary individual choice on the issue of whether to accept or
reject a union. Such procedures must also ensure that neither employer nor union
representatives shall observe employees personally marking, signing, and placing
their ballot in the envelope. Only voters, designated observers and the election
officer or supporting staff can be present in the polling area. Neither employer nor
union representatives may campaign in or near the polling area. If the election
officer or supporting staff questions an employee’s eligibility to vote in the
election, the ballot will be placed in a sealed envelope until eligibility is
determined. The box will be opened under the supervision of the election officer
when voting is finished. Ballots submitted by mail must be received by the
elections officer no later than the day of the election in order to be counted in the
official tally of ballots.

       13. Voter List Format and Filing Deadline. Not later than two (2)
business days after receipt of the Notice of Election, the Tribe shall file with the
elections officer, at [**address**], an alphabetical list of all eligible voters
including their job titles, work locations and home addresses.

Copies of the list shall be served concurrently on the designated representative for
the [***]; proof of service must be concurrently filed with elections officer.

In addition, the Tribe shall submit to the election officer on or before [***], by
electronic mail, a copy of the voter list in an Excel spreadsheet format, with
columns labeled as follows: First Name, Last Name, Street Address, City, State,
and Zip Code. Work locations and job titles need not be included in the electronic
file. The file shall be sent to [***].

      14.    Notices of Election shall be posted by the Tribe no later than [***].

      15. Date, Time and Location of Counting of Ballots. Beginning at
[**time**] on [**date**], at the [**address**].




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      16. Each signatory to this Agreement hereby declares under penalty of
perjury that s/he is a duly authorized agent empowered to enter into this Consent
Election Agreement.


             (Name of Party)                                  (Name of Party)
 By                                           By
       (Title)                                      (Title)
       (Date)                                       (Date)


             (Name of Party)                                  (Name of Party)
 By                                           By
       (Title)                                      (Title)
       (Date)                                       (Date)


Date approved: ______________________

[**Author**]
Elections Officer




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                                   APPENDIX B

                           Off-Track Satellite Wagering
        WHEREAS, the State of California (State) permits and regulates pari-
mutuel wagering on horse racing (also known as off-track wagering) at authorized
satellite wagering facilities (also known as simulcast wagering facilities) at various
locations within the State, under the terms of California Business and Professions
Code section 19400 et seq. (California Horse Racing Law); and

       WHEREAS, the California Horse Racing Board (Board) is the agency
established under California state law to administer and enforce all laws, rules, and
regulations affecting horse racing and pari-mutuel wagering within the state and
has enacted regulations that appear at title 4, division 4 of the California Code of
Regulations, regulating the conduct of pari-mutuel and simulcast wagering on the
results of horse races (Board Rules and Regulations); and
       WHEREAS, operation of a satellite wagering facility is a Class III Gaming
activity under IGRA; and
      WHEREAS, the Blue Lake Rancheria, California (Tribe) has duly enacted
its Gaming Ordinance, which permits Class III Gaming on and within the Tribe’s
Indian lands if conducted in conformity with an applicable tribal-state compact;
and
       WHEREAS, section 3.0, subdivision (a)(4), of the Compact authorizes and
permits the Tribe to offer off-track wagering on horse races at a satellite wagering
facility pursuant to the requirements of this Appendix; and

       WHEREAS, the Tribe and the State each recognize the sovereign authority
and interests of the other in regulating gaming activities within their respective
areas of jurisdiction and in ensuring that off-track wagering on horse races is
conducted fairly, honestly, professionally and in a manner that promotes the
California horse racing industry.
      NOW, THEREFORE, in consideration of the mutual promises set forth
herein, the Tribe and the State agree as follows:

      Sec. 1.0. Definitions.
     Except where the context otherwise requires, the terms employed in this
Appendix shall have the same meanings ascribed to them in the California Horse


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Racing Law, the Board Rules and Regulations, and in the Compact, as they may be
modified or amended from time to time during the term of the Compact.
Whenever reference to the Compact is made in this Appendix, that reference shall
be understood to also include any Class III Gaming compact between the Tribe and
the State to amend or replace the Compact that may hereafter be entered into and
that is in effect. A satellite wagering machine is a device used solely to conduct
off-track wagering on horse races authorized by this Appendix, and such a machine
shall not be treated as a Gaming Device as defined in the Compact, including for
the purpose of calculating the number of Gaming Devices operated by the Tribe
under the Compact.

      Sec. 2.0. Purpose.

       The purpose of this Appendix is to establish and declare the terms upon
which off-track wagering in a satellite wagering facility may be established and
operated by the Tribe in its Gaming Facility as a means of developing self-
sufficiency and generating additional revenues necessary to provide tribal services
and programs, while providing the State and the Tribe with an effective means of
regulating such activities in accordance with IGRA.

      Sec. 3.0. Authorization to Operate Satellite Wagering Facility.
       The Tribe is authorized to establish and operate off-track wagering on horse
races in a satellite wagering facility (Satellite Facility) upon the Tribe’s Indian
lands within its Gaming Facility, provided that the Tribe completes and submits to
the Board an Application for Authorization to Operate a Simulcast Wagering
Facility (Form CHRB-25, or such form as may be revised), and such Satellite
Facility is operated in conformity with IGRA, this Appendix, and the Compact. To
the extent there may be provisions in the Compact that are in conflict with
provisions in the California Horse Racing Law or the Board Rules and Regulations
that are specific to the conduct of off-track wagering on horse races at a satellite
wagering facility, the California Horse Racing Law and the Board Rules and
Regulations, and the terms of this Appendix, shall control.

      (a)      Satellite Facility. For purposes of this Appendix, a site within a
               Gaming Facility authorized under Compact section 4.2, which shall be
               clearly demarcated, shall be approved as the Tribe’s Satellite Facility,
               provided that, upon inspection by the Board, the Board finds that the
               Satellite Facility complies with the substantive requirements of the
               California Horse Racing Law and the Board Rules and Regulations.
               References to the Satellite Facility in this Appendix shall refer only to


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               the portion of the Gaming Facility that has been demarcated as the
               Satellite Facility and shall not refer to any other portion of the Gaming
               Facility.

      (b)      Continuing Obligation to Maintain Satellite Facility. The Tribe agrees
               to maintain its Satellite Facility in a manner that complies with all
               applicable satellite wagering facility requirements made applicable by
               this Appendix at all times; provided, however, that the Tribe retains
               sole discretion to cease operation of the Satellite Facility.

      (c)      Except as provided in this Appendix, no prohibition upon, or
               regulation of, the establishment or operation of the Satellite Facility
               will be imposed upon the Tribe by the State.
      Sec. 4.0. Agreements with Satellite Operating Organizations.
       In order to permit the conduct of off-track wagering on horse races through
intrastate satellite wagering and out-of-state satellite wagering at the Satellite
Facility, the Tribe is hereby authorized to enter into agreements with any satellite
operating organization that is established pursuant to Business and Professions
Code section 19608.2, subdivision (a) or other provision of the California Horse
Racing Law or the Board’s Rules and Regulations, and which organization
provides the audiovisual signal of, and operates satellite wagering on, racing events
authorized to be received in the northern zone. No such satellite operating
organization shall refuse to enter into such an agreement with the Tribe on the
ground that the Tribe is not an entity eligible to be authorized to operate a satellite
wagering facility under state law, or that the proposed agreement with the Tribe is
otherwise inconsistent with any other provision of state law, or with the Board
Rules and Regulations, as long as the proposed agreement between the Tribe and
the satellite operating organization complies with federal law and with the terms of
this Appendix. A copy of any such agreement entered into by the Tribe shall be
provided to the Board at the location of the Board’s headquarters within thirty (30)
days after its execution. Except as herein provided, nothing in this Appendix is
intended to alter in any way the rights of the satellite operating organization under
state law.

      Sec. 5.0. Distribution of Handle.

      (a)      (1)   Generally. The amounts deducted from pari-mutuel wagers at
                     the Satellite Facility, and the distribution of such amounts, shall
                     be the same as those provided for under the California Horse


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                    Racing Law and the Board Rules and Regulations for satellite
                    wagering facilities, other than fairs, in the northern zone.

             (2)    State License Fee. In the event that during the term of the
                    Compact, California law is amended to authorize the State to
                    collect a state license fee, or a fee equivalent thereto, from the
                    wagers placed at the Satellite Facility, the Tribe and the State
                    shall promptly meet and confer as to whether that state license
                    fee may be imposed on the Tribe under federal law. Any
                    dispute as to this issue shall be resolved under the dispute
                    resolutions provisions of section 13.0 of the Compact.

      (b)    Additional Provisions for Purposes of Business and Professions Code
             Section 19605.7.

             (1)    The Tribe and the satellite operating organization may agree
                    between them and may specify by incorporating into the
                    agreement described in this Appendix, section 4.0, how the
                    percentages of the handle specified in Business and Professions
                    Code section 19605.7, subdivision (c), and designated for
                    promotion of the program at the Satellite Facility, shall be
                    distributed and expended; and
             (2)    The Tribe shall be deemed to be the equivalent of the county
                    and entitled to the 0.33% of the handle distributed to the local
                    government within which the Satellite Facility is located, as
                    specified in Business and Professions Code section 19605.7,
                    subdivision (d), and the Tribe shall receive that distribution
                    instead of Humboldt County.

      Sec. 6.0. Right of Entry.
       The Tribe hereby grants the Board a right of entry onto the Tribe’s land
solely for purposes of inspecting its Satellite Facility and monitoring compliance
with this Appendix. Such inspection or other site visits shall be conducted by the
Board in accordance with the same schedules, policies, and procedures that the
Board customarily applies to satellite wagering facilities licensed under state law.
Except when entering, leaving, or remaining in the public areas of the Satellite
Facility during normal operating hours, Board members or personnel shall notify
the Tribal Gaming Agency, as defined in the Compact, when they seek access to
the restricted (i.e., non-public) areas of the Satellite Facility. Inspections of the


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non-public areas of the Satellite Facility and inspections, copying, and
maintenance of papers, books and records, which shall remain the property of the
Tribe, shall be conducted in accordance with the Compact. Nothing in this
Appendix shall preclude the State Gaming Agency, as defined in the Compact,
from entry into the Satellite Facility to carry out all activities, rights, and duties
provided to the State Gaming Agency by the Compact.

      Sec. 7.0. Concurrent Tribal Authority.
        Nothing contained herein shall operate to preclude the Tribe from exercising
such additional and concurrent regulatory authority as it may otherwise possess
over the Gaming Activities authorized under this Appendix; provided, however,
that any regulatory authority exercised by the Tribe over the Gaming Activities
authorized in this Appendix shall be no less stringent than that which the Board
would exercise over off-track wagering on horse races at satellite wagering
facilities approved under state law.
      Sec. 8.0. Consent Under Interstate Horse Racing Act.

        To the extent that acceptance of interstate off-track wagers on horse races is
authorized by California state law and the Board, the execution of the Compact by
the State shall constitute consent to acceptance of interstate off-track wagers by the
satellite operating organization at the Satellite Facility, as required under 15 U.S.C.
§ 3004(a)(3). Either the State, or the Board or its successor, if requested, shall
acknowledge in writing the consent given herein.
      Sec. 9.0. Licenses Generally.

        Subject to compliance with the terms of this Appendix, the Tribe shall not be
required to obtain or possess a license from the Board in order to establish and
operate a satellite wagering facility within its Gaming Facility, and shall not be
required to obtain any other license under state law in connection with its operation
of its Satellite Facility, except as may be required under the Compact.
      Sec. 10.0. Licensing of Employees.

      (a)      Administrative and managerial personnel who exercise control over
               other persons licensed by the Board or the operation of satellite
               wagering, or whose duties routinely require access to restricted areas
               of the Satellite Facility, and clerical and other employees employed in
               a restricted area of the Satellite Facility, shall hold a valid license
               issued by the Board, if the person is required to be licensed pursuant

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               to section 1481 of the Board Rules and Regulations; provided that this
               requirement shall not apply to tribal public safety officers and security
               personnel of the Gaming Facility who regularly patrol the Satellite
               Facility in the course of performing their normal, assigned duties, but
               who are not assigned to remain therein continuously; and provided
               further that for the purposes of this Appendix, the restricted area of
               the Satellite Facility shall mean those areas within the Satellite
               Facility where admission can be obtained only upon presentation of
               authorized credentials or proper license, including those areas
               designated as the pari-mutuel department.

      (b)      If required by any of the Tribe’s ordinances, regulations, or rules,
               every person employed at the Satellite Facility on the Tribe’s Indian
               lands shall:
               (1)   Hold a valid license issued by the Tribal Gaming Agency; or
               (2)   Be approved by the Tribal Gaming Agency for such
                     employment.
      Sec. 11.0. Security Control Over Satellite Facility.

        The Tribe shall maintain such security controls over its Satellite Facility and
premises, including the presence of licensed security personnel, as the Board’s
Chief Investigator shall direct; and shall remove, deny access to, eject, or exclude
persons whose presence within the Satellite Facility is inimical to the interests of
the State as provided by sections 1980 and 1989 of the Board Rules and
Regulations, or to the interests of the Tribe in operating an honest, legitimate
satellite facility. Persons prohibited from wagering or excluded from the Satellite
Facility pursuant to sections 1980 through 1989 of the Rules and Regulations shall
have the right to a hearing thereon pursuant to the Board Rules and Regulations,
and the Tribe shall abide by the Board’s decision following such hearing; however,
nothing in this section shall affect the Tribe’s power to exclude or remove persons
from the Tribe’s land, Gaming Facility, or Satellite Facility pursuant to federal law
and the Tribe’s laws, regulations, rules, or policies.

      Sec. 12.0. Civil Regulation.

      (a)      Generally. Except as modified by this Appendix, and except to the
               extent that they are in conflict with federal law, all provisions of the
               California Constitution and all provisions of California Horse Racing
               Law that specifically and directly pertain to the conduct of off-track

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              wagering on horse races at a satellite wagering facility, and all rules,
              regulations, policies, and regulatory and enforcement practices of the
              Board or its successor, which are now in existence or which may
              hereafter be enacted, adopted or from time to time amended, and that
              apply generally to satellite wagering facilities within the State, are
              hereby incorporated into this Appendix and shall be applicable to the
              Satellite Facility authorized by this Appendix to the same extent and
              in the same manner as they apply to satellite wagering facilities in
              operation within the state generally.

       (b)    Non-Discrimination in Enforcement. In exercising the regulatory
              enforcement authority granted herein, such authority and the
              application of the Board Rules and Regulations and procedures shall
              not be exercised by the Board in a manner that discriminates against
              the Tribe or is more stringent than that applied to state-licensed
              satellite wagering facilities in operation within the State generally.

       Sec. 13.0. Suitability Standard Regarding Licensing.

        It is the Tribe’s and the State’s intent that the licensing of persons, entities,
and financial sources directly providing services or materials to the Tribe’s
Satellite Facility shall involve joint cooperation between the Tribal Gaming
Agency and the Board. Except as modified by this Appendix, the Tribe agrees to
comply with all licensing requirements, procedures, and standards relevant to
satellite wagering facilities that are set forth in the California Horse Racing Law
and the Board’s Rules and Regulations.

       Sec. 14.0. Governing Law.
      This Appendix shall be governed by and construed in accordance with
federal law (including but not limited to IGRA) and the laws of the State of
California to the extent those laws are not inconsistent with federal law; provided,
however, that provisions of state laws and regulations expressly incorporated into
this Appendix shall be construed in accordance with the laws of the State of
California.




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                                              Law Offices Of

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                                            January 31, 2023

  Transmitted Via Email: Nathan.Vogeli@gov.ca.gov

  Nathan Voegeli
  Senior Advisor for Tribal Negotiations
  Office of Governor Gavin Newsom
  1021 O Street, Suite 9000
  Sacramento CA 95814

            Re:     Request of the Buena Vista Rancheria for Compact Negotiations

  Dear Senior Advisor, Voegeli:

  I am writing on behalf of my client, the Buena Vista Rancheria (“Tribe”), to request that the
  Governor (“Governor”) of the State of California (“State”), pursuant to section 11.2.1,
  subdivision (a) of the Tribe’s 1999 Tribal State Compact (‘Compact”) with the State, as modified
  by Addendum A, Modification No. 4, enter into good faith negotiations with the Tribe to
  conclude a new Tribal-State compact with the Tribe, that will allow the Tribe to engage in class
  III gaming on its Indian lands.

  Section 15.1 of the Tribe’s compact provides: “The terms and conditions of this Compact may be
  amended at any time by the mutual and written agreement of both parties during the term of this
  Compact set forth in section 14.2, provided that each party voluntarily consents to such
  negotiations in writing. Any amendments to this Compact shall be deemed to supersede, supplant
  and extinguish all previous understandings and agreements on the subject.” Since there are
  several provisions in the Tribe’s current compact that violate the IGRA and are inconsistent with
  the Ninth Circuit Court of Appeals decision in Chicken Ranch Rancheria v. State of California,
  42 F. 4th 1024 (9th Cir.), the Tribe gives its consent to enter into compact negotiations with the
  Governor to amended the existing compact or negotiate a new one, and requests that the
  Governor, likewise give his consent in writing to engage in negotiations with the Tribe as
  requested in the Tribe’s attached Resolution.

  Attached to this letter is a resolution of the Tribal Council of the Tribe requesting that the
  Governor enter formal compact negotiations with the Tribe. Please present the Resolution to the
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Governor on behalf of the Tribal Council for the Governor’s records.

Also attached to this letter is a proposed set of ground rules for conducting the negotiations.
Please send me a letter confirming receipt of this letter and advising me whether the ground rules
I have proposed are acceptable to the Governor and his negotiating team. Prior to commencing
negotiations, I will provide you with a list of the names, addresses and email addresses of the
people that are identified in the Resolution and who will be representing the Tribe in the
negotiations. I would request that you do the same and provide me with the names, addresses and
email addresses of the people who will be representing the Governor in these negotiations.

Also, as you know, the Ninth Circuit Court of Appeals rendered its decision in Chicken Ranch
Rancheria v. State of California, 42 F. 4th 1024 (9th Cir.) (“Chicken Ranch”). In that decision
the Court of Appeals determined what were the permissible topics of negotiation for a class III
gaming compact under the Indian Gaming Regulatory Act, 25 U.S.C. § 2701 et. seq. (“IGRA”).

In addition, the Assistant Secretary of Indian Affairs (“ASIA”) for the Department of the Interior
(“DOI”), based upon the Chicken Ranch decision affirmatively disapproved the Santa Rosa and
Tejon November 23, 2021, and July 22, 2022, compact submissions because they contained
provisions that violated the provisions of the IGRA as interpreted by the Court of Appeals in
Chicken Ranch. Based upon the ASIA disapproval letters the Tribe has concerns that in the
upcoming negotiations, the State will propose provisions that violate the IGRA. The Tribe does
not know what the State will propose to the Tribe to overcome the ASIA disapproval letters and
the Chicken Ranch decision but it’s the Tribe’s position that a demand for inclusion of any of the
following provisions would violate the IGRA for the following reasons:

       Definitions:

       A. Definitions that implicate environmental mitigation obligations.

The ASIA November 23, 2021, and July 22, 2022, disapproval letters (“ASIA Letters”)
determined that the Tejon and Santa Rosa compact definitions for “Gaming Facility,” “Gaming
Operation,” “Initial Study,” “Interested Persons,” and “Project,” when coupled with the
expansive Section 11 regarding assessment and mitigation of off-reservation impacts,
impermissibly interfered “with the Tribe’s authority to govern itself, start a project or otherwise
use its lands” and therefore, violated the IGRA.

In addition, the ASIA Letters and the Chicken Ranch decision found that the State’s demand for
environmental assessments, mitigation and Intergovernmental Agreements violate the IGRA.
Therefore, any provision requiring the Tribe to enter into an Intergovernmental Agreement with
a local government or any similar collateral agreement, as a precondition to entering a compact,
would, likewise, constitute a violation of the IGRA.

       B. Overly broad definition of “Gaming Employee.”

In compact negotiations with other tribes, the State has also insisted on including within the
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definition of “Gaming Employee” and “Gaming Operation”, employees who have no
involvement in the operation of class III gaming activities and imposed on the tribes’ significant
obligations relating to such employees, thus violating 25 U.S.C. § 2710(d)(3)(C)(i)-(vii).

       C. Overly broad definitions of “Gaming Facility” and “Gaming Operation.”

In previous compact negotiations, the State has insisted on defining “Gaming Facility” as “the
buildings or structures in which Class III Gaming, … is conducted [,]” and using the “but-for”
test to determine what’s included in this definition. This definition is broader than “gaming
spaces” as defined in the ASIA Letters. The Tribe’s position is that this definition of Gaming
Facility coupled with the definition of Gaming Operation is too broad and encompasses activities
and functions that are amenities, such as the operation of restaurants and gift shops, none of
which are directly related to the actual operation of gaming activities and thus exceed the
permissible scope of negotiation under 25 U.S.C. § 2710(d)(3)(C)(i)-(vii).

       D. Cost reimbursement to the State.

In all of the State’s recent compact negotiations with other tribes, the State has insisted on using
a “pro rata share” formula for payments into the Special Distribution Fund (“SDF”) to reimburse
the State for its “costs incurred for purposes consistent with IGRA, including the performance of
all its duties under compacts, the administration and implementation of tribal-state Class III
Gaming compacts and Secretarial procedures prescribed by the Secretary of the DOI, pursuant to
25 U.S.C. § 2710(d)(7)(B)(vii) (“Secretarial Procedures”), and funding for the Office of Problem
Gambling, as determined by the monies appropriated in the State’s annual Budget Act each fiscal
year to carry out those purposes (“Appropriation”).” It’s the Tribe’s position that such a
provision violates IGRA because it requires tribes to pay the State amounts determined
unilaterally by the State Legislature that are not necessarily related to the actual regulation of
tribal gaming. Under the State’s proposed provision, a tribe’s “pro rata share” will not be based
on what the State actually and reasonably spends in regulating either the specific tribe’s (or even
all California tribes’) class III gaming activities. Rather, it will be based on whatever the
Legislature may unilaterally — without tribal consent or even consultation — appropriate for the
State Gaming Agency in any given year, limited only by a 5% year over year cap, and entirely
unmoored from the State’s “necessary … costs of regulating” tribal gaming. 25 U.S.C. §
2710(d)(3)(C)(iii).

The State’s provision regarding tribal payments is impermissible for yet another reason. The
Legislature’s allocation to its own internal agencies for an upcoming fiscal year is made without
regard to the amount of money already in the SDF—money left over from tribes’ contributions
in previous years, as well as ongoing payments. An August 25, 2022 report by the California
State Auditor determined that the State is currently requiring tribes to pay far more into the SDF
than is needed to reimburse the State for its legitimate regulatory costs, as evidenced by the fact
that the SDF now contains nearly four times the annual amount budgeted by the Legislature, with
no means for refunding excesses to the tribes, and no constraint on future increases without
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regard to what the State actually may spend.1 Moreover, the report determined that the State has
used and continues to use the SDF to fund regulation of non-tribal gambling operations and that
the State Department of Public Health’s Office of Problem Gambling cannot properly account
for money allocated from the SDF to problem gambling mitigation. Thus, the provision the State
seeks to impose on tribes would force tribes to pay more than is necessary to regulate tribal
gaming, and, furthermore, to fund State activities wholly unrelated to the regulation or operation
of tribal gaming activities.

The State’s previous proposals to other tribes also impermissibly intrude on tribal self-
governance in a number of other ways. They require payment of interest on underpayments. 2
They allow the State to seek injunctive relief and interest for non-payment and make failure to
pay a material breach of the compact for which the tribe can be enjoined from operating class III
gaming until payment is made, even if the State’s regulatory costs are fully funded. With an SDF
currently overfunded by 400%, these provisions are not necessary for and directly related to the
regulation, licensing, or operation of class III gaming activities, and thus exceed what is
permissible under 25 U.S.C. § 2710(d)(3)(C)(i)-(vii).

       E. Exclusivity.

Cases such as Coyote Valley II, 331 F.3d 1094 (9th Cir. 2003), and Rincon v. Schwarzenegger,
602 F. 3d 1019 (9th Cir. 2010), as well as previous DOI decisions on compacts,3 have permitted
a state to propose payment obligations, but only if the state offers a meaningful concession in
return. “Meaningful concessions” have been interpreted to mean concessions about which the
State is not otherwise obligated to negotiate and are of value to the tribe. Rincon v.
Schwarzenegger held that because the State Constitution already grants all California tribes the
exclusive right to operate slot machines and banked and percentage card games, the State cannot
reassert that exclusive right to exact additional monetary concessions.

In previous compact negotiations with other tribes, the State has insisted on illusory
“exclusivity” provisions: i.e., if tribal exclusivity on slot machines is lost,4 the tribe can choose
either to terminate the compact and cease class III gaming or negotiate a reduction in some —
but not all — compact fees, excluding payment obligations under an Intergovernmental
Agreement regarding mitigation of off-reservation impacts from “Projects.” This is no grant of
exclusivity at all, and the State has not offered any other meaningful concessions in return for its

1
  A copy of the August 25, 2022, California State Auditor’s Report is attached hereto as Exhibit
A.
2
  DOI has orally stated that requiring payment of interest on overdue payments is a penalty, not
directly related to the operation of gaming activities, but that was not mentioned in the ASIA
disapproval Letters.
3
  See, e.g., the August 6, 2021 “Deemed Approved” Letter from then-Principal Deputy Assistant
Secretary – Indian Affairs, Bryan Newland to the Honorable Marcellus W. Osceola, Jr.,
Chairman, Seminole Tribe of Florida, pp. 8-10.
4
  The compacts do not provide any relief for loss of exclusivity on banked/percentage card
games.
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financial demands. Thus, the State’s previously proposed “exclusivity” language offered to other
tribes does not constitute a meaningful concession for the State’s financial demands. Any
requests that the Tribe pay any fee to the State other than reimbursement of its actual costs to
regulate must be accompanied by a meaningful concession offer.

       F. Revenue sharing with non-gaming and limited-gaming tribes.

The concept of the Revenue Sharing Trust Fund (“RSTF”) originated with the tribes in the “1999
Compacts.” Brown and Newsom administration compacts require tribes to pay not only into the
RSTF, but also into the State-imposed Tribal Nations Grant Fund (“TNGF”). Further, they
specify that non- and limited-gaming tribes are not third-party beneficiaries to the TNGF and
cannot sue to compel distributions. The State retains full control over these funds. In addition,
the State has proposed to waive payments to the RSTF if a tribe operates no more than 1,200
Gaming Devices.5 The fact that the State is willing to waive payments calls into question
whether the State is requiring payments into the RSTF of more than is needed to ensure the
distribution of $1.1 million/year to each eligible tribe. The State’s proposals include interest
penalties for untimely or non-payment, something that IGRA doesn’t permit because it isn’t
directly related to the operation of gaming activities and isn’t accompanied by a meaningful
concession.6

Despite continued tribal objections, the State continued to offer “credits” against RSTF payments
for expenditures on an array of State-approved purposes, but subject to prior State review and
subsequent State disallowance. Almost none of the projects or activities that the State requires
tribes to fund to qualify for offsets are even tangentially related to the operation of class III
gaming activities, much less directly related to such activities. The only relationship of the
credits to the operation of class III gaming activities is that the money used to pay for the
projects the State seeks to promote, and for which it offers the tribes offsets, comes from gaming.
Yet both Chicken Ranch and Rincon Band v. Schwarzenegger held that this is not a sufficient
connection. Thus, any similar State “credit” proposal made to the Tribe would violate IGRA.

Moreover, whether a tribe elects to pay into the RSTF or to fund a project or activity that the
State seeks to promote to qualify for an offset, the State’s proposed provision would require
tribes to spend specified percentages of their respective Gross Gaming Revenue each year, even
if the RSTF is fully funded, and even if the tribes would prefer not to spend the money at all.
This credit provision, which constitutes a deep and direct infringement on tribal self-government,
not only violates 25 U.S.C. § 2710(d)(3)(C)(i) -(vii), but also, by forcing the tribe to spend
money each year whether or not it wants to spend the money, it constitutes a tax, fee, or other
assessment that violates 25 U.S.C. § 2710(d)(4), unless the State offers the Tribe a meaningful
concession in return for this requirement.


5
  Tejon’s proposed compact waives RSTF payments for the first seven years of operation.
6
  During previous technical assistance provided to the CTSC Tribes, the Office of Indian Gaming
informed the Tribes that the DOI’s position is that interest on late payments is a penalty that is
not directly related to the regulation, licensing or operation of class III gaming activities, and
thus is not consistent with IGRA.
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       H. Workplace health and safety and tort liability.

The U.S. Occupational Safety and Health Administration has full authority over tribal
workplaces. Donovan v. Coeur d’Alene Tribal Farms, 751 F.2d 1113 (9th Cir. 1985).
Nonetheless, the State’s previous compact proposals obligate the tribes to allow State inspections
of all Gaming Facility workplaces, not just gaming spaces, unless a federal agency has conducted
an inspection during the previous calendar quarter and the tribe has provided the State with a
report of that inspection. This is problematic because, historically, OSHA does not routinely
conduct quarterly inspections.

The State’s previous compact proposals require, inter alia, maintaining $3 million in
employment practices liability insurance (self-insurance is not an option), enacting ordinances
and/or procedures prohibiting workplace discrimination involving all Gaming Operation
employees (not just class III gaming employees that work in Gaming Spaces) under both federal
and state protected classes, and rendering the tribe liable in money damages for such conduct.
However, both the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq., and Title VII 42
U.S.C. § 2000e, et seq., specifically exclude tribes from the definition of “employer”. Federal
courts have consistently held that these and various other federal employment laws do not
abrogate tribal sovereign immunity from private actions thereunder. At least to the extent that
these requirements apply to employees who are not involved in the actual operation of class III
gaming activities, thus, including these requirements in a compact is inconsistent with IGRA,
however laudable the policies sought to be advanced by them might be.

The State’s proposals also prohibit, to the extent required by State law, cashing checks drawn
against government accounts, which is unrelated to the operation of gaming activities. Likewise,
the State requires adherence to State laws regarding the extension of credit. They also require
adoption of ordinances or policies requiring compliance with both the Fair Labor Standards Act
and regulations, and the State’s minimum wage laws and regulations, for all Gaming Operation
employees, not just those employees directly engaged in the operation of class III gaming
activities.

The State’s proposals continue to require that the tribes provide Workers Compensation and
unemployment insurance coverage comparable to what is required by State law for all Gaming
Operation and Gaming Facility employees. They also require the tribes to comply with State
income tax withholding requirements, except for tribal members expressly exempted by
California law. These requirements do not distinguish between employees who are engaged in
the operation of class III gaming activities and those who are not so engaged, and in any event,
are not directly related to and necessary for the regulation, licensing, or operation of class III
gaming activities.

Although the National Labor Relations Act now protects the organizational and representational
rights of tribal gaming operation employees, the State has continued to require the adoption and
maintenance in effect of the State’s discriminatory new Tribal Labor Relations Ordinance
(“TLRO”) proposed in other compacts. The State’s new TLRO continues to include employees
in another “related facility, the only significant purpose of which is to facilitate patronage of the
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class III gaming operations.” The new TLRO subjects the tribe to binding interest arbitration of
collective bargaining impasses, something that the State cannot require of its own political
subdivisions,7 and that does not apply to any other California employer subject to the NLRB’s
jurisdiction, including State-licensed gambling establishments.

The State’s new TLRO, the terms of which the State consistently refused to negotiate with other
tribes, goes far beyond securing the basic organizational and representational rights approved in
Coyote Valley II. The State should not allow to use the compact negotiation process as a means
of allowing a non-governmental third party to impose binding interest arbitration on a sovereign
tribal government.

                                           CONCLUSION

The Tribe hopes that you will take the issues raised in this letter into consideration in developing
the State’s offers and counteroffers to the Tribe to conclude a new class III compact to replace
the Tribe’s existing compact.

I and the Tribes’ negotiating team look forward to beginning the compact negotiation process
with you and the State’s team. Please get back to me as soon as possible and let me know your
availability to meet over the next ninety days. The Tribe would like to establish a schedule for
the negotiations that will allow the parties to conclude negotiations well before the June 30,
2023, deadline.

If you have any questions regarding this letter, please direct then to me, rather than my client, at
the address, telephone number or email address on the above letterhead. Your quick reply to this
letter is greatly appreciated.


                                                       Yours very truly,



                                                       LESTER J. MARSTON,
                                                       Attorney for Buena Vista Rancheria,

Enclosure(s)
cc: Ronda Hope Flores, Chair
    Wayne Smith, Tribal Administrator




7
    Cty. of Riverside v. Superior Court, 30 Cal. 4th 278, 132 Cal. Rptr. 2d 713, 66 P.3d 718 (2003).
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                          OFFICE OF THE GOVERNOR

                                    March 20, 2023



Via Electronic Mail and US Mail

Honorable Rhonda L. Morningstar Pope Flores
Chairperson, Buena Vista Rancheria of Me-Wuk Indians
1418 20th Street, Suite 200
Sacramento, CA 95811
rhonda@bvtribe.com


Dear Chairperson Pope Flores:

        On January 21, 2023, the Governor received Resolution No. 2022-024 from the
Tribal Council of the Buena Vista Rancheria of Me-Wuk Indians (Tribe) requesting to
commence negotiations with the State of California (State) to amend or replace the
Tribe’s June 28, 2016 tribal-state class III gaming compact (2016 Compact). Notice of
the 2016 Compact was published in the Federal Register on December 5, 2016. (81
Fed.Reg. 87585.) Under section 14.2, the Tribe’s 2016 Compact terminates after 25 years
on December 5, 2041.

       The State and the Tribe agreed to specific provisions regarding amendments or
negotiations for a new compact in section 15.0 of the 2016 Compact. Section 15.1
provides that the Tribe and the State may voluntarily consent to amend the 2016
Compact through a mutual and written agreement. The 2016 Compact is less than a
quarter through its 25-year term and the State does not consent to amend it at this
time. Under section 15.2, the Tribe or the State may request to enter negotiations for a
new tribal-state class III gaming compact no sooner than 18 months before the
termination date of the 2016 Compact. Because it is not within 18 months of December
5, 2041, the State is not required to enter into negotiations for a new compact with the
Tribe.




               GOVERNOR GAVIN NEWSOM • SACRAMENTO, CA 95814 • (916) 445-2841
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      None of the conditions under section 15.3 are met and the State respectfully
declines to enter into negotiations to amend or replace the 2016 Compact.

                                                   Sincerely,


                                                  Nathan Voegeli
                                                  Senior Advisor for Tribal Negotiations
                                                  Office of Governor Gavin Newsom

ec:   Wayne Smith, Tribal Administrator
      wayne@bvtribe.com

      Les Marston, Attorney
      ljmarston@rmlawoffice.net




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                                                                                               Facsimile (707) 462-4235




                                                   March 30, 2023

  Transmitted Via Email: Nathan.Vogeli@gov.ca.gov

  Nathan Voegeli
  Senior Advisor for Tribal Negotiations
  Office of Governor Gavin Newsom
  1021 O Street, Suite 9000
  Sacramento CA 95814

            Re:    Response to the State’s Refusal to Engage in Compact Negotiations With the
                   Buena Vista Rancheria.
            Our File No.: 22-2-3.1.1

  Dear Senior Advisor, Voegeli:

  I write in response to your letter, dated March 20, 2023, denying the Buena Vista Rancheria’s
  (“Tribe”) request to engage in good faith compact negotiations to amend its class III gaming
  Compact with the State to remove the illegal provisions in the compact so that it comports with
  the 9th Circuit’s decision in Chicken Ranch Rancheria of Mewuk Indians v. California, 42 F.4th
  1024 (9th Cir. 2022) (“Chicken Ranch”).

  The Tribe’s position is that the Governor, on behalf of the State, and the State have an obligation
  to “make their best efforts to resolve disputes that arise under this Compact by good faith
  negotiations whenever possible.” Compact, Section 13.1. As established in the Tribe’s January
  31, 2023, letter1 (“Request for Negotiations”), certain terms, provisions, and conditions of the

  1
    The Tribe sent the State and the Governor both a letter and a resolution requesting negotiations. The letter
  requested negotiations and expressly referenced section 15 of the Compact because the Tribe assumed the Governor
  would be anxious to renegotiate provisions in the compact that Chicken Ranch invalidated. Obviously, that is not the
  case. However, under the resolution the Tribe requested negotiations for the purpose of renegotiating the illegal
  provisions contained in the compact after the Chicken Ranch decision without referencing any provision of its
  compact or the IGRA. So, let us be clear, it is the Tribe’s position that, in conformity with the law, all the Tribe
  needs to do is request negotiations and state the purpose of the negotiations. If the State believes that it does not
  have an obligation to negotiate, the burden is on the State to cite to the applicable provisions of the law or the
  compact that relieve it of its obligation to negotiate. Be advised that the Tribe’s previous request to negotiate was
  made under the applicable provisions of the IGRA and the Tribe’s compact. Therefore, the time periods for the State
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Tribe’s Compact are inconsistent with the Chicken Ranch decision. Thus, a dispute exists
concerning the legality and enforceability of those terms, provisions, and conditions identified in
the Request for Negotiations.

Under Section 13.1(a) the Tribe has provided “written notice setting forth the facts giving rise to
the dispute and with specificity, the issues to be resolved.” The Tribe has made a request to meet
and confer for the purpose of amending the Compact as a means of resolving the disputed terms,
provisions, and conditions. Under Section 13.1(b) of the Compact, the State had fifteen (15) days
to respond to the Tribe’s request. The State’s response came more than 30 days after the Tribe’s
request.2 Section 13.1(c) obligates the State to meet and confer with the Tribe within thirty (30)
days after receiving the request to meet and confer.

PLEASE TAKE NOTICE, if the State does not respond to the Tribe’s request to meet and
confer pursuant to Section 13 of the Compact within fifteen (15) days of the date of receipt of
this second request for negotiations (April 14, 2023), or the State refuses to meet and confer with
the Tribe within thirty (30) days of the date of receipt of this letter (April 29,2023), it is the
Tribe’s position that the State is in breach of the Compact. If the State’s position remains
consistent with the State’s March 20, 2023, response, namely, that the State is not obligated to
meet and confer with the Tribe in good faith to find a mutually beneficial solution under Section
15 of the Compact, then the State has breached its duty to exercise its best efforts to resolve
disputes arising under the Compact in good faith.

To be clear, the Tribe has enacted Resolution No 2022-024, authorizing the Tribe to request
negotiations and the Tribe requested negotiations on January 31, 2023. In addition, pursuant to
25 U.S.C. § 2710(d)(7)(B)(i), 180 days from the date of the Tribe’s request, the Tribe may
initiate an action against the State for failure to negotiate a compact. Thus, if the State does not
make a good faith attempt to negotiate amendments to the Tribe’s Compact, thereby bringing the
Compact into compliance with federal law, the Tribe can initiate an action under IGRA after July
30, 2023.

However, the Tribe desires to resolve the dispute by meeting and conferring in good faith to
amend the terms, provisions, and conditions of the Tribe’s Compact. Therefore, pursuant to the
Tribe’s Request for Negotiations, the Tribe seeks to meet with the State to establish a schedule
for negotiations that will allow the parties to complete the amendments before June 30, 2023.

The Tribe hopes that Governor Newsom, as the chief law enforcement official of the State of
California, will welcome the opportunity to negotiate substitute provisions in an effort to bring
the Tribe’s Compact into compliance with the 9th Circuit’s decision in Chicken Ranch, which
reflects the current state of the law.


to come to the table and begin to negotiate with the Tribe under the compact and the IGRA began to run on the date
that the State/Governor received the Tribe’s request as set forth in its letter and resolution.
2
  Arguably, the State’s denial already breached Section 13 of the Compact. However, in an effort to resolve the
dispute in good faith, the Tribe is willing to overlook the outright denial of a request to negotiate and allow the State
to meet and confer before April 28, 2023.
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Letter to Senior Advisor Nathan Voegeli                                                    Page 3
March 30, 2023
Re: Tribe’s Response to State’s Refusal to Engage in Compact Negotiations

If you have any questions, please direct them to me rather than my client or if you would like to
meet to schedule negotiations, please do not hesitate to contact me. I look forward to your
prompt response.

                                                     Yours very truly,



                                                     LESTER J. MARSTON,
                                                     Attorney for Buena Vista Rancheria,

Enclosure(s)
cc: Ronda Pope-Flores, Chair
    Wayne Smith, Chief of Staff
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                         OFFICE OF THE GOVERNOR

                                   April 14, 2023

Via Electronic Mail

Les Marston
Rapport and Marston
405 W. Perkins Street
Ukiah, CA 95482
ljmarston@rmlawoffice.net

RE:   Response to March 30, 2023 Meet and Confer Request under Section 13.1
      of the 2016 Tribal-State Compact Between the State of California and the
      Buena Vista Rancheria of Me-Wuk Indians of California

Dear Mr. Marston:

       Thank you for your March 30, 2023, letter on behalf of the Buena Vista
Rancheria of Me-Wuk Indians (Tribe) by which the Tribe requests to meet and
confer with the State of California (State) pursuant to section 13.1, subdivision (b)
of the Tribe’s June 28, 2016 tribal-state class III gaming compact (2016
Compact). The State understands from your letter that the Tribe wishes to
dispute certain provisions of the 2016 Compact that it believes to be inconsistent
with the Ninth Circuit Court of Appeals decision in Chicken Ranch Rancheria of
Me-Wuk Indians v. California (Chicken Ranch), 42 F.4th 1024 (9th Cir. 2022). The
State agrees to dispute resolution under section 13.0 of the 2016 Compact as
the appropriate way to address any issues regarding provisions in the 2016
Compact that may be inconsistent with the Chicken Ranch decision.

       Chicken Ranch determined that “IGRA strictly limits the topics that states
may include in tribal-state Class III compacts to those directly related to the
operation of gaming activities.” Chicken Ranch, 42 F.4th at 1029. The specific
provisions addressed by the Ninth Circuit concerned tribal recognition of spousal
and child support orders for all gaming facility employees, environmental review
and mitigation for a broadly defined set of projects, and broad tort claims
coverage. Id. at 1037-39. The Chicken Ranch court held that under 25 U.S.C. §



              GOVERNOR GAVIN NEWSOM • SACRAMENTO, CA 95814 • (916) 445-2841
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2710(d)(3)(C)(vii), “these family, environmental, and tort law provisions are not
‘directly related to the operation of gaming activities.’” Id. at 1038.

       Your March 30, 2023 letter references your January 31, 2023 letter for the
Tribe’s position that the inclusion in a new compact of any of the following
provisions would violate IGRA: definitions that implicate environmental
mitigation obligations; overly broad definitions of Gaming Employee, Gaming
Facility, and Gaming Operation; cost reimbursement to the State; exclusivity;
revenue sharing with non- and limited-gaming tribes; and workplace health and
safety and tort liability. It is unclear to the State if the Tribe is disputing all of these
provisions for purposes of its meet and confer request under section 13.1 of the
2016 Compact.

       The State’s position is that the provisions decided by Chicken Ranch
circumscribe the 2016 Compact terms subject to dispute. Those terms are limited
to the Gaming Facility definition in section 2.12, section 11.0 environmental
review requirements, section 12.5 tort protections, and recognition of child and
spousal support orders under section 12.6, subdivision (e). The other provisions
cited in your January 31, 2023 letter—the definitions of Gaming Employee and
Gaming Operation, State regulatory costs, revenue sharing, exclusivity, and
workplace health and safety protections—were not addressed by the Chicken
Ranch holding.

      Further, the Assistant Secretary—Indian Affairs (AS-IA) disapproval letters
dated November 23, 2021, and July 22, 2022, mentioned in your January 31,
2023 letter, 1 do not note any concerns with the definitions of Gaming Employee
and Gaming Operation, State regulatory costs, revenue sharing, exclusivity, or
workplace health and safety protections. Additionally, the fact that the AS-IA on
November 17, 2022, after the Chicken Ranch decision, affirmatively approved
compacts between the State and the Santa Rosa Indian Community of the
Santa Rosa Rancheria and the Tejon Indian Tribe that included provisions on
these topics substantially similar to those in the 2016 Compact supports the
State’s position.




1 Your letter refers to the AS-IA disapproving the “Santa Rosa and Tejon November 23, 2021, and

July 22, 2022, compact submissions.” The State’s compact with the Tejon Indian Tribe was
affirmatively approved by the AS-IA. The AS-IA issued letters on November 23, 2021, and July 22,
2022, disapproving two different compacts with the Santa Rosa Indian Community of the Santa
Rosa Rancheria that were signed, respectively, in April 2021 and March 2022.
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       The State is available on April 21, 2023, from 11:00 a.m. to 12:30 p.m. or
April 26, 2023, from 1:00 to 2:30 p.m. to meet and confer with the Tribe pursuant
to section 13.1 of the 2016 Compact to resolve the disputes regarding the
provisions that may be inconsistent with the Chicken Ranch decision. The State is
willing to meet with the Tribe by telephone, by videoconference, or in person at
the Tribe’s rancheria or in Sacramento. Please let me know if the Tribe is
available to meet on either of these dates or if the State should look for
alternative times for this meet and confer.

                                               Sincerely,


                                               Nathan Voegeli
                                               Senior Advisor for Tribal Negotiations
                                               Office of Governor Gavin Newsom


ec:   Honorable Rhonda L. Morningstar Pope Flores, Chairperson
      Buena Vista Rancheria of Me-Wuk Indians
      rhonda@bvtribe.com

      Wayne Smith, Tribal Administrator
      Buena Vista Rancheria of Me-Wuk Indians
      wayne@bvtribe.com




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          EXHIBIT G
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                           OFFICE OF THE GOVERNOR

                                      May 26, 2023

Via Electronic Mail and US Mail

Les Marston
Rapport and Marston
405 W. Perkins Street
Ukiah, CA 95482
ljmarston@rmlawoffice.net

Dear Mr. Marston:

         Thank you for facilitating the meet and confer on May 16, 2023, pursuant to the
section 13.0 dispute resolution provisions of the 2016 compact (2016 Compact)
between the State of California (State) and the Buena Vista Rancheria of Me-Wuk
Indians (Tribe). As I indicated during the meet and confer, and in my prior April 14, 2023
letter, the State’s position is that the 2016 Compact terms subject to dispute are limited
to those addressed by the Ninth Circuit’s holding in Chicken Ranch Rancheria of Me-
Wuk Indians v. California (Chicken Ranch), 42 F.4th 1024 (9th Cir. 2022) involving family,
environmental, and tort law provisions.

        At the meet and confer, the Tribe provided the State a list of provisions in the
Tribe’s 2016 Compact that the Tribe considers invalid. After the State and Tribe went
through that list, I agreed to confirm by letter the provisions the State considers to be
implicated by the Chicken Ranch decision. The State agreed only to identify implicated
provisions. It did not agree that any particular provision was invalidated or to any
specific approach for resolving an issue.

  As indicated at the meet and confer, the State considers the following 2016
Compact terms to be reasonably subject to dispute as a result of Chicken Ranch:
      • § 2.12 Gaming Facility definition;
      • § 2.18 Interested Persons definition;
      • § 2.22 Project definition;
      • § 2.24 Significant Effects on the Off-Reservation Environment definition;
      • § 4.5, subdivision (a)(2)(B) reference to any intergovernmental agreement
         pursuant to section 11.7;
      • § 5.3, subdivision (a) reference to payments under section 11.0;
      • § 11.0 environmental review and intergovernmental agreement
         requirements;
      • § 12.5 broad scope of tort claim coverage; and
      • § 12.6, subdivision (e) child and spousal support orders.

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       In addition to those provisions the State agrees are reasonably implicated by
Chicken Ranch and accordingly subject to dispute, the State identified terms that it
may be willing to revisit if the Tribe and State are able to reach agreement on the
scope of disputed provisions. Those provisions are the sale of tobacco products to
minors under section 12.2 and the procedures for handling workplace claims of
discrimination, harassment, or retaliation under section 12.3, subdivision (f)(2).

       Finally, the State and Tribe discussed scheduling another meet and confer after
confirming the terms each considered to be implicated by the Chicken Ranch
decision. That now being accomplished, the State is available for a videoconference
meet and confer on either June 7, 2023 from 10:30 a.m. to 1 p.m. or June 15, 2023 from
10:30 a.m. to 1 p.m. Please let me know if either of those times will work for the Tribe or if
the State should propose alternative dates.

                                                   Sincerely,




                                                   Nathan Voegeli
                                                   Senior Advisor for Tribal Negotiations
                                                   Office of Governor Gavin Newsom




ec:    Honorable Rhonda L. Morningstar Pope Flores, Chairperson
       Buena Vista Rancheria of Me-Wuk Indians
       rhonda@bvtribe.com

       Wayne Smith, Tribal Administrator
       Buena Vista Rancheria of Me-Wuk Indians
       wayne@bvtribe.com

       Padraic McCoy
       mccoy@olp-partners.com




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                                          Ukiah, California 95482
                                     e-mail: ljmarston@rmlawoffice.net
Lester J. Marston                                                                     Phone (707) 462-6846
                                                                                   Facsimile (707) 462-4235




                                               June 2, 2023

  Transmitted Via Email: Nathan.Vogeli@gov.ca.gov

  Nathan Voegeli
  Senior Advisor for Tribal Negotiations
  Office of Governor Gavin Newsom
  1303 10th, Suite 1173
  Sacramento CA 95814

            Re:     Tribal Response to State’s Letter of May 26, 2023
                    Our File No.: 22-2.3.1.1

  Dear Mr. Voegeli:

  I am in receipt of your letter to me dated May 26, 2023, identifying those provisions in the 2016
  Compact (“Compact”) of the Buena Vista Rancheria (“Tribe”) that the State of California (“State”)
  considers “to be reasonably subject to dispute” as a result of the Ninth Circuit’s decision in Chicken
  Ranch Rancheria of Me-Wuk Indians v. California, 42 F. 4th 1024 (9th Cir. 2022) (“Chicken
  Ranch”).

  In your letter, the nine provisions you identified to be reasonably subject to dispute are all related
  to the family, environmental, and tort law provisions that, in the Tribe’s opinion, were invalidated
  by the Ninth Circuit in Chicken Ranch. In addition, you agreed to revisit Compact provisions 12.2
  and 12.3(f)(2) “if the Tribe and State are able to reach agreement on the scope of disputed
  provisions.” Finally, you stated in the letter that the State is available for a “videoconference meet
  and confer” on either June 7, 2023, or June 15, 2023.

  I have reviewed your letter with the Tribe and the Tribe wishes to confirm for the June 15, 2023,
  date, beginning at 10:30 a.m., for another meet and confer with the State by Zoom call to further
  discuss the provisions identified by the State.

  However, the Tribe strongly disagrees with your statement that the 2016 Compact terms subject
  to dispute are limited to those explicitly addressed by the Ninth Circuit in Chicken Ranch
  “involving family, environmental, and tort provisions.” The Tribe’s position is that the holding in
  Chicken Ranch is broader than just those three subjects and that the State has an obligation to meet
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Re: Tribe’s Response to State’s May 26, 2023 Letter

and confer with the Tribe over: (1) all of the fee provisions contained in the Compact, with the
exception of the payment into the Revenue Sharing Trust Fund, because the Tribe never received
any meaningful concession from the State in exchange for the payment of the fees; and (2) any
subject in the 2016 Compact that is not directly connected to the playing of the games on the
Tribe’s Casino floor.

Despite the State’s narrow reading of Chicken Ranch, the Ninth Circuit made it very clear:

       . . . that courts “shall consider any demand by the State for direct taxation of the
       Indian tribe or of any Indian lands as evidence that the State has not negotiated in
       good faith.” [citation omitted] Some assessments are within the permitted topics of
       negotiation, see id. § 2710(d)(3)(c)(ii), but another provisions states that “nothing
       in this section shall be interpreted as conferring upon a State or any of its political
       subdivisions authority to impose any tax, fee, charge, or other assessment upon an
       Indian tribe.”

       Bound by Coyote Valley II and its treatment of revenue-sharing provisions, Rincon
       Band explained that “IGRA requires courts to consider a state’s demand for
       taxation as evidence of bad faith, not conclusive proof.” [citation omitted]. Rincon
       Band thus analyzed at length whether the State had provided “meaningful
       concessions” for a revenue-sharing requirement. [citation omitted]. As we will
       explain in detail below, a “meaningful concessions” analysis only applies within
       the context of § 2710(d)(4), to revenue sharing demands (a point the dissent does
       not dispute).

Chicken Ranch, 42 F. 4th at 1044-45.

A review of the Tribe’s Compact reveals that the Tribe is obligated to pay three fees under its 2016
Compact: (1) a fee to the State that goes well beyond reimbursing the State for its actual costs to
regulate the Tribe’s gaming facility; (2) a fee to the State to fund the State’s Tribal Nation Grant
Fund; and (3) fees to the County of Amador to mitigate off-reservation environmental impacts.

Even under the narrowest reading of the Chicken Ranch decision, all of the fees that the Tribe is
required to pay to the State and County under its 2016 Compact are invalid because there are no
“meaningful concessions” in the Compact in exchange for the payment of the fees beyond what
the Tribe received from the State in its 1999 Compact. In fact, the only “right” the Tribe received
under its 2016 Compact was the right to engage in class III gaming, which can never be a
“meaningful concession”:

       Therefore, gaming rights that tribes are entitled to negotiate for under IGRA, like
       device licensing and time, see § 2710(d)(3)(c)(vi), cannot serve as consideration
       for general fund revenue sharing, the consideration must be for something
       “separate” than basic gaming rights.

Rincon Band, 602 F.3d at 1040.
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Re: Tribe’s Response to State’s May 26, 2023 Letter

Likewise, the State’s position that Chicken Ranch’s holding only implicated the family,
environmental, and tort subjects struck down by the Court is also misplaced. The Court made it
clear that its holding invalidated any compact provision that was not “directly” connected to the
playing of the games on the Tribe’s Casino floor.

       The phrase [d]irectly related to the operation of gaming activity is narrower than
       directly related to the operation of the Casino.

Chicken Ranch, at 1037 (internal citations omitted).

       The catch-all language in § 2710(d)(3)(c)(vii) requires an affirmative showing that
       the state is seeking to negotiate over a subject that has a direct relationship to the
       operation of gaming activities. That showing is not made simply because gaming
       activities through some claim of causation produced a situation or event that the
       state now believes it imperative to regulate. The logic of California’s argument is
       essential limitless, and it would enable states to force tribes to agree to all manner
       of state regulations, contrary to IGRA’s text, structure, and objectives.

Chicken Ranch, at 1039.

Thus, the holding in Chicken Ranch is clear and unambiguous — any provision in the Tribe’s 2016
Compact that is not directly connected to the playing of the Tribe’s class III games on the Casino
floor violates the Indian Gaming Regulatory Act, 25 U.S.C. §§ 2701, et. seq.

Finally, please send me an email confirming June 15, 2023, from 10:30 a.m. to 1 p.m., for our next
meet and confer. I will have my office send out a Zoom invite for the meeting once you have
confirmed.

I look forward to discussing these and the other issues set forth in your May 26, 2023, letter. If you
have any questions regarding this letter, please do not hesitate to give me a call.


                                                       Yours very truly,



                                                       LESTER J. MARSTON,
                                                       Attorney for Buena Vista Rancheria,
cc:    Ronda Pope-Flores, Chair
       Wayne Smith, Chief of Staff
       Padraic McCoy, Tribal Attorney
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                                                                                    Facsimile (707) 462-4235




                                                July 12, 2023

  Transmitted Via Email: Nathan.Vogeli@gov.ca.gov

  Nathan Voegeli
  Senior Advisor for Tribal Negotiations
  Office of Governor Gavin Newsom
  1303 10th, Suite 1173
  Sacramento CA 95814

            Re:     Tribal Request for State to Clarify Its Position
                    Our File No.: 22-2.3.1.1

  Dear Mr. Voegeli:

  The purpose of this letter is to clarify the legal position of the State of California regarding the
  requirements of the dispute resolution process for issues arising under the Buena Vista Rancheria
  of Me-Wuk Indians’ (Tribe) 2016 class III gaming compact (Compact) with the State. It is the
  Tribe’s hope that the clarification of the State’s position will allow the parties to resolve the
  current dispute relating to the impact of the Ninth Circuit Court of Appeals’ decision in Chicken
  Ranch Rancheria v. Gavin Newsom, 42 F.4th 1024 (9th Cir, 2022) (Chicken Ranch) on the
  validity of provisions of the Compact and to make the necessary modifications to the Compact to
  make it consistent with both Chicken Ranch and the requirements of the Indian Gaming
  Regulatory Act, 25 U.S.C. 2701 et seq. (IGRA).

  During the most recent dispute resolution meeting on June 15, 2023, discussions foundered on a
  disagreement about the nature and scope of the negotiations that are being conducted and how to
  address that disagreement. State representatives repeatedly stressed the need for an agreement
  on the “scope of negotiations,” and asserted that the State would not engage in substantive
  dispute resolution negotiations until the scope of negotiations was agreed too. As a result, the
  parties never engaged in a discussion of any of the issues arising under the Compact or any
  potential resolution of those issues.

  For purposes of the Tribe’s upcoming meeting with the State, I believe that it would be helpful to
  briefly summarize the parties’ communications concerning the current dispute in order to move
  discussions forward. On January 21, 2023, the Tribe requested renegotiation of certain
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provisions of the Tribes compact based on their inconsistency with Chicken Ranch and the
IGRA. The Tribe made that request, pursuant to Section 15 of the Compact and the provisions of
the IGRA. On March 20, 2023, the State informed the Tribe that the State was not required to
engage in negotiations to amend the Compact under Section 15 until 18 months before the date
of termination of the Compact and, for that reason, refused to conduct negotiations with the
Tribe. In a letter dated March 30, 2023, the Tribe informed the State that it was also initiating the
dispute resolution process pursuant to Section 13 of the Compact and specifically identified what
the Tribe regarded as the issues that arose under the Compact. Those issues are based on the
Tribe’s contention that numerous provisions of the Compact were rendered invalid by the
Chicken Ranch decision. The State responded in a letter dated April 14, 2023, stating: “The State
agrees to dispute resolution under section 13.0 of the 2016 Compact as the appropriate way to
address any issues regarding provisions in the 2016 Compact that may be inconsistent with the
Chicken Ranch decision.” The State further stated that representatives of the State were available
to “meet and confer with the Tribe pursuant to section 13.1 of the 2016 Compact to resolve the
disputes regarding the provisions that may be inconsistent with the Chicken Ranch decision.”

On May 16, 2023, the parties met to address the dispute. At the meeting, the Tribe presented the
State with a list of compact provisions that the Tribe believes are subject to the dispute resolution
process. In a letter dated May 26, 2023, the State identified the provisions of the Compact that
the State contends are implicated by Chicken Ranch and stated that it was the State’s position
that the other provisions identified by the Tribe were not implicated by Chicken Ranch and
therefore, are not subject to dispute.

The parties met again on June 15, 2023. That meeting was taken up almost entirely with the
State’s position that it would not negotiate with the Tribe over what provisions the parties agreed
were implicated by the Chicken Ranch decision until the parties reached an agreement on what
provisions were impacted by Chicken Ranch. The State made it clear that the scope of any
negotiations would be restricted to only those provisions that the parties mutually agreed were
implicated by Chicken Ranch, exchanges about whether the negotiations were being conducted
pursuant to Section 13 or Section 15 of the Compact, and the State’s refusal to address or
negotiate over the substance of the issues in dispute and the potential resolution of those issues.

To move the dispute resolution negotiations forward and to establish whether the State is willing
to meaningfully attempt to resolve the substantive issues in dispute, the Tribe offers the
following statement of its position on the requirements of the dispute resolution provisions of the
Compact.

Section 13 imposes an unequivocal duty to negotiate to resolve disputes arising under the
Compact. “In recognition of the government-to-government relationship of the Tribe and the
State, the parties shall make their best efforts to resolve disputes that arise under this Compact by
good faith negotiations whenever possible.” Compact, Section 13.1. Negotiations must take
place within thirty days after receipt of the notice of a dispute. “The parties shall meet and confer
in good faith by telephone or in person in an attempt to resolve the dispute through negotiation
within thirty (30) days after receipt of the notice set forth in subdivision (a) . . . .” Compact,
Section 13.1(c).
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Nothing in the language of Section 13 requires agreement, in writing or otherwise, on the
“scope” of disputed provisions before negotiations can go forward. Even if such a requirement
was imposed by the Compact, the State’s May 26, 2023, letter identified nine provisions that “the
State agrees are reasonably implicated by Chicken Ranch and accordingly subject to dispute . . .
.” May 26 Letter, p. 1. At the June 15 meet and confer, nevertheless, the State demanded
agreement on which provisions are in dispute before engaging in substantive negotiations.
The State’s refusal to negotiate the substance of the issues in dispute during the June 15 meet and
confer violates Section 13 of the Compact and constitutes a breach of the Compact. Requiring
the Tribe to agree to the “scope” of all disputed provisions rather than engage in negotiations that
could resolve at least those provisions that the State and the Tribe agree are in dispute violates
the State’s obligation to make its “best efforts to resolve disputes that arise under this Compact
by good faith negotiations whenever possible . . . within thirty (30) days after receipt of the
notice set forth in subdivision (a) . . . .” Compact, Section 13.1. The State’s refusal to negotiate
until the “scope” of all disputed provisions is agreed upon, furthermore, could be interpreted to
be a dilatory tactic, which violates the good faith standard of conduct required by Section 13.

As a result of the State’s conduct during the June 15 meet and confer, the State is in breach of
Section 13 of the Compact by: (1) refusing to negotiate when an affirmative duty to negotiate
exists; and (2) falling short of its duty to act in accordance with the good faith standard of
conduct by arbitrarily placing barriers to the Tribe’s right to negotiate to resolve disputes both
parties have identified. The Tribe therefore notifies the State, pursuant to Section 14.2 of the
Compact,1 that the State is in breach of the Compact and has thirty days to cure the breach.2

A related issue that arises from the June 15 meet and confer is a disagreement as to the proper
mechanism for resolving disputes under Section 13 of the Compact. Based on statements the
State made during the June 15 meet and confer – that amendment is the proper means of
resolving disputed provisions and that agreement in writing to negotiate is a necessary
precondition to negotiation – it appears that the State contends that amendment pursuant to
Section 153 is the applicable mechanism for resolving disputes arising under Section 13. If, in
fact, this is the State’s position, the Tribe rejects the State’s interpretation.

Nothing in Section 13 incorporates or references Section 15. Nothing in Section 15 references

1
  “Either party may bring an action in federal court, after providing a thirty (30)-day written
notice of an opportunity to cure any alleged breach of this Compact, for a declaration that the
other party has materially breached this Compact or that a material part of this Compact has been
invalidated.” Compact, Section 14.2(b).
2
  Arguably, the Tribe has no obligation to exhaust the thirty-day notice of breach and opportunity
to cure, because Section 14.2 governs termination of the Compact and the Tribe does not seek to
terminate the Compact. The Tribe is providing notice in a good faith attempt to spur meaningful
negotiations over modified provisions, as well as provide an opportunity for the State to act in
compliance with its obligations under the Compact.
3
  “The terms and conditions of this Compact may be amended at any time by the mutual and
written agreement of both parties . . . .” Compact, Section 15.1; see also discussion of Section
15.3, below.
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Section 13. Even if the State were to argue that, from a practical perspective, the procedure for
resolving disputes is through amendment of the Compact, Section 13 does not impose the
constraints and conditions required for amendment under Section 15, nor does any other
provision of the Compact support an interpretation that use of the term “negotiations” in Section
13 triggers the conditions precedent to “negotiations” in Section 15.3. In fact, the language of
Section 15 militates against such an interpretation. Section 15 references Section 14.2 three
times4 but includes no mention of Section 13. If the parties intended to apply the prerequisites to
negotiation in Sections 15.1 and 15.3 to Section 13, the parties would have done so explicitly.
Moreover, the State has explicitly refused to enter negotiations to amend the Compact by mutual
agreement pursuant to Section 15. In the State’s March 20, 2023, letter responding to the Tribe’s
request to amend or replace provisions of the Compact in conflict with Chicken Ranch, the State
asserted: “The 2016 Compact is less than a quarter through its 25-year term and the State does
not consent to amend it at this time.” The State further stated: “Because it is not within 18
months of December 5, 2041, the State is not required to enter into negotiations for a new
compact with the Tribe.” March 20 Letter, p. 1. The State, thus, chose to forego the opportunity
to mutually amend the Compact to bring it into conformity with the Chicken Ranch decision
pursuant to Section 15. The Tribe was, therefore, compelled to address the legality and
enforceability of those provisions through the dispute resolution process under Section 13. The
State cannot now seek to circumvent its obligations under the dispute resolution process in
Section 13 by asserting that Section 15 is the proper procedural mechanism for resolving
disputes.

The language of Section 13 is clear. Disputes arising from the Compact are resolved through
good faith negotiations. Negotiations are to commence within thirty days of receipt of the notice
of dispute. There are no constraints, conditions precedent, or other procedural or substantive
hurdles triggering the State’s obligation to negotiate to resolve the dispute in good faith. There is
no foundation for the assertion that there is any connection, procedural or substantive, between
the dispute resolution provisions in Section 13 and the provisions for amending, extending, or
renegotiating the Compact in Section 15.

Despite the State’s previous statements, the Tribe remains open to good faith negotiations to
resolve the current dispute. It is the Tribe’s sincere hope that, on July 13, 2023, the State’s
representatives will be willing and able to engage in substantive, good faith negotiations
concerning the impact of Chicken Ranch on the validity of the provisions of the Compact. Those
negotiations should begin with the provisions that both the State and the Tribe agree are
implicated by Chicken Ranch. Once those provisions are addressed, the parties can address the
other provisions that the Tribe believe are implicated by Chicken Ranch.

I look forward to discussing these and the other issues with you at our July 13, 2023, meeting. If
you have any questions regarding this letter, please do not hesitate to give me a call.

4
 Section 15 references Section 14.2, however, Section 14.2 concerns termination of the Compact
and the Tribe does not intend to terminate the Compact. Section 14.2 references the waiver
provision in Section 13.4, but nothing in Section 15 or 14.2 references the terms and conditions
of the dispute resolution provisions of Section 13.
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Letter to Senior Advisor Nathan Voegeli                                      Page 5
July 12, 2023
Re: Tribal Request for State to Clarify Its Position



                                          Yours very truly,



                                          LESTER J. MARSTON,
                                          Special Counsel for Buena Vista Rancheria,
cc:   Ronda Pope-Flores, Chair
      Wayne Smith, Chief of Staff
      Padraic McCoy, Tribal Attorney
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                          OFFICE OF THE GOVERNOR


                                     July 28, 2023

Via Email and US Mail

Les Marston
Rapport and Marston
405 W. Perkins Street
Ukiah, CA 95482
ljmarston@rmlawoffice.net


RE:   Dispute Regarding Scope of Compact Provisions Reasonably Implicated
      by Chicken Ranch Rancheria of Me-Wuk Indians v. California

Dear Mr. Marston:

       Thank you for your July 12, 2023, letter and the opportunity for the State to
reiterate its position to the Buena Vista Rancheria of Me-Wuk Indians (Tribe)
regarding our dispute under the Tribe’s 2016 tribal-state class III gaming
compact (Compact). As I stated on July 13, 2023, during our third meet and
confer meeting under section 13.0 of the compact, the fundamental dispute
between the State and the Tribe is this: which provisions of the Compact are
reasonably implicated by the Ninth Circuit Court of Appeals’ holding in Chicken
Ranch Rancheria of Me-Wuk Indians v. California (Chicken Ranch), 42 F.4th 1024
(9th Cir. 2022). Although there was an abrupt end to our last meeting when you
stated your belief that the parties are at impasse, the State is hopeful that the
parties can forge a path forward to address this dispute.

      The State and the Tribe have exchanged correspondence detailing
Compact provisions each considers to be implicated by the Chicken Ranch
decision. In the State’s April 14, 2023, letter, I specified the State’s position that
the terms subject to dispute are circumscribed by the Chicken Ranch decision
and are limited to four provisions: the Gaming Facility definition in section 2.12,
section 11.0 environmental review requirements, section 12.5 tort protections,
and recognition of child and spousal support orders under section 12.6(e).
During the State and Tribe’s first meet and confer meeting on May 16, 2023, the

               GOVERNOR GAVIN NEWSOM • SACRAMENTO, CA 95814 • (916) 445-2841
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Tribe provided the State with its list of 39 “invalid provisions” (Tribe’s list), which
the State and Tribe reviewed together. As a result of that meeting, in your May
17, 2023 email you identified 14 provisions from the Tribe’s list that are not
implicated by the Chicken Ranch decision. The State agrees with the Tribe that
sections 2.10, 2.30, 3.1(b), 3.1(c), 4.1, 4.2, 7.4, 12.5, 12.5(b), 13.1, 13.4, 14.2, 15.2,
and 18.1 identified in your May 17, 2023 email are not implicated by the Chicken
Ranch decision.

        In my May 26, 2023, letter, I specified eight provisions on the Tribe’s list and
one not on the Tribe’s list that the State considers to be reasonably implicated
by the Chicken Ranch decision. I also noted two provisions the State was willing
to revisit if the State and Tribe could agree on the appropriate scope of
disputed provisions. In response, the Tribe, on page two of your June 2, 2023,
letter, took the position that the Chicken Ranch decision extended to all of the
Compact fee provisions, except the Revenue Sharing Trust Fund, and any
subject “not directly connected to the playing of the games on the Tribe’s
Casino floor.” As we discussed during the second meet and confer meeting on
June 15, 2023, the State disagrees with the Tribe’s position as overly broad.

       From a review of the exchanged lists, the parties appear to agree that the
following Compact sections are reasonably implicated by the Chicken Ranch
decision: 2.12, 2.18, 2.22, 2.24, 4.5(a)(2), 5.3(a), 11.0, 12.5, and 12.6(e). The State
believes substantive negotiations to amend the Compact pursuant to section
15.1 on the topics both parties agree are reasonably implicated would alleviate
concerns regarding Chicken Ranch. Additionally, the State believes that the
Assistant Secretary—Indian Affairs’ affirmative approval of several California
compacts with revised provisions substantially similar to those the parties agree
are reasonably subject to dispute1 provide a clear path forward to address
these issues in accordance with the Indian Gaming Regulatory Act and the
Chicken Ranch decision.

       As a result of our meet and confer efforts, it appears that the remaining
scope of disputed provisions from the Tribe’s list is limited to sections 2.1, 2.7, 2.20,
4.3, 4.3(c), 4.3.1, 4.4(a)(1), 4.4(d), 4.4(e), 4.5(a)(1), 5.1(a), 5.1(b), 5.2(a), 5.2(f), 5.3,
10.0, 12.3(e), 12.3(f), and 12.10. During our third meet and confer meeting on
July 12, 2023, the Tribe said it was not willing to limit substantive negotiations to

1 The Assistant Secretary—Indian Affairs has approved three California compacts subsequent to

the Chicken Ranch decision. Those compacts are with the Tejon Indian Tribe, approved on
November 17, 2022, with the Santa Rosa Indian Community of the Santa Rosa Rancheria,
approved on November 17, 2022, and with the Federated Indians of Graton Rancheria,
approved on July 14, 2023. While representing the Chicken Ranch tribes, you argued that these
types of decision letters by the Assistant Secretary—Indian Affairs should be given deference.
Chicken Ranch, Plaintiffs’ Answering Brief, Doc. 41, at p. 13; Chicken Ranch, Appellees’ Request
for Judicial Notice, Doc. 57-1, pp. 3-4.
                GOVERNOR GAVIN NEWSOM • SACRAMENTO, CA 95814 • (916) 445-2841
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the set of provisions the parties agree are reasonably implicated by the Chicken
Ranch decision. The State asks that the Tribe reconsider and agree to negotiate
Compact amendments pursuant to section 15.1 for those Compact provisions
that the parties jointly identified as reasonably implicated by Chicken Ranch. If
the negotiations on Compact sections 2.12, 2.18, 2.22, 2.24, 4.5(a)(2), 5.3(a),
11.0, 12.5, and 12.6(e) are successful, then the parties could reevaluate whether
additional negotiations on topics the parties do not agree are implicated by the
Chicken Ranch decision should take place in light of the completed
negotiations.

       The State appreciates the time and effort the Tribe has put into this meet
and confer process and is hopeful that the Tribe will agree to formal substantive
negotiations pursuant to section 15.1 to amend Compact sections 2.12, 2.18,
2.22, 2.24, 4.5(a)(2), 5.3(a), 11.0, 12.5, and 12.6(e).



                                              Sincerely,




                                              Nathan Voegeli
                                              Senior Advisor for Tribal Negotiations
                                              Office of Governor Gavin Newsom

ec:

Honorable Rhonda L. Morningstar Pope Flores, Chairperson
Buena Vista Rancheria of Me-Wuk Indians
rhonda@bvtribe.com

Wayne Smith, Tribal Administrator
Buena Vista Rancheria of Me-Wuk Indians
wayne@bvtribe.com

Padraic McCoy
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          EXHIBIT K
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                                                   Law Offices Of

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                                         e-mail: ljmarston@rmlawoffice.net
Lester J. Marston                                                                                 Phone (707) 462-6846
                                                                                               Facsimile (707) 462-4235



                                                   August 3, 2023

  Transmitted Via Email: Nathan.Vogeli@gov.ca.gov

  Nathan Voegeli
  Senior Advisor for Tribal Negotiations
  Office of Governor Gavin Newsom
  1021 O Street, Suite 9000
  Sacramento CA 95814

            Re:     Response to the State’s Compact Section 15.1 Request to Engage in Compact
                    Negotiations with the Buena Vista Rancheria.

            Our File No.: 22-2-3.1.1

  Dear Senior Advisor, Voegeli:

         I write to respond to your letter dated July 28, 2023 (“July Letter”), in which you
  completely mischaracterize and misrepresent the discussions that occurred during the third meet
  and confer with the Tribe, which took place on July 13, 2023. The Tribe rejects the State’s
  contention that the Tribe created an impasse.1

          The Tribe sees the State’s request to move forward with negotiations under Section 15 of
  the Compact, as nothing more than gamesmanship and further indicia of bad faith by the State. It
  is a continuation of the bad faith negotiations that led to the decision in Chicken Ranch Rancheria
  of Me-Wuk Indians v. California, 42 F.4th 1024 (9th Cir. 2022) (“Chicken Ranch”).

         Initially, the Tribe requested that the State voluntarily enter negotiations to amend the
  Compact back on January 21, 2023. Your letter, dated March 20, 2023 (“March Letter”),
  unequivocally refused to enter to such negotiations. “The 2016 Compact is less than a quarter
  through its 25-year term and the State does not consent to amend it at this time.” March Letter, p.
  1. Thus, “the State respectfully decline[d] to enter into negotiations to amend” the Compact under
  Section 15 . Id. p. 2.

  1
   I attach my office notes from the July 13, 2023, meet and confer, which do not support the contention that the
  Tribe prevented negotiations from proceeding.
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August 3, 2023
Re: Response to the State’s Compact Section 15.1 Request to Engage
in Compact Negotiations with the Buena Vista Rancheria.



        The Tribe then compelled you to come to the table by identifying provisions in the Compact
that directly conflict with Chicken Ranch and could only have been the product of negotiating
“well beyond IGRA’s permitted list . . . .” Chicken Ranch, 42 F.4th at 1048. At the first meet and
confer you explicitly acknowledged that Chicken Ranch had an effect on the Compact. You
memorialized that position in your letter, dated April 14, 2023 (“April Letter”), and agreed that
the Dispute Resolution process in the Compact (“Section 13”) was the proper procedural
mechanism for resolution: “The State agrees to dispute resolution under section 13.0 of the 2016
Compact as the appropriate way to address any issues regarding provisions in the 2016 Compact
that may be inconsistent with the Chicken Ranch decision.” April Letter, p. 1. Your letter, dated
May 26, 2023 (“May Letter”), explicitly outlined nine provisions both the State and Tribe agreed
were affected by Chicken Ranch.

        Despite being compelled to negotiate in good faith to resolve, at a minimum, the disputed
provisions identified in your May Letter, you refused to negotiate during the second meet and
confer on June 15, 2023. During the meeting you became fixated on addressing and resolving the
“scope” of the disputed provisions as a precondition to addressing the effect of Chicken Ranch on
the Compact. You demanded resolution of the “scope” without identifying any contractual or legal
foundation for placing a procedural requirement on substantive negotiations. Not only did you
refuse to negotiate concerning the effect of Chicken Ranch on specific provisions enumerated in
your May Letter, but you refused to continue the meet and confer if the Tribe and I referred to the
discussion as “negotiations.” The posture of the State was so irrational and frustrating that
members of the Tribal Council walked out of the meeting.

        On July 12, 2023, I sent you another letter clarifying the parties’ obligations under Section
13 of the Compact and rejecting your assertion during the June 15 meeting that the proper
procedural mechanism for resolving disputes under Section 13 of the Compact would be by mutual
amendment (“Section 15”).2 My letter provided the legal support for the Tribe’s position that
Section 15 is not the proper procedural mechanism for resolving disputes and that Section 13 is
the proper mechanism.3 To reiterate, Section 13 imposes an unequivocal duty to negotiate to
resolve disputes arising under the Compact. “In recognition of the government-to-government
relationship of the Tribe and the State, the parties shall make their best efforts to resolve disputes
that arise under this Compact by good faith negotiations whenever possible.” Compact, Section
13.1. (Emphasis added). My July 12 Letter also provided you with notice that your failure to
negotiate pursuant to your contractual obligation constituted a breach of the Compact which could
only be cured by engaging in “good faith negotiations” at the third scheduled meet and confer.

       Contrary to the account in your July Letter, the following is what happened during the third
meet and confer on July 13, 2023. Just like the June 15 meeting, you refused to engage in good

2
    To date, I have not received a response to the legal issues raised in my July 12, 2023, letter.
3
    As you, yourself, stated in your April Letter.
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Letter to Nathan Voegeli                                                                                      Page 3
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Re: Response to the State’s Compact Section 15.1 Request to Engage
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faith negotiations over the substance of provisions we both agree are reasonably subject to dispute
after the decision in Chicken Ranch. Your refusal was, again, predicated on settling a dispute
concerning the scope4 of the provisions implicated by Chicken Ranch. My position was that we
could address the validity and enforceability of the disputed provisions in a piecemeal fashion that
would result in identifying the full range of provisions implicated by Chicken Ranch. My
contention was that whether we addressed the scope of provisions affected by Chicken Ranch at
the outset, or whether we arrived at the scope of provisions organically was a distinction without
a difference. However, you stated, “to put it bluntly,” that the “dispute” is that we do not agree on
the scope of the issues that should be addressed and you believed that was “fundamental before
we get into the substance.”

        I then asked you to identify provisions of Section 13 that state that resolution concerning
the “scope” of the disputed provisions is a necessary condition precedent for addressing disputed
provisions we agree were affected by Chicken Ranch. You did not identify a legal basis for your
position. (That’s because there is no legal basis for such a position.) Although you acknowledged
that, consistent with the “Tribe’s perspective,” it would be useful to sort out the provisions of the
compact that both sides recognize are “implicated” by Chicken Ranch, you took the position that
there was no use in jumping into the substance of the negotiations if we could not reach agreement
on what provisions were to be negotiated. I then pointed out that we agreed on a number of
provisions that were subject to negotiation.

         We agreed, for example, that Section 11.7 of the Compact was reasonably in dispute, and
we could begin by negotiating over whether 11.7 was rendered void, ab initio, by Chicken Ranch,
in light of the fact that the Tribe’s compact was deemed approved by the Secretary of the Interior,
pursuant to 25 U.S.C. § 2710(d)(8)(C). You stated that you already said Section 11 was reasonably
implicated by the Chicken Ranch decision, but that was not the issue; the issue is the scope, and
which other provisions the parties have not reached agreement on. I maintained that we already
identified the scope. You disagreed on the scope of provisions identified by the Tribe, refused to
define what you meant by scope and stated that there is “no next step” in the process without
knowing which provisions we are negotiating.

       It quickly became clear that further attempts to invite substantive negotiations were futile.
However, before the meeting ended, I specifically asked you how we could get beyond this issue
and move forward. You just restated your position that we needed to define the “scope” of the
negotiations and that we had not reached agreement on that issue. I then said: “OK” and ended the
meeting.


4
 The issue of “scope” was raised twice in your correspondence, first in the May Letter, p. 2, and again in the July
Letter, p. 2 (“I also noted two provisions the State was willing to revisit if the State and Tribe could agree on the
appropriate scope of disputed provisions.”). Clearly, the issue of “scope” is relegated to Sections 12.2 and 12.3(f)(2)
and was used as a strawman tactic to block negotiations over the effect of Chicken Ranch on the substance of the
Compact.
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Letter to Nathan Voegeli                                                                       Page 4
August 3, 2023
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        Now, after eight (8) months of trying to get the State to negotiate in good faith, after three
meet and confers, after the State initially refused to agree to negotiate under Section 15, then agreed
that Section 13 was the proper procedure to negotiate under, and after reaching impasse with the
State on the issue regarding what provisions of the Compact fell within the State’s “scope of
negotiations,” you want to go all the way back to January, wipe the slate clean, as if nothing has
happened and begin new negotiations under Section 15? You are attempting to rewrite history, to
rewrite your refusal to negotiate pursuant to Section 15 back in March, to rewrite your bad faith
conduct on two occasions notwithstanding your obligations under Section 13, erase your breach
of Compact, and act as if you were willing to negotiate all along.

        It is ironic that during the second and third meet and confer, the Tribe sought to negotiate
and reach agreement on the effect of Chicken Ranch concerning Sections 2.12, 2.18, 2.22, 2.24,
4.5(a)(2), 5.3(a), 11.0, 12.5, and 12.6(e) of the Compact (“enumerated provisions” in the May
Letter) under the terms and conditions of Section 13, which imposes more robust obligations on
the State than Section 15. You blatantly refused. Yet, here you are, attempting to shift the burden
back to the Tribe, attempting to appear willing to engage in “formal substantive negotiations,” July
Letter, p. 3, as long as the Tribe proceeds under Section 15 (contrary to your contention in April
that the “State agrees to dispute resolution under section 13.0 of the 2016 Compact as the
appropriate way to address any issues regarding provisions in the 2016 Compact that may be
inconsistent with the Chicken Ranch decision.”). The State’s attempt to evade its contractual
obligations under the explicit terms and conditions of the Compact while attempting to appear
willing to negotiate under terms the State already rejected, namely, Section 15, is an extraordinary
display of what constitutes “bad faith” conduct. It is Chicken Ranch all over again.

        To recapitulate, you rejected the Tribe’s offer to amend the Compact pursuant to Section
15 in January. The Tribe subsequently compelled you to negotiate under Section 13 of the Compact
and you twice refused. Now, you pretend that none of that happened and invite the Tribe to
negotiate under Section 15? The Tribe views the account of negotiations and the offer contained
in your July Letter as a continuation of the State’s bad faith conduct, designed to dupe the Tribe
into negotiating under provisions of the Compact that impose far fewer obligations on the State,
and a dilatory tactic designed to run out the clock on the forbearance of the Tribe’s payment to
Amador County under the Intergovernmental Agreement executed pursuant to Section 11.7 of the
Compact, which we both agree is void as a result of Chicken Ranch.

        You have wasted seven months of the Tribe’s time and money without legal justification,
without justification of any sort, and without so much as a coherent rationale for your conduct. At
this point, the Tribe has no reason to believe that you genuinely desire to negotiate nor does the
Tribe have any legal obligation to meet with the State any further under Section 13 or for that
matter Section 15. However, as a sign of the Tribe’s good faith the Tribe would be willing to
resume negotiations, under Section 13, not Section 15, if the State agrees to pay the Tribe’s legal
fees that it has incurred to date to participate in the three (3) meet and confer sessions with the
State. Please contact me immediately to let me know if the State is willing to pay the Tribe’s
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Letter to Nathan Voegeli                                                                     Page 5
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Re: Response to the State’s Compact Section 15.1 Request to Engage
in Compact Negotiations with the Buena Vista Rancheria.


attorney’s fees and continue the negotiations under Section 13. If not, then you and the State, given
your conduct, leave the Tribe with no choice but to file suit against the State, pursuant to Sections
13.1(d)-(e) of the Compact, and seek a declaration from the Court as to which provisions in the
Tribe’s 2016 Compact violate the IGRA.

       Please get back to me with your response as soon as possible. If I do not hear from you on
or before Monday, August 11, 2023, I will assume that the State is not going to pay the Tribe’s
attorney’s fees and resume negotiations under Section 13 of the Compact and will advise the Tribe
to proceed accordingly.

                                                      Yours Very Truly


                                                      Lester J. Marston,
                                                      Special Council to the Buena
                                                      Vista Rancheria

cc: Rhonda Pope-Flores, Chairwoman
    Wayne Smith, Executive Director
    Padraic McCoy, Tribal Attorney
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                             OFFICE OF THE GOVERNOR


                                       August 11, 2023

Via Email

Les Marston
Rapport and Marston
405 W. Perkins Street
Ukiah, CA 95482
ljmarston@rmlawoffice.net


RE:    Rejection of Tribe’s Requirement that State Pay Tribe’s Attorney’s Fees in
       order to Continue Dispute Resolution

Dear Mr. Marston:

       I have received your August 3, 2023 letter1 in which you ask whether the
State of California (State) is willing to pay the attorney’s fees of the Buena Vista
Rancheria of Me-Wuk Indians (Tribe) for its participation in the dispute resolution
meet and confer process and continue the negotiations under section 13.0 of
the Tribe’s 2016 tribal-state class III gaming compact (Compact).

       As I stated in my July 28, 2023 letter, the Tribe and State have a dispute
regarding the scope of Compact provisions reasonably implicated by the Ninth
Circuit’s decision in Chicken Ranch Rancheria of Me-Wuk Indians v. California
(Chicken Ranch), 42 F.4th 1024 (9th Cir. 2022). The State is prepared to engage
in substantive negotiations to amend the Compact pursuant to section 15.1 on
those provisions the parties agree are reasonably implicated by the Chicken
Ranch decision. The State does not agree to the Tribe’s precondition that the
State must pay the Tribe’s attorney’s fees in order to continue the dispute
resolution meet and confer process under section 13.0 of the Compact.



1 Your office notes from the July 13, 2023, meet and confer meeting, referenced in footnote one

of your letter, were not attached or provided. However, the State has reviewed its notes from
that and prior meetings.
                GOVERNOR GAVIN NEWSOM • SACRAMENTO, CA 95814 • (916) 445-2841
         Case 2:23-at-00820 Document 1 Filed 08/22/23 Page 330 of 340
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       The State requests the Tribe reconsider whether it is willing to agree to
negotiate sections 2.12, 2.18, 2.22, 2.24, 4.5(a)(2), 5.3(a), 11.0, 12.5, and 12.6(e),
which the parties agreed as a result of the dispute resolution process are
reasonably implicated by Chicken Ranch. If the parties reach agreement on
appropriate negotiated amendments for those provisions, then the State and
Tribe can reevaluate whether to engage in substantive negotiations on
additional topics.

     If the Tribe wishes to move forward with the proposed substantive
negotiations, please let me know.


                                               Sincerely,




                                               Nathan Voegeli
                                               Senior Advisor for Tribal Negotiations
                                               Office of Governor Gavin Newsom

ec:

Honorable Rhonda L. Morningstar Pope Flores, Chairperson
Buena Vista Rancheria of Me-Wuk Indians
rhonda@bvtribe.com

Wayne Smith, Tribal Administrator
Buena Vista Rancheria of Me-Wuk Indians
wayne@bvtribe.com

Padraic McCoy
mccoy@olp-partners.com




               GOVERNOR GAVIN NEWSOM • SACRAMENTO, CA 95814 • (916) 445-2841
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           EXHIBIT M
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                                                 Law Offices Of

                               RAPPORT AND MARSTON
                                       An Association of Sole Practitioners
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Lester J. Marston                                                                      Phone (707) 462-6846
                                                                                    Facsimile (707) 462-4235



                                                August 14, 2023

  Transmitted Via Email: Nathan.Vogeli@gov.ca.gov

  Nathan Voegeli
  Senior Advisor for Tribal Negotiations
  Office of Governor Gavin Newsom
  1021 O Street, Suite 9000
  Sacramento CA 95814

            Re:     Response to the State’s Renewed Request to Engage in Compact Negotiations with
                    the Buena Vista Rancheria.

            Our File No.: 22-2-3.1.1

  Dear Senior Advisor, Voegeli:

  I am in receipt of your letter dated August 11, 2023 (“August Letter”). I have spoken with the
  Tribe and, although the Tribe believes it should be reimbursed for, what the Tribe believes is, a
  clear violation of the State’s good faith and fair dealing obligation in Section 13 of the Compact,
  the Tribe is willing to forego reimbursement of its lost attorney’s fees and continue efforts to
  resolve existing disputes under Section 13 of the Compact.

  If you genuinely desire to resolve the dispute out of court, then you will agree to proceed
  pursuant to Section 13. As you know, the Tribe is seeking a remedy from the State under the
  dispute resolution process, which only concludes upon agreement that the disputes have been
  resolved to the parties’ satisfaction or when parties seek resolution in court. As you point out in
  your August Letter “the Tribe and the State have a dispute . . . .” August Letter, p. 1. The fact
  that there is a “dispute” means there is no “agreement” and, thus, no basis for proceeding under
  Section 15.1, which is appropriate for amendment when the Tribe and the State mutually agree to
  amend. We do not agree that the dispute has been resolved, and we do not mutually agree on the
  form of resolution. Therefore, disputes continue to exist and the proper means for resolving the
  disputes is under Section 13 of the Compact.

  In addition, it is the Tribe’s position that your August Letter, in and of itself, constitutes “bad
  faith” negotiations under Section 13 of the Tribe’s 2016 compact for the following reasons.
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Letter to Nathan Voegeli                                                         Page 2
August 14, 2023
Re: Response to the State’s Rejection of Tribe’s Requirement that State Pay Tribe’s
Attorney’s Fees and Renewal of Request to Engage in Compact Negotiations with the Buena
Vista Rancheria Under Section 15 of the Compact.


First, the State has already engaged in bad faith negotiations under Section 13 of the Compact.
By agreeing to restart negotiations under Section 15 of the Compact, the Tribe would waive any
cause of action that it had against the State for its prior conduct that violated Section 13. Rather
than a good faith offer to negotiate, the State’s offer to engage in Section 15.1 negotiations to
amend the Compact appears to be a ploy to diminish the State’s obligations in negotiations and
the Tribe’s right to a remedy.
Second, unlike Section 13, the State is under no obligation to negotiate with the Tribe under
Section 15 of the Compact. The parties would be negotiating by mutual agreement and if the
parties reach an impasse, the State can break off those negotiations at any time with no
requirement that it engage in future negotiations. Under Section 15, unlike Section 13, there is no
mechanism for compelling the State to negotiate to resolve cognizable disputes.
Third, Section 13 compels the State to negotiate under a “good faith” standard. While Section
15.3 of the Compact imposes a good faith standard of conduct in negotiations, the standard of
conduct is subject to the caveat that negotiations are mutually agreed upon and voluntary. The
voluntary nature of negotiations under Section 15 does not prohibit the style of surface
bargaining exhibited by the State during Compact negotiations at issue in the Chicken Ranch
litigation.
Fourth, Section 13 provides a specific remedy, if the parties cannot reach resolution. Section 13
allows the party initiating the dispute resolution procedure to seek relief in the district court. No
such remedy is set forth in Section 15.
Finally, by allowing the parties to seek relief in the district court, a prevailing party can obtain
appropriate relief, whether it be declaratory or injunctive, including a declaration that certain
provisions in the 2016 Compact violate the IGRA, are void and never took effect. Section 15, on
the other hand, does not specify what happens and what the appropriate remedy is if the parties
fail to reach agreement resolving their dispute.
The Buena Vista Rancheria, therefore, respectfully rejects the Governor’s and the State’s offer to
voluntarily waive its right to a judicial remedy under the dispute resolution process and begin,
afresh, negotiations under section 15.1 of the Compact.
If the “State is prepared to engage in substantive negotiations to amend the Compact pursuant to
section 15.1 on those provisions the parties agree are reasonably implicated by the Chicken
Ranch decision,” then it stands to reason that the State is prepared to engage in substantive
negotiations concerning those same provisions under Section 13, which remain ongoing.

However, the Tribe has identified other disputes unrelated to Chicken Ranch. The Tribe is happy
to reach resolution over the provisions of the Compact affected by Chicken Ranch, but that will
not fully resolve the dispute and conclude the dispute resolution process. If the State seeks to
          Case 2:23-at-00820 Document 1 Filed 08/22/23 Page 334 of 340
Letter to Nathan Voegeli                                                         Page 3
August 14, 2023
Re: Response to the State’s Rejection of Tribe’s Requirement that State Pay Tribe’s
Attorney’s Fees and Renewal of Request to Engage in Compact Negotiations with the Buena
Vista Rancheria Under Section 15 of the Compact.


reach agreement on the nine provisions the State has enumerated in previous correspondence,
great, the Tribe is willing to prioritize those issues pursuant to Section 13 of the Compact.

Otherwise, the State leaves the Tribe with no other alternative but to seek resolution of the
dispute in federal court, as provided under Section 13 of the Compact.

You have until the close of business on Wednesday to respond to the Tribe’s invitation to
continue to resolve the disputes under Section 13 of the Compact, waiving the Tribe’s prior
condition of payment of fees. If you do not respond before 5:00 PM, on August 16, 2023, the
offer is hereby revoked.

I look forward to hearing from you before 5:00 PM on Wednesday, August 16, 2023. If you have
any questions regarding this letter, please do not hesitate to give me a call.


                                                      Yours Very Truly


                                                      Lester J. Marston,
                                                      Special Council to the Buena
                                                      Vista Rancheria

cc: Rhonda Pope-Flores, Chairwoman
    Wayne Smith, Executive Director
    Padraic McCoy, Tribal Attorney
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          EXHIBIT N
                        Case 2:23-at-00820 Document 1 Filed 08/22/23 Page 336 of 340

Lester Marston

From:                                    Nathan Voegeli <Nathan.Voegeli@GOV.CA.GOV>
Sent:                                    Wednesday, August 16, 2023 11 :37 AM
To:                                      Lester Marston; Noel A. Fischer; Michelle Laird
Cc:                                      Rhonda Pope; Wayne Smith; scottrap@pacbell.net; nomarston@gmail.com;
                                         mccoy@olp-partners.com
Subject:                                 RE: Tribe's Rejection of Offer to Negotiate Under Section 15 of Compact



Les,

Thank you for the letter. The State of California will not be able to respond by your 5:00 pm deadline today, but I expect
to have a response to you this Friday, August 18, 2023.

Best,
Nathan



From: Nathan Voegeli <Nathan.Voegeli@gov.ca.gov>
Sent: Tuesday, August 15, 2023 9:20 AM
To: Lester Marston <ljmarston@rmlawoffice.net>; Noel A. Fischer <Noel.Fischer@doj.ca.gov>; Michelle Laird
<Michelle.Laird@doj.ca.gov>
Cc: Rhonda Pope <rhonda@bvtribe.com>; Wayne Smith <wayne@bvtribe.com>; scottrap@pacbell.net;
nomarston@gmail.com; mccoy@olp-partners.com
Subject: RE: Tribe's Rejection of Offer to Negotiate Under Section 15 of Compact

Thank you, Les


From: Lester Marston <ljmars.tQfl.'.~.D.11.!.?..lN.9Jfif?.n£.t>
Sent: Monday, August 14, 2023 5:55 PM
To: Nathan Voegeli <.Nir;h.S'..D..:.Y..9.J£~[)_@gQY-'-C.:£.,KQ.Y>; Noel A. Fischer <l:Jg_.;;:.LE.~f.ber@doj.cq_,gg_y>; Michelle Laird
<lv1icheiie.Laird@doj.ca.gov>
Cc: Rhonda Pope <rhonda@bvtribe.com>; Wayne Smith <wayne@bvtribe.com>; scottrap@pacbell.net;
n.2ff1 a r.~tgrr@.Emil.iL&.o.rn; ms_:_i;:_Q_v..@...qlrl:.llill't n~i:.~9JI!.
Subject: Tribe's Rejection of Offer to Negotiate Under Section 15 of Compact

Nathan:
Attached please find my letter on behalf of the Buena Vista Rancheria rejecting the State's latest offer to negotiate
under Section 15 of the Compact. Please confirm receipt.
I look forward to your immediate reply.
Les Marston 707-462-6846

LESTER J. MARSTON
Attorney at Law
RAPPORT AND MARSTON
Sole Practitioner
405 West Perkins Street
Ukiah CA 95482
Tel.: (707) 462-6846

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                  Case 2:23-at-00820 Document 1 Filed 08/22/23 Page 337 of 340
Fax: (707) 462-4235
Email: ljmarston(q~rmlawoffice.net




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          EXHIBIT O
                     Case 2:23-at-00820 Document 1 Filed 08/22/23 Page 339 of 340

Lester Marston

From:                               Lester Marston
Sent:                               Wednesday, August 16, 2023 12:23 PM
To:                                 Nathan Voegeli; Noel A. Fischer; Michelle Laird
Cc:                                 Rhonda Pope; Wayne Smith; scottrap@pacbell.net; nomarston@gmail.com;
                                    mccoy@olp-partners.com
Subject:                            RE: Tribe's Rejection of Offer to Negotiate Under Section 15 of Compact



Nathan:
The Tribal Council has authorized me to file suit against the State. I am in the process of preparing a federal court
complaint. If you get me a response prior to filing suit, I will review it with my client, have them consider it and will get
back to you.
Les


From: Nathan Voegeli <Nathan.Voegeli@GOV.CA.GOV>
Sent: Wednesday, August 16, 2023 11:37 AM
To: Lester Marston <ljmarston@rmlawoffice.net>; Noel A. Fischer <Noel.Fischer@doj.ca.gov>; Michelle Laird
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Cc: Rhonda Pope <rhonda@bvtribe.com>; Wayne Smith <wayne@bvtribe.com>; scottrap@pacbell.net;
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<Micheile.Laird@doj.ca.gov>
Cc: Rhonda Pope <rhonda@..Qvtribe.com>; Wayne Smith <vi1ayne@bvtribe.com>; scottrap(mpa.cbelLnet;
nornarston@gmail.com; mccoy@oip-partners.com
Subject: RE: Tribe's Rejection of Offer to Negotiate Under Section 15 of Compact

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To: Nathan Voegeli <Nathan.Voegeli@gov.ca.gov>; Noel A. Fischer <NoeLFischer@do1.ca.o;ov>; Michelle Laird
<Michelle.Laird@doj.ca.gov>
Cc: Rhonda Pope <rhonda@bvtribe.com>; Wayne Smith <wavne@bvtribe.com>; scottrap@pacbell.net;
nomars!Qrr@_gmail.com; rnccoy@oio-partner~.. com
Subject: Tribe's Rejection of Offer to Negotiate Under Section 15 of Compact

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                     Case 2:23-at-00820 Document 1 Filed 08/22/23 Page 340 of 340

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I look forward to your immediate reply.
Les Marston 707-462-6846

LESTER J. MARSTON
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RAPPORT AND MARSTON
Sole Practitioner
405 West Perkins Street
Ukiah CA 95482
Tel.: (707) 462-6846
Fax: (707) 462-4235
Email: ljmarsrnn1l'rn1l~}'.Y9.tJice.ne1




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